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                   DECLARATION OF DAVID L. WILEY
     ON FEE RATES OF ROBERT W. SCHMIDT, ROBERT S. NOTZON, AND
                      ROBERT E. MCKNIGHT, JR.

1.     My name is David L. Wiley. I am an attorney in good standing and licensed to prac-

tice law in the State of Texas and in all four federal district courts in Texas [and I have

practiced in all four of those federal district courts]. I am a principal in the Dallas-based law

firm of Gibson Wiley PLLC.

                                      QUALIFICATIONS

2.     I focus my practice of law on representing workers in employment law mat-

ters. My legal practice is focused on representing individuals in employment matters. The

primary focus of this employment law practice is in litigation. That has been the primary

focus of my legal practice for over two decades. This focus has put me in contact through-

out that time with other lawyers in Texas who also focus their practices on employment

law. Through that contact I have some understanding of hourly rates for attorneys who

practice employment law in Texas. Through that contact I also have some understanding

of the varying degrees of expertise of lawyers who practice employment law and who litigate

employment cases. Below are some examples of involvement that help inform my devel-

oped understanding of those degrees of expertise.


3.     I actively participate in employment law bar activities. I was selected for, and

since about 2009, I served on the governing council of the State Bar of Texas (“SBOT”)

Labor and Employment Law Section (“L&E Section”). I am a Past Chair of the L&E




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Section and am currently Chair Emeritus of the L&E Section. My understanding is that the

L&E Section has about 3,145 members. Only a select few lawyers are elected to govern that

section via voluntary service on a governing council. There is an approximate balance be-

tween worker-side lawyers and management-side lawyers on the council. The council is

charged with such duties as (1) overseeing membership qualifications, (2) assessing appli-

cations and awarding grants for pro bono activities in the field of labor and employment

law, (3) reviewing and awarding grants for scholarship in the field of labor and employment

law, (4) planning both basic and advanced continuing legal education (“CLE”) programs

for lawyers in the field of labor and employment law, (5) communicating with lawyers in

Texas who practice labor or employment law. As part of my duties for the council, I have

assisted in planning CLE programs for the L&E Section via selection of topics and speak-

ers. I do this yearly since being elected to serve on the council. I have done this for the

annual State Bar of Texas Labor and Employment Law Institute held in the Fall of each

year. And sometimes also for the State Bar of Texas Advanced Employment Law Seminar

typically held in January of each year.


4.     I maintain active memberships in employment law associations. Since about

2003, I have maintained an active membership in the Texas Employment Lawyers Associ-

ation (“TELA”). TELA is a voluntary bar association of Texas lawyers who regularly rep-

resent people rather than companies in employment matters. Since 2017, I have served on

the Board of Directors for TELA. As of May 5, 2019, I am the elected President of TELA




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and am currently serving my second two-year term in that position. I am an active member

of the DFW Chapter of the National Employment Lawyers Association. I previously

chaired its speakers committee, recruiting and coordinating speakers for monthly CLE

presentations on employment law and its practice in the Dallas-Fort Worth area.


5.     I frequently teach other lawyers about employment law. Over the course of more

than two decades, I have spoken at numerous continuing legal education (“CLE”) and hu-

man resources seminars on a variety of employment law topics. In connection with such

seminars, I have written and presented numerous papers on employment law topics. The

following are examples of presentations I made in the last several years [this is not an all-

inclusive list]:


 DATE          PRESENTATION TOPIC                        VENUE

 04/20/22 Common written discovery                       SBOT 30th Annual
          issues in employment cases                     Employment Law 101
                                                         Course in Austin

 07/13/21      Use of focus groups to prepare            Houston Chapter of the
               for trials of employment cases            National Employment Lawyers
                                                         Association Meeting

 04/23/21      Use of focus groups to prepare            Texas Employment Lawyers As-
               for trials of employment cases            sociation Annual Spring Seminar

 01/13/21      Professionalism and dealing               SBOT 29th Annual
               with opposing counsel                     Employment Law 101
                                                         Course in Dallas




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05/10/19   HR systems                                 UTCLE 26th Annual
                                                      Labor and Employment Law
                                                      Conference in Austin

01/17/19   Discovery issues in                        SBOT 27th Annual Advanced
           employment litigation                      Employment Law Course at the
                                                      Westin Galleria in Dallas

01/17/18   Professionalism and dealing with           SBOT 26th Annual Advanced
           opposing counsel                           Employment Law Course at the
                                                      Westin Galleria in Dallas

09/20/16 Shooting from the HIP(AA):                   SBOT L&E Section 27th Annual
         Avoiding misfires when handling              Labor and Employment Law
         medical info in litigation                   Institute at the JW Marriott
                                                      Galleria in Houston

09/09/16 Discovery issues in                          SBOT Legal Access Division
         employment litigation                        Employment Law Task Force
                                                      Meeting

06/16/16   Ethics & professionalism                   SBOT Annual Meeting of the
           in employment law                          Labor and Employment Law
                                                      Section in Fort Worth

09/20/15   Ethics & professionalism panel: What       SBOT L&E Section 26th Annual
           the Court and Jury see and hear            Labor and Employment Law
           (co-presenters Chief U.S. District Judge   Institute at the JW Marriott
           Fred Biery and Marcia Jackson of Wick      in San Antonio
           Phillips)

01/21/15   Discovery questions: What do you ask       SBOT 23rd Annual Advanced
           (co-presenter Shafeeqa Watkins Giarra-     Employment Law Course (Em-
           tani then at Norton Rose Fulbright)        ployment Law 101 Section) at
                                                      the Westin Galleria in Dallas

01/18/13   e-Discovery                                SBOT 22nd Annual Advanced
                                                      Employment Law Course at the
                                                      Westin Galleria in Dallas




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 09/14/12    Avoiding and winning discovery              SBOT L&E Section 2012 Labor
             (co-presenter Shannon Schmoyer of           and Employment Law Institute
             Schmoyer Reinhard LLP)                      at the JW Marriott
                                                         in San Antonio

 01/26/12    Discovery and common written discov-        SBOT 20th Annual Advanced
             ery issues (co-presenter Shannon            Employment Law Course at the
             Schmoyer of Schmoyer Reinhard LLP)          Westin Galleria in Dallas

 03/23/11    Common discovery issues in employ-          SBOT Webcast from SBOT Stu-
             ment litigation (with co-presenters En-     dio in Austin
             rique Chavez of the Chavez Law Firm,
             Shannon Schmoyer of Schmoyer Rein-
             hard LLP)

6.     I have received peer recognition for my practice of employment law. In the years

2007, 2008, and 2009, the Texas Super Lawyers edition of Texas Monthly Magazine listed

me as a “Rising Star” in the field of plaintiff’s employment litigation. In the years 2017,

2018, 2019, 2020, 2021, and 2022 the Texas Super Lawyers edition of Texas Monthly Mag-

azine listed me as a “Super Lawyer” in the field of plaintiff’s employment litigation. My

understanding is that this selection is based off of an evaluation of 12 indicators including

peer recognition and professional achievement in legal practice. I did not ask anyone to vote

for me and did not campaign for inclusion.


7.     I have an excellent legal education and federal trial-level judicial clerkship ex-

perience. I am a 1996 graduate of the St. Mary’s University School of Law in San Antonio,

Texas. During law school, the St. Mary’s Law Journal published a paper I wrote on the

topic of physical appearance discrimination: Beauty and the Beast: Physical Appearance Dis-

crimination in American Criminal Trials, 27 St. Mary’s L.J. 193 (1995)—a paper that is still



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cited among academics globally, recently in materials used for a symposium in October of

2021 at Ankara Yıldırım Beyazıt University in Ankara, Turkey. During law school, I served

as a Comment Editor on the Editorial Board of the St. Mary’s Law Journal—a journal that

received accolades for being among the most cited law journals in the nation. After gradu-

ating, I worked two years as a law clerk for a federal district judge in New Orleans. During

my judicial clerkship, I provided substantial assistance to the court in the trial of several

employment law cases and in preparing rulings on matters ranging from dispositive motions

to pretrial filings to evidentiary issues to discovery disputes. I also provided substantial as-

sistance in preparing such rulings in other types of complex litigation such as securities

litigation, intellectual property litigation, CERCLA litigation, and civil RICO litigation.


8.     I have experience as a management-side defense attorney in employment

cases. Following the end of my clerkship in 1998, I practiced law for about 2 years in the

Nashville, Tennessee, offices of King & Ballow—a nationally-renowned labor and employ-

ment defense firm. During that time, I counseled employers in employment law matters

and deposed plaintiffs and witnesses in various employment law cases involving allegations

of age discrimination, race discrimination, and sexual harassment. The work I performed

involved interaction with courts and attorneys in various parts of the Southeast and Mid-

west, including Indiana, Ohio, Kentucky, Mississippi, Louisiana, and Tennessee. During

that time, I frequently made speeches to human resources personnel on employment law




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topics at programs organized by the Council on Education in Management and Lorman

Education Services.


9.     I have experience practicing commercial litigation at a big Dallas-based law

firm. I left King & Ballow voluntarily to accept an associate position in the Dallas offices of

Jenkens & Gilchrist, P.C. I understood Jenkens & Gilchrist, P.C. was one of the largest

firms in Texas at the time. I worked there for about eighteen months in its commercial liti-

gation section. At the time, that section included about sixty litigators. While there, I

worked on commercial, intellectual property, telecommunications, and franchise litigation.

From that experience, I gained knowledge of difficulties in prosecuting commercial litiga-

tion. At the time I left Jenkens & Gilchrist, P.C. my regular billable hourly rate was $255

per hour. That was in 2002 and at a time when I was only about six years out of law school.

Without any adjustment for the twenty-years of improved quality of legal services garnered

through all the training, continuing legal education, and experience I have since that time—

and only adjusting for inflation using the consumer price index for legal services generated

by the United States Bureau of Labor Statistics—that same rate for a six-year lawyer at the

end of 2021 would be $452.34 [prices for legal services were 77.39% higher in 2021 versus

2002 (a $197.34 difference in value)]. And again, that is without accounting for any im-

provement in the quality of legal service over twenty years.




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10.    I have experience concerning comparative difficulties in complex commercial

litigation versus employment litigation—employment can be more difficult. In my ex-

perience, outlined herein, employment litigation can be just as challenging and difficult as

complex commercial litigation and other kinds of complex federal litigation. Often it is

more so. Part III of The Manual for Complex Litigation published by the Federal Judicial

Center limits itself to discussion of six “Particular Types of Litigation”: Antitrust, Securi-

ties, Employment Discrimination, Intellectual Property, CERCLA, and Civil Rico. In my

opinion, the topic of employment discrimination is appropriately included and described

alongside these other areas as complex litigation. Employment litigation often presents dif-

ficulties that are not present in commercial litigation and other complex federal litigation.

For example, often the attorney prosecuting violation of an employment law must prove

intent—what a person was thinking at a particular point in time (sometimes years before).

Often that attorney must build a case based on circumstantial evidence rather than direct

evidence. Much of that evidence is often unilaterally in the possession or custody of the

opposing party—the employing entity. As the employing entity being prosecuted, that op-

posing party often has a clear incentive to refrain from producing that evidence via any

lawful means available to it. And skilled litigators might find many. Often many or most of

the witnesses whose testimony may be needed to build a case may be actively on the payroll

of the employing entity. The numerous legal doctrines at issue in employment law—such

as same-actor inferences, “cat’s paw” analysis, “stray remarks” opinions, McDonnell-

Douglas burden-shifting, after-acquired evidence doctrines, and Faragher/Ellerth



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defenses—can be difficult to understand in isolation, hard to analyze in combination, and

are frequently undergoing evolution via new precedent and splits in authority. Those cir-

cumstances combined can make employment litigation much more difficult than, for exam-

ple, breach of contract litigation between large companies—involving older legal doctrines

the main parameters of which were largely settled out over a century ago. They can also

make the prosecution of employment litigation more difficult than other complex litigation

such as those involving securities, intellectual property, CERCLA, and civil RICO.


11.    I have experience running a law firm that provides representation to workers

in employment matters. I left Jenkens & Gilchrist, P.C. voluntarily to open a solo practice

dedicated primarily to representing individuals in labor and employment disputes. This

was sometime in the first few months of 2002. I managed my solo practice law firm for

about one year. I then accepted an invitation to merge my practice into the predecessor of

the law firm of which I am now a principal: Gibson Wiley PLLC.


12.    I am familiar with the difficulties of maintaining a practice dedicated to helping

individual workers in employment matters—experienced worker-side attorneys are

relatively rare. It is my opinion, based on my experience outlined above, that economic

considerations can dissuade practitioners from entering, or remaining, in such a practice. I

have known lawyers who began a worker-side employment law practice who later switched

sides or changed focus for economic reasons. In employment cases, there are often caps on

recovery, limits on kinds of recoverable damages and costs, and the recovery itself can take



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years. The following information is based on my own experience, my work on the SBOT

L&E Council Membership Committee that I previously Co-Chaired, my review of SBOT

data that is publicly available on its website, and my interaction with attorneys on both sides

of employment litigation. In my opinion, there are many more lawyers in Texas who focus

their full-time practice of law on the management-side of employment law—representing

entities—than there are who focus their full-time practice on representing individual work-

ers in employment law matters. Practicing on the management side carries less financial

risk: It usually involves solvent client companies that can pay lawyers’ hourly bills and re-

tainers that either guarantee payment or guarantee final payment. It usually involves re-

ceipt of a regular paycheck for the lawyer and comparatively steady income regardless of

whether the client wins or loses. Management-side representation can be substantively eas-

ier because the employee usually bears the burden of proof. And it is easier to pick apart

legal elements of an employee’s claim than it is to build a winning case by proving every

element. Last I checked, the SBOT reports about 106,591 active members. Last I checked,

the entire membership of the L&E Section for the SBOT numbers was only about 3,145.

That includes those who practice law full time on the management side. In my opinion,

there are relatively few attorneys who start or keep a full-time worker-side employment law

practice.


13.    I have litigated employment law cases in Texas state and federal courts. I served

(or currently serve) as counsel of record for the employee / former employee in




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employment disputes in Dallas, Fort Worth, Houston, Beaumont, Abilene, Austin, Dom-

ino, Denton, Plano, Marshall, Amarillo, Anson, and Granbury. I have represented (or cur-

rently represent) clients who live in a wider range of geographic areas and from various

walks of life—from low-wage workers to executives. The cases in which I have served (or

currently serve) as counsel of record include various unlawful employment practices such

employers’ failure to comply with agreements, refusal to pay or underpayment of wages,

discrimination, harassment, and retaliation. This includes race and sex discrimination cases.


14.    I have counseled well over a hundred individuals in employment matters. In

addition to prosecuting civil actions, I have counseled individuals concerning their employ-

ment situations and how various employment laws might apply to their circumstances. On

numerous occasions, I have also negotiated severance packages or settlements for employ-

ees without the need to engage in civil litigation. In addition to the cases listed above, I have

served as counsel of record for the employee / former employee in employment cases out-

side of the federal and state courts in Dallas and outside of Texas.


                                     ATTORNEYS’ FEES

15.    I am familiar with the attorney’s role as private attorney general in enforcing

employment laws. My understanding is that many of the state and federal employment

laws governing unlawful employment practices rely on private enforcement. They do so by

making the employer who commits an unlawful employment practice responsible for pay-

ing the employee reasonable and necessary attorneys’ fees. In this way, governments may



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avoid the public taxpayer expense of having to employ public attorneys’ general to prose-

cute violations of these laws that governments want enforced for public policy reasons.

They do so by incentivizing private attorneys to enforce the laws with lawsuits.1


16.     I am familiar with the applicable considerations courts and juries are instructed

to use under Texas state law in addressing the reasonableness of attorneys’ fees. In

2019, the Texas Supreme Court published an opinion in Rohrmoos Venture v. UTSW DVA

Healthcare, LLP, which addressed reasonable and necessary attorneys’ fees. The starting

point for calculating attorneys’ fees is the base lodestar figure. The lodestar is a reasonable

amount of hours multiplied by a reasonable hourly rate. This requires some evidence of (1)

the particular services performed, (2) who performed those services, (3) approximately

when the services were performed, (4) a reasonable amount of time required to perform

the services, and (5) a reasonable hourly rate for each person performing such services. For

a reasonable hourly rate, Rohrmoos gives us a non-exclusive list of considerations—

Rohrmoos says it “usually” includes “at least” these considerations: “the time and labor

required,” “the novelty and difficulty of the questions involved,” “the skill required to

perform the legal service properly,” “the fee customarily charged in the locality for similar


1
 Samuel R. Bagenstos, Mandatory Pro Bono and Private Attorneys General, 101 NW U. L. REV. COL-
LOQUY   182, 187 (2007) (“Because the private attorney general system is essential to civil rights
enforcement, and fee shifting is the engine that drives the system, judicial rulings regarding the
availability of statutory attorneys’ fees are likely to have extremely significant effects on the vindi-
cation of civil rights in practice.”). The legislative history of the Civil Rights Attorney’s Fees
Awards Act of 1976 has a robust discussion of the private attorneys’ general concept, and a com-
pilation of that history is here: https://ufdc.ufl.edu/AA00026686/00001/1.




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legal services,” “the amount involved,” “the experience, reputation, and ability of the law-

yer or lawyers performing the services,” “whether the fee is fixed or contingent on results

obtained,” “the uncertainty of collection before the legal services have been rendered,”

and “results obtained.” A reasonable hourly rate does not depend on the fee agreement

between the prevailing party and his attorney. A reasonable hourly rate depends on all the

relevant considerations for a particular case. That may include fewer than all the consider-

ations listed above. Or it may include more than the considerations listed above.


17.    I am familiar with considerations courts use under federal law applicable in

Texas to address the reasonableness of attorneys’ fees. The United States Supreme

Court published an opinion in Blum v. Stenson, 465 U.S. 886 (1984), which addressed at-

torneys’ fees. In it, the United States Supreme Court noted courts use the “prevailing mar-

ket rates in the relevant community.” Then in Purdue v. Kenny A. ex rel. Winn, 559 U.S.

542 (2010), the United States Supreme Court explained that the lodestar method (hours x

rate) has become the “guiding light” in fee-shifting jurisprudence and has “several im-

portant virtues.” First, it looks to the “prevailing market rates in the relevant community”

referenced in Blum. It “produces an award that roughly approximates the fee that the pre-

vailing attorney would have received if he or she had been representing a paying client who

was billed by the hour in a comparable case.” Second, it is “readily administrable” and—

unlike the Fifth Circuit’s prior approach in Johnson v. Georgia Highway Express, Inc., 488

F.3d 714 (5th Cir. 1974)—is objective. Still, federal courts consider factors from Johnson in




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determining whether to adjust the lodestar result upward or downward. Those Johnson fac-

tors largely overlap the Texas state Rohrmoos factors referenced above. Those Johnson fac-

tors are (1) time and labor required; (2) novelty and difficulty of issues; (3) skill required;

(4) loss of other employment in taking the case; (5) customary fee; (6) whether the fee is

fixed or contingent; (7) time limitations imposed by client or circumstances; (8) amount

involved and results obtained; (9) counsel’s experience, reputation, and ability; (10) case

undesirability; (11) nature and length of relationship with the client; and (12) awards in

similar cases.


                   ATTORNEYS’ FEES: REASONABLE HOURLY RATES

                                 Time and Labor Required

18.    I am familiar with the time and labor required to bring an employment case to

trial. To get to trial of an employment case can take anywhere from as few as six months—

on some known “rocket dockets” like in the federal courts of East Texas or Eastern Vir-

ginia—to as many as about ten years when a case hits procedural snags, stays, changes of

counsel, interlocutory appeals, etc. What is more common is something in between — like

18 months to 3 years. To prepare a case well for a jury trial, and try it, can take hundreds and

sometimes thousands of hours of work performed collectively by more than one lawyer.

And that is if the lawyers are experienced. And therefore, have some efficiencies handling

pretrial projects that come with that experience. With employment cases, it takes time to

learn a lot about the underlying relationship an employee had with her employer. That




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covers a lot. People may work about 8 hours per weekday with an employer, 5 days per week

for 40 or 50 weeks per year over several or many years. But even though the adverse em-

ployment action even [e.g., firing, denial of promotion, etc.] can happen in a short

timeframe, successful prosecution of an employment case can take an extensive knowledge

of that underlying relationship. Because sometimes employers may defensively use events

that happened months or years before. But only raise them during a trial with no or minimal

notice. The employer may control much of the evidence in an employment case. So, there

can sometimes be numerous disagreements over discovery that may have to be resolved.


19.    I have some familiarity with the time and labor it took the lawyers who prose-

cuted the Nikolova case to prevail. I understand that the prosecuting plaintiff seeks to

recover for around 2,000 hours of work. I understand it was a challenging and hotly-con-

tested case—filed in 2019 and tried to a jury in 2022. I understand it involved rounds of

dispositive motions, and about ten asserted affirmative and other defenses. I understand it

included about eleven depositions and about a week of trial testimony. I understand it in-

volved gathering and analysis of statistical evidence. And gathering of comparative infor-

mation about other employees. Then analysis of which were similarly situated. And, of

those, analysis and presentation of their records on factors concerning tenure decisions:

Like research funding, publication record, and teaching. I understand the employer would

not even concede that a prima facie case of discrimination existed. I understand the em-

ployer proffered shifting reasons for the adverse employment action—between alleged




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teaching deficiencies to concerns about research funding. The type of these proffered rea-

sons can call for a more involved analysis, and more work, to show they are pretextual. By

way of comparison and example, if an employer were to allege the motive for an adverse

employment action was that an employee did not show for work on a specific day—analysis

and proof that the employee actually did show for work that day might be relatively easier.

In my opinion, taking around 2,000 hours to successfully prosecute such a case is not unu-

sual and speaks to efficient use of time and labor overall—which speaks to how experience

is brought to bear on prosecution. That is, it speaks to the quality of the time and labor

exerted: The notion that for some tasks, it can take an experienced lawyer less time and

labor to accomplish a task it might take a lesser-experienced lawyer to accomplish. That

informs how the quality of the time and labor exerted impacts the reasonableness of the

hourly rates requested. In addition to my own experience in prosecuting employment cases,

I base my opinion on time and labor here in small part on my review of some other single-

plaintiff employment cases tried to a jury verdict in recent years and the total hours federal

courts in Texas have found to be reasonable—such as Miniex v. Houston Housing Authority,

Civil Action No. 4:17-0624 [Doc. 277] (S.D. Tex. Sept. 13, 2019). In Miniex, a general coun-

sel successfully sued her former employer over her unlawful retaliatory firing for engaging

in activity protected by the False Claims Act. Judge Nancy F. Atlas determined that 2,423

hours of labor was reasonable and recoverable for prosecution of the case—which included

work over about a 2-year period, concluding with a 6-day jury trial. Though the Miniex case

was tried in the United States District Court for the Southern District of Texas, the number



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of hours it can take to successfully prosecute an employment does not—in my experience

and opinion—vary much by district. I also base my opinion on time and labor here in small

part on my review of testimony in this case: Thomas v. Cook Children’s Health Care System,

No. 4:20-cv-01272-O [Doc. 138-1] PageID 11174-83 (N.D. Tex. May 16, 2022). Thomas is

a single-plaintiff employment discrimination case. The court granted summary judgment

for defense. No trial was had. Defense is seeking fees for defending the case through sum-

mary judgment. Defense has proffered testimony of a partner in the law firm of Winston &

Strawn, LLP., Geoffrey S. Harper—one of the defense attorneys in the case. Collectively,

counsel for defense in Thomas contends defense spent about 5,838.90 hours between six-

teen lawyers, with no trial, and that this time was both reasonable and necessary. See id.

[Doc. 138-1] at pp. 7-8, PageID #11180-81, ¶¶ 17-18 (“I strongly believe that the work was

reasonable and necessary for the defense of this case.”). These other cases, however, only

play a small part in my opinion on time and labor as they impact the reasonableness of

rates—for the obvious reason that each case can have its own procedural peculiarities and

necessities. But they inform my opinion generally on how many hours it can take to win an

employment discrimination case. And there is a relationship between hours and rate that

informs my opinion on the reasonableness of a rate: Consider a team of lawyers who can

perform in about 2,000 hours what it might take another team of lawyers over 3,000 or

5,000 hours to perform. The prevailing market rates are higher for that first team. As ap-

plied here, it is remarkable to me that the prosecuting team—primarily just Robert W.

Schmidt and Robert S. Notzon—were seemingly able to accomplish in about 2,000 hours



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what might have taken a different team much longer. Those quality-based efficiencies in

use of time and labor inform my opinion below concerning the reasonableness of the hourly

rates being requested in the Nikolova case.


                             Novelty and Difficulty of Issues

20.    I am familiar with the novelty and difficulty of issues involved in employment

litigation—in my opinion, employment litigation is difficult. In Rush Truck Centers, L.P.

v. Fitzgerald, No. DC-09-19598-D (95th District Court for Dallas County, Texas March 2,

2012), former Dallas County District Judge Ken Molberg [now a Dallas Court of Appeals

Justice] compared commercial cases with employment cases: “[I]n this Court’s experience

and observation, it is more difficult to prevail in an employment case than it is in any given

commercial or business case.” I share that opinion. Often the attorney in an employment

case must build a case based on circumstantial evidence rather than direct evidence. The

current or former employer usually has greater access to, and control over, the evidence. It

may employ many of the witnesses. It may try to justify an employment decision after the

decision has been made and may assert multiple reasons for each such decision. In doing

so, it may go back years into the employment relationship to dredge for dirt on the employee

plaintiff. It may change its story during litigation. Employment cases involve a lot of unique

doctrines—like those mentioned above. And sometimes employers assert numerous af-

firmative defenses that take time and effort to handle, even when the employer effectively

abandons those defenses at trial.




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                     The Skill Required to Perform the Legal Service

21.    I am familiar with the skill required to successfully prosecute an employer. A

lawyer hoping to do so can have numerous obstacles that take skill to overcome. Some are

just inherent in civil litigation work generally compared with other kinds of legal services.

For example: Managing the amount of work itself. Legal services like negotiating a settle-

ment agreement can involve a relatively fixed and lesser amount of time and a more limited

number of tasks. Litigation and trial work generally can require skill in managing hundreds

or thousands of hours of work and dozens of tasks. Some of those tasks can be dictated by

others, like courts or opposing counsel. I sometimes analogize to what I imagine it might be

like steering a cruise ship with a paddle—hard to keep direction controlled. Another exam-

ple: facing skilled opponents. That is, well-educated, trained, and sometimes more-experi-

enced, lawyers who are dedicating and focusing their skills and time to opposing what you

are doing. Where lawyers in a corporate merger may ultimately be trying to come to a mu-

tually agreeable deal, lawyers in litigation usually are not. Some obstacles can be more par-

ticular to plaintiff-side work—like bearing the burden of proving liability. I analogize the

difference in prosecuting a civil case and defending one [I have done both in my career] to the

difference in building a house versus tearing one down: Creating is harder than destroying.2

Some obstacles can be more particular to employment litigation. For example, disparity in




2
  Famous Texan and former Speaker of the United States House of Representatives Sam Rayburn
is reported to have stated a similar analogy less delicately but more colorfully: “Any jackass can
kick down a barn, but it takes a carpenter to build one.”



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resources with which to litigate—caused in part by the defending employer: The David v.

Goliath obstacle. When one large company is suing another large company over an intellec-

tual property dispute, for example, there may also be disparity. One company may have

more resources than the other. But a working person’s wages are often that person’s only

or main source of revenue. When an employer cuts off or limits those wages, the employer

cuts off disposable resources with which to invest in prosecuting litigation over those very

wages. Employment litigation usually involves an individual who is wholly or mostly de-

pendent on employment for income trying to prosecute an entity with at least sufficient

wealth enough to employ individuals. As a practical matter, for a lawyer, this can mean that

the litigation will have to proceed without certain resources a lawyer might like to have in

litigation and might have in other kinds of litigation: Resources like consulting or testifying

experts, private investigators, live video-depositions, depositions of persons or entities far-

outside the geographic area of the litigation, and litigation support services such as IT per-

sonnel and technology support staff. Otherwise, it can mean the prosecuting lawyer will

have to risk paying those expenses themselves—with only a hope of recovering those costs,

some of which may not be recoverable at all under the applicable costs recovery rules or

statutes. In my experience, few working people can afford to pay a lawyer a full market

hourly rate secured with a retainer to fully prosecute an employment claim all the way

through trial. So, the only real access to the courthouse for those employees depends on

finding a lawyer willing to represent him on a contingency arrangement—meaning the law-

yer will only be fully paid contingent on the lawyer winning or successfully negotiating a



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settlement. In my experience [outlined herein] many law firms with entire staffs of lawyers

who spend their careers focusing on employment law simply will not represent clients on

that kind of risk of non-payment. To modify the age-old colloquialism / idiom about “not

suffering fools,” a plaintiff’s employment law practice will not often or long suffer unskilled

attorneys and it takes a very skilled lawyer to be able to work without access to resources of

a big company, a government, or a large law firm. There can also be a discovery-access

problem: There is usually an access obstacle—with the employer controlling needed doc-

uments and employing many or most of the main witnesses to the questions of liability. It

takes a lot of developed skill to overcome these obstacles.


22.    It is my opinion that it took a lot of skill to successfully prosecute the Nikolova

case. I understand that this case presented the kinds of obstacles referenced above and

some others. I understand the case pitted plaintiffs’ counsel against skilled, highly trained,

and experienced defense counsel—several such attorneys—both government lawyers and

counsel from an international law firm [with over 1,600 lawyers in about 100 locations /

offices] that has an exclusive focus on labor and employment law—advertised to be “the

world’s largest employment and labor law practice representing management.”


                   The Customary Fee and Awards in Similar Cases

23.    I am familiar with hourly fee rates that lawyers who bill by the hour charge for

employment law work in Texas—as well as rates federal and state court judges have

awarded in Texas for employment law work. I have researched and led research



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concerning hourly fee rates that federal and state court judges have awarded in employment

cases in Texas over the past several years. And concerning what lawyers who practice em-

ployment law in Texas bill to clients [and receive from clients] as hourly rates—when they

have clients who can pay by the hour. Results of such work are contained in a 2022 Attor-

neys’ Fees Hourly Rate Yearbook for Employment Law that is published via the Texas

Employment Lawyers Association. A copy is attached. This is a compilation of attorneys’

hourly rates for employment law work in Texas. It uses court rulings, jury verdicts, arbitra-

tions, testimony, and actual rates billed. Unlike summaries of anonymous surveys, it names

lawyers and cites sources. To help compare quantity of experience, it is grouped by ten-

year classes—like a yearbook groups classes from seniors to freshmen. It is organized by

geographic regions corresponding with the four federal districts in Texas and accounts for

inflation to the end of 2021 via the U.S. Bureau of Labor Statistics for legal services. This

compilation is limited to employment law work—about 283 lawyers and 117 fee awards.

This research and book, in part, informs my opinions expressed herein concerning current

market rates for worker-side attorneys who prevail in prosecuting employment cases in

Texas and, more specifically, in Austin, Texas. It informs my opinions concerning ranges

of reasonable rates—with lows for the newer lawyers at about $250 per hour to highs

around $1,000 per hour for experienced attorneys in employment matters. It specifically

informs my opinion concerning fair and reasonable hourly rates for legal services of Robert

W. Schmidt, Robert S. Notzon, and Robert E. McKnight, Jr. (each of whose professional

biographies I have read). As I helped create and assemble this book, I also read the



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biographies of each lawyer listed in it. And so, I have some familiarity with the comparative

qualities of experiences of all these lawyers.


                      The Amount Involved and Results Obtained

24.    I am familiar with the results obtained in the Nikolova case: They are outstand-

ing. The results really speak for themselves. A jury verdict for an employee in the amounts

of $1,000,000 for past non-economic loss, $2,000,000 for future non-economic loss, and

$50,000 for economic loss. This is a significant win. And against a much-beloved public

institution in the local community—a fact that can make trying and winning a case against

such an entity more difficult in that community. These results inform my opinion about

how well this case was prepared and tried and so, on rates.


                        The Experience, Reputation, and Ability
                          of the Lawyers Performing Services

25.    In my opinion, Robert W. Schmidt is an excellent employment lawyer—whose

skill, experience, and reputation are outstanding. I am familiar with attorney Robert W.

Schmidt. I have known him for a number of years—primarily through our professional as-

sociation and collaboration through the Texas Employment Lawyers Association. We have

discussed employment law issues and trial advocacy techniques. He and I have planned

continuing legal education courses on such issues. I am familiar with his work in federal

courts in Texas. I have compared his published experience with that of other attorneys ref-

erenced in the attached 2022 Attorneys’ Fees Hourly Rate Yearbook. Few lawyers within




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the Western District of Texas have his combination of trial skills, years and quality of rele-

vant experience, and knowledge in handling difficult employment law doctrines on behalf

of employees. I know his reputation among worker-side employment lawyers. His reputa-

tion among worker-side employment lawyers is excellent. Because of my experience refer-

enced herein, I am familiar with what are considered reasonable rates in the employment

law practice area for lawyers with comparable skill, experience, and reputation to that of

Robert W. Schmidt—across Texas and within the Western District of Texas.


26.    In my opinion, Robert S. Notzon is an excellent lawyer—whose skill, experi-

ence, and reputation are exceptional. I have worked and interacted less with Mr. Notzon

than I have with Mr. Schmidt. But I am familiar with Mr. Notzon and his work. I have

known him for a number of years—through our professional association and collaboration

through the Texas Employment Lawyers Association. We have discussed employment law

issues, trial advocacy techniques, and preparation of employment law cases for trial. I have

reviewed his biography. He has an excellent reputation among worker-side employment

lawyers for taking on difficult employment law matters. I have compared his published ex-

perience with that of other attorneys referenced in the attached 2022 Attorneys’ Fees

Hourly Rate Yearbook. Because of my experience referenced herein, I am familiar with

what are considered reasonable rates in the employment law practice area for lawyers with

comparable skill, experience, and reputation to that of Robert S. Notzon—across Texas

and within the Western District of Texas.




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27.    In my opinion, Robert E. McKnight, Jr. is an excellent lawyer—whose skill,

experience, and reputation in preparing fee applications are exceptional. I am familiar

with attorney Robert E. McKnight, Jr., who I understand is providing services concerning

the fee application in the Nikolova case. I am familiar with his reputation for handling fee

applications and appeals. He is known for having a niche practice—helping prepare fee ap-

plications for worker-side lawyers when they prevail at trial. He is known among worker-

side lawyers in Texas as the “go-to” lawyer for that sort of work because of his extensive

knowledge of the laws governing fees and employment law. I have read fee applications he

has prepared in various employment law cases and his work is excellent. I have known him

for approximately twenty-five years, both personally and professionally through his active

involvement in the Texas Employment Lawyers Association and from his work in Louisi-

ana when I was clerking for a judge in the United States District Court for the Eastern Dis-

trict of Louisiana. He had a role in publishing the Fifth Circuit Civil News — an excellent

survey of cases from the United States Court of Appeals from the Fifth Circuit. He is also

author of a well-regarded and multi-volume treatise, which I understand is now in its Fifth

Edition, entitled REPRESENTING PLAINTIFFS IN TITLE VII ACTIONS. I am familiar with his

work and excellent reputation for handling difficult appellate work in employment cases

including fee applications. I have compared his published experience with that of other at-

torneys referenced in the 2022 Attorney’ Fees Hourly Rates Yearbook attached. In my ex-

perience, few lawyers in Texas have his combination of writing and appellate briefing skills,

years and quality of relevant experience, and vast knowledge of handling difficult



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employment law doctrines on behalf of employees—and fewer still in the cross-section of

laws on fees and applications for fees and employment law. Because of my experience ref-

erenced herein, I am familiar with what are considered reasonable rates in the employment

law practice area for lawyers with comparable skill, experience, and reputation to that of

Robert E. McKnight, Jr.—across Texas and within the Western District of Texas.


                                   Case Undesirability

28.    I am familiar with how the economic amounts involved in employment cases

can shrink the available market for counsel who are well-qualified to successfully try

cases. Employment law claims can lack remedies other laws provide—like trebling of dam-

ages under deceptive trade practice laws. Economic losses may be lesser than those involv-

ing big commercial cases. Damages caps that have been in place for decades and without

adjustment for inflation may apply. For these reasons, these cases can be undesirable to

lawyers who can try cases—lawyers who have skills enough to not only file cases and go

through procedures and discovery [i.e., “litigators”] but also carry cases all the way

through a trial [i.e., “trial lawyers”]. Lawyers with sufficient skill to try and win complex

litigation could choose to limit their practice to only representing high-income earners

whose economic losses are large. Or companies in commercial disputes. So, the market for

such worker-side lawyers who will represent workers with relatively low economic losses

can be smaller than other markets for legal services provided on a contingency fee basis.

This can put lawyers who will try such cases in high demand. Consequently, it bears on




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what a market hourly rate might be when engaging in the hypothetical lodestar question

under Perdue—what the prevailing attorney “would have received if he or she had been

representing a paying client who has billed by the hour in a comparable case.”


29.    I am familiar with the difficulties associated with substantial non-economic

losses at stake: It is a smaller set of lawyers well-qualified to handle those cases. When

an employee has sustained tremendous compensatory non-economic losses, it can take par-

ticularly skilled attorneys to prosecute employment cases for such an employee. The losses

may not be as easy to calculate as economic losses. Jurors may be more hesitant about

awarding and calculating awards for such losses. After all, many eighth graders with a cal-

culator might be able to calculate economic losses. But non-economic loss can be harder to

calculate. So, it can take a deft touch when the amounts involved are only or mainly for non-

economic losses. But not just with the jury. With the employee / client as well. Because

that employee, of course, has suffered substantial non-economic harm. That can infect so

many aspects of the attorney-client relationship. In ways that clients who have not suffered

such harm may not have. Like communication. A client with purely economic loss may not

have the same kind of trouble describing the loss—or even communicating generally—than

someone who has suffered great anguish or other non-economic loss. A quote that comes

to mind, attributed to more than one writer, from a different context: “once you have been

tortured you remain tortured.” The great trauma a jury recognizes as compensable can also

make it harder for that person to participate in the prosecution of a civil action over that




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very trauma. Because of the continuing nature of the trauma itself. So, the nature of the

amounts involved—the kinds of harms and losses they represent—inform my opinions on

rates expressed herein. Because of how narrow the field can be for lawyers who have both

experience with employment law but also specialized training and skills to both handle

those issues and relate them to jurors. Over substantial non-economic loss. As a matter of

supply and demand, this smaller market could drive market rates to be higher in the hypo-

thetical analysis the United States Supreme Court calls for in Perdue v. Kenny A. ex rel.

Winn, 559 U.S. 542, 551 (2010): To find “an award that roughly approximates the fee that

the prevailing attorney would have received if he or she had been representing a paying client

who has billed by the hour in a comparable case.”


30.    In my opinion, civil rights work generally—and employment discrimination

cases specifically—can be undesirable for lawyers because of their complexity. In my

opinion, there is a shortage of lawyers in Texas who are willing to take such cases for work-

ers compared to how many workers need help. On a given weekday, I may get three to five

calls from potential clients—workers who need help in an employment matter. And I do

not even have a firm website for marketing. In my experience, workers may have to try

dozens of lawyers before finding one willing to help. In my opinion, this is partly because of

the undesirability of this kind of work. Because the work is complex. I think it can be easier

for lawyers to make money working on other, less-complex cases.




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31.    In my opinion, civil rights work generally—and employment discrimination

cases specifically—can be undesirable for lawyers because of some practical problems

in trying discrimination issues to a jury. Aside from the complexity of the law itself, there

can be practical problems that make such cases difficult: Many people, many prospective

jurors, may have express or subconscious biases favoring the very kind of discrimination at

issue in an employment discrimination case. That is, many people may hold the belief that

employers being free to discriminate—on the bases of various protected categories—is a

good thing. At inception, civil rights laws themselves prohibiting employment discrimination

were not overwhelmingly popular. I understand the United States House of Representa-

tives passed the Civil Rights of 1964 on February 10, 1964, and after a 54-day filibuster, it

passed the United States Senate on June 19, 1964. The final vote was 290–130 in the House

of Representatives and 73–27 in the Senate. In contrast, making acts like murder a crime—

or creating civil liability for breach of contract or fraud—seems near universally popular.

Many people [prospective jurors] may hold beliefs that employers should be able to refuse

to hire people who are gay or lesbian, or be free to pay pregnant women less or deny them

tenure because of their sex, etc. After all, Jim Crow laws—as odious as they were—did not

exist because they were so nationally condemned and extremely unpopular. Same with the

discrimination inherent in school segregation: It was not undone via popular mandate but

as a result of cases like Brown v. Board of Education of Topeka, 347 U.S. 483 (1954). Skipping

forward to more modern times, at least some of that opinion favoring discrimination—or

at least disfavoring making it illegal—still exists. For example, in forming my opinion on



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this aspect of undesirability, I have considered this result of polling by the Kaiser Family

Foundation (KFF) of 1,001 people:




While the set of people opposing laws on discrimination is a minority, it is a significant

one—hovering between 20% and 30%, according to this poll. Similarly, on pregnancy dis-

crimination, there is this kind of recent polling data showing a significant minority of people

polled have no concern about the treatment of pregnant workers [from the thinktank, Data

for Progress]:




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So, of 1,169 persons [those identified as likely voters] polled, 18% express no concern over

the treatment of pregnant workers: And those rates vary from 7% to 29% by party affiliation.

Views favoring discrimination—and views disfavoring laws banning discrimination—are

unfortunate. But those views are a reality. Or at least a perceived reality. If accurate, they

can make trying and prevailing before a jury in civil rights discrimination cases difficult.

Even if inaccurate, the fact that such data exists can discourage lawyers from taking such

cases. Having a large [though minority] segment of the population who even might believe

discrimination should be legal is a real disincentive from taking such cases. So is having a

large [though minority] segment who might believe treatment of pregnant workers is not a

concern at all. As pay can depend on prevailing despite these beliefs, the existence of these




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beliefs—or at least the perception that these beliefs may exist among the general popula-

tion—can, in my opinion, make such cases undesirable for lawyers.


32.    In my opinion, civil rights work generally—and employment discrimination

cases specifically—can be undesirable for lawyers because of the fear of how judges

[who decide fees] might view requests for fees in such cases. In assessing whether they

might be paid fairly, if they prevail, lawyers may believe they have to overcome some ste-

reotypes about getting fair compensation in civil rights matters. As General Counsel of the

United States Department of Health and Human Services and former Law Professor Sam-

uel R. Bagenstos of the University of Michigan Law School puts it:


       We currently have a system of civil rights enforcement that harnesses the
       profit motive of plaintiffs’ attorneys to encourage the prosecution of viola-
       tions of civil rights laws. That system may seem crass and disreputable to those
       who believe that lawyers should bring civil rights actions out of the goodness of their
       hearts (perhaps while singing ‘Kumbaya’ or, for those of a more lefty persua-
       sion, ‘If I Had a Hammer’).


Samuel R. Bagenstos, Mandatory Pro Bono and Private Attorneys General, 101 NW U. L. REV.

COLLOQUY 182, 182 (2007) (emphasis added). Professor Bagenstos is not alone. He sum-

marizes and quotes former Dean and Professor Emeritus of the University of San Francisco

School of Law—who performed an analysis of fee opinions in civil rights cases:


       The biggest obstacle to that system is the view, widespread among federal
       judges, that civil rights litigation ‘is not part and parcel of ordinary practice,
       but is more in the nature of charity or volunteer work.’




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Id. at p. 187 (quoting Jeffrey S. Brand, The Second Front in the Fight for Civil Rights: The

Supreme Court, Congress, and Statutory Fees, 69 TEX. L. REV. 291, 373 (1990)). Whether

any of this is actually true or not—that those who decide fees have this expressly-held or

subconscious bias—is beside the point. Whether that belief is real or not, in-play or not, the

mere prospect of its existence can have real-world impact on desirability: Given the existence

of such scholarship and conclusions of those who study the area, a lawyer might refrain

from taking the gamble that seeking money for enforcing civil rights laws will be seen [ex-

pressly or subconsciously] as crass. Or that seeking fees for such work will be viewed with

some amount of disfavor. Or that civil rights work may ultimately be seen as not as deserv-

ing of fees as say, business disputes or copyright or intellectual property work—because

civil rights should be done pro bono, out of charity, etc. And may, therefore, garner less

compensation.


33.    In my opinion, civil rights work generally—and employment discrimination

cases specifically—can be undesirable for lawyers because of the fear of how judges

[who decide fees] might set rates. In my opinion, a disincentive for taking these cases can

be the belief that judges will only provide compensation at or below the same rates defense

lawyers can make win or lose—as Professor Bagenstos explains:


       Because plaintiffs’ counsel in fee-shifting cases get paid only if they win, pay-
       ing them the same hourly rate as lawyers who get paid whether they win or
       lose creates a disincentive to take these cases.




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Id. at p. 185. So, a lawyer faced with the prospect of only earning [at most] at the same rate

as lawyers who are paid win or lose—can make these cases undesirable.


34.    In my opinion, civil rights work generally—and discrimination cases specifi-

cally—can be undesirable for lawyers because of the imbalance in resources common

to the practice area. Just last month, United States District Judge Amos L. Mazzant of the

Eastern District of Texas noted the undesirability of civil rights work in a housing discrim-

ination case:


       Further, this case underscores the undesirability of civil rights litigation. Counsel
       for Ms. Swanston and WESL took this case on a contingency basis and have
       litigated the matter for over three years, undertaking ‘an immediate 20% loss
       of revenue with the long-term possibility that none of that revenue would be
       recovered’ . . . . Aware of the potential losses, Plaintiffs’ counsel went up
       against a municipality with substantial financial resources, a large in-house legal
       staff, and representation by a firm with 19 attorneys.


Swanston v. City of Plano, Tex., No. 4:19-cv-412 [Doc. 145] at p. 14, PageID #3492 (E.D.

Tex. Aug. 18, 2022) (emphasis and omission added). My understanding is that in the Ni-

kolova case, as previously noted, plaintiff’s counsel faced both government lawyers and

counsel from an international law firm [with over 1,600 lawyers in about 100 locations /

offices] that has an exclusive focus on labor and employment law—advertised to be “the

world’s largest employment and labor law practice representing management.” In short,

resources far exceeding those Judge Mazzant mentions in Swanston [i.e., a bigger




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governmental entity and a law firm with more attorneys]. In my opinion, that can make civil

rights cases undesirable for the same reasons Judge Mazzant mentions.


35.    In my opinion, civil rights work against government entities can be undesirable

for lawyers—generally, and specifically against such a beloved institution as the Uni-

versity of Texas. In addition to the existence of damages caps that have been in place for

decades and without adjustment for inflation, punitive damages are currently unavailable

against a government under the Texas Commission on Human Rights Act and Title VII of

the Civil Rights Act of 1964. That can make a case undesirable for a skilled trial attorney—

who might opt instead to take cases without caps and with the availability of punitive dam-

ages. Also, the University of Texas is a beloved institution across the State of Texas and

especially in Austin. People wear its signature burnt-orange colors ubiquitously, whether

students or not. Which alone could discourage lawyers from taking cases against that insti-

tution for the simple fact that jurors in the local community may feel some affinity with the

institution. Also, many lawyers and judges are alumni of the institution. So, there is the

prospect of negative potential consequences for a lawyer’s career in taking a case against

the institution—or at least there may be the perception of such a prospect. All this undesir-

ability further informs my opinion on fees in the Nikolova case.


             Comparison with State Bar of Texas Summaries of Surveys

36.    In forming my opinion on fees expressed herein, I have considered State Bar of

Texas summaries of surveys—but find them unreliable and unhelpful for numerous



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reasons. For a number of years, the State Bar of Texas published summaries of surveys on

fee rates. Such as the 2015 Hourly Rate Fact Sheet and a 2019 Income and Hourly Rates

Report (the “summaries” or “SBOT summaries”). I have considered them and compared

them the 2022 Attorneys’ Fees Hourly Rate Yearbook for Employment Law that is at-

tached. The latter is, in my opinion, way more reliable—for numerous reasons:


          (a)    The SBOT disclaims the summaries as being of any use in setting fees:

The State Bar of Texas itself expressly notes that its summaries should not be used to set

rates: “[H]ourly rate information is no longer collected. Past hourly rate reports were not

designed for nor intended to be used for setting appropriate attorney fees.”3


          (b)    The surveys underlying the SBOT summaries have methodological

problems: In my opinion, the underlying survey has lots of fundamental methodological

problems that make the accuracy of its summary questionable. Even though some courts

have used, I do not think courts have always considered those problems. The Texas Em-

ployment Lawyers Association commissioned statistics professor N. Shirlene Pearson,

Ph.D, to analyze the Hourly Rate Fact Sheet. I am familiar with her written analysis, au-

thored and self-published, concerning the veracity of — and methodology used in creating

— the Hourly Rate Fact Sheet. An accurate copy of that written analysis is attached hereto.

I have considered it in forming my opinions herein and I agree with Professor Pearson’s


3
    https://www.texasbar.com/AM/Template.cfm?Section=Demographic_and_Economic_Trends




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conclusion that courts should not rely on the Hourly Rate Fact Sheet in deciding prevailing

rates in the relevant community. Because of the methodological problems underlying the

survey itself—that Professor Pearson discusses—such as these: (1) the response rate is

unreliably low; (2) as a voluntary, self-selecting survey, it suffers from selection bias in that

the group who respond may differ in important characteristics [such as having vested in-

terests in results], which can skew results; (3) it is paired with sensitive questions [such as

those about income] that can discourage participation; (4) as it is emailed, it may exclude

participation by those whose email SPAM filters have filtered out the survey and expressly

excludes those who opt out of State Bar emails altogether; (5) the summary excludes re-

sponses from part-time attorneys; and (6) there is ambiguity in the results, as the survey

does not differentiate between volume discount rates and real rates. United States District

Judge Frank Montalvo in the Western District of Texas rejected use of the state bar sum-

maries, in part, for methodological problems Professor Pearson noted:


       Dr. Pearson stated the Texas Bar survey underlying the Fact Sheet data suf-
       fered from the fatal defects of a limited sample size, selection bias, and subop-
       timal methodology.[] Moreover, the hourly rates listed on the Fact Sheet do
       not distinguish between reported billing method: hourly fees, flat rates, con-
       tingency fees, or discounted fees for volume clients.[] Dr. Pearson concluded
       the Fact Sheet does not reliably reflect the hourly rates of attorneys in
       Texas.[] Tellingly, the Texas Bar itself warns against using the Fact Sheet to
       set attorney fees.[] . . . After consideration of the significant limitations of the
       Fact Sheet, this court relies on the three attorney declarations supporting the
       Motion, which compellingly concur that the requested rate is reasonable.


Diocesan Migrant & Refugee Servs., Inc. v. United States Immigration and Customs




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Enforcement, No. EP-19-cv-00236-FM [Doc. 72] at pp. 25-26 (W.D. Tex. Jan. 28, 2021)

(omissions added). I share Judge Montalvo’s quoted opinion on the defects he mentions

and that also plays a role in my opinions on fees expressed herein. I have also considered

United States District Judge Nancy F. Atlas’s opinion in, in which she also notes the sum-

mary is an unreliable guide:


       The Court is unpersuaded that the median rates for labor and employment
       lawyers in the 2015 SBOT survey is a reliable gauge for reasonable hourly
       rates for work performed in 2017 through 2019 by B&A’s attorneys and
       Thornton. The SBOT survey data is several years old, provides only median rates,
       and is of questionable reliability because of a very low response rate (only 9.6% of
       Houston lawyers responded to the survey).


Miniex v. Houston Hous. Auth., No. 4:17-0624 [Doc. 277] at p. 9, 2019 WL 4920646, at *4

(S.D. Tex. Sept. 13, 2019) (emphasis added). I share Judge Atlas’s opinion that the sum-

mary is an unreliable guage for these same reasons. In my opinion, many similar and other

methodological problems affect the underlying surveys, too. For example, it appears to me

that participants can submit multiple responses, as many as they want, apparently. It seems

to me that the responses themselves are unvalidated; lawyers with an interest in seeing re-

sults reflect low rates can submit lower than actual rates. I cannot tell whether or how an-

swers are verified for accuracy. The questions about rates themselves are unclear, particu-

larly when asking respondents about non-hourly arrangements like flat or contingent fees.

Specifically, the survey does not seem to explain whether it is asking for respondents to

state an hourly rate equivalent, a total amount of flat fee or contingency fee revenues; or




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what a typical flat or contingent fee happens to be. For all of these same reasons, in my

opinion, the summaries are not even a proper subject for judicial notice under Federal Rule

of Evidence 201:


       Rule 201. Judicial Notice of Adjudicative Facts
       ....
       (b) Kinds of Facts That May Be Judicially Noticed. The court may judicially
       notice a fact that is not subject to reasonable dispute because it:
       ...
       (2) can be accurately and readily determined from sources whose accuracy can-
       not reasonably be questioned.


Regardless of whether this evidentiary rule applies in the context of fee applications, the

policy expressed in it appears to me to be that decision-makers should only take this evi-

dentiary shortcut when the proffered fact is likely beyond reasonable dispute. And because

of the methodological problems with the underlying surveys these summaries purport to

summarize, they would not usually qualify for such an evidentiary shortcut.


       (c)    There is no readily available way to verify whether the SBOT summaries

accurately summarize the SBOT survey data—because the underlying data is not

published. My understanding is that the State Bar of Texas summaries are based on anon-

ymous surveys. To my knowledge, only the summaries are published while the underlying

data—that is the survey responses themselves—are not. Without that data, there is no

readily available way to test whether the published summaries accurately summarize the

underlying surveys. In my opinion these summaries would not meet the basic criteria for




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admission as a summary under Federal Rule of Evidence 1006—for that fundamental flaw:


       Rule 1006. Summaries to Prove Content

       The proponent may use a summary, chart, or calculation to prove the content
       of voluminous writings, recordings, or photographs that cannot be conven-
       iently examined in court. The proponent must make the originals or duplicates
       available for examination or copying, or both, by other parties at a reasonable
       time and place. And the court may order the proponent to produce them in
       court.


Regardless of whether this evidentiary rule applies in the context of fee applications, the

policy expressed in it appears to me to be that summaries should be suspect—and should

not be considered by decision-makers—absent the underlying data being made available for

analysis and testing. That policy also informs my opinion here. Here, other than pure trust

and faith, there is no easy way for lawyers or judges to tell if the summaries accurately sum-

marize the surveys they purport to summarize.


       (d)     In addition to being effectively unverifiable, the survey response rates

summarized in the 2015 summary were low. They were low in every geographic area—

from 9.6% to 13.5%—in the 2015 summary. For the Labor-Employment practice area in the

Austin-Round Rock Metropolitan Statistical Area, the 2015 summary purports to be based

on receipt of only 33 responses. In contrast, the 2022 Attorneys’ Fees Hourly Rates Year-

book, lists about 28 rates from Austin. The difference is, however, the rates in the Yearbook

are all verifiable—the lawyers are named, the rates and court opinions and testimony all

specifically cited.



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       (e)     In addition to being effectively unverifiable, the survey response rates

summarized in the 2019 summary are not limited to any particular practice area. The

2019 summary does not break out responses by practice area at all. So, it is not helpful in

assessing any rates in the relevant subject matter area of labor and employment law: It is

not known if any rates summarized in the 2019 summary involved labor and employment

law work. Or family law, estate planning, DUI defense, etc. In contrast, the 2022 Attor-

neys’ Fees Hourly Rates Yearbook is limited to labor and employment law work—approx-

imately 70 different lawyers in the Western District of Texas, all named and whose rates

are documented and cited. All for labor and employment law work specifically.


       (f)     The summaries only report “median” hourly rates—not highs nor lows

nor even averages. In my opinion, this is not helpful in comparing quality of experience.

The lawyers on whose proposed rates I offer opinions herein are not, in my opinion, “me-

dian” or “average” lawyers. And I can tell nothing about the quality of experience of the

lawyers anonymously referenced in the summaries. So, the summaries do not provide a

good basis for assessing the applicable Johnson factors. Because, for example, these medians

in the summaries might include lower-than-market rates that insurers require, hourly rates

discounted due to volume work, hourly rates for updating employee handbooks and other

tasks that do not require trial attorney skills, etc.


       (g)     The anonymity of the surveys underlying the summaries make it diffi-

cult to compare quality of education, training, and experience. The survey results do



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not include the underlying data [survey answers] or particularized information that would

allow me [or a decision-maker] to evaluate a reasonable hourly rate in light of a particular

attorney’s experience, reputation, and ability compared to that of Robert W. Schmidt, Rob-

ert S. Notzon, or Robert E. McKnight, Jr. But with the 2022 Attorneys’ Fees Hourly Rates

Yearbook, because it names lawyers whose biographies can be easily researched and are

summarized therein, I [and a decision-maker] can make such comparisons.


       (h)    I have considered relevant precedent addressing, respectively, the sum-

maries and the Attorneys’ Fees Hourly Rate Yearbook for Employment Law—the lat-

ter is better, verifiable, and more authoritative. I have considered that courts have used

the summaries. I have considered that in an unpublished opinion, the United States Court

of Appeals for the Fifth Circuit ruled that despite their probative limitations it is not clear

error to use the summaries:


       We are mindful of the [State Bar of Texas Hourly Rate] Fact Sheet’s probative
       limitations, but they were for the district court, not us, to consider.[] In sum,
       we cannot say that the district court clearly erred when it determined that the
       Fact Sheet was a useful ‘baseline’ for calculating a reasonable hourly rate.


Alvarez v. McCarthy, No. 20-50465 [Doc. 00516245594] at p. 10 (5th Cir. March 18, 2022)

(emphasis and omission added). In my opinion, a ruling that it is not clear error to use the

summary as a “baseline” from which to start—while going out of the way to acknowledge

probative limitations—is not enthusiastic endorsement. This and those probative limita-

tions inform my opinion about how much weight should be given to them in forming an



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opinion on prevailing rates in the local community—little or none. After all, just because it

is not clear error to use these summaries does not speak to whether they should be used.

Maybe in the same way that ruling a lower court error to be harmless is not an invitation for

lower courts to purposefully make errors. I have also considered United States District

Judge Jane Boyle’s decision in which she declined to treat the summaries as authoritative

in determining rates:


       The Court declines to treat the State Bar median rates as authoritative in de-
       termining reasonable rates. The State Bar data, which only report median
       rates, do not account for the rate that might be reasonably charged by an at-
       torney with significant experience or expertise in the field, nor does it account
       for increases in rates since their publication in 2015 and 2019, respectively.


Tovar v. Southwestern Bell Tel., L.P., No. 3:20-cv-1455-B [Doc. 69] at pp. 5-6, PageID 1146-

47 (N.D. Tex. June 27, 2022). I share Judge Boyle’s opinion that the summaries should not

be treated as authoritative for these same reasons. Nevertheless, Judge Boyle states this

about the 2022 Attorneys’ Fees Hourly Rate Yearbook for Employment Law:


       Conversely, the Court does not find the plaintiffs’ attorney fee ‘Yearbook’
       persuasive. Further, the Court finds no case or court that references the
       Yearbook or similar materials in determining reasonable hourly rates.


Id. at p. 6, PageID 1147. Judge Boyle does not explain why she finds the “Yearbook” unper-

suasive. It is a book compiling information about actual hourly rates charged and actual rates

awarded for employment lawyers around the state—using court rulings, jury verdicts, ar-

bitration awards, testimony, and invoices. Unlike the summaries of anonymous surveys, it



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names lawyers and cites sources. This compilation is limited to employment law work and

covers around 283 lawyers and about 117 fee awards around Texas. It is like a giant string

citation of authority. So, in my opinion, the critique that it is unpersuasive—without fur-

ther explanation—is a critique that the authority cited within it is not persuasive, but with-

out explanation as to why. In my opinion, there is no better authority for assessing what

actual prevailing market rates are in a relevant community than verifiable rates actually be-

ing charged and actually awarded in that same community for a given practice area. The

critique that no case or court yet cites it only speaks to its newness as a collection itself [of

the authorities all being put together in one place]—but certainly authorities cited within

the collection have been cited. Also, a predecessor of the “Yearbook” format was a collec-

tion of rates that I assembled in a chart—many of the same cases, just a different presenta-

tion format [e.g., chart v. colorful book, both with headshot pictures, rates, citations, etc.].

In 2020, a version of that predecessor chart was used in an FLSA case before United States

District Judge David C. Godbey of the Northern District of Texas. See Meadows v. Latshaw

Drilling Co., No. 3:15-cv-01173-N [Doc. 238-2] at pp. 10-26, PageID 7394-7410 (N.D. Tex.

May 9, 2019) (Chart contained in Appendix in Support of Supplemental Motion for Attor-

neys’ Fees and Costs Pursuant to Fair Labor Standards Act at Exhibit B-1). Judge Godbey

specifically cited that chart in assessing rate ranges:


       Latshaw argues that Plaintiffs’ attorneys’ hourly rates are not comparable to
       the community rates. . . . However, the Court disagrees. Plaintiffs’ evidence
       demonstrates that courts approved attorneys’ rates ranging from $250 to $750 for
       1 to 29 years of experience. App. Supp. Mot. Att’ys’ Fees and Costs Pursuant



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       Fair Labor Standards Act, Ex. B-1 [238]. . . . Thus, the Court determines that
       the Plaintiffs’ attorneys’ hourly rates are in line with comparable community
       rates for attorneys of the same experience.


Id. [Doc. 261] at p. 7, Page ID 7733 (emphasis and omission added). All this informs my

opinion on rates and, specifically, concerning why the 2022 Attorneys’ Fees Hourly Rate

Yearbook for Employment Law is a better guide than the 2015 or 2019 summaries: It is not

so much the book itself, but the collection of specifically cited authority and testimony

within it [something the summaries lack—specifically cited rulings and testimony].


       (i)    I have considered whether the Attorneys’ Fees Hourly Rate Yearbook

for Employment Law is exhaustive or all-inclusive and the role that should play in

forming an opinion on rates. It is not exhaustive or all-inclusive. There may be relevant

rates both higher and lower that are not contained in it. But gathering every rate ever

charged—or even awarded—for employment law work in Texas might be an impracticable

or impossible task. The same critique could be said about any existing collection of rates.

For example, I have considered my review of numerous briefs on fees—virtually all seem

to contain some limited set of citations for fee rates awarded—some limited, curated col-

lection. Maybe 3 or 5 or even 10 such citations. With one side citing 3 or 5 or 10 on the lower

end. The other side citing 3 or 5 or 10 on the higher end. Both sides “cherry-picking” which

fee rate cases they cite. But this “Yearbook,” in my opinion, is better by volume. Instead

of citing 3 or 5 or 10 rates—it names 283 lawyers and about 117 fee awards in Texas. All are

verified. All specifically named and cited. All easily verifiable, unlike the summaries. In



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short, a lot of cherries.


For all of these reasons, it is my opinion that the summaries do not accurately reflect cur-

rent prevailing rates in the relevant community and are not a good guide to be used in form-

ing an opinion on such rates. They do not match my experience and knowledge of prevailing

rates in the relevant community. Based on my education, training, and experience, my opin-

ion is that more authoritative guidance than anonymous survey results can be found by an-

alyzing actual and identified rates—either awarded or billed—such as the many contained

in the 2022 Attorneys’ Fees Hourly Rate Yearbook for Employment Law that is attached.


                            THE MARKET-BASED HOURLY RATES

37.    Here is my opinion on the reasonableness of the rates requested in the Nikolova

case—if I assume payment were guaranteed and paid periodically: In my opinion, rea-

sonableness is a range and not a single point. That is, there can be multiple hourly rates for

a given attorney for the very same work and that would all be within the “prevailing market

rates in the relevant community” as that phrase is used in the often-cited United States

Supreme Court fees decision of Blum v. Stevenson, 465 U.S. 886 (1984). Based on my expe-

rience outlined above and my consideration of the information referenced above, it is my

opinion that the following hourly rates are within the “prevailing market rates in the rele-

vant community” if payment were guaranteed win or lose and paid monthly or quarterly.

That is, they are within a reasonable range in Texas for work prosecuting an employment

case in Texas—within a reasonable range that “roughly approximates the fee that the



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prevailing attorney would have received if he or she had been representing a paying client

who has billed by the hour in a comparable case,”4 but if payment were guaranteed win or

lose and paid monthly or quarterly:


          (a)    For Robert W. Schmidt [JD 1989], $625 per hour is a reasonable rate. It

is lower than the inflation-adjusted hourly rates of the following attorneys listed in the at-

tached 2022 Attorneys’ Fees Hourly Rates Yearbook for Employment Law for employ-

ment law work within the Western District of Texas—some with fewer years of experience:

$908.54 for Stephen E. Fox (JD 1987), $885.16 for Jesse J. Gelsomini (JD 1986), $867.81

for Felicity A. Fowler (JD 1992), $790.00 for Eric Taube (JD 1983), $773.94 for Kelly D.

Hine (JD 1997), and $665.00 for David Weiser (JD 1986).


          (b)    For Robert S. Notzon [JD 1996], $575 per hour is a reasonable rate. It is

lower than the inflation-adjusted hourly rates of the following attorneys listed in the at-

tached 2022 Attorneys’ Fees Hourly Rates Yearbook for Employment Law for employ-

ment law work within the Western District of Texas—some with fewer years of experience:

$773.94 for Kelly D. Hine (JD 1997), $600.44 for Colin W. Walsh (JD 2011), $600.44 for

Kalandra N. Wheeler (JD 2005), $587.74 for John Wenke (JD 1993), and $587.74 for John

P. Mobbs (JD 1992). And close to these with the same law school graduation year: $563.52

for Laura O’Donnell (JD 1996) and $559.65 for Galvin B. Kennedy (JD 1996). I have




4
    Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 551 (2010) (emphasis added).



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considered that on March 15, 2016, Judge Sam Sparks awarded an hourly rate of $350.00

for Mr. Notzon’s work in an Austin FLSA case. See Saldivar v. Austin Indep. Sch. Dist., No.

14-CA-00117 (Doc. 97) at p. 12 (W.D. Tex. Austin) (Judge Sam Sparks) (“AISDdoes not

challenge Saldivar’s counsel’s rate of $350 per hour, and therefore the Court finds this

hourly rate reasonable for the Austin area.”). According to the Consumer Price Index for

legal services as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-

vices are 11.93% higher in 2021 versus 2016 (a $41.75 difference). Adjusted only for such

inflation from the year of this award to the end of 2021, that $350 hourly rate for Mr. Not-

zon is $391.75. But I have also considered that this was in 2016—and adjusting only for

inflation does not account for improvement in quality of training, education, and experience

since that time. The difference in that six-year period, from 2016 to 2022, between $391.75

and $575.00 is $183.25. Dividing that difference by six leaves $30.54 per year. The differ-

ence in that six-year period, from 2016 to 2022, between $350.00 [the original rate awarded

unadjusted for inflation] and $575.00 is $225.00—dividing that difference by six leaves

$37.50 per year. And in my experience these amounts are within a reasonable range of in-

crease to account for qualitative improvements in legal services. In forming that opinion, I

have considered the testimony of Matthew R. Scott who was an employment lawyer for the

employment law firm of Ford & Harrison LLP—in which Mr. Scott noted that his rate

would likely have climbed by $50 per hour over a one-year period [ostensibly to account for

both improvement in quality and inflation]. See Green v. Dallas County Schools, No. DC-12-

09857 (Declaration of Matthew R. Scott of December 4, 2013) at p. 2, ¶¶ 22 & 23 (162d



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District Court for Dallas County, Texas) (“In early 2012, my standard hourly billing rate

at F&H was $450.00 per hour. . . . Had I remained at F&H, my standard hourly billing rate

today would be around $500.00.”). In each of the past several years my own standard

hourly billing rate has also increased between $45-$50 per hour each year. While this is in

Dallas, to my knowledge that amount of standard rate increase for lawyers does not vary by

geography in Texas: That is, it is not uncommon in recent years for lawyers to increase

their hourly rates by about $50 per year. In forming that opinion, I have also reviewed the

testimony of Andrew Vickers with the law firm Waller Lansden Dortch & Davis, LLP. In

an Austin employment case involving claims of wrongful employment termination, Mr.

Vickers testified to rate increases of between $40 to $80 within a single year—from $400

per hour to $440 for one attorney and from $710 per hour to $790 for another:


      In November and December of 2020 the hourly billing rate for this matter
      was $400 for me and $710 for Mr. Taube. By agreement with our client,
      the current hourly billing rate for services performed from January 1, 2021
      through March 11, 2020 [sic] for this matter is $440 for me (a partner),
      $790 for Eric Taube (a partner), and $205 for Ann Marie Jezisek and Kris-
      ten Warner (paralegals).


See Second Supplemental Declaration of Andrew Vickers, filed in Lanham v. AWR Servs.,

Inc., No. D-1-GN-20-003923 at p. 2, ¶ 4 (419th Judicial District Court for Travis County,

Texas) (filed April 8, 2021). So, in my opinion, the increase between the 2016 rate amount

Judge Sparks awarded in Saldivar [$350] for Mr. Notzon—and the $575 rate for work in

Nikolova—is a reasonable one. I have also considered that the Saldivar case referenced




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above was an FLSA overtime case—so no need to prove intent, like in Nikolova. Which, in

my opinion, can sometimes make a case more difficult absent some admission or direct

evidence.


       (c)     For Robert E. McKnight, Jr. [JD 1992], $600 per hour is a reasonable

rate. I understand Mr. McKnight’s role is a limited one—fee application. Recovery of fees

are, of course, vital to the enforcement of civil rights laws. As noted above, one scholar puts

it this way:


       Because the private attorney general system is essential to civil rights en-
       forcement, and fee shifting is the engine that drives the system, judicial rul-
       ings regarding the availability of statutory attorneys’ fees are likely to have
       extremely significant effects on the vindication of civil rights in practice.


Samuel R. Bagenstos, Mandatory Pro Bono and Private Attorneys General, 101 NW U. L. REV.

COLLOQUY 182, 187 (2007). So, it is important work even beyond any one case because of

its ramifications for enforcement of civil rights generally and in other cases. In my opinion,

there are efficiencies in the work itself that can be realized by having someone well-versed

in employment law prepare the fee application. That is, someone who knows the difficulties

of employment law, is familiar with its doctrines, and has experience in the kind of work

and evidence reasonable and necessary to address its particularities. In my opinion, there

are also efficiencies to having an experienced attorney handle that work. Rather than having

a newer lawyer become familiar with the laws governing fees and employment laws. Partic-

ularly given the time pressure that can come with fee application—like analysis of hundreds



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or thousands of time entries within short court-ordered / rule-governed deadlines. These

efficiencies, in my opinion, can save time even though a more-experienced attorney’s rate

may be higher than a less-experienced attorney’s rate. There is also a qualitative benefit to

having someone outside performance of the trial work itself provide an experienced and ob-

jective fee analysis that goes along with preparation of that fee petition. These considera-

tions, in part, inform my opinion about the “prevailing market rates in the relevant com-

munity” for the work Mr. McKnight does in preparing fee applications for prevailing plain-

tiffs in employment cases. The inflation-adjusted rate of $572.75 referenced in the attached

2022 Attorneys’ Fees Hourly Rates Yearbook for Mr. McKnight also informs my opinion.

That was for fee-application work done and approved in 2015 by Judge Barbara M. Lynn

and Magistrate Judge David L. Horan of the Northern District of Texas. Adjusting merely

for inflation does not account for qualitative improvements in a lawyer’s training, skill, and

experience in the approximately seven years since that time. My opinion is also informed

by these facts: The rate of $600 per hour is lower than the inflation-adjusted hourly rates

of the following attorneys listed in the attached 2022 Attorneys’ Fees Hourly Rates Year-

book for Employment Law—some with fewer years of experience: $867.81 for Felicity A.

Fowler (JD 1992), $773.94 for Kelly D. Hine (JD 1997), $600.44 for Colin W. Walsh (JD

2011), and $600.44 for Kalandra N. Wheeler (JD 2005).




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                                       SIGNATURE

38.    My name is David L. Wiley. I am Chair Emeritus of the State Bar of Texas Labor

and Employment Law Section. I am current President of the Texas Employment Lawyers

Association. I have neither been paid nor promised payment for my opinions expressed

herein. My date of birth is January 14, 1969, and my address is 1500 Jackson Street, #109,

Dallas, TX 75201. I declare under penalty of perjury that the foregoing is true and correct.

                                                   11th day of September, 2022.
Executed in Dallas County, State of Texas, on the ____




                                                 ___________________________
                                                 David L. Wiley




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     Review of the State Bar of Texas 2015 Hourly Fact Sheet report and its Use by
    Texas Judiciary in Deciding Plaintiff Attorney Hourly Fees in Labor-Employment
                                          Cases1

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                           Pearson Statistical Consulting & Expert Testimony
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The State Bar of Texas publishes the results of a survey of Texas attorneys (“Attorney Survey”),
conducted every two years, that is used to generate the Hourly Fact Sheet report. This report focuses on
attorney hourly rates charged in the preceding year and, where possible, compares these rates with
those of the previous survey. Thus, the 2015 survey results are compared with the 2013 survey results.
A copy of the questionnaire is included in the 2015 report, which was published in August 2016. In
Texas, these results are often used to determine allowable rates that plaintiff attorneys, retained on a
contingency basis, can charge in Labor-Employment cases heard within the state of Texas, so it is of
interest to the Texas Labor-Employment plaintiff attorney community to ensure that the best possible
resources are being used for these determinations. The report contained herein provides a review of the
2015 Hourly Rate Sheet and the Attorney Survey as to their relevance and usefulness for use in setting
contingency-based plaintiff attorney fees in Texas Labor-Employment cases.

Review of the State Bar of Texas 2015 Hourly Fact Sheet report and its use by Texas judiciary in deciding
contingency-based plaintiff attorney hourly fees in Labor-Employment cases uncovered some
problematic areas that are the focus of this report. Based on the findings in this review, I recommend
that no reliance should be made on the Attorney Survey nor the Hourly Fact Sheet report, as currently
being conducted, when deciding allowable fees that plaintiff attorneys can charge in Labor-Employment
cases.

1
 This work was commissioned by the Texas Employment Lawyers Association.
2
 N. Shirlene Pearson earned her Ph.D. in statistics from Southern Methodist University (SMU) in 1979, and has
worked as a professional statistician in both industry and academia since graduation. She also earned an M.S. in
statistics from SMU, an M.A. and B.A. in mathematics from the University of Texas at Austin. She has been
employed at Bell Telephone Laboratories, Bell Communications Research, the Applied Research Laboratories at the
University of Texas at Austin, MCI Communications/WorldCom, and SMU. She was a District Manager at Bell
Communications Research and a Branch Manager at the Applied Research Laboratories. She joined Southern
Methodist University as Director of the Center for Statistical Consulting and Research in 1999, and transferred to
the Academic Technology Services group in 2006, then to SMU’s Center for Teaching Excellence. She retired from
SMU in February 2015, but continued working at SMU as a consultant supporting the university assessment
process and as an Adjunct Faculty in the Department of Statistical Sciences. She is retiring as Adjunct Faculty at
SMU in December 2016 to focus entirely on her consulting activities. Dr. Pearson has written numerous technical
reports, legal reports, and articles in which her use of statistical methodology was an instrumental component.

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The Attorney Survey is sent to all Texas attorneys who are members of the Texas State Bar and who did
not opt out of receiving emails containing the survey. Emails with the 2015 survey were sent to 94,150
attorneys, of which 11,793 responded in part or in whole. The Hourly Fact Sheet (hereafter “Report”)
states the response rate to be 12.5 percent (11,793/94,150). However, the Report only uses the data of
those respondents who were employed full time as licensed and practicing attorneys (4,260, which is
less than half of the total respondents); so, the stated response rate might not accurately reflect the
response rate of those being analyzed in the Report, since it is (apparently) unknown as to how many of
the 94,150 surveyed were full-time attorneys. No discussion of this dilemma is presented in the report.
Because no breakdown by practice area is given of these recipients in the Report, it is not possible for
the reader to determine what the response rate was for Labor-Employment attorneys. Survey response
rates are an important factor in assessing the reliability of the results. A survey response rate of 30% is,
in most cases, considered more reliable than a response rate of 10%, and 10% is better than 5%, given
the same survey distribution conditions.

While there is no universally accepted standard on what is an acceptable response rate to a survey, it is
my expert opinion that a response of 25% is not unusual without follow-up contact, but is too low to
guard against selection bias issues. Certainly, a response rate of 12.5% leaves much room for
improvement and is not “good.”

A study of response rates in surveys conducted by The Tavistock Institute of institutional research3
found the following:

        This study examines the response rates for surveys used in organizational research. We analyzed
        1607 studies published in the years 2000 and 2005 in 17 refereed academic journals, and we
        identified 490 different studies that utilized surveys. We examined the response rates in these
        studies, which covered more than 100,000 organizations and 400,000 individual respondents.
        The average response rate for studies that utilized data collected from individuals was 52.7
        percent with a standard deviation of 20.4, while the average response rate for studies that
        utilized data collected from organizations was 35.7 percent with a standard deviation of 18.8.
        Key insights from further analysis include relative stability in response rates in the past decade
        and higher response rates for journals published in the USA. The use of incentives was not found
        to be related to response rates and, for studies of organizations, the use of reminders was
        associated with lower response rates. Also, electronic data collection efforts (e.g. email, phone,
        web) resulted in response rates as high as or higher than traditional mail methodology.

The Attorney Survey is a self-selecting survey. That is, the recipients decide whether or not to
participate. Surveys of this type are known to suffer from selection bias (lack of representativeness of
the population of interest),4 the extent of which is almost always unmeasurable. This means that the
group who respond may differ from those who did not in important characteristics that can influence

3
  Yahuda Baruch and Brooks C. Holtom (2008). Survey response rate levels and trends in organizational research.
Human Relations. Sage Publications, Vol. 61, Issue 8, 1139-1160.
4
  Yasser Khazaal, MD, corresponding Yasser Khazaal, MD Mathias van Singer, Anne Chatton, MA, Sophia Achab,
MD, PhD, Daniele Zullino, MD, Stephane Rothen, PhD, Riaz Khan, MD, Joel Billieux, PhD, and Gabriel Thorens, MD.
(2014). Does Self-Selection Affect Samples’ Representativeness in Online Surveys? An Investigation in Online Video
Game Research. J Med Internet Res., 16(7): e164. (https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4115258/)

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and skew the results. It is almost always impossible for those conducting self-selection surveys to
determine these differentiating characteristics, so the effect of selection bias on the results can rarely be
determined. This is of particular concern in surveys in which some (but not all) recipients have a vested
interest in the outcomes. Such surveys tend to have a greater response rate from those interested in the
results than those who have little or no interest unless participation is enforced.

A survey researcher in the pharmaceutical arena suggests a response rate of at least 50-60% to best for
minimizing selection bias issues:

        Nonresponse error, or bias, occurs if data are not collected from each member of the sample.
        Nonresponse bias theoretically can occur with anything less than a 100% response rate. A
        response rate of 50%-60% or greater is optimal because nonresponse bias is thought to be
        minimal with that high of a response rate.5 If the response rate is too low, those who responded
        have a greater chance of being self-selected (i.e., there is something inherently different about
        those who responded and those who did not respond), and thus not representative of the target
        population. Nonresponse bias can lead to inaccurate conclusions if data from the non-
        respondents would have changed the overall results of the survey.

Recommended response rates found at a University of Texas website

                https://facultyinnovate.utexas.edu/sites/default/files/response_rates.pdf

are given as




Selection bias is further exacerbated when the self-selection survey contains questions that are of a
sensitive nature, which the Attorney Survey does. Response rates, as well as the quality of the answers,
for self-selection surveys with sensitive questions suffer unless the recipients are convinced of complete
anonymity. The 2015 Hour Rate Sheet does not provide information to suggest that this is the case with
the Attorney Survey nor does the survey itself describe measures to ensure anonymity. Some examples
of sensitive questions in this survey are:

        1. What was your approximate gross personal income (including any bonus) during calendar
           year 2015?
        2. If you received a bonus, what was it?

5
 Fincham JE. (2008) Response rates and responsiveness for surveys, standards, and the Journal. Am J Pharm Educ.,
72:Article 43.

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        3. Which of the following best describes your class rank upon graduation from college?
        4. Which of the following best describes your class rank upon graduation from law school?

Many self-selecting recipients may either not respond to surveys with sensitive questions, skip those
questions (if the survey allows), or perhaps embellish upon the answers they give. Tourangeau and Yan
discuss their study of these three important consequences of asking sensitive questions6:

        Sensitive questions are thought to affect three important survey outcomes: (a) overall, or unit,
        response rates (that is, the percentage of sample members who take part in the survey), (b)
        item nonresponse rates (the percentage of respondents who agree to participate in the survey
        but who decline to respond to a particular item), (c) and response accuracy (the percentage of
        respondents who answer the questions truthfully). Sensitive questions are suspected of causing
        problems on all three fronts, lowering overall and item response rates and reducing accuracy as
        well.

Surveys administered via email suffer from another form of selection bias unique to email, that being
spam and junk email filters. This survey was sent to a very large number of recipients, but no discussion
in the report is given about measures, if any, taken to mitigate problems associated with spam filtering,
which can occur at both the computer email server level and the individual user level. Much depends on
how the survey is distributed. Because law firms and individual attorneys may have differing levels of
filters on their email, the probabilistic nature (randomness) of the survey responses is perturbated.
Without proper randomization of the responses, no statistically valid analysis can be performed on the
data, including summary reports.

Inspection of the table of Hourly Rate by Practice Area by Geographic Region suggests that the sample
size may be too small to provide adequate coverage of all geographic regions and practice areas. Empty
cells in this table indicate that there were 5 or fewer responses (see page ii, paragraph 4). Response
rates within cells are not provided nor are given measures of variability, so the reader is left uncertain as
to the meaningfulness of these numbers. Six of the practice areas have no entries in the table for any of
the regions, others have many empty cells or frequencies that seem low. Again, without knowing the
within cell response rates, it is impossible to ascertain the reliability of these numbers. While this table
may be useful for other purposes, it is inadequate for use in determining fee rates in actual cases.

Although asked to provide positional information in the Attorney Survey, the 2015 Hourly Rate Sheet
does not provide any information broken down by position categories. When setting fee rates, it would
be useful to have this breakdown.

Some of the questions in the survey are ambiguous leading to results whose interpretation may not
reflect the reality of the answers. Questions regarding hourly rates charged do not ask whether the rates
listed by respondents are real rates or volume discounts. It is plausible that within firms offering volume
discounts to certain clients, some attorneys may quote real (undiscounted) rates and others discounted
rates, while others may use some combination of the two. This survey does not ask whether rates had
changed during the year, that is, they are not asked to state the rate at a specific point(s) in time. Thus,
some attorneys may quote the year-end rate, while others may estimate an overall rate taking into


6
 Roger Tourangeau and Ting Yan (2007). Sensitive Questions in Surveys. Psychological Bulletin, Vol. 133, No. 5,
859-883.

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account different rates during the year. These issues can produce misleading and inaccurate hourly-rate
estimates.

The 2015 Hourly Rate Sheet calculates the percent change in medians by a very simple method:

                          (2015 Median – 2013 Median)/2013 Median = 7.4%

This calculation is not the appropriate method for this application, as it is likely mixing apples with
oranges. The mix of individuals in the 2015 survey is not be the same as the mix in the 2013 survey, so
this method for calculation the percent increase in medians is biased. It is easy to see that the mix of
individuals is different because of the different sample sizes in the two years. There were 4,951
respondents in 2013 and 4,260 in 2015. Some individuals in the 2013 survey clearly did not respond to
the 2015 survey. It’s probably a good guess that some of the respondents in 2015 did not take the 2013
survey. Consider a worst-case scenario in which the two groups have no overlap, that is, none of those
who took the 2013 survey responded to the 2015 survey. Since we do not know what the median rate
was in 2013 for those who took the 2015 survey, it is unreasonable to assume that it must be the same
as the 2013 group (and vice versa). The proper way to calculate this estimate is to use only those
respondents who appear in both the 2013 and the 2015 surveys. If there is little or no overlap between
the two groups, then a reliable estimate cannot be calculated and should be reported as such.

Using the rates in the Hourly Rate Sheet report with no adjustments for changes that may have taken
place since the survey was administered may be disadvantaging plaintiff attorneys who practice Labor-
Employment Law in Texas and who are retained on a contingency basis. The Attorney Survey does not
ask certain questions that are needed to fairly determine the fees that these attorneys may charge, such
as whether the respondent works on a contingency or an hourly basis in Labor-Employment practice or
what plans may be for future changes in fees. The Report itself does not provide projections on rate
changes, which would be needed for each of the two years into the future to be of direct use in deciding
allowable fees that Labor-Employment contingency-based plaintiff attorneys may charge.

The subsample of Labor-Employment attorney respondents in the Attorney Survey is a confounded
mixture of plaintiff attorneys who are retained on a contingency basis and defense and plaintiff
attorneys retained on an hourly basis. Fees for plaintiff attorneys working on a contingency basis ideally
should be based on responses from attorneys who are not retained on a contingency basis. To see why
this may cause an unfair treatment of contingency-based plaintiff attorneys, consider the simple
scenario where half the respondents in 2013 are contingency-based plaintiff and half are hourly-based
attorneys. Further assume that all charge $300 per hour in 2013. Using the 7.4% rate increase estimated
in the Report, the hourly-based attorneys will be charging about $322 in 2015. Without adjustment for
changes over time, the contingency-based plaintiff attorneys will be allowed only $300 per hour in 2015
and a major part of 2016 (recall that the Report for 2015 was not published until August 2016). Then in
the 2015 report, the median will be given to be $311 per hour. Between August 2016 and (August) 2018,
contingency-based plaintiff attorneys will be allowed to charge $311 per hour, but in 2017 the hourly-
based attorneys will be charging $346 (and between then and when the report is published may be
charging even more) per hour. With passage of time, the gap will widen. If most of the Labor-
Employment respondents are contingency-based plaintiff attorneys, then the disadvantage will be
greater. Again, setting of the hourly rates that Labor-Employment contingency-based plaintiff attorneys
can charge should be based on fee structures of Labor-Employment hourly-based attorneys only.


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Again, based on the findings in this review, I recommend that no reliance should be made on the
Attorney Survey nor the Hourly Fact Sheet report, as currently being conducted, when deciding
allowable fees that contingency-based plaintiff attorneys can charge in Labor-Employment cases. The
response rates in the Attorney Survey, upon which the Hourly Fact Sheet is based, are unacceptably low,
the survey includes sensitive questions and the calculations in the Hourly Report are not based on
accurate methods. I also recommend that adjustments to the rates over time should be made, but
these resources provide no guidance on how the adjustments should made, so additionally references
may be needed for this purpose.




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2022 |                               Attorneys’ Fees
                                     Hourly Rates



                                   Employment Law




                                            Yearbook
  Published by the Texas Employment Lawyers Association


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     2022 |                                Attorneys’ Fees
                                           Hourly Rates



  This collection is drawn from court rulings, jury verdicts,

arbitrations, and actual rates billed. Unlike summaries of

anonymous surveys, it names the lawyers and cites

sources. To compare quantity of experience, it is grouped

by ten-year classes—like a yearbook groups classes from

seniors to freshmen. It is organized by geographic regions

corresponding with the four federal districts in Texas. It

accounts for inflation to the end of 2021 via the U.S. Bu-

reau of Labor Statistics’ data for legal services. The infor-

mation is limited to employment law work in Texas.




                                                 Yearbook
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Demographics


106,591*               Texas lawyers
   Most are in the Houston and Dallas metropolitan statistical ar-
   eas—32.87% in the Houston–The Woodlands–Sugar Land MSA
   and 31.71% in the Dallas–Fort Worth–Arlington MSA.




   3,145               Members of the SBOT
                       Labor & Employment Law Section



   673                 Board-certified L&E Specialists
* Sources:

       State Bar of Texas Membership: Attorney Statistical Profile (2020–21) and
       State Bar of Texas Attorney Population Density by MSA: 2020–2021.



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    “Civil rights laws don’t enforce themselves.”1

    By design, they rely on private attorneys general to prosecute violations. Fee shifting

is a basic part of making federal and state employment laws work.2 This collection is

intended to show “prevailing market rates in the relevant community” within the mean-

ing of Blum v. Stenson, 465 U.S. 886 (1984). The focus here is Texas.




      “Reasonableness is a range, not a point.”3

    The idea is to light the edges, to mark the averages and medians. Collecting employ-

ment law rates here reveals the “customary fee for similar work in the community” and

“awards in similar cases.”4 The idea is to help gauge reasonableness.




1Samuel R. Bagenstos, Mandatory Pro Bono and Private Attorneys General, 101 NW. U. L. REV.
COLLOQUY 182, 183 (2007).

2 See id. at 187 (“Because the private attorney general system is essential to civil rights enforce-
ment, and fee shifting is the engine that drives the system, judicial rulings regarding the avail-
ability of statutory attorneys’ fees are likely to have extremely significant effects on the vindica-
tion of civil rights in practice.”).

The legislative history of the Civil Rights Attorney’s Fees Awards Act of 1976 has a robust dis-
cussion of the private attorneys’ general concept, and a compilation of that history is here:
https://ufdc.ufl.edu/AA00026686/00001/1.

3 United States v. Cunningham, 429 F.3d 673, 679 (7th Cir. 2005) (Judge Posner addressing
sentencing ranges).

4  See Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 718-19 (5th Cir. 1974) (listing
guidelines which include “[t]he customary fee for similar work in the community” and “[a]wards
in similar cases”); Arthur Andersen & Co. v. Perry Equip. Corp., 945 S.W.2d 812, 818 (Tex. 1997)
(“Factors that a factfinder should consider when determining the reasonableness of a fee include
. . . the fee customarily charged in the locality for similar legal services”) (omission added).



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Inf lation
       “Legal services priced at $200 in
          1990 → $610.93 in 2021”

“According to the U.S. Bureau of Labor Statistics, prices
for legal services were 205.46% higher in 2021 versus
1990 (a $410.93 difference in value).”



“Between 1990 and 2021, legal services experi-
enced an average inflation rate of 3.67% per year.
This rate of change indicates significant inflation. In
other words, legal services costing $200 in the year
1990 would cost $610.93 in 2021 for an equivalent
purchase. Compared to the overall inflation rate of
2.38% annually during this same period, inflation
for legal services was higher.”


Source: https://www.officialdata.org/Legal-services/price-inflation/1990-to-2021?amount=200




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Inf lation
Alone it accounts for equal buying power for the same quality of legal ser-
vice over time. But not for improved quality—through ongoing training, con-
tinuing legal education, and experience. Imagine two lawyers who billed at
$300/hr. in the year 2000:


     One has continued to practice since 2000—improving
     her skills as a lawyer over that time.
                                                                                                  $???.??/hr.


                                                                          e
                                                                r   tim
                                                        ed   ove
                                                    prov
                                         il   ls im
                                    + sk
                                                                              Adjusting only for inflation will not account
                                                                              for the improved legal skills one lawyer
                                                                              now has compared to the other.




$300.00/hr.        Year 2000       Inflation 97.73%*                          Year 2021           $593.19/hr.




                                     no new legal skills
                                                                                                  $593.19/hr.


       The second stops practicing in 2000, then resumes in 2021.




       * Source: https://www.officialdata.org/Legal-services/price-inflation/2000-to-2021?amount=300



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                      “Buying power of $100.00 since 1986

Below are calculations of equivalent buying power for legal services,
over time, for $100 beginning in 1986. Each of the amounts below is
equivalent in terms of what it could buy at the time:”1




    Year    USD Value       Inflation Rate          Year     USD Value Inflation Rate

    1986    $100.00         -                       2004     $232.26       4.76%
    1987    $103.44         3.44%                   2005     $241.75       4.09%
    1988    $107.66         4.08%                   2006     $250.01       3.41%
    1989    $114.12         5.99%                   2007     $260.27       4.11%
    1990    $122.56         7.40%                   2008     $270.73       4.02%
    1991    $129.58         5.72%                   2009     $278.15       2.74%
    1992    $136.22         5.12%                   2010     $288.13       3.59%
    1993    $141.95         4.21%                   2011     $297.43       3.23%
    1994    $146.76         3.39%                   2012     $303.46       2.03%
    1995    $151.63         3.32%                   2013     $311.82       2.75%
    1996    $157.08         3.60%                   2014     $318.49       2.14%
    1997    $163.82         4.29%                   2015     $323.56       1.59%
    1998    $171.67         4.79%                   2016     $334.48       3.38%
    1999    $179.98         4.84%                   2017     $346.39       3.56%
    2000    $189.34         5.20%                   2018     $361.24       4.29%
    2001    $199.47         5.35%                   2019     $364.75       0.97%
    2002    $211.05         5.81%                   2020     $368.72       1.09%
    2003    $221.71         5.05%                   2021     $374.38       1.53%


Note: All inflation rates displayed in this booklet are rounded to the nearest hun-
dredth. But all calculations in this book are made without such rounding.




1   https://www.officialdata.org/Legal-services/price-inflation/1986-to-2021?amount=100



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                                W

                                       North Texas




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                                       NDTX† summary of rates listed: high to low

                                                  $1,326.55 to $246.25
Rate         Name / JD Year                         Rate       Name / JD Year
$1,326.55*   Shane M. Tucker (JD 1999)              $535.00*   Michael A. McCabe (JD 1998)
$1,086.42*   John E. Fitzsimmons (JD 1995)          $535.00*   David L. Wiley (JD 1996)
$1,055.96*   Cathryn Le Regulski (JD 1999)          $535.00*   Amy E. Gibson (JD 1995)
$1,015.35*   Rogge Dunn (JD 1983)                   $532.25*   Arrissa K. Meyer (JD 2010)
$974.51*     Charla Aldous (JD 1985)                $525.00*   Douglas B. Welmaker (JD 1993)
$880.91*     Marc D. Katz (JD 1994)                 $519.74*   Brent Walker (JD 2004)
$845.08*     Hal K. Gillespie (JD 1972)             $513.20*   Jason Smith (JD 1992)
$821.12*     Crystal Jamison Woods (JD 2009)        $507.98*   Howard L. Steele, Jr. (JD 1996)
$818.17*     Joel M. Fineberg (JD 1991)             $505.64*   Peter A. Milianti (JD 1997)
$809.95*     Russell W. Budd (JD 1979)              $497.80*   Breegan O’Connor (JD 2017)
$811.49*     Norlynn B. Price (JD 1984)             $483.00*   Kimberly Williams (JD 2005)
$801.90*     Matthew R. Scott (JD 1995)             $481.30*   Jordan Campbell (JD 2013)
$795.46*     Allison A. Reddoch (JD 2011)           $462.83*   Brandon Shelby (JD 2004)
$795.46*     Isabel A. Crosby (JD 2005)             $462.83*   David Langenfeld (JD 1992)
$759.53*     Micala Bernardo (JD 2007)              $462.63*   James D. Sanford (JD 2005)
$759.53*     Michael W. Massiatte (JD 2000)         $461.88*   Ashley Tremain (JD 2008)
$755.24*     Stuart L. Cochran (JD 2000)            $461.88*   Carmen Artaza (JD 2006)
$752.10*     Brian P. Sanford (JD 1986)             $461.88*   Christine Hopkins (JD 2005)
$733.14*     Danielle Alexis Matthews (JD 2000)     $456.91*   John M. Barcus (JD 2002)
$689.18*     Todd Mobley (JD 2010)                  $444.13*   M. Jeanette Fedele (JD 2003)
$684.00*     Britney J. P. Prince (JD 2015)         $436.22*   Gavin S. Martinson (JD 2005)
$653.75*     Karen C. Denney (JD 2002)              $428.12*   Monica Velazquez (JD 2002)
$651.76*     Betsey A. Boutelle (JD 2014)           $414.55*   David Norris (JD 2011)
$649.67*     Brian Lauten (JD 2001)                 $411.42*   Corinna Chandler (JD 2009)
$629.37*     Richard E. Norman (JD 1993)            $411.42*   Todd Goldberg (JD 2009)
$621.21*     John Roger Herring (JD 2008)           $411.42*   Jamie J. McKey (JD 2006)
$600.00*     Christine Neill (JD 1996)              $410.56*   Jay Forester (JD 2013)
$600.00*     Jane Legler (JD 1992)                  $359.24*   Jeff T. Leslie (JD 2015)
$595.00*     Barry S. Hersh (JD 1998)               $358.69*   Barrett Robin (JD 2015)
$594.32*     J. Derek Braziel (JD 1995)             $330.19*   Megan Dixon (JD 2012)
$577.96*     Kevin M. Duddlesten (JD 1994)          $330.19*   Melinda Arbuckle (JD 2011)
$572.75*     Robert E. McKnight, Jr. (JD 1992)      $330.00*   Jennifer McCoy (JD 2016)
$570.11*     Mike Gaddis (JD 2009)                  $319.00*   Ryan Toomey (JD 2011)
$558.35*     Trey Branham (JD 1999)                 $289.27*   Benjamin Michael (JD 2013)
$558.35*     Jeffrey Goldbarb (JD 1994)             $289.27*   Michael L. Parsons (JD 2011)
$555.16*     Joseph H. Gillespie (JD 2002)          $270.20*   Matthew F. Amos (JD 2015)
$554.05*     Robert G. “Bobby” Lee (JD 1993)        $259.09*   Jennifer Birdsall (JD 2017)
$550.00*     Kyla Cole (JD 2001)                    $246.25*   Hannah P. Parks (JD 2014)

    Courts note the relevant community for fees is district-wide—not by city or division. See,
    †

   e.g., Lewallen v. City of Beaumont, 394 Fed. Appx. 38, 46 (5th Cir. 2010); Treadway v.
   Otero, No. 2:19-CV-244 [Doc. 157] at p. 9 (S.D. Tex. Oct. 6, 2020) (citing cases and
   concluding: “When it comes to parsing between divisions, it appears that it is the district,
   rather than the division, that should govern the decision.”).
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                                    Classes of the 1970s:
                                         The Rates

      Hal K. Gillespie (JD 1972)




Russell W. Budd (JD 1979)




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Classes of the 1970s:
     The Work

  * Hal     K. Gillespie (class of ’72): Mr. Gillespie works in Dallas. His
  online biography states that he “represents individual clients, corporate execu-
  tives and unions in arbitration, mediation, civil trials, and appeals involving dis-
  charge, discrimination, sexual harassment, breach of contract, and employment
  matters.” On March 2, 2012, Judge Ken Molberg (now Justice Molberg of the Dal-
  las Court of Appeals) ruled $685.00 per hour was a “reasonable” rate for Mr. Gil-
  lespie in a Dallas employment retaliation case. See Rush Truck Centers of Texas,
  L.P. v. Fitzgerald, No. DC-09-15958-D (95th District Court for Dallas County,
  Texas) (“Order on Attorney Fees”) at p. 5 (95th District Court for Dallas County,
  Texas) (“a reasonable fee for the necessary services of Fitzgerald’s attorneys, as
  established by the evidence, should be computed in the following manner: . . . Hal
  Gillespie: $127,410 (186 hours at the rate of $685 per hour) . . . .”). According to
  the Consumer Price Index for legal services as generated by the U.S. Bureau of
  Labor Statistics, the prices for legal services are 23.37% higher in 2021 versus
  2012 (a $160.08 difference).1 So, adjusted only for such inflation from the year of
  Judge Molberg’s ruling (2012) to the end of 2021, that $685.00 hourly rate for Mr.
  Gillespie is $845.08.

  *   Russell W. Budd (class of ’79): Mr. Budd works in Dallas. On
  May 8, 2015, Judge Jane Boyle ruled Mr. Budd’s requested hourly rate of $700.00
  was reasonable in a Dallas FLSA case, Olibas v. Native Oilfield Servs., LLC, No.
  3:11-cv-2388-B (Doc. 302). On December 8, 2016, Judge Jane Boyle again ruled
  $700.00 per hour was “reasonable” for Mr. Budd’s work in Aguayo v. Bassem Odeh,
  Inc., No. 3:13-cv-2951-B (Doc. 146) (N.D. Tex. Dallas)—another Dallas FLSA case.
  According to the Consumer Price Index for legal services as generated by the U.S.
  Bureau of Labor Statistics, the prices for legal services are 15.71% higher in 2021
  versus 2015 (a $109.95 difference).2 Adjusted only for such inflation from the date
  of Judge Boyle’s 2015 award to the end of 2021, that $700.00 hourly rate for Mr.
  Budd is $809.95.



  1   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=685

  2   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=700

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Classes of the 1980s


 4       lawyers listed




 $888.36                               average rate




 $893.00                               median rate


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                                        Classes of the 1980s:
                                             The Rates



                              Rogge Dunn (JD 1983)

Charla Aldous (JD 1985)




                                Norlynn B. Price
                                   (JD 1984)




                                            Brian P. Sanford (JD 1986)


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Classes of the 1980s:
     The Work

  *   Rogge Dunn (class of ’83): Mr. Dunn works in Dallas. His online
  biography notes that he handles employment matters and is a board-certified spe-
  cialist in labor and employment law. On September 11, 2020, he testified that he
  regularly charges $1,000.00 per hour for his work. See Affidavit of Rogge Dunn in
  Support of Motion for Default Judgment and Proving Up Attorneys’ Fees at p. 4,
  ¶ 10 in Rogge Dunn Group, PC v. Gross, No. CC-20-01746-D (County Court at Law
  No. 4 for Dallas County, Texas) (“The hourly fee for such work that I regularly
  charge is $1,000.00 per hour, which in my opinion is reasonable for such work
  done in Dallas County, Texas.”). According to the Consumer Price Index for legal
  services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
  services are 1.53% higher in 2021 versus 2020 (a $15.35 difference).1 Adjusted
  only for such inflation from the year of this billing rate (2020) to the end of 2021,
  that $1,000.00 hourly rate for Mr. Dunne is $1,015.35.

  * Charla        Aldous (class of ’85): Ms. Aldous works in Dallas. On July
  27, 2010, Judge Jane Boyle awarded Ms. Aldous a rate of $750.00 per hour in a
  Dallas employment retaliation case. See Nassar v. University of Texas
  Southwestern Medical Center, No. 3:09-CV-1337 (Doc. 160) at pp. 8–10, PageID
  2245–47 (N.D. Tex. Dallas) (“Defendant argues that Dr. Nassar has not met his
  burden and that the rates requested ($400 per hour for Mr. Walker, $500 per hour
  for Mr. Lauten, $500 per hour for Ms. Lauten, and $750 per hour for Ms. Aldous)
  are excessive. . . . In light of the degree of success obtained and the evidence
  submitted, the Court finds that the lodestar may be calculated using the
  requested rates, with one exception [applicable to Ms. Lauten].”), reversed on other
  grounds. According to the Consumer Price Index for legal services as generated
  by the U.S. Bureau of Labor Statistics, the prices for legal services are 29.93%
  higher in 2021 versus 2010 (a $224.51 difference).2 Adjusted only for such inflation
  from the year of this award to the end of 2021, that $750.00 hourly rate for Ms.
  Aldous is $974.51.


  1   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1000

  2   https://www.officialdata.org/Legal-services/price-inflation/2010-to-2021?amount=750


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* Norlynn          B. Price (class of ’84): Ms. Price previously worked in
Dallas. In 2016, in a Dallas FLSA case, she billed at $725.00 per hour. See Decla-
ration of Danielle Alexis Matthews in Areizaga v. ADW Corp., No. 3:14-cv-2899
(Docs. 94-1 & 94-2) (N.D. Tex. Dallas). See generally Brief in Support of ADW
Corporation’s Motion to Dismiss Plaintiff’s Original Complaint (Doc. 7) (discuss-
ing nature of the case). Attached to Ms. Matthews’s declaration are law firm bill-
ing records including an invoice dated February 10, 2016 (Doc. 94-2 at p. 6,
PageID 1057), which lists Ms. Price’s mentioned billing rate. According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016 (a
$86.49 difference).3 Adjusted only for such inflation from the year of this billing
rate (2016) to the end of 2021, that $725 hourly rate for Ms. Price is $811.49.

* Brian       P. Sanford (class of ’86): Mr. Sanford works in Dallas and
specializes in employment law. On December 28, 2015, Judge Barbara M. G. Lynn
awarded $650.00 per hour for Mr. Sanford’s time prosecuting a Dallas employ-
ment retaliation case—based, in part, on the recommendation of Magistrate
Judge David L. Horan. See Kostić v. Texas A&M Univ.–Commerce, No. 3:10-cv-
02265-M (Doc. 282) (N.D. Tex. Dallas) (Order Accepting Findings and Recommen-
dation of the United States Magistrate Judge); id. (Doc. 281) at pp. 6 & 10, PageID
8215 & 8219 (“Findings, Conclusions, and Recommendation of the United States
Magistrate Judge”) (“Plaintiff seeks $420,732.00 for work done by his lead coun-
sel, Brian P. Sanford, for 637.28 hours at an hourly billing rate of $650.00
($414,232.00) for work done prior to the filing of the original motion for fees and
10 hours at an hourly billing rate of $650.00 ($6,500.00) for work done after the
original motion was filed. . . . Defendant does not challenge the hourly rates
charged by Plaintiff’s attorneys, the costs of court, or postjudgment interest re-
quest.”). On November 15, 2018, Judge Mark Greenberg ruled in a bench trial on
fees that Mr. Sanford’s requested rate of $725.00 per hour was reasonable for work
he did in Carpenter v. Southwest Housing Dev. Co., Inc., Cause No. CC-08-2072-
E (Dallas County Court at Law No. 5) (read into record at trial on fees)—a Dallas
unlawful employment practices case involving refusal to pay earned compensa-
tion. Judge Greenberg then applied a 1.5 multiplier to fees. On May 30, 2017,
Judge Ken Molberg (now Justice Molberg of the Dallas Court of Appeals) awarded
Mr. Sanford $685.00 per hour for his work in trying Clark v. Everlight Americas,
Inc., No. DC-15-05538 (95th District Court for Dallas County, Texas)—a Dallas
employment discrimination and retaliation case. According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 15.71% higher in 2021 versus 2015 (the year of the


3   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=725


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Judge Lynn award)—a $102.10 difference.4 Adjusted only for such inflation from
the year of this award to the end of 2021, that $650.00 hourly rate for Mr. Sanford
is $752.10.




4   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=650

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Classes of the 1990s


 24                 lawyers listed




 $663.74                               average rate




 $575.36                               median rate



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                                  Classes of the 1990s:
                                       The Rates

         Shane M.                        Jane                   Michael A.
           Tucker                      Legler                     McCabe
         (JD 1999)                  (JD 1992)                   (JD 1998)


           John E.                    Barry S.                     David L.
      Fitzsimmons                       Hersh                         Wiley
         (JD 1995)                  (JD 1998)                     (JD 1996)


        Cathryn Le                   J. Derek                       Amy E.
          Regulski                    Braziel                        Gibson
         (JD 1999)                  (JD 1995)                     (JD 1995)


           Marc D.                  Kevin M.                    Douglas B.
              Katz                Duddlesten                    Welmaker
         (JD 1994)                 (JD 1994)                     (JD 1993)


           Joel M.                Robert E.                           Jason
          Fineberg             McKnight, Jr.                         Smith
         (JD 1991)                (JD 1992)                       (JD 1992)


       Matthew R.                        Trey                    Howard L.
            Scott                   Branham                      Steele, Jr.
        (JD 1995)                   (JD 1999)                    (JD 1996)


        Richard E.                     Jeffrey                      Peter A.
           Norman                    Goldbarb                       Milianti
         (JD 1993)                  (JD 1994)                     (JD 1997)


         Christine                 Robert G.                        David
              Neill              “Bobby” Lee                    Langenfeld
         (JD 1996)                 (JD 1993)                     (JD 1992)


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Classes of the 1990s:
     The Work

 *
      Shane M. Tucker (class of ’99): Mr. Tucker works in Dallas. His
 online biography states that he “advises employers, executives, and management
 teams on the tax and securities law implications of compensatory arrangements .
 . . also advises clients on the design and administration of retirement plans, wel-
 fare plans, and payroll practices.” In 2018, his law firm sought fees at the rate of
 $1,280.00 per hour for this sort of work in a Dallas bankruptcy case: “Telephone
 conference with David Meyer regarding separation and employment agreements
 (.5); review employment agreements (1.0); review and revise consulting and sep-
 aration agreement (3.3) . . . Review and revise separation and consulting agree-
 ments.” See In re: Taco Bueno Restaurants, Inc., No. 18-33678 (Doc. 308) at pp.
 100–01 (Bankr. N.D. Tex. Dallas Feb. 14, 2019) (listing rate as “$1280.00”). On
 March 28, 2019, Judge Stacey G. C. Jernigan approved the fee request. See id.
 (Doc. 338). According to the Consumer Price Index for legal services as generated
 by the U.S. Bureau of Labor Statistics, the prices for legal services are 3.64%
 higher in 2021 versus 2018 (a $46.55 difference).1 Adjusted only for such inflation
 from the year of this rate billed (2018) to the end of 2021, that $1,280.00 hourly
 rate for Mr. Tucker is $1,326.55.

 *    John E. Fitzsimmons (class of ’95): Mr.                       Fitzsimmons’s
 online biography states that he “concentrates in defense of employers in
 wrongful termination, employment discrimination, harassment, retaliation
 and other employment-related litigation in state and federal courts.” He is based
 in California. But in 2020, Mr. Fitsimmons billed the rate of $1,070.00 for employ-
 ment law work done in a Dallas bankruptcy case. See In re: Trivascular Sales
 LLC, No. 20-31840 (Doc. 436-4) at p. 2 and (Doc. 436-7) at pp. 140–43, 172 (Bankr.
 N.D. Tex. Dallas Oct. 31, 2020) (Exhibit D [Summary of Hourly Fees by Profes-
 sionals and Paraprofessionals] and Exhibit G [Invoices for the Compensation Pe-
 riod] attached to First and Final Application of DLA Piper LLP (US) for Allowance
 of Compensation for Services Rendered and Reimbursement of Expenses Incurred
 as Counsel to the Debtors for (I) the Period from July 5, 2020 through October 1,
 2020; and (II) the Post-Effective Date Period) (for work such as “Strategize re-
 garding employee complaint, departing HR employee, and potential internal

 1   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=1280


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investigation; exchange correspondence with Susan Hanstad regarding same; re-
view anonymous complaint and outline questions for more specific information;
review IM communications with departing HR employee and strategize regarding
same; review employee handbook regarding relevant policies.”). On December 3,
2020, Judge Stacey G. C. Jernigan approved the fee request with a Trustee stip-
ulated reduction. See id. (Docs. 454 & 458). According to the Consumer Price In-
dex for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 1.53% higher in 2021 versus 2020 (a $16.42 differ-
ence).2 Adjusted only for such inflation from the year of this rate billed (2020) and
awarded to the end of 2021, that $1,070.00 hourly rate for Mr. Fitzsimmons is
$1,086.42.

*    Cathryn Le Regulski (class of ’99): Ms.                     Regulski’s online
biography states that her “practice has a particular emphasis on handling
complex employee issues resulting from mergers and acquisitions (both buy-
side and sell-side), financings, spinoffs and divestitures, and public offer-
ings.”).” She is currently based in Washington D.C. In 2020, when she was
based in Virginia, she billed the rate of $1,040.00 for employment work done
in a Dallas bankruptcy case. See In re: Trivascular Sales LLC, No. 20-31840
(Doc. 436-4) at p. 2 and (Doc. 436-7) at pp. 72–73, 121 (N.D. Tex. Bankruptcy Oct.
31, 2020) (Exhibit D [Summary of Hourly Fees by Professionals and
Paraprofessionals] and Exhibit G [Invoices for the Compensation Period]
attached to First and Final Application of DLA Piper LLP (US) for Allow-
ance of Compensation for Services Rendered and Reimbursement of Ex-
penses Incurred as Counsel to the Debtors for (I) the Period from July 5, 2020
through October 1, 2020; and (II) the Post-Effective Date Period) (for work such
as “Email correspondence with Reyna Fernandez regarding leave issues” and
“Teleconference with Reyna Fernandez and Steffanie Cook regarding leave and
job protection” and “Review and analyze noncompete agreement for Kevin Cofran
and prior communications regarding same (0.2); teleconference with Steffanie
Cook regarding cease and desist letters (0.2); attention to drafting of cease and
desist letters (0.2)”), fee request approved with Trustee stipulated reduction in
(Docs. 454 & 458). On December 3, 2020, Judge Stacey G. C. Jernigan approved
the fee request with a Trustee stipulated reduction. See id. (Docs. 454 & 458).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020 (a $15.96 difference).3 Adjusted only for such inflation from the year
this rate was billed and awarded (2020) to the end of 2021, that $1,040.00 hourly
rate for Ms. Regulski is $1,055.96.


2   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1070

3   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1040


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*    Marc D. Katz (class of ’94): Mr. Katz works in Dallas and his
online biography says he handles “all types of employment disputes.” He billed for
work on a motion to dismiss in an alleged theft of trade secrets case in Dallas
involving former employees of a company, in Medoc Health Servs., LLC v. Nguyen,
No. DC-18-0822 (14th District Court for Dallas County, Texas). An invoice dated
March 23, 2018, lists his rate as $850.00 per hour. See Exhibit C attached to Plain-
tiff’s Motion for Attorneys’ Fees, filed on November 20, 2020, at p. 55. According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 3.64% higher in 2021 versus 2018
(a $30.91 difference).4 Adjusted only for such inflation from the year of this rate
billed (2018) to the end of 2021, that $850.00 hourly rate for Mr. Katz is $880.91.

*    Joel M. Fineberg (class of ’91): Mr. Fineberg works in Dallas.
On August 4, 2011, Judge Royal Furgeson determined that the rate of $650.00 per
hour was a reasonable one for work Mr. Fineberg did in a Dallas FLSA case. See
Spence v. Irving Holdings, Inc., No. 3:10-cv-142-F (Doc. 201) at p. 4, PageID 2414
(N.D. Tex. Dallas) (“Based on documentation provided by the parties, the number
of hours worked by Plaintiffs’ counsel and personnel, which is not disputed,
amounts to over 2,250 hours, including 500 hours at a $650/hour rate by Joel
Fineberg; . . . . The Court finds these rates to be reasonable and consistent with
hourly rates charged by comparable attorneys in the community for similar
work.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 25.87% higher
in 2021 versus 2011 (a $168.17 difference).5 Adjusted only for such inflation from
the year of this rate awarded (2011) to the end of 2021, that $650.00 hourly rate
for Mr. Fineberg is $818.17.

*   Matthew R. Scott (class of ’95): Mr. Scott works in Dallas and
his online biography notes he “has extensive experience trying employment cases
to judges and juries” and is a board-certified labor and employment law specialist.
On December 4, 2013, in an employment discrimination case, Mr. Scott testified
that his standard billing rate was $650.00 per hour. See Declaration of Matthew
R. Scott in Ratra v. Dean Foods Co., No. 3:12-cv-1854 (Doc. 85-1) at p. 3 ¶ 25,
PageID 2170 (N.D. Tex. Dallas) (“my standard hourly billing rate today at KLG is
$650”). On January 30, 2015, in an employment discrimination case, Mr. Scott
also testified that his standard billing rate was $650.00 per hour. See Declaration
of Matthew R. Scott in Patton v. ADESA Texas, Inc., No. 3:14-cv-3692 (Doc. 30-1)
at p. 2 ¶ 22, PageID 1108 (N.D. Tex. Dallas) (“My standard hourly billing rate at
KLG is $650, and that has been my billing rate since June 2012”). On January 16,

4   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=850

5   https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=650


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2014, Judge Phyllis Lister Brown ruled that $600.00 per hour was a reasonable
rate for Mr. Scott’s work in a disability discrimination in employment case. See
Green v. Dallas County Schools, No. DC-12-09857 (Order of January 16, 2014) at
p. 1 (162d District Court for Dallas County, Texas) (“The Court approves and
awards Plaintiff reasonable attorney’s fees of $337,750.00, which represents 404.9
hours of Matthew R. Scott’s time at a reasonable hourly rate of $600 per hour, . .
.”). According to the Consumer Price Index for legal services as generated by the
U.S. Bureau of Labor Statistics, the prices for legal services are 23.37% higher in
2021 versus 2012—the year Mr. Matthews testified that his standard hourly bill-
ing rate in 2012 was $650 while at former Judge Joe Kendall’s law firm (a $151.90
difference).6 Adjusted only for such inflation from 2012 to the end of 2021, that
$650.00 hourly rate for Mr. Scott is $801.90.

*   Richard E. Norman (class of ’93): Mr. Norman works in Hou-
ston. On August 4, 2011, Judge Royal Furgeson determined the rate of $500.00
per hour was a reasonable one for work Mr. Norman did in a Dallas FLSA case.
See Spence v. Irving Holdings, Inc., No. 3:10-cv-142-F (Doc. 201) at p. 4, PageID
2414 (N.D. Tex. Dallas) (“Based on documentation provided by the parties, the
number of hours worked by Plaintiffs’ counsel and personnel, which is not dis-
puted, amounts to over 2,250 hours, including . . . ; 284.1 hours at a $500/hour
rate by Richard Norman. . . . The Court finds these rates to be reasonable and
consistent with hourly rates charged by comparable attorneys in the community
for similar work.”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
25.87% higher in 2021 versus 2011—the year Judge Furgeson determined that
$500 rate was reasonable (a $129.37 difference).7 Adjusted only for such inflation
from the year of this rate awarded (2011) to the end of 2021, that $500.00 hourly
rate for Mr. Norman is $629.37.

*    Christine Neill (class of ’96): Ms. Neill works in Dallas. Her
online biography states that she “limits her practice to representing and advising
employee side clients in matters including unlawful termination.” On April 20,
2021, former Magistrate Judge Jeff Kaplan served as arbitrator and awarded
$600 for Ms. Neill’s work prevailing in a Dallas age discrimination in employment
case. See Golden v. Sunridge Mgmt. Group, Inc., Cause No. DC-19-09796 (95th
Judicial District Court for Dallas County, Texas) (Motion to Confirm Arbitration
Award and Brief in Support filed June 14, 2021) (Exhibit B: JAMS Arbitration
Final Award, JAMS Arbitration No. 1310024814 at p. 21: “the arbitrator deter-
mines that $600.00 is a reasonable hourly rate for Legler and Neill and $550.00

6   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=650

7   https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=500


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is a reasonable hourly rate for Cole.”). On July 22, 2021, Judge Monica Purdy
confirmed the arbitration award. See id. (Order Confirming Arbitration Award).

*   Jane Legler (class of ’92): Ms. Legler works in Dallas. Her online
biography states that she “has extensive experience exclusively representing em-
ployees in employment related disputes.” On April 20, 2021, former Magistrate
Judge Jeff Kaplan served as arbitrator and awarded $600 for Ms. Legler’s work
prevailing in a Dallas age discrimination in employment case. See Golden v. Sun-
ridge Mgmt. Group, Inc., Cause No. DC-19-09796 (95th Judicial District Court for
Dallas County, Texas) (Motion to Confirm Arbitration Award and Brief in Support
filed June 14, 2021) (Exhibit B: JAMS Arbitration Final Award, JAMS Arbitration
No. 1310024814 at p. 21: “the arbitrator determines that $600.00 is a reasonable
hourly rate for Legler and Neill and $550.00 is a reasonable hourly rate for Cole.”).
On July 22, 2021, Judge Monica Purdy confirmed the arbitration award. See id.
(Order Confirming Arbitration Award).

*   Barry S. Hersh (class of ’98): Mr. Hersh works in Dallas. His
online biography states that he “dedicates 100 percent of his practice to represent-
ing employees and small businesses in employment law matters.” On September
7, 2021, Judge David C. Godbey granted $595.00 per hour for Mr. Hersh’s work
in a Dallas FLSA case. See Boatright v. Grey, No. 21-cv-00835-N (Doc. 18) at p. 9,
PageID 180 (N.D. Tex. Dallas) (“shall have and recover from such Defendant rea-
sonable attorneys’ fees . . . attorney time at $595 per hour; . . .”). On December 28,
2015, Judge Barbara M. G. Lynn awarded $450.00 per hour for Mr. Hersh’s time
helping select a jury in a Dallas employment retaliation case—based, in part, on
the recommendation of Magistrate Judge David L. Horan. See Kostić v. Texas
A&M Univ.–Commerce, No. 3:10-cv-02265-M (Doc. 282) (N.D. Tex. Dallas) (Order
Accepting Findings and Recommendation of the United States Magistrate Judge);
id. (Doc. 281) at pp. 8 & 10, PageID 8217 & 8219 (“Findings, Conclusions, and
Recommendation of the United States Magistrate Judge”) (“Plaintiff seeks
$2,610.00 for work done by Barry S. Hersh of Hersh Law Firm, P.C., who helped
with jury selection and mock trial, for 5.8 hours at an hourly billing rate of
$450.00. . . . Defendant does not challenge the hourly rates charged by Plaintiff’s
attorneys, the costs of court, or postjudgment interest request.”).

*   J. Derek Braziel (class of ’95): J. Derek Braziel works in Dallas.
On February 28, 2013, Judge Jane Boyle ruled that $495.00 per hour was “rea-
sonable” and “warranted” for J. Derek Braziel in a Dallas FLSA case, Owens v.
Marstek, LLC, No. 3:11-cv-01435-B (Doc. 26) (N.D. Tex. Dallas) (adopting fees re-
quested in Doc. 24). On February 20, 2014, Magistrate Judge David L. Horan
ruled that $495.00 per hour was “reasonable” for Mr. Braziel and “within the mar-
ket rate for attorneys handling this type of litigation in the Dallas area” in Farasat
v. RP Managing Partners, LLC, No. 3:13-cv-00270-L (Doc. 46) (N.D. Tex. Dallas)—


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a Dallas FLSA case. According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
20.06% higher in 2021 versus 2013—the year Judge Boyle ruled that $495.00 per
hour was reasonable (a $99.32 difference).8 Adjusted only for such inflation from
the year of Judge Boyle’s ruling (2013) to the end of 2021, that $495.00 hourly
rate for Mr. Braziel is $594.32.

*   Kevin M. Duddlesten (class of ’94): Mr. Duddlesten works in
Dallas. His online biography states that he “has represented employers in all ar-
eas of labor and employment law for over 25 years.” In a Dallas intellectual prop-
erty case, United States Green Building Council v. Wardell, No. 3:14-cv-1541
(N.D. Tex. Dallas), he billed for work on a default judgment issue. See, e.g., id.
Doc. 52-7 at p. 17 (“Review motion for entry of default and supporting papers and
briefly confer with A. Pickell regarding same.”). The invoice for that work is dated
October 8, 2015. See id. Doc. 52-7 Exhibit E pp. 1–25. The invoice lists his rate as
$499.50. See id. Doc. 52-7 at p. 24, PageID 426. According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 15.71% higher in 2021 versus 2015 (a $78.46 differ-
ence).9 Adjusted only for such inflation from the year of this billing (2015) to the
end of 2021, that $499.50 hourly rate is $577.96.

*   Robert E. McKnight, Jr. (class of ’92): Mr. McKnight’s online
biography notes that he practices in the areas of labor and employment law.
Though he is based in Victoria, Texas, on December 28, 2015, Judge Barbara M.
G. Lynn awarded $495.00 per hour for Mr. McKnight’s time working on attorneys’
fees issues in a Dallas employment retaliation case—based, in part, on the recom-
mendation of Magistrate Judge David L. Horan. See Kostić v. Texas A&M Univ.–
Commerce, No. 3:10-cv-02265-M (Doc. 282) (N.D. Tex. Dallas) (Order Accepting
Findings and Recommendation of the United States Magistrate Judge); id. (Doc.
281) at pp. 8 & 10, PageID 8217 & 8219 (“Findings, Conclusions, and Recommen-
dation of the United States Magistrate Judge”) (“Plaintiff seeks $13,711.50 for
work done by Robert E. McKnight, Jr., of counsel to the law firm of Marek, Griffin
& Knaupp, who helped prepare the motion for fees and costs, for 14.30 hours at
an hourly rate of $495.00 ($7,078.50) for work done prior to the filing of original
motion and 13.40 hours at an hourly rate of $495.00 ($6,633.00) for work done
after the original motion was filed. . . . Defendant does not challenge the hourly
rates charged by Plaintiff’s attorneys, the costs of court, or postjudgment interest
request.”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 15.71%

8   https://www.officialdata.org/Legal-services/price-inflation/2013-to-2021?amount=495

9   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=499.50


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higher in 2021 versus 2015 (a $77.75 difference).10 Adjusted only for such inflation
from the year of this ruling (2015) to the end of 2021, that $495.00 hourly rate is
$572.75.

*    Trey Branham (class of ’99): Mr. Branham works in Dallas. On
April 9, 2014, Judge Jorge Solis found a rate of $475.00 per hour was “reasonable
for this locality” for the work Mr. Branham did in prosecuting a Dallas FLSA case.
See Parker v. ABC Debt Relief, Ltd., No. 3:10-cv-1332-P (Doc. 241) at p. 4, PageID
7059 (N.D. Tex. Dallas) (“Plaintiffs also request that attorneys Branham and Jef-
frey Goldfarb be compensated at an hourly rate of $475, . . . . The Court finds that
the hourly rates requested by Plaintiffs are reasonable for this locality.”). Accord-
ing to the Consumer Price Index for legal services as generated by the U.S. Bureau
of Labor Statistics, the prices for legal services are 17.55% higher in 2021 versus
2014 (an $85.35 difference).11 Adjusted only for such inflation from the year of this
ruling (2014) to the end of 2021, that $475.00 hourly rate is $558.35.

*    Jeffrey Goldfarb (class of ’94): Mr. Goldfarb works in Dallas. On
April 9, 2014, Judge Jorge Solis found a rate of $475.00 per hour was “reasonable
for this locality” for the work Mr. Goldfarb did in prosecuting a Dallas FLSA case.
See Parker v. ABC Debt Relief, Ltd., No. 3:10-cv-1332-P (Doc. 241) at p. 4, PageID
7059 (N.D. Tex. Dallas) (“Plaintiffs also request that attorneys Branham and Jef-
frey Goldfarb be compensated at an hourly rate of $475, . . . . The Court finds that
the hourly rates requested by Plaintiffs are reasonable for this locality.”). Accord-
ing to the Consumer Price Index for legal services as generated by the U.S. Bureau
of Labor Statistics, the prices for legal services are 17.55% higher in 2021 versus
2014 (an $83.35 difference).12 Adjusted only for such inflation from the year of this
ruling (2014) to the end of 2021, that $475.00 hourly rate is $558.35.

*    Robert G. “Bobby” Lee (class of ’93): Though he now works
in Houston, Mr. Lee, a board-certified labor and employment law specialist, pre-
viously worked in North Texas. On June 14, 2016, Judge Reed O’Connor found a
rate of $495.00 per hour for Mr. Lee’s work in prosecuting a Fort Worth employ-
ment discrimination and retaliation case was “reasonable given the community
standards” and Mr. Lee’s experience. See Calahan v. BMJ Food Corp., No. 4:15-
cv-00251-O (Doc. 29) at p.12, PageID 177 (N.D. Tex. Fort Worth) (“Plaintiff’s at-
torney suggests that associate Megan Leigh Dixon rate of $295 dollars an hour
and Robert G. Lee’s rate at $495 an hour are reasonable hourly rates. . . . The

10   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=495

11   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=475

12   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=475


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Court finds that Plaintiff’s rates are reasonable given the community standards
and Dixon and Lee’s experience.”). According to the Consumer Price Index for le-
gal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 11.93% higher in 2021 versus 2016 (a $59.05 difference).13 Ad-
justed only for such inflation from the year of Judge O’Connor’s ruling (2016) to
the end of 2021, that $495.00 hourly rate is $554.05.

*    Michael A. McCabe (class of ’98): Mr. McCabe works in Dallas.
His online biography states that he is an “Award-winning Trial Lawyer in Em-
ployment Litigation.” An invoice from his firm for some commercial litigation
shows his rate was $495.00 per hour in 2017. See Firm Invoice dated May 23,
2017, attached to Declaration of Michael A. McCabe accompanying motion for
award of fees filed on July 27, 2018, at pp. 284–87, in Valtech Servs., Inc. v. Cor-
nerstone Staffing Solutions, Inc., No. DC-16-10346 (116th Judicial District Court
for Dallas County, Texas). According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 8.08% higher in 2021 versus 2017 (a $40.00 difference).14 Adjusted only
for such inflation from the year of this billing (2017) to the end of 2021, that
$495.00 hourly rate is $535.00.

*    David L. Wiley (class of ’96): Mr. Wiley works in Dallas and
focuses his practice on employment law. On May 30, 2017, Judge Ken Molberg
(now Justice Molberg of the Dallas Court of Appeals) awarded Mr. Wiley $495.00
per hour for his work in helping select a jury in Clark v. Everlight Americas, Inc.,
No. DC-15-05538 (95th District Court for Dallas County, Texas)—a Dallas em-
ployment discrimination and retaliation case. On December 12, 2019, a Taylor
County jury in Abilene, Texas, awarded Mr. Wiley $500.00 per hour for his work
in prosecuting Chad Carter v. City of Abilene, Texas, No. 10138-D (350th Judicial
District Court for Taylor County, Texas)—an Abilene whistleblower case. See Jury
Verdict at pp. 6-8, Question 4 (“What is a reasonable attorneys’ fee for necessary
services provided in this case, stated in dollars and cents? . . . Answer: $764 hours
x $500 = $382,000”). On November 15, 2018, Judge Mark Greenberg ruled in a
bench trial on fees that Mr. Wiley’s requested rate of $495.00 per hour was rea-
sonable for his work in prosecuting Carpenter v. Southwest Housing Dev. Co., Inc.,
Cause No. CC-08-2072-E (Dallas County Court at Law No. 5) (read into record at
trial on fees)—a Dallas unlawful employment practices case involving refusal to
pay earned compensation. Judge Greenberg then applied a 1.5 multiplier to fees.
See id. According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 8.08% higher

13   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=495

14   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=495


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in 2021 versus 2017—the year of the 2017 Everlight decision awarding a $495 per
hour rate (a $40.00 difference).15 Adjusted only for such inflation from the year of
this decision to the end of 2021, that $495.00 hourly rate is $535.00.

*    Amy E. Gibson (class of ’95): Ms. Gibson works in Dallas and
focuses her practice on employment law. On May 30, 2017, Judge Ken Molberg
(now Justice Molberg of the Dallas Court of Appeals) awarded Ms. Gibson $495.00
per hour for her work in helping select a jury in Clark v. Everlight Americas, Inc.,
No. DC-15-05538 (95th District Court for Dallas County, Texas)—a Dallas em-
ployment discrimination and retaliation case. On December 28, 2015, Judge Bar-
bara M. G. Lynn awarded $450.00 per hour for Ms. Gibson’s time helping select a
jury in a Dallas employment retaliation case—based, in part, on the recommen-
dation of Magistrate Judge David L. Horan. See Kostić v. Texas A&M Univ.–Com-
merce, No. 3:10-cv-02265-M (Doc. 282) (N.D. Tex. Dallas) (Order Accepting Find-
ings and Recommendation of the United States Magistrate Judge); id. (Doc. 281)
at pp. 7-8 & 10, PageID 8216-17 & 8219 (“Findings, Conclusions, and Recommen-
dation of the United States Magistrate Judge”) (“Plaintiff seeks $720.00 for work
done by Amy E. Gibson of Gibson Wiley PLLC, who helped with jury selection, for
1.6 hours of work at an hourly rate of $450.00. . . . Defendant does not challenge
the hourly rates charged by Plaintiff’s attorneys, the costs of court, or postjudg-
ment interest request.”). On December 12, 2019, a Taylor County jury in Abilene,
Texas, awarded Ms. Gibson $500.00 per hour for her work as lead counsel in pros-
ecuting Chad Carter v. City of Abilene, Texas, No. 10138-D (350th Judicial District
Court for Taylor County, Texas)—an Abilene whistleblower case. See Jury Verdict
at pp. 6-8, Question 4 (“What is a reasonable attorneys’ fee for necessary services
provided in this case, stated in dollars and cents? . . . Answer: $764 hours x $500
= $382,000”). On November 15, 2018, Judge Mark Greenberg ruled in a bench
trial on fees that Ms. Gibson’s requested rate of $495.00 per hour was reasonable
for her work as lead counsel prosecuting Carpenter v. Southwest Housing Dev. Co.,
Inc., Cause No. CC-08-2072-E (Dallas County Court at Law No. 5) (read into rec-
ord at trial on fees)—a Dallas unlawful employment practices case involving re-
fusal to pay earned compensation. Judge Greenberg then applied a 1.5 multiplier
to fees. According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 8.08% higher
in 2021 versus 2017—the year of the 2017 Everlight decision awarding a $495 per
hour rate (a $40.00 difference).16 Adjusted only for such inflation from the year of
this decision to the end of 2021, that $495.00 hourly rate is $535.00.




15   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=495

16   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=495


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*   Douglas B. Welmaker (class of ’93): Mr. Welmaker is based
in Austin and his online biography notes that for the past ten years he has limited
his practice to FLSA cases. On January 10, 2022, Magistrate Judge Renee Harris
Toliver found that $525.00 per hour was a reasonable rate for Mr. Welmaker’s
time prosecuting a Dallas FLSA case. See Hardy v. SDM Hospitality, LLC, No.
20-cv-3157-S-BK (Doc. 11) at p. 11, PageID 87(N.D. Tex. Dallas) (“Further, the
undersigned finds that counsel’s requested hourly rate of $525.00 is reasonable
for an attorney practicing in the field of employment law with comparable experi-
ence.”). In 2015, in three different FLSA cases, judges in Dallas ruled $400.00 per
hour was a reasonable rate for his work. See Mauricio v. Phillip Gaylen, P.C., No.
3:14-cv-00064-L (Doc. 41) at pp. 3-4, PageID 286-87 (N.D. Tex. Dallas Dec. 3, 2015)
(Magistrate Judge Irma Ramirez) (“Here, Plaintiffs seek hourly rates of $400 for
Douglas B. Welmaker, . . . . The hourly rates are consistent with the prevailing
market rates in this area, . . . .”), report and recommendation adopted in (Doc. 44),
2016 WL 1273337, 2016 Wage & Hour Cas. 2d (BNA) 99,007 (N.D. Tex. Dallas
Mar. 30, 2016) (Judge Sam A. Lindsay); Henderson v. Fenwick Protection Inc., No.
3:14-cv-00505 (Doc. 56) at pp. 13-14, PageID 284-85 (N.D. Tex. Dallas Nov. 23,
2015) (Magistrate Judge David L. Horan) (“According to the Welmaker Affidavit,
Welmaker has an hourly billing rate of $400.00, . . . . Under the particular circum-
stances here, the undersigned finds that both Welmaker and Michael’s rates are
consistent with the prevailing rates in Dallas County for attorneys with their re-
spective experience, skill, and ability.”), report and recommendation adopted in
(Doc. 58) (N.D. Tex. Dallas Dec. 28, 2015) (Judge Barbara M. G. Lynn); Robinson
v. Nexion Health at Terrell, Inc., No. 3:12-cv-03853-L-BK (Doc. 56) at pp. 3 & 5,
PageID 987 & 989 (N.D. Tex. Dallas Feb. 11, 2015) (Magistrate Judge Renee Har-
ris Toliver) (“Plaintiff seeks reimbursement for attorneys: (1) Doug Welmaker at
a rate of $400.00 per hour; . . . . the undersigned finds such rates to be reasonable
based on the Court’s familiarity with hourly rates charged by attorneys of similar
experience and skill.”), report and recommendation rejected on other grounds (Doc.
57).

*   Jason Smith (class of ’92): Mr. Smith works in Fort Worth. His
online biography notes that he “has developed an expertise as a trial lawyer han-
dling employment, personal injury and insurance cases.” On July 23, 2019, Judge
Dale Tillery ruled that $500.00 per hour was a “reasonable” hourly fee for his work
in prosecuting a Dallas employment retaliation case. See Findings of Facts and
Conclusions of Law in Benavides v. Macy’s Retail Holdings, Inc., No. DC-18-10796
at p. 4, ¶ 42 (134th Judicial District Court for Dallas County, Texas) (“$500 is a
reasonable hourly fee for Jason Smith in this case.”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 2.64% higher in 2021 versus 2019 (a $13.20




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difference).17 Adjusted only for such inflation from the year of this decision (2019)
to the end of 2021, that $500.00 hourly rate is $513.20.

*    Howard L. Steele, Jr. (class of ’96): Mr. Steele’s online biog-
raphy shows he works in Houston and practices labor and employment law. On
March 8, 2017, Judge Reed O’Connor ruled $470.00 per hour was a “reasonable”
rate for Mr. Steele’s work in a Forth Worth FLSA. See Pereyra v. Navika Capital
Group LLC, No. 4:15-CV-00615-O (Doc. 83) at p. 4, PageID 3298 (N.D. Tex. Fort
Worth) (“In connection with their work performed in the Western District case
and this instant case Pereyra seeks hourly rates of $470.00 for partner Howard
Steele; . . . . The Court finds that these rates are reasonable.”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 7.87% higher in 2021 versus 2017 (a
$37.98 difference).18 Adjusted only for such inflation from the year of Judge O’Con-
nor’s finding (2017) to the end of 2021, that $470.00 hourly rate is $507.98.

*    Peter A. Milianti (class of ’97): Mr. Milianti’s online biography
notes his practice focuses on labor and employment litigation. Though Mr. Mil-
ianti is based in Chicago, on December 23, 2015, Magistrate Judge David L. Horan
found $437.00 per hour was within a reasonable range for Mr. Milianti’s work in
a Dallas employment discrimination case. See McAfee v. Schneider Nat’l Carriers,
Inc., No. 3:14-cv-1500-P (Doc. 52) at p. 12, PageID 200 (N.D. Tex. Dallas) (“The
Court finds Mr. Milianti’s $437.00 hourly rate to be within the proper range for
the prevailing market rate in this legal community for similar services by lawyers
of reasonably comparable skills, experience, and reputation”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 15.71% higher in 2021 versus 2015 (a
$68.64 difference).19 Adjusted only for such inflation from the year of Magistrate
Judge Horan’s finding (2015) to the end of 2021, that $437.00 hourly rate is
$505.64.

*    David Langenfeld (class of ’92): Mr. Langenfeld is based in
Austin and his online biography notes he is a board-certified labor and employ-
ment law specialist. In 2015, Magistrate Judge Irma Ramirez recommended his
firm receive $400.00 per hour for Mr. Langenfeld’s work in prosecuting an FLSA
case in Dallas, and Judge Sam A. Lindsay approved that recommendation. See
Mauricio v. Phillip Gaylen, P.C., No. 3:14-cv-00064-L (Doc. 41) at p. 3, PageID 286
(N.D. Tex. Dallas Dec. 3, 2015) (Magistrate Judge Irma Ramirez) (“Here,

17   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=500

18   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=470

19   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=437

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Plaintiffs seek hourly rates of $400 for Douglas B. Welmaker, $400 for David
Langenfeld, and . . . . The hourly rates are consistent with the prevailing market
rates in this area, . . . .”), report and recommendation adopted in (Doc. 44), 2016
WL 1273337, 2016 Wage & Hour Cas. 2d (BNA) 99,007 (N.D. Tex. Dallas Mar. 30,
2016) (Judge Sam A. Lindsay). According to the Consumer Price Index for legal
services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
services are 15.71% higher in 2021 versus 2015 (a $62.83 difference).20 Adjusted
only for such inflation from the year of Magistrate Judge Ramirez’s ruling to the
end of 2021, that $400.00 hourly rate is $462.83.




20   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=400

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Classes of the 2000s


 26                 lawyers listed




 $559.13                               average rate




 $501.37                               median rate


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                                        Classes of the 2000s:
                                             The Rates

   Crystal Jamison                        Mike                          Christine
             Woods                      Gaddis                            Hopkins
         (JD 2009)                    (JD 2009)                         (JD 2005)


          Isabel A.                   Joseph H.                           John M.
            Crosby                     Gillespie                           Barcus
         (JD 2005)                    (JD 2002)                         (JD 2002)


            Micala                         Kyla                      M. Jeanette
         Bernardo                          Cole                           Fedele
         (JD 2007)                    (JD 2001)                       (JD 2003)


        Michael W.                        Brent                         Gavin S.
         Massiatte                      Walker                         Martinson
         (JD 2000)                    (JD 2004)                        (JD 2005)


          Stuart L.                    Kimberly                          Monica
           Cochran                     Williams                        Velazquez
         (JD 2000)                    (JD 2005)                        (JD 2002)


    Danielle Alexis                    Brandon                            Corinna
        Matthews                         Shelby                          Chandler
         (JD 2000)                    (JD 2004)                         (JD 2009)


          Karen C.                     James D.                              Todd
           Denney                       Sanford                          Goldberg
         (JD 2002)                    (JD 2005)                         (JD 2009)


             Brian                       Ashley                          Jamie J.
           Lauten                      Tremain                             McKey
         (JD 2001)                    (JD 2008)                         (JD 2006)


        John Roger                      Carmen
           Herring                       Artaza
         (JD 2008)                    (JD 2006)

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Classes of the 2000s:
     The Work


 *   Crystal Jamison Woods (class of ’09): Ms. Woods works in
 Dallas and her online biography states that she “has a diverse legal practice in-
 volving labor and employment . . . with a primary focus on litigating disputes and
 counseling on matters implicating trade secrets, restrictive covenants and fiduci-
 ary duties.” She billed at the rate of $800.00 per hour for work in a Dallas bank-
 ruptcy case. See In re: 4 West Holdings, Inc., No. 18-30777 (Doc. 1429) at pp. 5, 9,
 69, 72, 74, 88, 149, 166 (Bankr. N.D. Tex. Dallas) (Summary of Combined Third
 Interim and Final Application of DLA Piper LLP (US) for Allowance of Compen-
 sation for Services Rendered and Reimbursement of Expenses Incurred as Coun-
 sel to the Debtors and Debtors in Possession for the Interim Period from Septem-
 ber 1, 2018 through February 13, 2019 and the final period from March 6, 2018
 through February 13, 2019) (for work such as “evaluate and advise on dispute
 relating to deposition location,” “attention to issues relating to motion to compel,”
 “assist with deposition preparations,” “assist with hearing preparation,” “atten-
 tion to case status and anticipated litigation needs”) (firm invoices dated February
 6, 2019, and February 7, 2019). On May 2, 2019, Judge Harlin D. Hale approved
 the request for fees. See id. (Doc. 1485). Ms. Woods billed for work in an alleged
 theft of trade secrets case in Dallas involving former employees of a company, in
 Medoc Health Servs., LLC v. Nguyen, No. DC-18-0822 (14th District Court for
 Dallas County, Texas). An invoice dated March 23, 2018, lists her rate as $685.00
 per hour. See Exhibit C attached to Plaintiff’s Motion for Attorneys’ Fees in that
 case filed on November 20, 2020, at p. 55. On May 24, 2021, Judge Eric V. Moyé
 awarded fees based, in part, on this rate for Ms. Woods’s work. See id. (Revised
 Order) at p. 2 (“this Court finds that Plaintiffs incurred legal fees in the amount
 of $261,632.82 related to . . . . The Court finds that Plaintiffs’ recovery of these
 fees is legally authorized, that the requested attorneys’ fees were reasonable and
 necessary for Plaintiffs’ legal representation, . . . .”). According to the Consumer
 Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
 the prices for legal services are 2.64% higher in 2021 versus 2019—a $21.12 dif-
 ference from the $800 rate listed.1 Adjusted only for such inflation from the year



 1   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=800


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this rate was court-approved to the end of 2021, that $800.00 hourly rate for Ms.
Woods is $821.12.

*   Isabel A. Crosby (class of ’05): Ms. Crosby works in Dallas and
her prior online biography says she “works closely with employers at all stages of
the employment relationship.” She billed for work on an alleged theft of trade
secrets case in Dallas involving former employees of a company, in Medoc Health
Servs., LLC v. Nguyen, No. DC-18-0822 (14th District Court for Dallas County,
Texas). An invoice dated March 7, 2019, lists her rate as $775.00 per hour. See
Exhibit C attached to Plaintiff’s Motion for Attorneys’ Fees in that case filed on
November 20, 2020, at p. 138. On May 24, 2021, Judge Eric V. Moyé awarded fees
based, in part, on this rate for Ms. Crosby’s work. See id. (Revised Order) at p. 2
(“this Court finds that Plaintiffs incurred legal fees in the amount of $261,632.82
related to . . . . The Court finds that Plaintiffs’ recovery of these fees is legally
authorized, that the requested attorneys’ fees were reasonable and necessary for
Plaintiffs’ legal representation, . . . .”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 2.64% higher in 2021 versus 2019 (a $20.46 difference).2 Ad-
justed only for such inflation from the year this rate was billed in the relevant
Dallas community to the end of 2021, that $775.00 hourly rate for Ms. Crosby is
$795.46.

*   Micala Bernardo (class of ’07): Ms. Bernardo works in Dallas
and her online biography states that her “practice focuses on counseling clients
on labor and employment matters . . . brought by individuals or on a class-wide
basis.” She billed at the rate of $740.00 per hour for work in a Dallas bankruptcy
case. See In re: 4 West Holdings, Inc., No. 18-30777 (Doc. 1429) at pp. 6, 181, 191
(Bankr. N.D. Tex. Dallas) (Summary of Combined Third Interim and Final Appli-
cation of DLA Piper LLP (US) for Allowance of Compensation for Services Ren-
dered and Reimbursement of Expenses Incurred as Counsel to the Debtors and
Debtors in Possession for the Interim Period from September 1, 2018 through
February 13, 2019 and the final period from March 6, 2018 through February 13,
2019) (for work such as “attention to review of exhibits for deposition”). On May
2, 2019, Judge Harlin D. Hale approved the request for fees. See id. (Doc. 1485).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 2.64% higher in 2021
versus 2019—a $19.53 difference from the $740.00 rate listed.3 Adjusted only for
such inflation from the year this rate was court-approved to the end of 2021, that
$740.00 hourly rate for Ms. Bernardo is $759.53.

2   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=775

3   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=740


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*   Michael W. Massiatte (class of ’00): Mr. Massiatte works in
Dallas and his online biography states that he “focuses his practice on labor and
employment matters[.]” He billed at the rate of $740.00 per hour for work in a
Dallas bankruptcy case. See In re: 4 West Holdings, Inc., No. 18-30777 (Doc. 1429)
at pp. 9, 181 (Bankr. N.D. Tex. Dallas) (Summary of Combined Third Interim and
Final Application of DLA Piper LLP (US) for Allowance of Compensation for Ser-
vices Rendered and Reimbursement of Expenses Incurred as Counsel to the Debt-
ors and Debtors in Possession for the Interim Period from September 1, 2018
through February 13, 2019 and the final period from March 6, 2018 through Feb-
ruary 13, 2019) (e.g., “Attention to review of exhibits for deposition”). Judge
Harlin D. Hale approved the request for fees. See id. at Doc. 1485 (May 2, 2019).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 2.64% higher in 2021
versus 2019—an $19.53 difference from the $740.00 rate listed.4 Adjusted only for
such inflation from the year this rate was court-awarded to the end of 2021, that
$740.00 hourly rate for Mr. Massiatte is $759.53.

*   Stuart L. Cochran (class of ’00): Mr. Cochran works in Dallas.
On August 4, 2011, Judge Royal Furgeson determined the rate of $600.00 per hour
was a reasonable one for work Mr. Cochran did in a Dallas FLSA case. See Spence
v. Irving Holdings, Inc., No. 3:10-cv-142-F (Doc. 201) at p. 4, PageID 2414 (N.D.
Tex. Dallas) (“Based on documentation provided by the parties, the number of
hours worked by Plaintiffs’ counsel and personnel, which is not disputed, amounts
to over 2,250 hours, including . . . ; 750 hours at a $600/hour rate by Stuart
Cochran; . . . . The Court finds these rates to be reasonable and consistent with
hourly rates charged by comparable attorneys in the community for similar
work.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 25.87% higher
in 2021 versus 2011 (a $155.24 difference).5 Adjusted only for such inflation from
the year of Judge Ferguson’s determination (2011) to the end of 2021, that $600.00
hourly rate for Mr. Cochran is $755.24.

*   Danielle Alexis Matthews (class of ’00): Ms. Matthews
works in Dallas and her online biography notes “[h]er practice focuses on repre-
senting employers in workplace law matters, including preventive advice and
counseling.” In a Dallas FLSA case, she submitted a declaration in which she
noted that in 2016 she billed her client for work in that case at the rate of $655.00
per hour. See Declaration of Danielle Alexis Matthews in Areizaga v. ADW Corp.,

4   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=740

5   https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=600


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No. 3:14-cv-2899 (Docs. 94-1 & 94-2) (N.D. Tex. Dallas). See generally Brief in
Support of ADW Corporation’s Motion to Dismiss Plaintiff’s Original Complaint
(Doc. 7) (discussing nature of the case). Attached to Ms. Matthews’s declaration
are law firm billing records. Those billing records, Doc. 94-2 at p. 6, list Ms. Mat-
thews as having billed at a rate of $655.00 per hour in an invoice dated February
10, 2016. Magistrate Judge David L. Horan declined to grant this requested rate.
See Doc. 130 [Memorandum Opinion and Order] at p. 12. But it was a rate actually
billed for employment work in the North Texas community. See Doc. 94-1 at p. 3,
PageID 1051 (“Fulbright charged ADW its standard hourly rate for each of the
attorneys who worked on the matter . . . ”) and 94-2 at p. 6, PageID 1057 (listing
$655 as the rate for Ms. Matthews on the firm’s February 10, 2016, invoice). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 11.93% higher in 2021
versus 2016 (a $78.14 difference).6 Adjusted only for such inflation from the year
this rate was billed (2016) to the end of 2021, that $655.00 hourly rate for Ms.
Matthews is $733.14.

*   Karen C. Denney (class of ’02): Ms. Denney works in Dallas and
her online biography notes she “is a partner in her firm’s Labor and Employment
Practice Group.” In a Dallas employment discrimination case, her declaration and
accompanying client invoice dated April 14, 2015, show her rate charged for work
billed in that case was $565.00 per hour (prior to an across-the-board 10% dis-
count). See Garofalo v. Taco Bueno, LP, No. 3:14-cv-02616-M-BH (Doc. 43) at p.
11, PageID 377 (N.D. Tex. Dallas) (for work such as “revise and finalize designa-
tion of expert witnesses for filing” and “revise required scheduling proposal”). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 15.71% higher in 2021
versus 2015 (an $88.75 difference).7 Adjusted only for such inflation from the year
this rate was billed (2015) to the end of 2021, that $565.00 hourly rate for Ms.
Denney is $653.75.

*   Brian Lauten (class of ’01): Mr. Lauten works in Dallas. On July
27, 2010, Judge Jane Boyle awarded Mr. Lauten a rate of $500.00 per hour rate
for his work in prosecuting a Dallas employment retaliation case. See Nassar v.
University of Texas Southwestern Medical Center, No. 3:09-CV-1337 (Doc. 160) at
pp. 8–10, PageID 2245–47 (N.D. Tex. Dallas) (“Defendant argues that Dr. Nassar
has not met his burden and that the rates requested ($400 per hour for Mr.
Walker, $500 per hour for Mr. Lauten, $500 per hour for Ms. Lauten, and $750
per hour for Ms. Aldous) are excessive. . . . In light of the degree of success

6   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=655

7   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=565


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obtained and the evidence submitted, the Court finds that the lodestar may be
calculated using the requested rates, with one exception [applicable to Ms.
Lauten].”), reversed on other grounds. According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 29.93% higher in 2021 versus 2010 (a $149.67 difference).8 Ad-
justed only for such inflation from the year of Judge Boyle’s award (2010) to the
end of 2021, that $500.00 hourly rate for Mr. Lauten is $649.67.

*   John R. Herring (class of ’08): Mr. Herring works in Dallas and
his online biography notes he “has handled Fair Labor Standards Act (FLSA) col-
lective actions and state law class actions across the country, and regularly assists
companies evaluating compliance with state and federal employment laws and
regulations.” In a Dallas FLSA case, a declaration was submitted which noted
that in 2016, work he did was billed to a client at the rate of $555.00 per hour. See
Declaration of Danielle Alexis Matthews in Areizaga v. ADW Corp., No. 3:14-cv-
2899 (Docs. 94-1 & 94-2) (N.D. Tex. Dallas). See generally Brief in Support of ADW
Corporation’s Motion to Dismiss Plaintiff’s Original Complaint (Doc. 7) (discuss-
ing nature of the case). Attached to the declaration are law firm billing records
that show Mr. Herring as having billed at a rate of $555.00 per hour in invoices
dated February 10, 2016, March 15, 2016, and April 12, 2016. See Doc. 94-2 at pp.
6, 10, 14 (for work such as “conference with litigation team” and “prepare ADW
Corporation’s brief seeking discovery of Plaintiff’s electronically stored infor-
mation”). Magistrate Judge David L. Horan declined to grant this requested rate.
See Doc. 130 [Memorandum Opinion and Order] at pp. 12–13. But it was a rate
actually billed for employment work in the North Texas community. See Doc. 94-
1 at p. 3, PageID 1051 (“Fulbright charged ADW its standard hourly rate for each
of the attorneys who worked on the matter . . . ”) and 94-2 at pp. 6, 10, 14 (listing
“$555.00” as the rate for Mr. Herring on several of his firm’s invoices). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 11.93% higher in 2021 versus
2016 (a $66.21 difference).9 Adjusted only for such inflation from the year this rate
was billed (2016) to the end of 2021, that $555.00 hourly rate for Mr. Herring is
$621.21.

*   Mike Gaddis (class of ’09): Mr. Gaddis works in Dallas. His online
biography notes that he has represented companies and individuals in employ-
ment disputes. In a Dallas alleged breach of employment agreement against a
former employee of a company, there was testimony on January 28, 2014, that
Mr. Gaddis’ hourly rate for work on that case was $485.00 per hour. See

8   https://www.officialdata.org/Legal-services/price-inflation/2010-to-2021?amount=500

9   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=555


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Transcript of trial testimony of Stephen E. Fox on January 28, 2014 in Highland
Capital Management, L.P. v. Daugherty, No. 05-14-01215-CV (68th Judicial Dis-
trict Court for Dallas County, Texas) at p. 85 (“Q. Okay. And what hourly rate are
you charging Highland for Mr. Gaddis’s work in this case? A. Whatever it says in
the report, is it 480? Q. 485, I believe. A. 485, yes, sir.”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 17.55% higher in 2021 versus 2014 (an
$85.11 difference).10 Adjusted only for such inflation from the year of this testi-
mony (2014) to the end of 2021, that $485.00 hourly rate for Mr. Gaddis is $570.11.

*    Joseph H. Gillespie (class of ’02): Mr. Gillespie works in Dallas.
His online biography notes he “focuses his practice on labor and employment ad-
vice, litigation, and trials.” On August 24, 2012, Judge Ed Kinkeade ruled that—
for Mr. Gillespie’s work in a Dallas FLSA case—the rate of $450.00 per hour was
“consistent with the hourly wages of similarly situated attorneys in the Dallas
area.” See Black v. Settlepou, P.C., No. 3:10-CV-1418-K (Doc. 133) at p. 8, PageID
2610 (N.D. Tex. Dallas) (“Although Defendant SettlePou, P.C. contests the rea-
sonableness of Betty Black’s counsels’ hourly rates, the Court has determined that
hourly rates of $450 per hour for Mr. Gillespie and $375 per hour for Mr. Sanford
are consistent with the hourly wages of similarly situated attorneys in the Dallas
area.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 23.37% higher
in 2021 versus 2012 (a $105.16 difference).11 Adjusted only for such inflation from
the year of Judge Kinkeade’s determination (2012) to the end of 2021, that
$450.00 hourly rate for Mr. Gillespie is $555.16.

*    Kyla Cole (class of ’01): Ms. Cole works in Dallas. Her online biog-
raphy notes that she started her career representing employees in discrimination
litigation and continues to represent employees in discrimination litigation. On
April 20, 2021, former Magistrate Judge Jeff Kaplan served as arbitrator and
awarded $550.00 for Ms. Cole’s work prevailing in a Dallas age discrimination in
employment case. See Golden v. Sunridge Mgmt. Group, Inc., Cause No. DC-19-
09796 (95th Judicial District Court for Dallas County, Texas) (Motion to Confirm
Arbitration Award and Brief in Support filed June 14, 2021) (Exhibit B: JAMS
Arbitration Final Award, JAMS Arbitration No. 1310024814 at p. 21: “the arbi-
trator determines that $600.00 is a reasonable hourly rate for Legler and Neill
and $550.00 is a reasonable hourly rate for Cole.”). On July 22, 2021, Judge Mon-
ica Purdy confirmed the arbitration award. See id. (Order Confirming Arbitration
Award).

10   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=555

11   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=450


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*    Brent Walker (class of ’04): Mr. Walker works in Dallas. On July
27, 2010, Judge Jane Boyle awarded Mr. Walker a rate of $400.00 per hour for his
work in prosecuting a Dallas employment retaliation case. See Nassar v. Univer-
sity of Texas Southwestern Medical Center, No. 3:09-CV-1337 (Doc. 160) at pp. 8–
10, PageID 2245–47 (N.D. Tex. Dallas) (“Defendant argues that Dr. Nassar has
not met his burden and that the rates requested ($400 per hour for Mr. Walker,
$500 per hour for Mr. Lauten, $500 per hour for Ms. Lauten, and $750 per hour
for Ms. Aldous) are excessive. . . . In light of the degree of success obtained and
the evidence submitted, the Court finds that the lodestar may be calculated using
the requested rates, with one exception [applicable to Ms. Lauten].”), reversed on
other grounds. According to the Consumer Price Index for legal services as gener-
ated by the U.S. Bureau of Labor Statistics, the prices for legal services are
29.93% higher in 2021 versus 2010 (a $119.74 difference).12 Adjusted only for such
inflation from the year of Judge Boyle’s fee ruling to the end of 2021, that $400.00
hourly rate for Mr. Walker is $519.74.

*    Kimberly F. Williams (class of ’05): Ms. Williams works in
Dallas. Her online biography states that she “focuses her practice exclusively on
labor and employment law.” In 2021, Ms. Williams billed at a rate of $483.00 per
hour for work defending against a pro se plaintiff. See Montgomery v. Southern
Methodist Univ., No. 3:20-cv-03521-E-BN (Doc. 18-1) at pp. 14-15, PageID 154-55
(N.D. Tex. Dallas) (listing rate as “$483.00” and describing work such as “Review
and revise Reply in Support of Motion to Dismiss or, in the Alternative, Re-
mand.”). On September 8, 2021, Magistrate Judge David L. Horan recommended
fees be awarded to her client for work on a remand issue, but at the rate of $459.17
for Ms. Williams’s work—using an average for her rates over different years. See
id. (Doc. 22) at pp. 11-12 (“SMU seeks to recover fees averaging $459.17 an hour
for Ms. Williams, . . . the undersigned finds that these rates are reasonable and
within the market rate for attorneys handling this type of litigation in the Dallas
area.”). On October 4, 2021, Judge Ada Brown adopted that recommendation. See
id. (Doc. 23).

*    Brandon Shelby (class of ’04): Mr. Shelby works in Sherman.
His online biography states that he litigates “on behalf of municipalities and gov-
ernment entities in a wide variety of disputes ranging from employment to prop-
erty matters, . . . .” In 2015, in an alleged defamation case brought by a former
government employee in Wichita Falls, Mr. Shelby testified that his standard
hourly rate is $400.00 per hour. See Declaration of Brandon Shelby in Scruggs v.
City of Bowie, No. 7:14-cv-00123 (Doc. 60) at pp. 32–35, PageID 797 (N.D. Tex.
Wichita Falls) (“My standard rate is $400 per hour for my services”). According to

12   https://www.officialdata.org/Legal-services/price-inflation/2010-to-2021?amount=400


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the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 15.71% higher in 2021 versus
2015 (a $62.83 difference).13 Adjusted only for such inflation from the year of this
testimony (2015) to the end of 2021, that $400.00 hourly rate for Mr. Shelby is
$462.83.

*    Jim Sanford (class of ’05): Mr. Sanford works in Dallas. His online
biography notes he “counsels and advocates for clients in the area of labor and
employment law.” On August 24, 2012, Judge Ed Kinkeade ruled that—for Mr.
Sanford’s work in a Dallas FLSA case—the rate of $375.00 per hour was “con-
sistent with the hourly wages of similarly situated attorneys in the Dallas area.”
See Black v. Settlepou, P.C., No. 3:10-CV-1418-K (Doc. 133) at p. 8, PageID 2610
(N.D. Tex. Dallas) (“Although Defendant SettlePou, P.C. contests the reasonable-
ness of Betty Black’s counsels’ hourly rates, the Court has determined that hourly
rates of $450 per hour for Mr. Gillespie and $375 per hour for Mr. Sanford are
consistent with the hourly wages of similarly situated attorneys in the Dallas
area.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 23.37% higher
in 2021 versus 2012 (an $87.63 difference).14 Adjusted only for such inflation from
the year of Judge Kinkeade’s determination (2012) to the end of 2021, that
$375.00 hourly rate for Mr. Sanford is $462.63.

*    Ashley Tremain (class of ’08): Ms. Tremain works in Dallas. Her
online biography notes that she “represent[s] individuals in all types of employ-
ment disputes, including informal negotiations, trial in the state and federal
courts, arbitrations, appeals, and administrative proceedings before the TWC,
EEOC, and NLRB.” On June 27, 2019, Arbitrator Karen Fitzgerald awarded Ms.
Tremain a rate of $450.00 per hour for work she did in prosecuting a Dallas Equal
Pay Act case. See Gardner v. Apple Texas Restaurants, Inc., AAA Case No. 01-17-
0001-6323 at pp. 2-3 (American Arbitration Association Employment Arbitration
Tribunal) (“I hereby adopt the parties’ Stipulation on the Terms of the Final
Award as the Final Award in the case, and issue the following award against Re-
spondent Apple Texas Restaurants, Inc. and in favor of Claimant Ryan Gardner:
. . . $110,924.37 award of attorney fees to Tremain Artaza, PLLC for 246.4986
attorney hours at a rate of $450 per hour”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 2.64% higher in 2021 versus 2019 (an $11.88 difference).15


13   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=400

14   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=375

15   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=450


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Adjusted only for such inflation from the year of this ruling (2019) to the end of
2021, that $450.00 hourly rate for Ms. Tremain is $461.88.

*    Carmen Artaza (class of ’06): Ms. Artaza works in Dallas and
her online biography notes that she has “practiced employment law exclusively
since graduating law school in 2006.” On June 27, 2019, Arbitrator Karen Fitz-
gerald awarded Ms. Artaza a rate of $450.00 per hour for work she did in prose-
cuting a Dallas Equal Pay Act case. See Gardner v. Apple Texas Restaurants, Inc.,
AAA Case No. 01-17-0001-6323 at pp. 2-3 (American Arbitration Association Em-
ployment Arbitration Tribunal) (“I hereby adopt the parties’ Stipulation on the
Terms of the Final Award as the Final Award in the case, and issue the following
award against Respondent Apple Texas Restaurants, Inc. and in favor of Claim-
ant Ryan Gardner: . . . $110,924.37 award of attorney fees to Tremain Artaza,
PLLC for 246.4986 attorney hours at a rate of $450 per hour”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019 (a
$11.88 difference).16 Adjusted only for such inflation from the year of this ruling
(2019) to the end of 2021, that $450.00 hourly rate for Ms. Artaza is $461.88.

*    Christine Hopkins (class of ’05): Ms. Hopkins works in Dallas.
Her online biography notes she focuses her practice on employment law. On June
27, 2019, Arbitrator Karen Fitzgerald awarded Ms. Hopkins a rate of $450.00 per
hour for work she did in prosecuting a Dallas Equal Pay Act case. See Gardner v.
Apple Texas Restaurants, Inc., AAA Case No. 01-17-0001-6323 at pp. 2-3 (Ameri-
can Arbitration Association Employment Arbitration Tribunal) (“I hereby adopt
the parties’ Stipulation on the Terms of the Final Award as the Final Award in
the case, and issue the following award against Respondent Apple Texas Restau-
rants, Inc. and in favor of Claimant Ryan Gardner: . . . $110,924.37 award of at-
torney fees to Tremain Artaza, PLLC for 246.4986 attorney hours at a rate of $450
per hour”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 2.64%
higher in 2021 versus 2019 (a $11.88 difference).17 Adjusted only for such inflation
from the year of this ruling (2019) to the end of 2021, that $450.00 hourly rate for
Ms. Hopkins is $461.88.

*    John M. Barcus (class of ’02): Mr. Barcus works in Dallas. His
online biography notes that he does labor and employment law work. On Decem-
ber 18, 2020, in a Dallas case involving allegations of race discrimination in em-
ployment, he submitted a declaration noting that although he worked on a

16   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=450

17   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=450


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discount his standard hourly rate is $450.00. See Ibarra v. Jacobs Eng. Group,
Inc., No. 3:19-cv-01437-C (Doc. 41-1) at p. 12, PageID 2420 (N.D. Tex. Dallas)
(Declaration of John M. Barcus) (“My standard hourly rate for 2020 is $450”) (em-
phasis in original). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
1.53% higher in 2021 versus 2020 (a $6.91 difference).18 Adjusted only for such
inflation from the year of this testimony (2020) to the end of 2021, that $450.00
hourly rate for Mr. Barcus is $456.91.

*    M. Jeanette Fedele (class of ’03): Ms. Fedele previously worked
in Dallas. She is a board-certified labor and employment law specialist. On March
2, 2012, Judge Ken Molberg [now Justice Molberg of the Dallas Court of Appeals]
ruled $360.00 per hour was a “reasonable” rate in a Dallas employment retaliation
case. See Rush Truck Centers of Texas, L.P. v. Fitzgerald, No. DC-09-15958-D
(“Order on Attorney Fees”) at p. 5 (95th District Court for Dallas County, Texas)
(“a reasonable fee for the necessary services of Fitzgerald’s attorneys, as estab-
lished by the evidence, should be computed in the following manner: . . . M. Jean-
ette Fedele: $85,320 (237 hours at the rate of $360 per hour) . . . .”). According to
the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 23.37% higher in 2021 versus
2012 (an $84.13 difference).19 Adjusted only for such inflation from the year of this
court ruling to the end of 2021, that $360.00 hourly rate for Ms. Fedele is $444.13.

*    Gavin S. Martinson (class of ’05): Mr. Martinson works in
Dallas and his online biography states that he “represents employers in all as-
pects of labor and employment law.” On January 14, 2019, in a Dallas employment
discrimination and retaliation case, Mr. Martinson testified that his standard
hourly rate was $425.00 per hour. See Declaration of Gavin S. Martinson, filed in
Carmona v. Krammerer, No. DC-17-13908 (298th District Court for Dallas
County, Texas) (Exhibit A to Defendant’s Request for Entry of Attorney’s Fees)
(“The hourly rates that Mr. Leslie and I charged for this matter were discounted
from our ordinary rates for matters such as this. Mr. Leslie’s regular hourly rate
is $350 and my regular hourly rate is $425”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 2.64% higher in 2021 versus 2019 (an $11.22 differ-
ence).20 Adjusted only for such inflation from the year of this testimony (2019) to
the end of 2021, that $425.00 hourly rate for Mr. Martinson is $436.22.


18   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=450

19   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=360

20   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=425


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*    Monica Velazquez (class of ’02): Ms. Velazquez works in Collin
County and previously worked in Dallas. She is a board-certified labor and em-
ployment law specialist. On February 17, 2015, Ms. Velazquez testified that she
billed $370 per hour for work on a motion to dismiss in a Dallas employment dis-
crimination case. See Affidavit of Monica Velazquez, filed in Killough v. American
Airlines, Inc., No. DC-14-11368 (68th District Court for Dallas County, Texas) (“In
connection with the Motion to Dismiss to date, I billed 1.8 hours at an hourly rate
of $370[.] . . .”). According to the Consumer Price Index for legal services as gen-
erated by the U.S. Bureau of Labor Statistics, the prices for legal services are
15.71% higher in 2021 versus 2015 (a $58.12 difference).21 Adjusted only for such
inflation from the year of this testimony (2015) to the end of 2021, that $370.00
hourly rate for Mr. Martinson is $428.12.

*    Corinna Chandler (class of ’09): Ms. Chandler works in Dallas.
Her online biography lists various areas of employment law she handles. On April
9, 2014, Judge Jorge Solis found a rate of $350.00 per hour was “reasonable for
this locality” for the work Ms. Chandler did in prosecuting a Dallas FLSA case.
See Parker v. ABC Debt Relief, Ltd., No. 3:10-cv-1332-P (Doc. 241) at p. 4, PageID
7059 (N.D. Tex. Dallas) (“Plaintiffs also request . . . that attorneys Todd Goldberg
and Corinna Chandler be compensated at an hourly rate of $350, . . . . The Court
finds that the hourly rates requested by Plaintiffs are reasonable for this local-
ity.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 17.55% higher
in 2021 versus 2014 (a $60.62 difference).22 Adjusted only for such inflation from
the year of Judge Solis’s finding (2014) to the end of 2021, that $350.00 hourly
rate for Ms. Chandler is $411.42.

*    Todd Goldberg (class of ’09): Mr. Goldberg works in Dallas. On
April 9, 2014, Judge Jorge Solis found a rate of $350.00 per hour was “reasonable
for this locality” for the work Mr. Goldberg did in prosecuting a Dallas FLSA case.
See Parker v. ABC Debt Relief, Ltd., No. 3:10-cv-1332-P (Doc. 241) at p. 4, PageID
7059 (N.D. Tex. Dallas) (“Plaintiffs also request . . . that attorneys Todd Goldberg
and Corinna Chandler be compensated at an hourly rate of $350, . . . . The Court
finds that the hourly rates requested by Plaintiffs are reasonable for this local-
ity.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 17.55% higher
in 2021 versus 2014 (a $61.42 difference).23 Adjusted only for such inflation from

21   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=370

22   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=350

23   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=350

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the year of Judge Solis’s finding to the end of 2021, that $350.00 hourly rate for
Mr. Goldberg is $411.42.

*    Jamie J. McKey (class of ’06): Ms. McKey works in Dallas. On
January 16, 2014, Judge Phyllis Lister Brown ruled that $350.00 per hour was a
reasonable rate for Mr. McKey’s work in a disability discrimination in employ-
ment case. See Green v. Dallas County Schools, No. DC-12-09857 (Order of Janu-
ary 16, 2014) at p. 1 (162d District Court for Dallas County, Texas) (“The Court
approves and awards Plaintiff reasonable attorney’s fees of $337,750.00, which
represents 404.9 hours of Matthew R. Scott’s time at a reasonable hourly rate of
$600 per hour, 208.5 hours of Jamie J. McKey’s time at a reasonable hourly rate
of $350.00 per hour, . . .”). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 17.55% higher in 2021 versus 2014 (a $61.42 difference).24 Adjusted only for
such inflation from the year of Judge Brown’s ruling to the end of 2021, that
$350.00 hourly rate for Ms. McKey is $411.42.




24   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=350


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Classes of the 2010s


 20                  lawyers listed




 $426.91                               average rate




 $358.97                               median rate


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                                  Classes of the 2010s:
                                       The Rates


       Allison A.                David                         Ryan
       Reddoch                   Norris                        Toomey
       (JD 2011)                 (JD 2011)                     (JD 2011)


       Todd                      Jay                           Benjamin
       Mobley                    Forester                      Michael
       (JD 2010)                 (JD 2013)                     (JD 2013)


       Britney                   Jeff T.                       Michael L.
       J. P. Prince              Leslie                        Parsons
       (JD 2015)                 (JD 2015)                     (JD 2011)


       Betsey A.                 Barrett                       Matthew F.
       Boutelle                  Robin                         Amos
       (JD 2014)                 (JD 2015)                     (JD 2015)


       Arrissa K.                Megan                         Jennifer
       Meyer                     Dixon                         Birdsall
       (JD 2010)                 (JD 2012)                     (JD 2017)


       Breegan                   Melinda                       Hannah P.
       O’Connor                  Arbuckle                      Parks
       (JD 2017)                 (JD 2011)                     (JD 2014)


       Jordan                    Jennifer
       Campbell                  McCoy
       (JD 2013)                 (JD 2016)




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Classes of the 2010s:
     The Work

  *   Allison A. Reddoch (class of ’11): Ms. Reddoch works in Arling-
  ton and formerly focused on employment law in Dallas. In a bankruptcy
  case, her rate is listed as $775.00 per hour for her work in the employment
  practice group of her firm as an associate. See In re: 4 West Holdings, Inc., No.
  18-30777 (Doc. 1429) at p. 9 (Bankr. N.D. Tex. Dallas) (Summary of Combined
  Third Interim and Final Application of DLA Piper LLP (US) for Allowance of
  Compensation for Services Rendered and Reimbursement of Expenses Incurred
  as Counsel to the Debtors and Debtors in Possession for the Interim Period from
  September 1, 2018 through February 13, 2019 and the final period from March 6,
  2018 through February 13, 2019). On May 2, 2019, Judge Harlin D. Hale approved
  the request for fees. See id. (Doc. 1485). Ms. Reddoch billed for work in an alleged
  theft of trade secrets case in Dallas involving former employees of a company, in
  Medoc Health Servs., LLC v. Nguyen, No. DC-18-0822 (14th District Court for
  Dallas County, Texas). An invoice dated March 23, 2018, lists her rate as $625.00
  per hour. See Exhibit C attached to Plaintiff’s Motion for Attorneys’ Fees in that
  case filed on November 20, 2020, at p. 55 (for such work as “[m]ake preparation
  for hearing on Dyer’s Motion to Dismiss by reviewing and evaluating documents
  produced by Defendants and clients’ documents; attention to discovery issues;
  continue preparing for Defendants’ depositions by preparing deposition outlines”).
  On May 24, 2021, Judge Eric V. Moyé awarded fees based, in part, on this rate
  for Ms. Reddoch’s work. See id. (Revised Order) at p. 2 (“this Court finds that
  Plaintiffs incurred legal fees in the amount of $261,632.82 related to . . . . The
  Court finds that Plaintiffs’ recovery of these fees is legally authorized, that the
  requested attorneys’ fees were reasonable and necessary for Plaintiffs’ legal rep-
  resentation, . . . .”). According to the Consumer Price Index for legal services as
  generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
  2.64% higher in 2021 versus 2019—an $20.46 difference from the $775.00 rate
  listed.1 Adjusted only for such inflation from the year this rate was court-approved
  to the end of 2021, that $775.00 hourly rate for Ms. Reddoch is $795.46.




  1   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=775



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*   Todd Mobley (class of ’10): Mr. Mobley works in Dallas and his
online biography says he “represents employers in connection with a wide variety
of collective and class action wage and hour disputes brought pursuant to the
FLSA, as well as claims of discrimination, harassment, retaliation and wrongful
discharge.” He billed for work on an alleged theft of trade secrets case in Dallas
involving former employees of a company, in Medoc Health Servs., LLC v. Nguyen,
No. DC-18-0822 (14th District Court for Dallas County, Texas). An invoice dated
March 23, 2018, lists his rate as $665.00 per hour. See Exhibit C attached to Plain-
tiff’s Motion for Attorneys’ Fees in that case, filed on November 20, 2020, at p. 55
(for work such as “research related to whether subpoena served by the govern-
ment on third parties are confidential or whether they can be disclosed,” “review
agreed order,” “review and analyze discovery requests,” and “oversee service of
objections and responses to discovery requests”). On May 24, 2021, Judge Eric V.
Moyé awarded fees based, in part, on this rate for Mr. Mobley’s work. See id. (Re-
vised Order) at p. 2 (“this Court finds that Plaintiffs incurred legal fees in the
amount of $261,632.82 related to . . . . The Court finds that Plaintiffs’ recovery of
these fees is legally authorized, that the requested attorneys’ fees were reasonable
and necessary for Plaintiffs’ legal representation, . . . .”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 3.64% higher in 2021 versus 2018—a
$24.18 difference from the $665.00 rate listed in 2018.2 Adjusted only for such
inflation from the year this rate was billed (2018) to the end of 2021, that $665.00
hourly rate for Mr. Mobley is $689.18.

*   Britney J. P. Prince (class of ’15): Ms. Prince works in Irving.
In a Dallas bankruptcy case, her rate is listed as $660.00 per hour and she was
listed as “Associate; Employment.” See In re: 4 West Holdings, Inc., No. 18-
30777 (Doc. 1429) at pp. 6, 10, 181, 191 (Bankr. N.D. Tex. Dallas) (Summary of
Combined Third Interim and Final Application of DLA Piper LLP (US) for
Allowance of Compensation for Services Rendered and Reimbursement of
Expenses Incurred as Counsel to the Debtors and Debtors in Possession for
the Interim Period from September 1, 2018 through February 13, 2019 and the
final period from March 6, 2018 through February 13, 2019). She billed at that
$660.00 per hour rate for work such as “prepare deposition exhibits.” See id. at p.
181 (time entry dated 01/03/19). On May 2, 2019, Judge Harlin D. Hale approved
the request for fees. See id. (Doc. 1485). She billed for work in an alleged theft of
trade secrets case in Dallas involving former employees of a company, in Medoc
Health Servs., LLC v. Nguyen, No. DC-18-0822 (14th District Court for Dallas
County, Texas). An invoice dated April 20, 2018, lists her rate as $475.00 per hour.

2   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=665



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See Exhibit C attached to Plaintiff’s Motion for Attorneys’ Fees in that case, filed
on November 20, 2020, at p. 67. On May 24, 2021, Judge Eric V. Moyé awarded
fees based, in part, on this rate for Ms. Prince’s work. See id. (Revised Order) at
p. 2 (“this Court finds that Plaintiffs incurred legal fees in the amount of
$261,632.82 related to . . . . The Court finds that Plaintiffs’ recovery of these fees
is legally authorized, that the requested attorneys’ fees were reasonable and nec-
essary for Plaintiffs’ legal representation, . . . .”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 3.64% higher in 2021 versus 2018—a $24.00 difference
from the $660.00 rate listed in 2018.3 Adjusted only for such inflation from the
year this rate was billed (2018) to the end of 2021, that $660.00 hourly rate for
Ms. Prince is $684.00.

*   Betsey A. Boutelle (class of ’14): Ms. Boutelle is currently an
Assistant United States Attorney in California who previously worked in Texas
and focused on employment law. In a Dallas bankruptcy case, her rate is listed as
$635.00 per hour and she is listed as “Associate; Employment.” See In re: 4 West
Holdings, Inc., No. 18-30777 (Doc. 1429) at p. 10 (Bankr. N.D. Tex. Dallas) (Sum-
mary of Combined Third Interim and Final Application of DLA Piper LLP (US)
for Allowance of Compensation for Services Rendered and Reimbursement of Ex-
penses Incurred as Counsel to the Debtors and Debtors in Possession for the In-
terim Period from September 1, 2018 through February 13, 2019 and the final
period from March 6, 2018 through February 13, 2019). On May 2, 2019, Judge
Harlin D. Hale approved the request for fees. See id. (Doc. 1485). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019—a
$16.76 difference from the $635.00 rate listed.4 Adjusted only for such inflation
from the year this rate was court-approved (2019) to the end of 2021, that $635.00
hourly rate for Ms. Boutelle is $651.76.

*   Arrissa K. Meyer (class of ’10): Ms. Meyer works in Dallas. Her
online biography says that “[a]lthough she has significant experience in employ-
ment law, she focuses her practice on traditional labor law.” In a Dallas employ-
ment discrimination case, a declaration and accompanying client invoice dated
April 14, 2015, show her rate charged for work billed in that case was $460.00 per
hour (prior to an across-the-board 10% discount). See Garofalo v. Taco Bueno, LP,
No. 3:14-cv-02616-M-BH (Doc. 43) at p. 11, PageID 377 (N.D. Tex. Dallas) (for


3   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=660

4   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=635



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work such as “Draft Designation of Expert Witnesses” and “Draft Defendant’s
Scheduling Proposal for Settlement Conference pursuant to April 3rd order”). On
May 31, 2019, Judge Brian A. Jackson of the United States District Court for the
Middle District of Louisiana awarded the requested rate of $358.75 for work Ms.
Meyer did in an employment discrimination case. See Brown v. Praxair, No. 17-
cv-00384-BAJ-RLB (Doc. 63) at pp. 9–11 (M.D. La.) (granting the amount of fees
listed in the Affidavit of Ryan Griffitts attached to motion for fees, Doc. 34-5 at
p.5). The request for fees in that case stated that $358.75 is “well below her stand-
ard rate”). See Affidavit of Ryan Griffitts in Brown v. Praxair, Inc., No. 3:17-cv-
00384 (Doc. 34-5) (M.D. La.) (“Her discounted rate in this matter is $358.75, which
is well below her standard rate”). According to the Consumer Price Index for legal
services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
services are 15.71% higher in 2021 versus 2014—a $72.25 difference from the
$460.00 rate listed.5 Adjusted only for such inflation from the year this rate was
billed for work in a Dallas employment case (2015) to the end of 2021, that $460.00
hourly rate for Ms. Meyer is $532.25.

*   Breegan O’Connor (class of ’17): Ms. O’Connor works in Dallas.
Her online biography states that her practice “focuses on representing employers
in employment-related litigation, including before federal and state courts, as well
as arbitration panels. Her specific involvement includes drafting dispositive mo-
tions, pleadings, discovery and conducting legal research.” In a Dallas bankruptcy
case, her rate is listed as $485.00 per hour and she is listed as “Associate; Em-
ployment.” See In re: 4 West Holdings, Inc., No. 18-30777 (Doc. 1429) at pp. 6, 10,
72, 88 (Bankr. N.D. Tex. Dallas) (Summary of Combined Third Interim and Final
Application of DLA Piper LLP (US) for Allowance of Compensation for Services
Rendered and Reimbursement of Expenses Incurred as Counsel to the Debtors
and Debtors in Possession for the Interim Period from September 1, 2018 through
February 13, 2019 and the final period from March 6, 2018 through February 13,
2019) (for work such as “[a]nalyze Texas federal law regarding the evidentiary
standard for relevance” and “analyze Texas federal case law regarding waiver of
privilege through the disclosure of the contents of a privileged document” on time
entry dated 10/19/18). On May 2, 2019, Judge Harlin D. Hale approved the request
for fees. See id. (Doc. 1485). She billed for work in an alleged theft of trade secrets
case in Dallas involving former employees of a company, in Medoc Health Servs.,
LLC v. Nguyen, No. DC-18-0822 (14th District Court for Dallas County, Texas).
An invoice dated March 23, 2018, lists her rate as $425.00 per hour. See Exhibit
C attached to Plaintiff’s Motion for Attorneys’ Fees in that case, filed on November
20, 2020, at p. 55. On May 24, 2021, Judge Eric V. Moyé awarded fees based, in
part, on this rate for Ms. O’Connor’s work. See id. (Revised Order) at p. 2 (“this

5   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=460



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Court finds that Plaintiffs incurred legal fees in the amount of $261,632.82 related
to . . . . The Court finds that Plaintiffs’ recovery of these fees is legally authorized,
that the requested attorneys’ fees were reasonable and necessary for Plaintiffs’
legal representation, . . . .”). According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 2.64% higher in 2021 versus 2019—an $12.80 difference from the
$485.00 rate listed.6 Adjusted only for such inflation from the year this rate was
court-approved (2019) to the end of 2021, that $485.00 hourly rate for Ms. O’Con-
nor is $497.80.

*   Jordan Campbell (class of ’13): Mr. Campbell works in Dallas.
In a Dallas FLSA case, a declaration was filed noting that in 2016 his firm billed
its client for Mr. Campbell’s work in that case at the rate of $430.00 per hour. See
Areizaga v. ADW Corp., No. 3:14-cv-2899 (Docs. 94-1 & 94-2) (N.D. Tex. Dallas)
(Declaration of Danielle Alexis Matthews). Attached to that declaration are law
firm billing records. See id. (Doc. 94-2). Those billing records list Mr. Campbell as
having billed at a rate of $430.00 per hour in invoices dated February 10, 2016,
March 15, 2016, and April 12, 2016. See id. (Doc. 94-2) at pp. 6, 10 &14, PageID
1057, 1059 & 1061. This was for work including “Review, analyze, and revise Mo-
tion to Compel” and “prepare Appendix for Motion to Compel” and “review court’s
order regarding discovery issues.” See id. Magistrate Judge David L. Horan de-
clined to grant this requested rate. See id. Doc. 130 (Memorandum Opinion and
Order) at pp. 12–13. But it was a rate actually billed for employment work in the
North Texas community. See id. (Docs. 94-1) at p. 3, PageID 1051 (“Fulbright
charged ADW its standard hourly rate for each of the attorneys who worked on
the matter”); see also id. (Doc. 94-2) at pp. 6, 10 & 14, PageID 1057, 1061 & 1065
(listing $430 as the rate for Mr. Campbell on the firm’s February 10, 2016, March
15, 2016, and April 12, 2016, invoices). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 11.93% higher in 2021 versus 2016—a $51.30 difference from
the $430.00 rate listed.7 Adjusted only for such inflation from the year this rate
was billed (2016) to the end of 2021, that $430.00 hourly rate for Mr. Campbell is
$481.30.

*   David Norris (class of ’11): Mr. Norris previously worked in Dal-
las. His online biography noted that he “focuses his practice on employment and
civil trial law, including all aspects of employment law, business transactions, and


6   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=485

7   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=430



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commercial litigation.” On November 15, 2018, Judge Mark Greenberg ruled in a
bench trial on fees that Mr. Norris’s requested rate of $400.00 per hour was rea-
sonable for his work in helping pick a jury in the prosecution of Carpenter v.
Southwest Housing Dev. Co., Inc., Cause No. CC-08-2072-E (Dallas County Court
at Law No. 5) (read into record at trial on fees)—a Dallas unlawful employment
practices case involving refusal to pay earned compensation. Judge Greenberg
then applied a 1.5 multiplier to fees. On May 30, 2017, Judge Ken Molberg [now
Justice Molberg of the Dallas Court of Appeals] awarded Mr. Norris $350.00 per
hour for his work in helping prosecute Clark v. Everlight Americas, Inc., No. DC-
15-05538 (95th District Court for Dallas County, Texas)—a Dallas employment
discrimination and retaliation case. On December 28, 2015, Judge Barbara M. G.
Lynn awarded $250.00 per hour for Mr. Norris’s time helping prosecute a Dallas
employment retaliation case—based, in part, on the recommendation of Magis-
trate Judge David L. Horan. See Kostić v. Texas A&M Univ.–Commerce, No. 3:10-
cv-02265-M (Doc. 282) (N.D. Tex. Dallas) (order accepting magistrate recommen-
dation); id. (Doc. 281) at pp. 7 & 10, PageID 8216 & 8219 (magistrate recommen-
dation) (“Plaintiff seeks $98,931.25 for work done by David B. Norris, . . . at an
hourly rate of $250.00 . . . Defendant does not challenge the hourly rates charged
by Plaintiff’s attorneys, the costs of court, or postjudgment interest request.”). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 3.64% higher in 2021
versus 2018 (the year of the Judge Greenberg award)—a $14.55 difference.8 Ad-
justed only for such inflation from the year of this award to the end of 2021, that
$400.00 hourly rate for Mr. Norris is $414.55.

*   Jay Forester (class of ’13): Mr. Forester works in Dallas. His online
biography states that his “practice now focuses exclusively on the representation
of employees in lawsuits brought under the Fair Labor Standards Act and other
equivalent state wage and hour laws.” On July 10, 2019, Judge Barbara M.G.
Lynn found his hourly rate of $400.00 was fair and reasonable for his work in
prosecuting an FLSA case in Dallas. See Jeffery v. Lone Star PJS, LLC, No. 3:18-
cv-02901-M (Doc. 18) at p. 6, PageID 49 (N.D. Tex. Dallas) (“Plaintiff’s counsel’s
affidavit states that he worked for 17.4 hours on this matter and his current rate
is $400 per hour. . . . The Court finds that rate fair and reasonable in Dallas
County, Texas.”). According to the Consumer Price Index for legal services as gen-
erated by the U.S. Bureau of Labor Statistics, the prices for legal services are
2.64% higher in 2021 versus 2019 (the year Judge Lynn ruled that $400.00 was
fair and reasonable for him in Dallas)—a $10.56 difference.9 Adjusted only for

8   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=400

9   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=400



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such inflation from the year of this award to the end of 2021, that $400.00 hourly
rate for Mr. Forester is $410.56.

*    Jeff T. Leslie (class of ’15): Mr. Leslie works in Dallas. His online
biography states that he “represents employers in a variety of industries, . . . .” In
2019—in a Dallas employment discrimination and retaliation case—there was
testimony that Mr. Leslie’s regular hourly rate was $350.00 per hour. See Car-
mona v. Krammerer, No. DC-17-13908 (298th District Court for Dallas County,
Texas) (Declaration of Gavin S. Martinson attached to Defendant’s Request for
Entry of Attorneys’ Fees filed January 14, 2019 at ¶ 5) (“The hourly rates that Mr.
Leslie and I charged for this matter were discounted from our ordinary rates for
matters such as this. Mr. Leslie’s regular hourly rate is $350 . . .”). According to
the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019
(the year of this testimony)—a $9.24 difference.10 Adjusted only for such inflation
from the year of this testimony (2019) to the end of 2021, that $350.00 hourly rate
for Mr. Leslie is $359.24.

*    Barrett Robin (class of ’15): Mr. Robin works in Dallas. His online
biography notes he is a trial lawyer. In 2015, his firm billed his time for work at
the rate of $310.00 per hour in a Dallas FLSA case. See Areizaga v. ADW Corp.,
No. 3:14-cv-2899 (Docs. 94-1) at p. 2, PageID 1050 (N.D. Tex. Dallas) (Declaration
of Danielle Alexis Matthews) (“The attorneys on this matter billed at the following
hourly rates: . . . Barrett T. Robin, Associate, $310 in 2015 . . .”). Magistrate Judge
David L. Horan declined to grant an award of fees at this requested rate. See Doc.
130 [Memorandum Opinion and Order] at pp. 12–13, PageID 1601–02. But it was
a rate actually billed for employment work in the North Texas community. See
Docs. 94-1 at p. 3, PageID 1051 (“Fulbright charged ADW its standard hourly rate
for each of the attorneys who worked on the matter”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 15.71% higher in 2021 versus 2015 (the year of
this referenced billing)—a $48.69 difference.11 Adjusted only for such inflation
from the year of this referenced billing (2015) to the end of 2021, that $310.00
hourly rate for Mr. Robin is $358.69.

*    Megan L. Dixon (class of ’12): Ms. Dixon works in Dallas. Her
online biography notes that she “focuses her practice on representing employees

10   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=350

11   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=310



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in a variety of employment disputes in state and federal courts throughout Texas.”
On June 14, 2016, in a Fort Worth employment discrimination and retaliation
case, Judge Reed O’Connor ruled that $295.00 per hour was “reasonable given the
community standards”—for her work in helping to prosecute that case. See Cala-
han v. BMJ Food Corporation d/b/a Church’s Chicken, No. 4:15-CV-00251-O
(Doc. 29) at p. 12, PageID 177 (N.D. Tex. Fort Worth) (“Plaintiff’s attorney sug-
gests that associate Megan Leigh Dixon rate of $295 dollars an hour and Robert
G. Lee’s rate at $495 an hour are reasonable hourly rates. Lee maintains that his
eight years of experience and Dixon’s four years of experience warrant this price.
Plaintiff’s rates are reasonable given the community standards and Dixon and
Lee’s experience.”) (internal citations omitted). On April 27, 2015, in a Dallas
FLSA case, Judge Eric Moyé issued a judgment granting all requested fees—that
request included a rate of $250.00 per hour for work Ms. Dixon did in helping
prosecute the case. See Ramirez v. NTD Group, Inc., No. DC-14-03809 (14th Ju-
dicial District Court for Dallas County, Texas) (Final Judgment) (awarding “at-
torney fees in the amount of $23,234.00, . . .”) and (Plaintiff’s Motion and Exhibit
A Affidavit of Robert (Bobby) Lee dated April 22, 2015) (listing hourly rate for Ms.
Dixon as $250.00 per hour and seeking fees in the amount of $23,234.00). Accord-
ing to the Consumer Price Index for legal services as generated by the U.S. Bureau
of Labor Statistics, the prices for legal services are 11.93% higher in 2021 versus
2016 (the year of Judge O’Connor’s ruling referenced)—a $35.19 difference.12 Ad-
justed only for such inflation from the year of Judge O’Connor’s ruling (2016) to
the end of 2021, that $295.00 hourly rate for Ms. Dixon is $330.19.

*    Melinda Arbuckle (class of ’11): Ms. Arbuckle works in Hou-
ston. Her online biography notes that she “represents workers who have not re-
ceived all of the pay they were owed by their employers.” On December 8, 2016,
Judge Jane Boyle determined that $295.00 per hour was a reasonable rate for Ms.
Arbuckle’s work in helping prosecute a Dallas employment discrimination and
FLSA case. See Aguayo v. Bassem Odeh, Inc., No. 3:13-cv-2951-B (Doc. 146) at p.
32, PageID 7548 (N.D. Tex. Dallas) (“The Court has determined reasonable rates
for Plaintiffs’ counsel and settled on a reasonable number of hours for their work.
With those conclusions in mind, the Court calculates Plaintiffs’ final lodestar
value as follows: . . . Melinda Arbuckle . . . Rate . . . $295”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016 (the
year of Judge Boyle’s determination)—a $35.19 difference.13 Adjusted only for


12   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=295

13   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=295



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such inflation from the year of Judge Boyle’s determination (2016) to the end of
2021, that $295.00 hourly rate for Ms. Arbuckle is $330.19.

*    Jennifer McCoy (class of ’16): Ms. McCoy works in Dallas. Her
online biography states that she “represents employers in state and federal liti-
gation involving claims of discrimination, retaliation, harassment and wage and
hour violations.” In 2021, Ms. McCoy’s firm billed at a rate of $330.00 per hour for
her work defending against a pro se plaintiff. See Montgomery v. Southern Meth-
odist Univ., No. 3:20-cv-03521-E-BN (Doc. 18-1) at pp. 14-15, PageID 154-55 (N.D.
Tex. Dallas) (listing rate as “$330.00” and describing work such as “Continue to
prepare SMU’s Reply inSupport of its Motion to Dismiss or, in the Alternative,
Remand. . . Review and analyze Magistrate’s Findings and Recommendations.”).
On September 8, 2021, Magistrate Judge David L. Horan recommended fees be
awarded to her client for work on a remand issue, but at the rate of $296.14 for
Ms. McCoy’s work—using a requested average for her rates over different years.
See id. (Doc. 22) at pp. 11-12 (“SMU seeks to recover fees averaging $459.17 an
hour for Ms. Williams, . . . and $296.14 for Jennifer McCoy . . . the undersigned
finds that these rates are reasonable and within the market rate for attorneys
handling this type of litigation in the Dallas area.”). On October 4, 2021, Judge
Ada Brown adopted that recommendation. See id. (Doc. 23).

*    Ryan Toomey (class of ’11): Mr. Toomey works in Austin. His
online biography notes he is a trial lawyer. On December 8, 2016, Judge Jane
Boyle determined that $285.00 per hour was a reasonable rate for Mr. Toomey’s
work in helping prosecute a Dallas employment discrimination and FLSA case.
See Aguayo v. Bassem Odeh, Inc., No. 3:13-cv-2951-B (Doc. 146) at pp. 32–33,
PageID 7548–49 (N.D. Tex. Dallas) (“The Court has determined reasonable rates
for Plaintiffs’ counsel and settled on a reasonable number of hours for their work.
With those conclusions in mind, the Court calculates Plaintiffs’ final lodestar
value as follows: . . . Ryan Toomey . . . Rate . . . $285”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 11.93% higher in 2021 versus 2016 (the year of
Judge Boyle’s determination)—a $34.00 difference.14 Adjusted only for such infla-
tion from the year of Judge Boyle’s determination (2016) to the end of 2021, that
$285.00 hourly rate for Mr. Toomey is $319.00.

*    Benjamin Michael (class of ’13): Mr. Michael works in Austin.
On November 23, 2015, Magistrate Judge David L. Horan recommended a rate of

14   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=285




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$250.00 per hour for Mr. Michael’s work in helping prosecute a Dallas FLSA case.
See Henderson v. Fenwick Protection Inc., No. 3:14-cv-00505 (Doc. 56) at p. 14,
PageID 285 (N.D. Tex. Dallas) (“Under the particular circumstances here, the un-
designed finds that both Welmaker and Michael’s rates are consistent with the
prevailing rates in Dallas County for attorneys with their respective experience,
skill, and ability. Therefore, the undersigned concludes, based on the information
and record, including Welmaker’s Affidavit, that the requested hourly rates of
$400.00 and $250.00 are reasonable and within the market rate for attorneys han-
dling this type of litigation in the Dallas area.”). On December 28, 2015, Judge
Barbara M. G. Lynn adopted that recommendation. See id. (Doc. 58) at p. 1. Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 15.71% higher in 2021
versus 2015 (the year of these court determinations)—a $39.27 difference.15 Ad-
justed only for such inflation from the year of these court determinations (2015)
to the end of 2021, that $250.00 hourly rate for Mr. Michael is $289.27.

*    Michael L. Parsons (class of ’11): Mr. Parsons works in Austin.
On December 3, 2015, Magistrate Judge Irma Ramirez recommended his firm re-
ceive $250.00 per hour for Mr. Parsons’s work in prosecuting an FLSA case in
Dallas, and Judge Sam A. Lindsay later approved that recommendation. See Mau-
ricio v. Phillip Gaylen, P.C., No. 3:14-cv-00064-L (Doc. 41) at p. 3, PageID 286
(N.D. Tex. Dallas Dec. 3, 2015) (Magistrate Judge Irma Ramirez) (“Here, Plain-
tiffs seek hourly rates of . . . $250 for Michael Parsons. . . . The hourly rates are
consistent with the prevailing market rates in this area, . . . .”), report and recom-
mendation adopted in (Doc. 44), 2016 WL 1273337, 2016 Wage & Hour Cas. 2d
(BNA) 99,007 (N.D. Tex. Dallas Mar. 30, 2016) (Judge Sam A. Lindsay). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 15.71% higher in 2021 versus
2015 (the year of Magistrate Judge Ramirez’s recommendation)—a $39.27 differ-
ence.16 Adjusted only for such inflation from the year of Magistrate Judge
Ramirez’s ruling to the end of 2021, that $250.00 hourly rate is $289.27.

*    Matthew F. Amos (class of ’15): Mr. Amos works in Dallas. On
March 8, 2017, Judge Reed O’Connor ruled $250.00 per hour was a “reasonable”
rate for Mr. Amos’s work in a Fort Worth FLSA case. See Pereyra v. Navika Cap-
ital Group LLC, No. 4:15-CV-00615-O (Doc. 83) at p. 4, PageID 3298 (N.D. Tex.
Fort Worth) (“In connection with their work performed in the Western District
15   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=250

16
     https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=250




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case and this instant case Pereyra seeks hourly rates of . . . $250.00 for associates
Philip Segura and Matt Amos; . . . the court finds these rates are reasonable”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 8.08% higher in 2021
versus 2017 (the year of Judge O’Connor’s ruling)—a $20.20 difference.17 Adjusted
only for such inflation from the year of Judge O’Connor’s ruling (2017) to the end
of 2021, that $250.00 hourly rate is $270.20.

*    Jennifer Birdsall (class of ’17): Ms. Birdsall works in Dallas. On
November 15, 2018, Judge Mark Greenberg ruled in a bench trial on fees that Ms.
Birdsall’s requested rate of $250.00 per hour was reasonable for her work in help-
ing pick a jury in the prosecution of Carpenter v. Southwest Housing Dev. Co., Inc.,
Cause No. CC-08-2072-E (Dallas County Court at Law No. 5) (read into record at
trial on fees)—a Dallas unlawful employment practices case involving refusal to
pay earned compensation. Judge Greenberg then applied a 1.5 multiplier to fees.
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 3.64% higher in 2021
versus 2018 (the year of Judge Greenberg’s ruling)—a $9.09 difference.18 Adjusted
only for such inflation from the year of Judge Greenberg’s ruling (2018) to the end
of 2021, and without consideration of the 1.5 multiplier awarded, that $250.00
hourly rate is $259.09.

*    Hannah P. Parks (class of ’14): Ms. Parks works in Fort Worth.
Her online biography states that she now works in-house as a labor & employment
law attorney—and previously practiced in that area for a law firm. On June 21,
2016, Magistrate Judge Clinton E. Averitte granted fees requested in an Amarillo
FLSA case—which included fees for Ms. Parks’s work at a rate of $220.00 per
hour. See Ogoke v. Globe Energy, No. 2:15-cv-00358J-BB (Doc. 30) (N.D. Tex. Am-
arillo) (adopting fees requested in Doc. 25). According to the Consumer Price In-
dex for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 11.93% higher in 2021 versus 2016 (the year of Mag-
istrate Judge Averitte’s ruling)—a $26.25 difference.19 Adjusted only for such in-
flation from the year of Magistrate Judge Averitte’s ruling (2016) to the end of
2021, that $220.00 hourly rate is $246.25.



17
     https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=250

18
     https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=250

19
     https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=220



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                                       South Texas




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                                       SDTX† summary of rates listed: high to low

                                                 $1,182.88 to $279.82
Rate         Name / JD Year                       Rate        Name / JD Year
$1,182.88*   Peter J. Mee (JD 2009)               $632.40*    Rex Burch (JD 1997)
$1,172.73*   Donna M. Mezias (JD 1983)            $618.33*    Teresa Valderrama (JD 1988)
$1,132.11*   Nathan J. Oleson (JD 1999)           $615.84*    Zenobia Harris Bivens (JD 2008)
$1,132.11*   Esther G. Lander (JD 1997)           $615.84*    Gregg M. Rosenberg (JD 1985)
$1,097.02*   Edward Holzwanger (JD 2001)          $607.46*    Jennifer L. Dotson (JD 1993)
$1,082.85*   Bryan M. O’Keefe (JD 2011)           $600.32*    Katharine D. David (JD 2004)
$1,082.85*   Michael A. Schulman (JD 2011)        $600.00*    M. Todd Slobin (JD 1997)
$1,050.89*   Brian Glenn Patterson (JD 2006)      $594.44*    Stephanie K. Osteen (JD 1997)
$983.53*     Joseph M. Sellers (JD 1979)          $584.71*    Laura L. Ho (JD 1994)
$923.97*     Joshua K. Sekoski (JD 2012)          $572.75*    Marlene C. Williams (JD 1997)
$921.70*     Jennifer M. Trulock (JD 1997)        $572.75*    J. Derek Braziel (JD 1995)
$898.58*     Courtney L. Stahl (JD 2013)          $566.43*    Martin A. Shellist (JD 1993)
$889.84*     Sean Michael Becker (JD 1998)        $564.52*    Michael A. Correll (JD 2009)
$881.61*     John H. McDowell, Jr. (JD 1982)      $558.35*    Alfonso Kennard, Jr. (JD 2002)
$881.11*     Steven B. Harris (JD 1982)           $558.35*    Anthony C. Wills (JD 1997)
$864.46*     Kenneth E. Broughton (JD 1981)       $549.61*    Stewart Hoffer (JD 1994)
$863.05*     Scott L. Friedman (JD 2013)          $546.60*    Lauren C. Fabela (JD 2008)
$853.83*     Christine E. Webber (JD 1991)        $540.40*    Scott Newar (JD 1989)
$843.70*     Katherine A. Brooker (JD 2012)       $540.40*    Dennis Herlong (JD 1982)
$837.66*     Shauna Clark (JD 1994)               $540.40*    Barbara Gardner (JD 1981)
$835.00*     Wes Benter (JD 2018)                 $538.86*    Emery Gullickson Richards (JD 2014)
$822.83*     Phillip B. Dye, Jr. (JD 1985)        $537.26*    Carolyn A. Russell (JD 1998)
$805.20*     Martina E. Vandenberg (JD 2000)      $530.00*    Caitlin E. Gernert (JD 2014)
$805.20*     Agnieszka Fryszman (JD 1996)         $528.97*    Mark J. Oberti (JD 1994)
$791.97*     Jamila Mensah (JD 2006)              $520.68*    Nickolas G. Spiliotis (JD 2001)
$783.58*     Ann Marie Arcadi (JD 1993)           $520.68*    Salar Ali Ahmed (JD 1998)
$777.91*     Joseph Y. Ahmad (JD 1987)            $511.33*    Charles M. Rosson (JD 2010)
$777.91*     John Zavitsanos (JD 1987)            $507.67*    Austin Anderson (JD 2003)
$740.55*     Matthew G. Nielsen (JD 2001)         $507.67*    R. Russell Hollenbeck (JD 1994)
$739.00*     Gregory J. Ossi (JD 1997)            $507.67*    Douglas Welmaker (JD 1993)
$734.67*     Mark D. Temple (JD 1995)             $507.67*    Thomas C. Wright (JD 1980)
$723.17*     Scott McLaughlin (JD 1994)           $502.57*    Jim Staley (JD 1998)
$719.21*     Oswald B. Cousins (JD 1994)          $491.76*    Fran Shuman (JD 2005)
$710.74*     Jeffrey M. Anapolsky (JD 1999)       $491.76*    Thomas H. “Tom” Padgett (JD 1989)
$703.08*     Mark L. Johansen (JD 1986)           $486.36*    Charles A. Sturm (JD 1997)
$702.52*     William J. Moore (JD 2005)           $480.96*    Allan H. Neighbors, IV (JD 2001)
$672.29*     Cristin M. Obsitnik (JD 1997)        $472.02*    Eric J. Cassidy (JD 2001)
$663.27*     Fazila Issa (JD 2004)                $466.36*    Daryl Sinkule (JD 2002)
$659.29*     M. Scott McDonald (JD 1987)          $462.63*    George R. Gibson (JD 1995)
$649.67*     David Borgen (JD 1981)               $461.88*    Christopher R. Williams (JD 2016)
$648.25*     Scott K. Davidson (JD 1998)          $461.88*    Vickie Mery (JD 2012)
$646.51*     Rhonda Wills (JD 1994)               $458.44*    Liane Noble (JD 2011)
$639.67*     Alan J. Marcuis (JD 1998)            $456.91*    Clif Alexander (JD 2008)
$634.76*     J. Marshall Horton (JD 2003)         $456.91*    Trang Tran (JD 1995)
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Rate       Name / JD Year                        Rate        Name / JD Year
$456.24*   Mike Seely (JD 2007)                  $399.19*    Michael J. Woodson (JD 2012)
$448.53*   Michael Reed (JD 2012)                $390.03*    E. Steve Smith (JD 2015)
$446.75*   Nehal S. Anand (JD 2009)              $376.05*    Angeles Garcia Cassin (JD 2013)
$445.00*   Benjamin D. Williams (JD 2010)        $372.88*    Amanda E. Brown (JD 2013)
$440.80*   Curtis Waldo (JD 2010)                $365.03*    Sara C. Longtain (JD 2007)
$431.52*   Andrew Dunlap (JD 2011)               $363.77*    Scot Clinton (JD 2004)
$415.69*   Aaron Johnson (JD 2008)               $358.18*    Samantha D. Seaton (JD 2013)
$414.55*   Matt Heller (JD 2016)                 $354.11*    Caitlin Boehne (JD 2012)
$411.42*   Lakshmi Ramakrishnan (JD 2002)        $341.34*    Jay Forester (JD 2013)
$411.22*   Evan D. Lewis (JD 2019)               $335.79*    Brenna R. Lermon (JD 2014)
$406.14*   Lindsay Itkin (JD 2010)               $335.79*    Genevieve Estrada (JD 2013)
$406.14*   Richard Schreiber (JD 2006)           $333.58*    Michael Adams-Hurta (JD 2015)
$406.14*   Lauren Braddy (JD 2010)               $330.18*    DeAndrea C. Washington (JD 2009)
$405.30*   Alysson Ford Ouoba (JD 2011)          $310.91*    Vijay Pattisapu (JD 2011)
$400.29*   Christopher Willett (JD 2009)         $307.92*    Dorian Vandenberg-Rodes (JD 2013)
$399.90*   Britney J. P. Prince (JD 2015)        $279.82*    Ben Michael (JD 2013)

   †
    Courts note the relevant community for fees is district-wide—not by city or division. See,
   e.g., Lewallen v. City of Beaumont, 394 Fed. Appx. 38, 46 (5th Cir. 2010); Treadway v.
   Otero, No. 2:19-CV-244 [Doc. 157] at p. 9 (S.D. Tex. Oct. 6, 2020) (citing cases and
   concluding: “When it comes to parsing between divisions, it appears that it is the district,
   rather than the division, that should govern the decision.”).




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                                    Classes of the 1970s:
                                         The Rates




Joseph M. Sellers (JD 1979)




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Classes of the 1970s:
     The Work

  *   Joseph M. Sellers (class of ’79): Mr. Sellers works in Washing-
  ton, D.C. His online biography notes that he is chair of his firm’s “Civil Rights &
  Employment Practice Group.” On November 30, 2017, Judge Keith P. Ellison de-
  termined Mr. Sellers’s requested rate of $910.00 per hour was “fair and reasona-
  ble” for work he did in a Houston human trafficking [i.e., forced labor] case. Adhi-
  kari v. Daoud & Partners, No. 4:09-CV-1237 (Doc. 764) at pp. 28–29 (S.D. Tex.
  Houston) (“The requested rates, in descending order, are as follows: $910 for
  Sellers . . . The requested rates are fair and reasonable here too.”). According to
  the Consumer Price Index for legal services as generated by the U.S. Bureau of
  Labor Statistics, the prices for legal services are 8.08% higher in 2021 versus 2017
  (a $73.53 difference).1 So, adjusted only for such inflation from the year of Judge
  Ellison’s determination to the end of 2021, that $910.00 hourly rate for Mr. Sellers
  is $983.53.




  1   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=910


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Classes of the 1980s



 17                  lawyers listed




 $708.55                               average rate




 $659.29                               median rate
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                                   Classes of the 1980s:
                                        The Rates


 Donna M.                     John                           Gregg M.
 Mezias                       Zavitsanos                     Rosenberg
 (JD 1983)                    (JD 1987)                      (JD 1985)



    John H.                   Mark L.                        Scott
    McDowell, Jr.             Johansen                       Newar
    (JD 1982)                 (JD 1986)                      (JD 1989)



    Steven B.                 M. Scott                       Dennis
    Harris                    McDonald                       Herlong
    (JD 1982)                 (JD 1987)                      (JD 1982)



    Kenneth E.                David                          Barbara
    Broughton                 Borgen                         Gardner
    (JD 1981)                 (JD 1981)                      (JD 1981)



    Phillip B.                Teresa                         Thomas C.
    Dye, Jr.                  Valderrama                     Wright
    (JD 1985)                 (JD 1988)                      (JD 1980)



    Joseph Y.                                                Thomas H.
    Ahmad                                                    “Tom” Padgett
    (JD 1987)                                                (JD 1989)


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Classes of the 1980s:
     The Work

  * Donna         M. Mezias (class of ’83): Ms. Mezias works in San Fran-
  cisco. Her online biography states that she “[r]epresents clients in a wide range of
  employment issues.” In 2020, her law firm billed her time at the rate of $1,155.00
  per hour in a Houston bankruptcy case—for work such as: “Analyze WARN Act
  issues.” See In re: Sanchez Energy Corp., No. 19-34508 (Doc. 1426) at Exhibits B
  & B-2, pp. 59, 62, 614, 643 (Bankr. S.D. Tex. Houston) (Second Interim and Final
  Fee Application of Akin Gump Strauss Hauer & Feld LLP for Allowance and Pay-
  ment of Fees and Expenses as Counsel to the Debtors for the Period from Decem-
  ber 1, 2019 through March 27, 2020: “Mazias, Donna M.. . . . Dept. . . . LAB . . .
  2020 Rate . . . $1,155.00.”). On July 28, 2020, Judge Marvin Isgur approved the
  request for fees. See id. (Doc. 1521). According to the Consumer Price Index for
  legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
  legal services are 1.53% higher in 2021 versus 2020 (a $17.73 difference).1 So,
  adjusted only for such inflation from the year of this billing and court ruling (2020)
  to the end of 2021, that $1155.00 hourly rate for Ms. Mezias is $1,172.73.

  * John       H. McDowell, Jr. (class of ’82): Mr. McDowell works in
  Dallas. His online biography notes that he is a trial lawyer. On October 24, 2016,
  Judge Lynn N. Hughes awarded fees for work Mr. McDowell did in a Houston
  ERISA severance benefits case—including for work done at the rate of $750.00 in
  2014. See Langley v. Howard Hughes Mgmt. Co., Civil Action No. H-13-3595 (Doc.
  28) at p. 1 (S.D. Tex. Houston) (Order Awarding Attorneys’ Fees: “Howard Hughes
  Management Co., LLC, takes $143,814.00 from William Langley as reasonable
  attorneys’ fees.”); id. (Doc. 22) at p. 7, ¶16 (Defendant’s Motion for Attorneys’ Fees:
  “As set forth in the affidavit of John H. McDowell, Jr., attached hereto as Exhibit
  1, Defendant incurred reasonable and necessary attorneys’ fees in the amount of
  $143,814.00 in defending against Plaintiff’s meritless claims.”); id. (Doc. 22-1) at
  p. 4, ¶8 (Declaration of John H. McDowell, Jr.: “Andrews Kurth sets its standard
  hourly rates at competitive levels to market for the services provided. During the
  pendency of this litigation, the applicable hourly rates charged by Andews Kurth
  LLP in this case range from $275.00 to $290.00 for paralegals, $290.00 to $540.00

  1   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1155


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for associate attorneys, and $550.00 to $750.00 for partners.”). Mr. McDowell’s
law firm’s invoice shows time billed on February 28, 2014, was $9,150.00 for 12.20
hours—which equals a per hour rate of $750.00 for Mr. McDowell ($9,150.00 ÷
12.20 = $750.00). See id. at p. 33 (“As of February 28, 2014 . . . Invoice . . . MCDOW-
ELL, JR., J.H. . . . Hours . . . 12.20 . . . Value . . . $9,150.00”). This was for work
such as “Conduct research” and “Continue to review record” and “Finalize, and
file, Defendant’s Cross-Motion for Summary Judgment and Response to Langley’s
Motion for Summary Judgment.” See id. at pp. 29-33. The award of fees itself was
reversed on other grounds in Langley v. Howard Hughes Mgmt. Co., No. 16-20724
(5th Cir. June 1, 2017). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 17.55% higher in 2021 versus 2014—a $131.61 difference from the year of that
billing (2014).2 So, adjusted only for such inflation from the year of this billing
(2014) to the end of 2021, that $750.00 hourly rate for Mr. McDowell is $881.61.

*   Steven B. Harris (class of ’80): Mr. Harris works in Houston.
His online biography notes that his practice areas include labor and employment
law. During 2011, he billed at a rate of $700.00 per hour in a Houston employment
agreement case—for work such as “Attention to acknowledgement form for new
hires relating to non-disclosure of former employer confidences” and “Review mo-
tion of Rob Dascal for expedited trial setting and revise Sabine motion for expe-
dited trial setting” and “Work on objections and responses to discovery requests
filed by REG.” See Renewable Energy Group, Inc. v. Dascal, No. 2011-51111 (190th
Judicial District Court for Harris County, Texas) (Affidavit of Eric J. Cassidy at
¶ 8 and attached bills marked Defendant’s Trial Exhibit 83 filed on December 23,
2011: “Sabine and Endicott agreed to compensate this firm based on an hourly fee
rate. . . . Steven Harris’ rate is $700.00 per hour. . . .”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 25.87% higher in 2021 versus 2011 (a $181.11
difference).3 So, adjusted only for such inflation from the year of this billing (2011)
to the end of 2021, that $700.00 hourly rate for Mr. Harris is $881.11.

* Kenneth         E. Broughton (class of ’81): Mr. Broughton works in
Houston. His online biography notes he is an experienced litigator in a number of
areas. On September 25, 2015, Judge Nancy F. Atlas awarded fees requested for
Mr. Broughton’s work in a Houston ERISA case. See Romano Woods Dialysis Ctr.
v. Admiral Linen Serv., Inc., No. 4:14-cv-01125 (Doc. 67) at p. 16 (S.D. Tex. Hou-
ston) (“Based on this review, and a clear recollection of the litigation of this law-
suit, the Court finds that the $209,350.13 in attorneys’ fees requested by

2   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=750

3   https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=700


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Defendants is reasonable and appropriate.”) (awarding all fees requested in De-
fendants’ Motion for Fees and Costs (Doc. 62)). The court-approved request for
fees included work Mr. Broughton did at an hourly rate of $720.00—work done
and billed on invoices in 2013 at that rate, which was a rate “discounted from the
Firm’s standard hourly rates.” See (Doc. 62-1) at pp. 3-4, 8 (Affidavit of Kenneth
E. Broughton: for work such as “Analysis of claims and documents” on December
9, 2013). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 20.06%
higher in 2021 versus 2013—a $144.46 difference from the year that $720.00 per
hour rate was billed.4 So, adjusted only for such inflation from the year of this
billing (2013) to the end of 2021, that $720.00 hourly rate for Mr. Broughton is
$864.46.

* Phillip      B. Dye, Jr. (class of ’85): Mr. Dye works in Houston. His
online biography notes he focuses his work on litigation and arbitration. On June
13, 2014, he submitted an affidavit and accompanying redacted bills showing his
discounted rate of $700.00 per hour for his work in a Houston breach of employ-
ment agreement case. See Lotte Chem. Titan (M) Sendrian Berhad v. Wilder, No.
4:14-cv-1116 (Doc. 16) at p. 2 (S.D. Tex. Houston) (Affidavit of Phillip B. Dye, Jr.:
“My hourly rate for this matter is $700, which is discounted from my usual rate.”).
He billed this rate for work in 2014 such as “research issues on removal” and
“review of correspondence from plaintiff’s counsel with the settlement demand
and other information.” See id. (Doc. 16-6) at p. 7. According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 17.55% higher in 2021 versus 2014—a $122.83
difference from the year that $700.00 per hour rate was billed.5 So, adjusted only
for such inflation from the year of this billing (2014) to the end of 2021, that
$700.00 hourly rate for Mr. Dye is $822.83.

* Joseph        Y. Ahmad (class of ’87): Mr. Ahmad works in Houston.
His online biography notes that he represents executives in a variety of employ-
ment matters. A 2016 attorney-client representation agreement shows that his
billable rate for work in a Houston employment contract/severance negotiation
case was $695.00 per hour. See Bragg v. Zavitsanos, No. 2019-15102 (270th Judi-
cial District Court for Harris County, Texas) (Fee Schedule—2016 Attorney
Hourly Rates attached to Engagement Agreement as Exhibit 1 to Response in
Opposition to Plaintiff’s Motion for Death Penalty Sanctions, filed on September
23, 2020). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 11.93%

4   https://www.officialdata.org/Legal-services/price-inflation/2013-to-2021?amount=720

5   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=700


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higher in 2021 versus 2016—an $82.93 difference from the year of that stated
$695.00 per hour billable rate.6 So, adjusted only for such inflation from the year
of that agreement (2016) to the end of 2021, that $695.00 hourly rate for Mr. Ah-
mad is $777.91.

* John      Zavitsanos (class of ’87): Mr. Zavitsanos works in Houston.
His online biography states that he is a highly regarded trial lawyer. A 2016 at-
torney-client representation agreement shows that his billable rate for work in a
Houston employment contract/severance negotiation case was $695.00 per hour.
See Bragg v. Zavitsanos, No. 2019-15102 (270th Judicial District Court for Harris
County, Texas) (Fee Schedule—2016 Attorney Hourly Rates attached to Engage-
ment Agreement as Exhibit 1 to Response in Opposition to Plaintiff’s Motion for
Death Penalty Sanctions, filed on September 23, 2020). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016—
an $82.93 difference from the year of that stated $695.00 per hour billable rate.7
So, adjusted only for such inflation from the year of that agreement (2016) to the
end of 2021, that $695.00 hourly rate for Mr. Zavitsanos is $777.91.

* Mark       L. Johansen (class of ’86): Mr. Johansen works in Dallas.
His online biography states that he “has extensive experience in a wide variety of
complex litigation matters including . . . labor and employment.” In 2019, his law
firm billed at the rate of $685.00 per hour for his work on a Houston employment
commissions case. See Trippie v. Workplace Solutions Inc., No. 201984986 (281st
Judicial District Court for Harris County, Texas) (Defendant’s Trial Exhibit 17,
Bates Stamp No. WPS000948, for trial held April 1, 2021, Invoice 1/23/20 for work
in 2019: “Mark L. Johansen . . . Rate . . . 685.00 / hr”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 2.64% higher in 2021 versus 2019—an $18.08 dif-
ference from the year of that billed $685.00 hourly rate.8 So, adjusted only for such
inflation from the year that rate was billed (2019) to the end of 2021, that $685.00
hourly rate for Mr. Johansen is $703.08.

* M.     Scott McDonald (class of ’87): Mr. McDonald works in Dal-
las. His online biography states that he “has represented clients in all areas of
employment and labor law for more than 20 years.” In 2017, he billed his time at
the rate of $610.00 per hour for his work in a Houston misappropriation of trade

6   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=695

7   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=695

8   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=685


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secrets case against former employees of a company. See Quantlab Technologies
Ltd. v. Godlevsky, No. 4:09-cv-04039 (Doc. 884) at pp. 6–7, ¶ 19 (S.D. Tex. Hou-
ston) (Affidavit of Tim McInturf: “In fact, SKV and Littler have charged less to
handle this matter than they often charge clients for similar matters . . . Littler’s
rates for its principal timekeepers increased incrementally by year as follows . . .
Scott McDonald . . . 2017 . . . $610”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 8.08% higher in 2021 versus 2017—a $49.29 difference from the
year of that billed $610.00 hourly rate.9 So, adjusted only for such inflation from
the year that rate was billed (2017) to the end of 2021, that $610.00 hourly rate
for Mr. McDonald is $659.29.

* David        Borgen (class of ’81): Mr. Borgen works in California. His
online biography notes that he focused his practice on wage and hour cases. On
January 13, 2010, Judge Keith P. Ellison ruled that $500.00 per hour for his work
in a Houston FLSA case was “reasonable and consistent with hourly rates charged
by comparable attorneys in the relevant legal community.” See Roussell v. Brinker
Int’l, Inc., No. H-05-3733 (Doc. 373) at p. 6 (S.D. Tex. Houston). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 29.93% higher in 2021 versus 2010—a
$149.67 difference from the year Judge Ellison ruled that $500 hourly rate was
reasonable.10 So, adjusted only for such inflation from the year of Judge Ellison’s
ruling (2010) to the end of 2021, that $500.00 hourly rate for Mr. Borgen is
$649.67.

*    Teresa Valderrama (class of ’88): Ms. Valderrama works in
Houston. Her online biography states that she “has more than 25 years of experi-
ence representing employers in all aspects of workplace law, . . . .” On October 29,
2013, in a Houston employment discrimination case, Ms. Valderrama testified
that her usual hourly rate was $515.00 See Anderson v. Houston Community Col-
lege, No. 2012-40596 (334th Judicial District Court for Harris County, Texas) (Af-
fidavit of Teresa S. Valderrama at p. 2, ¶ 4: “My hourly rate is $515.00” though a
specially negotiated discounted rate is mentioned). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 20.06% higher in 2021 versus 2013—a $103.33
difference from the year of this testimony.11 So, adjusted only for such inflation



9    https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=610

10   https://www.officialdata.org/Legal-services/price-inflation/2010-to-2021?amount=500

11   https://www.officialdata.org/Legal-services/price-inflation/2013-to-2021?amount=515


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from the year of this testimony (2013) to the end of 2021, that $515.00 hourly rate
for Ms. Valderrama is $618.33.

*    Gregg M. Rosenberg (class of ’85): Mr. Rosenberg works in
Houston. His online biography states that he “has been practicing employment
law since 1985.” On April 26, 2019, Judge Sim Lake granted fees that included
Mr. Rosenberg’s requested rate of $600.00 per hour for work in a Houston FLSA
case. See Dunphy v. Project Aristocrat Life Foundation, No. 4:17-cv-1225 (Doc. 75)
at p. 1 (S.D. Tex. Houston) (“Plaintiffs’ requests for reasonable attorneys’ fees and
costs incurred in connection with the filing of this motion and the previously filed
Motions to Compel [Dkts. 65 and 70] is also GRANTED. Defendants are ordered
to pay Plaintiffs’ attorneys fees’ in the amount of $3,789.00 . . . .”); id. (Doc. 74-1)
at p. 2, ¶8 (Affidavit of Gregg M. Rosenberg: “My hourly rate is $600.00 per hour.
. . The fees related to drafting the Motions to Compel . . . at least $3,789.00 . . . “).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 2.64% higher in 2021
versus 2019—a $15.84 difference from the year of this ruling.12 So, adjusted only
for such inflation from the year of this ruling (2019) to the end of 2021, that
$600.00 hourly rate for Mr. Rosenberg is $615.84.

* Scott      Newar (class of ’89): Mr. Newar works in Houston. His online
biography states that “[s]ince 1996, he has represented thousands of workers in
all types of employment disputes . . . .” On March 16, 2017, Judge Robert F. Schaf-
fer concluded $500.00 per hour was a reasonable hourly rate for his work in an
employment retaliation case. See Davis v. Apache Corp., No. 2014-23898 (152nd
Judicial District Court for Harris County, Texas) (Findings of Fact and Conclu-
sions of Law Regarding Attorneys’ Fee Award at p. 4: “The reasonable hourly rate
for Davis’ counsel is as follows . . . Scott Newar: $500.00/hour”), affirmed as mod-
ified on other issues 573 S.W.3d 475 (Tex. App.—Houston [14th Dist.] 2019, pet.
denied, reh’g granted), reversed on other grounds No. 19-0410 (Tex. June 25,
2021). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 8.08% higher
in 2021 versus 2017—a $40.40 difference from the year of this ruling.13 So, ad-
justed only for such inflation from the year of this ruling (2017) to the end of 2021,
that $500.00 hourly rate for Mr. Newar is $540.40.

* Dennis        Herlong (class of ’82): Mr. Herlong works in Houston. His
online biography notes that he “handles wrongful and retaliatory terminations
and age, sex, and race discrimination.” On March 16, 2017, Judge Robert F.

12   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=600

13   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=500


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Schaffer concluded $500.00 per hour was a reasonable hourly rate for his work in
an employment retaliation case. See Davis v. Apache Corp., No. 2014-23898
(152nd Judicial District Court for Harris County, Texas) (Findings of Fact and
Conclusions of Law Regarding Attorneys’ Fee Award at p. 4: “The reasonable
hourly rate for Davis’ counsel is as follows . . . Dennis Herlong: $500.00/hour”),
affirmed as modified on other issues 573 S.W.3d 475 (Tex. App.—Houston [14th
Dist.] 2019, pet. denied, reh’g granted), reversed on other grounds No. 19-0410
(Tex. June 25, 2021). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
8.08% higher in 2021 versus 2017—a $40.40 difference from the year of this rul-
ing.14 So, adjusted only for such inflation from the year of this ruling (2017) to the
end of 2021, that $500.00 hourly rate for Mr. Herlong is $540.40.

* Barbara         Gardner (class of ’81): Ms. Gardner works in Houston,
where she focuses her practice on employment law. On March 16, 2017, Judge
Robert F. Schaffer concluded $500.00 per hour was a reasonable hourly rate for
her work in an employment retaliation case. See Davis v. Apache Corp., No. 2014-
23898 (152nd Judicial District Court for Harris County, Texas) (Findings of Fact
and Conclusions of Law Regarding Attorneys’ Fee Award at p. 4: “The reasonable
hourly rate for Davis’ counsel is as follows . . . Barbara Gardner: $500.00/hour”),
affirmed as modified on other issues 573 S.W.3d 475 (Tex. App.—Houston [14th
Dist.] 2019, pet. denied, reh’g granted), reversed on other grounds No. 19-0410
(Tex. June 25, 2021). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
8.08% higher in 2021 versus 2017—a $40.40 difference from the year of this rul-
ing.15 So, adjusted only for such inflation from the year of this ruling (2017) to the
end of 2021, that $500.00 hourly rate for Ms. Gardner is $540.40.

* Thomas         C. Wright (class of ’80): Mr. Wright works in Houston.
His online biography notes that he is an appellate specialist. On March 25, 2020,
Judge Andrew S. Hanen ruled a requested rate of $500.00 per hour was reasona-
ble for his work helping prosecute an employment discrimination and retaliation
case. See Davis v. Fort Bend County, No. 4:12-cv-00131 (Doc. 108) at pp. 5, 15 (S.D.
Tex. Houston) (“The Court first begins with the hourly rates for Plaintiff’s various
attorneys and other professionals. . . . Those rates were: Thomas C. Wright: $500
per hour; . . .Wright’s hourly rate is approved by the court, . . . .”). According to
the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 1.53% higher in 2021 versus



14   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=500

15   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=500


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2020—a $7.67 difference from the year of Judge Hanen’s ruling.16 So, adjusted
only for such inflation from the year of this ruling (2020) to the end of 2021, that
$500.00 hourly rate for Mr. Wright is $507.67.

*    Thomas H. Padgett, Jr. (class of ’89): Mr. Padgett works in
Houston. His online biography states that he is a civil rights lawyer. On Septem-
ber 11, 2015, Judge David Hittner granted fees that included Mr. Padgett’s re-
quested rate of $425.00 per hour for work in a Houston FLSA case. See Ricciardi
v. STSI, LLC, No. H-14-cv-544 (Doc. 25) at p. 8 (S.D. Tex. Houston) (“[T]he court
finds the hourly rates indicated in the attached billing invoice and sworn to by
Hill are reasonable.”); id. (Doc. 17-4) at p. 2, ¶ 6 (Declaration of Jonathan Sand-
strom Hill: “Thomas H. Padgett, Jr. has been a member of the Texas Bar since
1989 engaging in various types of litigation and trial practice. . . . A reasonable
hourly fee for a lawyer with similar experience and expertise is $425.00 per
hour.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 15.71% higher
in 2021 versus 2020—a $66.76 difference from the year of Judge Hittner’s ruling.17
So, adjusted only for such inflation from the year of this ruling (2015) to the end
of 2021, that $425.00 hourly rate for Mr. Padgett is $491.76.




16   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=500

17   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=425

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Classes of the 1990s


 36                  lawyers listed




 $664.98                               average rate




 $619.93                               median rate


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                                      Classes of the 1990s:
                                           The Rates

Nathan J.              Mark D.                  Jennifer L.                 Carolyn A.
Oleson                 Temple                   Dotson                      Russell
(JD 1999)              (JD 1995)                (JD 1993)                   (JD 1998)


Esther G.              Scott                    M. Todd                     Mark J.
Lander                 McLaughlin               Slobin                      Oberti
(JD 1997)              (JD 1994)                (JD 1997)                   (JD 1994)


Jennifer M.            Oswald B.                Stephanie K.                Salar Ali
Trulock                Cousins                  Osteen                      Ahmed
(JD 1997)              (JD 1994)                (JD 1997)                   (JD 1998)


Sean Michael           Jeffrey M.               Laura                       R. Russell
Becker                 Anapolsky                L. Ho                       Hollenbeck
(JD 1998)              (JD 1999)                (JD 1994)                   (JD 1994)


Christine E.           Cristin M.               Marlene C.                  Douglas
Webber                 Obsitnik                 Williams                    Welmaker
(JD 1991)              (JD 1997)                (JD 1997)                   (JD 1993)


Shauna                 Scott K.                 J. Derek                    Jim
Clark                  Davidson                 Braziel                     Staley
(JD 1994)              (JD 1998)                (JD 1995)                   (JD 1998)


Agnieszka              Rhonda                    Martin A.                  Charles A.
Fryszman               Wills                     Shellist                   Sturm
(JD 1996)              (JD 1994)                 (JD 1993)                  (JD 1997)


Ann Marie              Alan J.                   Anthony C.                 George R.
Arcadi                 Marcuis                   Wills                      Gibson
(JD 1993)              (JD 1998)                 (JD 1997)                  (JD 1995)


Gregory J.             Rex                       Stewart                  Trang
Ossi                   Burch                     Hoffer                   Tran
(JD 1997)              (JD 1997)                 (JD 1994)                (JD 1995)



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Classes of the 1990s:
     The Work

 *   Nathan J. Oleson (class of ’99): Mr. Oleson works in Washington
 D.C. His online biography states that his key experience “[f]ocuses on complex
 employment litigation and counseling.” In 2020, his law firm billed his time at the
 rate of $1,115.00 per hour in a Houston bankruptcy case—for work such as: “Re-
 view research re pending FLSA matters.” See In re: Sanchez Energy Corp., No.
 19-34508 (Doc. 1426) at Exhibits B & B-2, pp. 59, 62, 614, 643 (Bankr. S.D. Tex.
 Houston) (Second Interim and Final Fee Application of Akin Gump Strauss Hauer
 & Feld LLP for Allowance and Payment of Fees and Expenses as Counsel to the
 Debtors for the Period from December 1, 2019 through March 27, 2020: “Oleson,
 Nathan J. . . . Dept. . . . LAB . . . 2020 Rate . . . $1,115.00.”). On July 28, 2020,
 Judge Marvin Isgur approved the request for fees. See id. (Doc. 1521). According
 to the Consumer Price Index for legal services as generated by the U.S. Bureau of
 Labor Statistics, the prices for legal services are 1.53% higher in 2021 versus 2020
 (a $17.11 difference).1 So, adjusted only for such inflation from the year of this
 billing and court ruling (2020) to the end of 2021, that $1,115.00 hourly rate for
 Mr. Oleson is $1,132.11.

 *   Esther G. Lander (class of ’97): Ms. Lander works in Washing-
 ton D.C. Her online biography states that her key experience “[f]ocuses on high-
 stakes workplace internal and government investigations and complex employ-
 ment discrimination claims.” In 2020, her law firm billed her time at the rate of
 $1,115.00 per hour in a Houston bankruptcy case—for work such as: “Analyze
 options and scenarios re WARN Act.” See In re: Sanchez Energy Corp., No. 19-
 34508 (Doc. 1426) at Exhibits B & B-2, pp. 59, 62, 614, 643 (Bankr. S.D. Tex.
 Houston) (Second Interim and Final Fee Application of Akin Gump Strauss Hauer
 & Feld LLP for Allowance and Payment of Fees and Expenses as Counsel to the
 Debtors for the Period from December 1, 2019 through March 27, 2020: “Lander,
 Esther G. . . . Dept. . . . LAB . . . 2020 Rate . . . $1,115.00.”). On July 28, 2020,
 Judge Marvin Isgur approved the request for fees. See id. (Doc. 1521). According
 to the Consumer Price Index for legal services as generated by the U.S. Bureau of
 Labor Statistics, the prices for legal services are 1.53% higher in 2021 versus 2020


 1   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1115


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(a $17.11 difference).2 So, adjusted only for such inflation from the year of this
billing and court ruling (2020) to the end of 2021, that $1115.00 hourly rate for
Ms. Lander is $1,132.11.

*   Jennifer M. Trulock (class of ’97): Ms. Trulock works in Dallas.
Her online biography states that she “counsels companies on how to manage work-
place legal issues, conduct investigations into employee misconduct, and prevent
employment lawsuits.” In 2019, her firm billed her time at a rate of $898.00 per
hour in a Houston bankruptcy case—for employment law work such as “Labor
Issues” and “Review charge and discuss with M. Wersebe” and “provide advice for
response to employee’s attorney.” See In re: Bristow Group Inc., No. 19-3271 (Doc.
878) at p. 8, (Doc. 878-3) at p. 1, (Doc. 878-5) at Exhibit 5-V “Labor Issues,” pp.
452–53 (Bankr. S.D. Tex. Houston) (First Interim Fee Application of Baker Botts
L.L.P., Co-counsel to the Debtors, for Allowance and Payment of Compensation
for Services Rendered and Reimbursement of Expenses Incurred for the Period
May 11, 2019 through July 31, 2019, filed on August 21, 2019). On December 6,
2019, Judge David R. Jones approved her law firm’s request for fees. See id. (Doc.
930). According to the Consumer Price Index for legal services as generated by the
U.S. Bureau of Labor Statistics, the prices for legal services are 2.64% higher in
2021 versus 2019 (a $23.70 difference).3 So, adjusted only for such inflation from
the year of this billing and ruling (2019) to the end of 2021, that $898.00 hourly
rate for Ms. Trulock is $921.70.

*   Sean Michael Becker (class of ’98): Mr. Becker works in Hou-
ston. His online biography states that he is “head of the Employment, Labor and
OSHA practice” for his law firm. In 2016, his firm billed his time at a rate of
$795.00 per hour in a Houston bankruptcy case—for work such as “Conference
with David Meyer regarding new employment agreements.” See In re: Energy XXI
LTD, No. 16-31928 (Doc. 1897) at pp. 59, 65 and (Doc. 1899-4) at pp. 89, 90, 244
(Bankr. S.D. Tex. Houston) (Summary of the Final Fee Application (First Interim,
Second Interim and Third Interim Fee Periods) of Vinson & Elkins LLP, Attor-
neys for the Debtors and Debtors in Possession, For the Period from April 14, 2016
through and including December 30, 2016). On March 7, 2017, Judge David R.
Jones approved his law firm’s request for fees. See id. at Doc. 1949 (March 7,
2017). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 11.93% higher
in 2021 versus 2016—a $94.84 difference from the year this rate was billed.4 So,


2   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1115

3   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=898

4   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=795


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adjusted only for such inflation from the year of this billing (2016) to the end of
2021, that $795.00 hourly rate for Mr. Becker is $889.84.

*   Christine E. Webber (class of ’91): Ms. Webber works in Wash-
ington, D.C. Her online biography states that she “represents victims of discrimi-
nation and wage and hour violations in class and collective actions.” On November
30, 2017, Judge Keith P. Ellison determined Ms. Webber’s requested rate of
$790.00 per hour was “fair and reasonable” for work she did in a Houston human
trafficking [i.e., forced labor] case. Adhikari v. Daoud & Partners, No. 4:09-CV-
1237 (Doc. 764) at pp. 28–29 (S.D. Tex. Houston) (The requested rates, in descend-
ing order, are as follows: . . . $790 for Webber . . . The requested rates are fair and
reasonable here too.”). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 8.08% higher in 2021 versus 2017 (a $63.83 difference).5 So, adjusted only for
such inflation from the year of Judge Ellison’s determination to the end of 2021,
that $790.00 hourly rate for Ms. Webber is $853.83.

*   Shauna Clark (class of ’94): Ms. Clark works in Houston. Her
online biography states that she “provides strategic advice to employers on best
practice, conducts management and employee training, and counsels clients on
the full spectrum of employment issues.” In 2020, Ms. Clark’s law firm billed her
time for work at the rate of $825.00 per hour in a Houston defamation/tortious
interference case by a former employee against a former employer. See Nath v.
Baylor College of Medicine, No. 2019-85080 (269th Judicial District Court for Har-
ris County, Texas) (Declaration of Shauna J. Clark attached as Exhibit A to De-
fendant Baylor College of Medicine’s Application for Attorneys’ Fees, filed on June
30, 2020 at Tab 2, p. 4) (“Clark, S . . . Rate . . . 825.00). In 2018, Ms. Clark’s law
firm billed her time at the rate of $795.00 per hour in a Houston employment
discrimination and ERISA case—for work such as “Meet with witnesses in prep-
aration for deposition.” See Gonzales v. ConocoPhillips Co., No. 4:17-cv-2374 (Doc.
94-3) at pp. 27, 29 (S.D. Tex. Houston) (Exhibit 1 to Declaration of Fazila Issa,
Invoice dated September 27, 2018: “Clark, S. . . . Rate . . . 795.00”). On June 26,
2019, Judge Kenneth M. Hoyt determined the fees Ms. Clark’s firm sought for her
work were reasonable—but only imposed 30% of them in his fee award. See id.
(Doc. 108) at p. 1 (“The Court determines that the plaintiff’s ability to pay an at-
torneys’ fee is limited to his earned income and bonus(es), if any, resulting in an
annual income in the range of $250,000. The Court is of the opinion that the fees
and costs sought are reasonable. In light of this fact, the Court determines that
an award equal to 30% of the requested attorneys’ fees sought is reasonable.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021

5   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=790


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versus 2020—a $12.66 difference from that 2020 billed rate in Nath.6 So, adjusted
only for such inflation from the year of that billed rate (2020) to the end of 2021,
that $825.00 hourly rate for Ms. Clark is $837.66.

*   Agnieszka Fryszman (class of ’96): Ms. Fryszman works in
Washington, D.C. Her online biography notes that she practices in human
rights—forced and slave labor. On November 30, 2017, Judge Keith P. Ellison
determined Ms. Fryszman’s requested rate of $745.00 per hour was “fair and rea-
sonable” for work she did in a Houston human trafficking [i.e., forced labor] case.
Adhikari v. Daoud & Partners, No. 4:09-CV-1237 (Doc. 764) at pp. 28–29 (S.D.
Tex. Houston) (The requested rates, in descending order, are as follows: . . . $745
for Fryszman . . . The requested rates are fair and reasonable here too.”). Accord-
ing to the Consumer Price Index for legal services as generated by the U.S. Bureau
of Labor Statistics, the prices for legal services are 8.08% higher in 2021 versus
2017 (a $60.20 difference).7 So, adjusted only for such inflation from the year of
Judge Ellison’s determination to the end of 2021, that $745.00 hourly rate for Ms.
Fryszman is $805.20.

*   Ann Marie Arcadi (class of ’93): Ms. Arcadi’s works in Dallas.
Her online biography states that she “regularly advises clients on compliance with
state and federal labor & employment laws, assists with internal investigations,
provides legal compliance and HR training, and represents clients before state
and federal agencies with employment-related jurisdiction.” On August 2, 2017,
she testified that her rate for work in a Houston employment discrimination case
was $725.00 per hour. See Lyde v. The Boeing Co., No. 4:16-cv-3293 (Doc. 16-4) at
p. 2, ¶ 4 (S.D. Tex. Houston) (Affidavit of Ann Marie Arcadi: “I have been involved
in handling this case, and have done various legal work on this matter. My billing
rate for this case was $725.00 per hour.”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 8.08% higher in 2021 versus 2017 (a $58.58 difference).8 So,
adjusted only for such inflation from the year of this billing to the end of 2021,
that $725.00 hourly rate for Ms. Arcadi is $783.58.

*   Gregory J. Ossi (class of ’97): Mr. Ossi works in Washington,
D.C. His online biography notes that he “counsels employers on a broad range of
labor and employee benefits matters, . . . .” In 2019, his law firm billed his time at
the rate of $720.00 per hour in a Houston bankruptcy case—for labor law work

6   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=825

7   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=745

8   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=725


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such as: “Prepare for and conduct negotiations with UMWA” and “Attend deposi-
tions of Joe M., Elizabeth M. and Doug G.” See In re: Westmoreland Coal Co., No.
18-35672 (Doc. 2147-4) at pp. 2, 6 (Bankr. S.D. Tex. Houston) (Exhibit D, Itemized
Time Records of Professionals and Paraprofessionals January 7, 2019 – June 21,
2019 attached to First and Final Fee Application (WMLP Debtors) of Drinker Bid-
dle & Reath LLP as Special Labor and Employment Benefits Counsel to the Debt-
ors and Debtors in Possession for the Period of January 7, 2019 through June 21,
2019: “GJ Ossi . . . Partner . . . Rate . . . $720.00”). On August 14, 2019, Judge
David R. Jones approved the request for fees. See id. (Doc. 2247). According to
the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019
(a $19.00 difference).9 So, adjusted only for such inflation from the year of this
billing and court ruling (2019) to the end of 2021, that $720.00 hourly rate for Mr.
Ossi is $739.00.

*    Mark D. Temple (class of ’95): Mr. Temple works in Houston.
His online biography notes that he “focuses on high-stakes business disputes and
complex employment litigation.” On September 25, 2015, Judge Nancy F. Atlas
awarded fees requested for Mr. Temple’s work in a Houston ERISA case. See Ro-
mano Woods Dialysis Ctr. v. Admiral Linen Serv., Inc., No. 4:14-cv-01125 (Doc.
67) (S.D. Tex. Houston) (“Based on this review, and a clear recollection of the liti-
gation of this lawsuit, the Court finds that the $209,350.13 in attorneys’ fees re-
quested by Defendants is reasonable and appropriate.”) (awarding all fees re-
quested in Defendants’ Motion for Fees and Costs (Doc. 62)). The court-approved
request for fees documented work Mr. Temple did at an hourly rate of $625.00—
including work done and billed on invoices in 2014 at that rate. See id. (Doc. 62-
1) at pp. 4, 33–34 (Affidavit of Kenneth E. Broughton, for work such as “Analysis
of outstanding issues” on September 16, 2014). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 17.55% higher in 2021 versus 2014 (a $109.67 differ-
ence).10 So, adjusted only for such inflation from the year of this billing (2014) to
the end of 2021, that $625.00 hourly rate for Mr. Temple is $734.67.

*    Scott R. McLaughlin (class of ’94): Mr. McLaughlin works in
Houston. His online biography states that he “has extensive experience in con-
ducting internal sexual harassment, discrimination, and fraud investigations,
and provides day-to-day labor and employment advice and counsel to clients.” On
August 5, 2015, in a Corpus Christi employment discrimination and retaliation
case, his law firm noted that his standard rate per hour was $625.00—though

9    https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=720

10   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=625


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there was a lower negotiated effective rate per hour in that case. See Arredondo
v. Weatherford Int’l, LLC, No. 2:14-cv-00170 (Doc. 89) at p. 1 (S.D. Tex. Corpus
Christi) (Summary of Attorney Fees and Expenses: “Scott McLaughlin . . .
STANDARD RATE PER HOUR . . . 625”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 15.71% higher in 2021 versus 2015 (a $98.17 difference).11
So, adjusted only for such inflation from the year of this stated rate (2015) to the
end of 2021, that $625.00 hourly rate for Mr. McLaughlin is $723.17.

*    Oswald B. Cousins (class of ’94): Mr. Cousins works in Califor-
nia. His online biography states that he “defends and advises clients on complex
employment law challenges.” On November 28, 2007, Judge Ewing Werlein, Jr.
gave his opinion that $500.00 per hour was reasonable for Mr. Cousins’s work in
a Houston employment discrimination case. See Worrell v. GreatSchools, Inc., No.
4:07-cv-01100 (Doc. 17) at p. 10 (S.D. Tex. Houston) (“With all due respect to the
rates ordinarily billed by Cousins in California for his experience and high level
of competency, the Court is of the opinion that $500 an hour is reasonable to the
circumstances of this case in this district.”). According to the Consumer Price In-
dex for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 43.84% higher in 2021 versus 2007 (a $219.21 differ-
ence).12 So, adjusted only for such inflation from the year of this ruling (2007) to
the end of 2021, that $500.00 hourly rate for Mr. Cousins is $719.21.

*    Jeffrey M. Anapolsky (class of ’99): Mr. Anapolsky works in
Houston. His online biography notes that he does restructuring and dispute reso-
lution. On July 2, 2020, he testified that his billable rate was $700.00 per hour for
his work in a Houston declaratory judgment case against a former employee—
though he was willing to accept less in a fee motion. See Anapolsky Advisors, Inc.
v. Mangual, No. 2020-11559 (127th Judicial District Court for Harris County,
Texas) (Supplemental Declaration of Jeffrey M. Anapolsky, dated July 2, 2020
with bills attached, at p. 1, ¶ 3: “Although my billable rate for this matter is $700
per hour, I am willing to match the billable rate of Defendant’s attorney, . . . .”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020 (a $10.74 difference).13 So, adjusted only for such inflation from the
year of this testimony (2020) to the end of 2021, that $700.00 hourly rate for Mr.
Anapolsky is $710.74.


11   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=625

12   https://www.officialdata.org/Legal-services/price-inflation/2007-to-2021?amount=500

13   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=700


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*    Cristin M. Obsitnik (class of ’97): Ms. Obsitnik works in Chi-
cago. Her online biography notes that she works on employee benefit programs:
“Cristin counsels employers on the design and implementation of tax-qualified
pension plans and nonqualified deferred compensation arrangements, as well as
on ERISA fiduciary matters.” In 2019, her law firm billed her time at the rate of
$655.00 per hour in a Houston Bankruptcy case—for labor law work such as Re-
view plan documents” and “Email exchanges with G. Ossi on treatment of pension
plan after asset sale.” See In re: Westmoreland Coal Co., No. 18-35672 (Doc. 2147-
4) at pp. 9–10 (S.D. Tex. Bankruptcy Houston) (Exhibit D, Itemized Time Records
of Professionals and Paraprofessionals January 7, 2019 – June 21, 2019 attached
to First and Final Fee Application (WMLP Debtors) of Drinker Biddle & Reath
LLP as Special Labor and Employment Benefits Counsel to the Debtors and Debt-
ors in Possession for the Period of January 7, 2019 through June 21, 2019). On
August 14, 2019, Judge David R. Jones approved the request for fees. See id. (Doc.
2247). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 2.64% higher
in 2021 versus 2019 (a $17.29 difference).14 So, adjusted only for such inflation
from the year of this billing and court ruling (2019) to the end of 2021, that
$655.00 hourly rate for Ms. Obsitnik is $672.29.

*    Scott K. Davidson (class of ’98): Mr. Davidson works in Hou-
ston. His online biography notes he works as an in-house attorney, but previously
worked for a law firm “helping people with Employment & Labor issues.” On De-
cember 22, 2011, he testified that his law firm charged $515.00 per hour for his
work in a Houston employment agreement/non-compete case. See Renewable En-
ergy Group, Inc. v. Dascal, No. 2011-51111 (190th Judicial District Court for Har-
ris County, Texas) (Affidavit of Scott K. Davidson in Support of Attorney’s Fees
at p. 1, ¶ 3: “I prosecuted this case in accordance with an hourly fee agreement
entered into between Renewable Energy Group, Inc. and Locke Lord LLP. My
firm charged Renewable Energy Group, Inc. $515.00 per hour for my work . . . .”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 25.87% higher in 2021
versus 2011 (a $133.25 difference).15 So, adjusted only for such inflation from the
year of this billing (2011) to the end of 2021, that $515.00 hourly rate for Mr.
Davidson is $648.25.

*    Rhonda Wills (class of ’94): Ms. Wills works in Houston. Her
online biography notes she focuses her practice on several areas, such as

14   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=655

15   https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=515


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“problems at work (including unlawful pay, sexual harassment, discrimination,
and injuries on the job)[.] . . .” On April 4, 2014, Judge Gray H. Miller awarded
Ms. Wills’s law firm all fees requested in a Houston FLSA case—which included,
under a lodestar method cross-check, a 1.29 multiplier from her hourly rate of
$550.00 per hour. See In re Wells Fargo Wage & Hour Employment Practices Lit-
igation, No. 4:11-md-02266 (Doc. 239) (S.D. Tex.) (“The request for $4.5 million in
fees representing 30% of the settlement fund is APPROVED as fair and reasona-
ble”); id. (Doc. 233) at pp. 20, 23, 24, 25 (Plaintiff’s Corrected Unopposed Motion
for Approval of the Settlement on Behalf of FLSA Collective Action Members:
“Here, the Settling Plaintiffs’ counsel seek $4.5 million for attorneys’ fees (30% of
the total settlement fund)[.] . . . A ‘cross-check’ of the Johnson factors further es-
tablishes the reasonableness of lead counsel’s fee request. . . . Accordingly, the
lodestar multiplier on the hours worked to date with respect to the Settling Plain-
tiffs’ claims is 1.29. . . . Lead counsel’s lodestar is based on reasonable hourly rates,
consisting of the following ranges: $475-$550 for partners and of counsel; $150-
$425 for associates and staff attorneys; and $75 for professional support staff.
These rates are consistent with those charged in other significant FLSA actions
and in the Texas legal market in general.”); id. at (Doc. 233-4) at p. 18, ¶ 37 (Dec-
laration of Rhonda H. Wills: “The hours, attendant rates and lodestar for the Wills
Law Firm, PLLC in this matter are as follows . . . RHONDA H. WILLS (LEAD
COUNSEL) $550[.] . . .”). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 17.55% higher in 2021 versus 2014 (a $96.51 difference).16 So, adjusted only
for such inflation from the year of this court ruling (2014) to the end of 2021—and
without regard to the 1.29 multiplier—that $550.00 hourly rate for Ms. Wills is
$646.51.

*    Alan J. Marcuis (class of ’98): Mr. Marcuis works in Dallas. His
online biography states that he “represents management in complex labor and
employment law matters, including contract, trade secret and post-employment
restrictive covenants, EEO litigation, collective bargaining and labor relations.”
In 2020, his law firm listed his hourly rate as $630.00 per hour in its fee request
in a Houston bankruptcy case—for employment law work he did in 2019 such as
“review David Fitch Texas Workforce Commission wage claim and supporting doc-
uments and analysis of same” and “conference regarding responses to Texas
Workforce Commission denying wage claims” and “Review correspondence re-
garding former employees working for competitor and soliciting customers.” See
In re: KP Eng., L.P., No. 19-34698 (Doc. 613) at pp. 18, 37, 85, 86, 97, 271, 279,
284 (Bankr. S.D. Tex. Houston) (Fee Application Summary Cover Sheet for Sec-
ond Interim and Final Fee Application of Hunton Andrews Kurth LLP, Special
Counsel to Debtor KP Engineering, LP, for Allowance and Payment of Fees and
Expenses for the Period from August 23, 2019 through June 23, 2020). On October

16   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=550


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1, 2020, Judge David R. Jones approved the request for fees. See id. (Doc. 650).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020—the year of the court approval of the fee request—a $9.67 differ-
ence.17 So, adjusted only for such inflation from the year of this court ruling (2020)
to the end of 2021, that $630.00 hourly rate for Mr. Marcuis is $639.67.

*    Rex Burch (class of ’97): Mr. Burch works in Houston, where he
focuses his practice on labor and employment law. On October 11, 2016, Judge
Alfred H. Bennett granted fees for work Mr. Burch did in a Houston FLSA case.
See St. John v. Nesco Service Co., No. 15-cv-00253 (Doc. 68) at p. 3 (S.D. Tex.
Houston) (“Nesco does not take issue with the hourly rates charged by Plaintiff’s
counsel” but making an across-the-board reduction on time); id. (Doc. 63) at p. 5
(Plaintiff’s Motion for an Award of Reasonable Attorney’s Fees, Costs, and Ex-
penses: “Richard J. (Rex) Burch . . . RATE . . . $565.00”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016—a
$67.40 difference from that 2016 rate of $565.00 per hour.18 So, adjusted only for
such inflation from the year of this court ruling (2016) to the end of 2021, that
$565.00 hourly rate for Mr. Burch is $632.40.

* Jennifer L. Dotson (class of ’93): Ms. Dotson works in Pear-
land. She previously worked for a law firm in Houston. On September 25, 2015,
Judge Nancy F. Atlas awarded fees requested for Ms. Dotson’s work in a Houston
ERISA case. See Romano Woods Dialysis Ctr. v. Admiral Linen Serv., Inc., No.
4:14-cv-01125 (Doc. 67) at p. 16 (S.D. Tex. Houston) (“Based on this review, and a
clear recollection of the litigation of this lawsuit, the Court finds that the
$209,350.13 in attorneys’ fees requested by Defendants is reasonable and appro-
priate.”) (awarding all fees requested in Defendants’ Motion for Fees and Costs
(Doc. 62)). On July 24, 2015, attorney Kenneth E. Broughton testified that her
rate for work on the case, which was a rate “discounted from the Firm’s standard
hourly rates,” was “$495-$525.” See (Doc. 62-1) at pp. 3-4, at ¶¶ 8 & 10 (Affidavit
of Kenneth E. Broughton: “The fees are based on the number of hours Reed
Smith’s timekeepers have spent working on this case multiplied times their ap-
plicable hourly rates, which for this matter were discounted from the Firm’s
standard hourly rates. . . . Jennifer J. Dotson $490-$525.”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 15.71% higher in 2021 versus 2015—



17   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=630

18   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=565


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an $82.46 difference from the year of that 2015 testimony.19 So, adjusted only for
such inflation from the year of this testimony and court award (2015) to the end
of 2021, that $525.00 hourly rate for Ms. Dotson is $607.46.

*    M. Todd Slobin (class of ’97): Mr. Slobin works in Houston. His
online biography notes: “Since 1998, I have exclusively handled employment law
cases.” On November 21, 2018, Magistrate Judge Christina A. Bryan determined
$500.00 was a reasonable hourly rate for Mr. Slobin’s work in a Houston FLSA
case. See Novick v. Shipcom Wireless, Inc., No. 4:16-cv-00730 (Doc. 100) at p. 6
(S.D. Tex. Houston) (Memorandum and Order: “$500 is a reasonable rate for the
services provided by Todd Slobin in this case.”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 3.64% higher in 2021 versus 2018 (an $18.18 differ-
ence).20 So, adjusted only for such inflation from the year of this court ruling
(2018) to the end of 2021, that $500.00 hourly rate for Mr. Slobin is $518.18. In
the Summer of 2021, arbitrator and former Judge Susan Soussan approved a rate
of $600 per hour for Mr. Slobin’s work. See Hawthorne v. KS Mgmt. Servs., No.
4:17-cv-02350 (Doc. 89-2) at p. 4, ¶ 14 (S.D. Tex. Houston) (Declaration of Todd
Slobin dated December 22, 2021: “I recently arbitrated a case before the Honora-
ble Judge Susan Soussan over the Summer in 2021. Upon a successful arbitration
award, my hourly rate of $600 was approved.”).

*    Stephanie K. Osteen (class of ’97): Ms. Osteen works in Dal-
las. Her online biography states that “for the last twenty-five years, Stephanie
has represented publicly traded and privately held companies, including Fortune
50-1000, middle market companies, private equity groups, and startups, in simple
and complex employment litigation and transactional matters, over a wide range
of industries.” On April 13, 2017, her client sought sanctions to recover fees at a
rate of $550 per hour incurred for her time in defending a Houston Deceptive
Trade Practices Act (DTPA) case over a job posting for a staffing agency—for work
such as traveling to Houston for a deposition that did not take place. See Grivich
v. Robert Half Int’l, Inc., No. 2016-57390 (269th Judicial District Court for Harris
County, Texas) (Defendant Robert Half International, Inc.’s Motion for Sanctions
at p. 8 ¶ 20: “Robert Half incurred significant costs, including travel and hotel
expenses for Robert Half’s lead counsel, attorneys’ fees for appearing at and pre-
paring for Plaintiff’s deposition, costs of the court reporter and videographer, and
fees in researching for and drafting this Motion. [See Itemized Accounting of De-
fendant’s Fees and Costs, attached as Exhibit 15.]”); id. at Exhibit 15 (“Rate (per
hour) $550” for work such as “Travel to and appear at Hunton & Williams LLP’s

19   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=525

20   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=500


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Houston for deposition of Plaintiff and communications with client regarding
same (5.5 hours); review and revise Defendant’s Motion for Sanctions (1.0
hours).”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 8.08%
higher in 2021 versus 2017 (a $44.44 difference).21 So, adjusted only for such in-
flation from the year of this invoicing and motion (2017) to the end of 2021, that
$550.00 hourly rate for Ms. Osteen is $594.44.

*    Laura L. Ho (class of ’94): Ms. Ho works in California. Her online
biography states that she “has extensive experience representing employees, con-
sumers, and voters in class, collective, and representative actions in California
and nationally.” On January 13, 2010, Judge Keith P. Ellison ruled that $450.00
per hour for her work in a Houston FLSA case was “reasonable and consistent
with hourly rates charged by comparable attorneys in the relevant legal commu-
nity.” See Roussell v. Brinker Int’l, Inc., No. H-05-3733 (Doc. 373) at p. 6 (S.D. Tex.
Houston). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 29.93%
higher in 2021 versus 2010 (a $134.71 difference).22 So, adjusted only for such
inflation from the year of Judge Ellison’s ruling (2010) to the end of 2021, that
$450.00 hourly rate for Ms. Ho is $584.71.

*    J. Derek Braziel (class of ’95): J. Derek Braziel works in Dallas.
His online biography states that he “represents plaintiffs in collective action and
class action litigation concerning rights asserted under the FLSA and commensu-
rate state laws governing wages.” On October 21, 2015, Judge David Hittner
granted his firm fees in a Houston FLSA case. See Gingrass v. TMG (The Moore
Group, Inc.), No. 4:15-cv-00837 (Doc. 18) at p. 1 (S.D. Tex. Houston) (“The Court
finds that Plaintiff has established by declaration that he and his counsel are en-
titled to recover from Defendant attorney’s fees and costs of $7,258.95, which the
Court finds to be a reasonable amount.”). Judge Hittner’s ruling was premised, in
part, on a rate of $495.00 per hour for Mr. Braziel’s work in that Houston FLSA
case. See id. (Doc. 13-2) at p. 3, ¶ 11 (Declaration of Jesse H. Forester dated Sep-
tember 21, 2015: “The firm’s lodestar (hours x hourly rates) on the hours expended
on this matter, amounts to $6,658.95 (J. Forester with 13.50 hours x $295 =
$3,982.50; J. Derek Braziel with 3.00 hours x $495 = $1,485.00; and Chief Para-
legal Josey Gonzales with 6.11 hours x $195 = $1,191.45). The firm also has an
additional $600.00 in costs in this matter for a total amount in fees and costs of
$7,258.95.”). According to the Consumer Price Index for legal services as gener-
ated by the U.S. Bureau of Labor Statistics, the prices for legal services are

21   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=550

22   https://www.officialdata.org/Legal-services/price-inflation/2010-to-2021?amount=450


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15.71% higher in 2021 versus 2015 (a $77.75 difference).23 So, adjusted only for
such inflation from the year of Judge Hittner’s ruling (2015) to the end of 2021,
that $495.00 hourly rate for Mr. Braziel is $572.75.

*    Marlene C. Williams (class of ’97): Ms. Williams works in
Houston. Her online biography states that she “guides her clients through com-
plex labor and employment matters, defending Fortune 100 companies in class
action disputes and collective action litigation.” On August 5, 2015, in a Corpus
Christi employment discrimination and retaliation case, her law firm noted that
her standard rate per hour was $495.00—though there was a lower negotiated
effective rate per hour in that case. See Arredondo v. Weatherford Int’l, LLC, No.
2:14-cv-00170 (Doc. 89) at p. 1 (S.D. Tex. Corpus Christi) (Summary of Attorney
Fees and Expenses: “Marlene Williams . . . STANDARD RATE PER HOUR: . . .
495”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 15.71% higher
in 2021 versus 2015 (a $77.75 difference).24 So, adjusted only for such inflation
from the year of this standard hourly rate for Ms. Williams (2015) to the end of
2021, that $495.00 hourly rate for Ms. Williams is $572.75.

*    Martin A. Shellist (class of ’93): Martin Shellist works in Hou-
ston. His online biography notes that he represents clients in employment mat-
ters. On December 2, 2011, Judge David Hittner ruled there was sufficient evi-
dence that Mr. Shellist’s requested hourly rate of $450.00 was reasonable in a
Houston employment discrimination case. See Dixon v. Texas Southern Univ., No.
4:10-cv-01045 (Doc. 102) at p. 10 (S.D. Tex. Houston) (“Based on the qualifications
of Slobin and Shellist and the rates charged in the local community, this Court
finds Dixon has submitted sufficient evidence that the rates charged were reason-
able. Accordingly, this Court will adopt Dixon’s proposed hourly rates: $400 per
hour for Slobin and $450 per hour for Shellist.”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 25.87% higher in 2021 versus 2011 (a $116.43 differ-
ence).25 So, adjusted only for such inflation from the year of Judge Hittner’s ruling
(2011) to the end of 2021, that $450.00 hourly rate for Mr. Shellist is $566.43.

*    Anthony C. Wills (class of ’97): Mr. Wills works in California
but previously worked in Houston. On April 4, 2014, Judge Gray H. Miller
awarded Ms. Wills’s law firm all fees requested in a Houston FLSA case—which

23   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=495

24   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=495

25   https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=450


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included, under a lodestar method cross-check, a 1.29 multiplier from Mr. Wills’s
hourly rate of $475.00 per hour. See In re Wells Fargo Wage & Hour Employment
Practices Litigation, No. 4:11-md-02266 (Doc. 239) (S.D. Tex.) (“The request for
$4.5 million in fees representing 30% of the settlement fund is APPROVED as fair
and reasonable”); id. (Doc. 233) at pp. 20, 23, 24, 25 (Plaintiff’s Corrected Unop-
posed Motion for Approval of the Settlement on Behalf of FLSA Collective Action
Members: “Here, the Settling Plaintiffs’ counsel seek $4.5 million for attorneys’
fees (30% of the total settlement fund)[.] . . . A ‘cross-check’ of the Johnson factors
further establishes the reasonableness of lead counsel’s fee request. . . . Accord-
ingly, the lodestar multiplier on the hours worked to date with respect to the Set-
tling Plaintiffs’ claims is 1.29. . . . Lead counsel’s lodestar is based on reasonable
hourly rates, consisting of the following ranges: $475-$550 for partners and of
counsel; $150-$425 for associates and staff attorneys; and $75 for professional
support staff. These rates are consistent with those charged in other significant
FLSA actions and in the Texas legal market in general.”); id. at (Doc. 233-4) at p.
18, ¶ 37 (Declaration of Rhonda H. Wills: “The hours, attendant rates and lodestar
for the Wills Law Firm, PLLC in this matter are as follows . . . ANTHONY C.
WILLS (PARTNER) $475[.] . . .”). According to the Consumer Price Index for legal
services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
services are 17.55% higher in 2021 versus 2014 (a $83.35 difference).26 So, ad-
justed only for such inflation from the year of this court ruling (2014) to the end
of 2021—and without regard to the 1.29 multiplier—that $475.00 hourly rate for
Mr. Wills is $558.35.

*    Stewart Hoffer (class of ’94): Mr. Hoffer works in Houston. His
online biography notes that his practice includes, but is not limited to, “Represen-
tation of Executives in Employment Matters” and “Labor and Employment Liti-
gation.” On August 27, 2015, Mr. Hoffer’s client sought an award of attorneys’ fees
at the rate of $475.00 per hour for Mr. Hoffer’s time in a Houston employment
non-compete and commissions declaratory judgment case—for work such as “re-
view and revise Motion for Summary Judgment.” See Goddard v. Total Safety
U.S., Inc., No. 2015-04385 (11th Judicial District Court for Harris County, Texas)
(Defendant Total Safety U.S. Inc.’s Motion for Determination Under Epps v.
Fowler and Award of Attorney’s Fees Under Declaratory Judgment Act at pp. 11-
12 and Exhibit E: “Total Safety requests an award of reasonable and necessary
attorney’s fees in the amount of $21,817.50, which is a mere fraction of the total
fees it incurred to defend Goddard’s claims.” . . . “[Mr. Hoffer’s law firm, Hick
Thomas LLC] billed Mr. Hoffer’s time to Total Safety at $475 per hour (an hourly
rate that was 20% lower than the hourly rates that Hick Thomas LLP bills Mr.
Hoffer’s time to other clients), . . . .”). The Court denied the request for fees alto-
gether. See id. (Order Denying Defendant’s Motion for Fees Under the Declara-
tory Judgment Act dated September 22, 2015). According to the Consumer Price

26   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=475


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Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 15.71% higher in 2021 versus 2015 (a $74.61 differ-
ence).27 So, adjusted only for such inflation from the year of this discounted billing
rate (2015) to the end of 2021, that $475.00 hourly rate for Mr. Hoffer is $549.61.

*    Carolyn A. Russell (class of ’98): Ms. Russell works in Houston.
Her online biography notes that she “represents management in a va-
riety of employment-related matters, including litigation involving age, disabil-
ity, race and sex discrimination claims, covenants not to compete, trade secrets,
wage and hour claims, ERISA claims, and other workplace torts.” On October 18,
2016, Ms. Russell sought an award of attorneys’ fees her client incurred for her
work at a rate of $480.00 per hour in a Houston state court wage case. See Garrett
v. Prologistix Corp. NW PLX, No. 1076687 (Harris County Court at Law No. 2)
(Request for Entry of Attorneys’ Fees at Exhibit A, Affidavit of Carolyn A. Russell
(dated October 18, 2016) ¶ 2: “I represent the Defendant in the above-styled case.
My hourly rate is $480”). The court granted fees but in a lower overall amount
than that requested. See id. (Judgment dated July 11, 2017). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016 (a
$57.26 difference).28 So, adjusted only for such inflation from the year of this rate
was billed (2016) to the end of 2021, that $480.00 hourly rate for Ms. Russell is
$537.26.

*    Mark J. Oberti (class of ’94): Mr. Oberti works in Houston. His
online biography states that he “is a highly effective employment attorney in Hou-
ston, winning numerous cases for executives, employers, and employees.” On June
1, 2017, the United States Court of Appeals for the Fifth Circuit reversed a judg-
ment against Mr. Oberti’s client and instead, issued a judgment in Mr. Oberti’s
client’s favor in a Houston ERISA case. See Langley v. Howard Hughes Mgmt. Co.,
L.L.C., No. 16-20724 (5th Cir. June 1, 2017) (“It is ordered and adjudged that the
judgment of the District Court is reversed, and judgment is rendered in favor of
Langley in the amount of $255,000, plus attorney’s fees of $18,970.”). The amount
of fees the Fifth Circuit awarded was based on Mr. Oberti’s testimony and calcu-
lation including his $450.00 per hour rate billed to his client and as testified to in
2014. See Langley v. Howard Hughes Mgmt. Co., No. 4:13-cv-03595 (Doc. 7) at p.
25 (S.D. Tex. Houston February 3, 2014) (Langley’s Motion for Summary Judg-
ment: “In this case, Langley’s counsel’s reasonable fees are $18,970.00”); id. (Doc.
7-9) at p. 3, ¶ 4 (Exhibit 9 Affidavit of Mark J. Oberti: “My rate on this case was
$400 per hour, until January 1, 2014, and then $450 per hour after that.”)

27   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=475

28   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=480


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(attaching firm invoice). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 17.55% higher in 2021 versus 2014 (a $78.97 difference).29 So, adjusted only
for such inflation from the year of this rate was billed (2014) to the end of 2021,
that $450.00 hourly rate for Ms. Oberti is $528.97.

*    R. Russell Hollenbeck (class of ’94): Mr. Hollenbeck works in
Houston. His online biography notes he is a civil appellate specialist. On March
25, 2020, Judge Andrew S. Hanen awarded a rate of $500.00 per hour for his work
in a Houston employment discrimination and retaliation case. See Davis v. Fort
Bend County, No. 4:12-cv-00131 (Doc. 108) at p. 5 (S.D. Tex. Houston) (“Russ Hol-
lenbeck: $500 per hour[.] . . . The Court finds all of the hourly rates for the Wright
Close & Barger professionals to be reasonable hourly rates among Houston law
firms for a Title VII case.”). According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 1.53% higher in 2021 versus 2020 (a $7.67 difference).30 So, adjusted only
for such inflation from the year of this court ruling (2020) to the end of 2021, that
$500.00 hourly rate for Mr. Hollenbeck is $507.67.

*    Douglas B. Welmaker (class of ’93): Mr. Welmaker works in
Austin. His online biography states that he “has been practicing labor and em-
ployment law for 25 years” and “[i]n the last 10 years, he has limited his practice
to representing employees who have been wrongfully denied overtime pay in vio-
lation of the Fair Labor Standards Act.” On May 11, 2020, Judge Nelva Gonzales
Ramos ruled $500.00 was a reasonable rate for Mr. Welmaker’s work in a Corpus
Christi FLSA case. See Carranza v. Cirlos, No. 2:18-cv-419 (Doc. 36) at p. 36 (S.D.
Tex. Corpus Christi) (“Plaintiffs request an hourly rate of $500 per hour. The
Court finds this is a reasonable rate. Mr. Welmaker has practiced for more than
25 years, and has focused almost exclusively on employment litigation during that
time.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 1.53% higher
in 2021 versus 2020 (a $7.67 difference).31 So, adjusted only for such inflation from
the year of this court ruling (2020) to the end of 2021, that $500.00 hourly rate for
Mr. Welmaker is $507.67.

*    Jim Staley (class of ’98): Mr. Staley works in Houston. His online
biography states that he “represents employers and management in all aspects of

29   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=450

30   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=500

31   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=500


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employment law[.] . . .” On March 28, 2017, in a Houston Uniformed Services Em-
ployment and Reemployment Rights Act (USERRA) military employment leave
case, Mr. Staley testified that his ordinary billing rate is $465.00 per hour. See
Wright v. J.A.M. Distributing, No. 4:16-cv-2663 (Doc. 32-1) at p. 2, ¶ 5 (S.D. Tex.)
(Declaration of Jim Staley: “I am charging J.A.M. $325 per hour in this case. $325
per hour is a reasonable rate to charge for the legal services performed by myself
and is actually a substantial discount from my ordinary billing rate of $465.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 8.08% higher in 2021
versus 2017 (a $37.57 difference).32 So, adjusted only for such inflation from the
year of this testimony concerning his “ordinary billing rate” (2017) to the end of
2021, that $465.00 hourly rate for Mr. Staley is $502.57.

*    Salar Ali Ahmed (class of ’98): Mr. Ahmed works in Houston.
His online biography notes his practice area is labor and employment law. On
August 28, 2015, in a Beaumont Fair Credit Reporting Act (FCRA) case involving
allegations about credit checks of employees, Mr. Ahmed sought fees and testified
that his rate for legal services in the case was $425.00 per hour—but that he typ-
ically charges between $350.00 per hour and $450.00 per hour. See Landrum v.
East Texas Medical Center Regional Healthcare System, No. 4:14-cv-00848 (Doc.
44) at p. 9 (S.D. Tex. Beaumont) (Sworn Declaration of Salar Ali Ahmed in Sup-
port of Attorney’s Fees: “My rate for legal services in this case is $425 per hour.
This rate is within the range of my customary hourly fee. I typically charge be-
tween $350 and $450 per hour.”). On August 31, 2015, Judge Keith P. Ellison
awarded a flat amount of all fees requested as part of a settlement. See id. (Doc.
45) (Order Granting Joint Motion for Final Approval of Proposed Settlement and
Final Judgment). According to the Consumer Price Index for legal services as gen-
erated by the U.S. Bureau of Labor Statistics, the prices for legal services are
15.71% higher in 2021 versus 2015 (a $70.68 difference).33 So, adjusted only for
such inflation from the year of this testimony (2015)—concerning the high-end of
his typical rate of $450.00 per hour—to the end of 2021, that $450.00 hourly rate
for Mr. Ahmed is $520.68.

*    Charles A. Sturm (class of ’97): Mr. Sturm works in Houston.
His online biography states that he “advises and represents employers, employees
and executives in Houston and throughout Texas.” On October 24, 2017, Judge
Vanessa D. Gilmore ruled that $450.00 per hour was a reasonable hourly rate for
Mr. Sturm’s work in a Houston FLSA case. See Gurule v. Land Guardian, Inc.,
No. 4:15-cv-03487 (Doc. 73) at p. 11 (S.D. Tex. Houston) (“Based upon this

32   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=465

33   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=450


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evidence, as well as the Court’s own experience in the relevant community, case
law and other authorities, the Court finds that $450 per hour is a reasonable
hourly rate for an attorney of Mr. Sturm’s skill and 20 years of experience.”), af-
firmed No. 17-207210 (5th Cir. Dec. 27, 2018). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 8.08% higher in 2021 versus 2017 (a $36.36 differ-
ence).34 So, adjusted only for such inflation from the year of this court ruling
(2017) to the end of 2021, that $450.00 hourly rate for Mr. Strum is $486.36.

*    George R. Gibson (class of ’95): Mr. Gibson works in Houston.
His online biograph notes that he focuses his practice on litigation. In 2012, Mr.
Gibson billed for his work in a Houston employment discrimination case at the
rate of $375.00 per hour. See Patterson v. Houston Indep. Sch. Dist., No 4:11-cv-
01984 (Doc. 106-1) at p. 3 (S.D. Tex. Houston April 18, 2012) (Affidavit of Seth A.
Miller, attaching invoices billed to client: “George R. Gibson’s services cost $350
per hour in 2011 and $375 per hour in 2012”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 23.37% higher in 2021 versus 2012 (a $87.63 differ-
ence).35 So, adjusted only for such inflation from the year of this testimony (2012)
to the end of 2021, that $375.00 hourly rate for Mr. Gibson is $462.63.

*    Trang Tran (class of ’95): Mr. Tran works in Houston. His online
biography notes his practice of law has a “focus on prosecuting claims for wrongful
discharge, discrimination, non-compete, theft of trade secret and breach of con-
tract” and that he has experience prosecuting wage and hour cases. On August
31, 2020, Judge Vanessa D. Gilmore ruled that $450.00 per hour was a reasonable
rate for work Mr. Tran did in a Houston FLSA case. See Vinasco v. Swissport
Cargo Services, LP, No. 4:18-cv-01902 (Doc. 103) at pp. 5–6 (S.D. Tex. Houston)
(“Accordingly, pursuant to the applicable law, the Court finds that the following
fees, hours and expenses form a reasonable basis for an award of fees and costs
for preparation and trial of this case . . . Trang Q. Tran . . . Rate . . . $450.00”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020 (a $6.91 difference).36 So, adjusted only for such inflation from the
year of this ruling (2020) to the end of 2021, that $450.00 hourly rate for Mr. Tran
is $456.91.




34   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=450

35   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=375

36   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=450

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Classes of the 2000s



 30                  lawyers listed




 $584.89                               average rate




 $514.18                               median rate

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                                      Classes of the 2000s:
                                           The Rates

Peter J.              J. Marshall               Fran                       Lakshmi
Mee                   Horton                    Shuman                     Ramakrishnan
(JD 2009)             (JD 2003)                 (JD 2005)                  (JD 2002)


Edward                Zenobia                   Allan H.                   Richard
Holzwanger            Harris Bivens             Neighbors,                 Schreiber
(JD 2001)             (JD 2008)                 IV (JD 2001)               (JD 2006)


Brian Glenn           Katharine D.              Eric J.                    Christopher
Patterson             David                     Cassidy                    Willett
(JD 2006)             (JD 2004)                 (JD 2001)                  (JD 2009)


Martina E.             Michael A.                Daryl                      Sara C.
Vandenberg             Correll                   Sinkule                    Longtain
(JD 2000)              (JD 2009)                 (JD 2002)                  (JD 2007)


Jamila                 Alfonso                   Clif                       Scot
Mensah                 Kennard, Jr.              Alexander                  Clinton
(JD 2006)              (JD 2002)                 (JD 2008)                  (JD 2004)


Matthew G.             Lauren                    Mike                       DeAndrea C.
Nielsen                C. Fabela                 Seely                      Washington
(JD 2001)              (JD 2008)                 (JD 2007)                  (JD 2009)


William J.             Nickolas G.               Nehal S.
Moore                  Spiliotis                 Anand
(JD 2005)              (JD 2001)                 (JD 2009)


Fazila                 Austin                    Aaron
Issa                   Anderson                  Johnson
(JD 2004)              (JD 2003)                 (JD 2008)




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Classes of the 2000s:
     The Work

  *    Peter J. Mee (class of ’09): Mr. Mee works in Boston. His online
  biography states that he “practices transactional labor and employment law by
  assisting clients on national and international corporate transactions, negotiating
  and drafting complex employment agreements, onboarding executives, conduct-
  ing reductions-in-force, and managing executive separations.” In 2020, his firm
  billed his time at a rate of $1,165.00 per hour in a Houston bankruptcy case—for
  work such as “Review backstop services agreement.” See In re: Hornbeck Offshore
  Servs., Inc., No. 20-32679 (Doc. 269) at pp. 54, 85, 99 (Bankr. S.D. Tex. Houston)
  (Summary Cover Sheet to the First and Final Fee Application of Kirkland & Ellis
  LLP and Kirkland & Ellis International LLP, Attorneys for the Debtors and Debt-
  ors in Possession, for the Period from May 19, 2020 through and including June
  19, 2020). On August 11, 2020, Judge David R. Jones approved the request for
  fees. See id. (Doc. 282). According to the Consumer Price Index for legal services
  as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
  are 1.53% higher in 2021 versus 2020 (a $17.88 difference).1 So, adjusted only for
  such inflation from the year of this billing and ruling (2020) to the end of 2021,
  that $1,165.00 hourly rate for Mr. Mee is $1,182.88.

  *    Edward Holzwanger (class of ’01): Mr. Holzwanger works in
  Washington D.C. His online biography states that he “concentrates on labor and
  employment counseling, with an emphasis on labor and employment matters aris-
  ing in all types of corporate transactions.” In 2017, his firm billed his time at a
  rate of $1,015.00 per hour in a Houston bankruptcy case—for work such as “Cor-
  respond with B. Winger re collective bargaining agreements,” “Review and ana-
  lyze collective bargaining agreements,” “correspond with K&E team re benefit is-
  sues,” “Telephone conference with client and union re information request,” and
  “Correspond with K&E team re pension plan replacement (multiple).” See In re:
  Genon Energy, Inc., No. 17-33695 (Doc. 1273) at pp. 2, 176, 179, 180, 421, 423,
  431, 520, 544, 546, 753, 792 (Bankr. S.D. Tex. Houston) (First Interim Fee Appli-
  cation of Kirkland & Ellis LLP and Kirkland & Ellis International LLP, Attorneys
  for the Debtors and Debtors in Possession, for the Period from June 14, 2017
  through and including September 30, 2017). On January 12, 2018, Judge David

  1   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1165


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R. Jones approved the request for fees. See id. (Doc. 1317). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 8.08% higher in 2021 versus 2017 (an
$82.02 difference).2 So, adjusted only for such inflation from the year of this billing
(2017) to the end of 2021, that $1,015.00 hourly rate for Mr. Holzwanger is
$1,097.02.

*   Brian Glenn Patterson (class of ’06): Mr. Patterson works in
Houston. His online biography states that he “[r]epresents employers in all types
of employment-related matters, including litigation.” His firm billed his time in a
Houston bankruptcy case—for work in 2019 such as “Review FLSA suit docket,”
“Review of pleadings in pending labor suit,” “Attend to issues re: pending FLSA
matters,” “Analyze disclosure issues in connection with FLSA matters,” “Revise
discovery responses,” “Review status of pending FLSA matter,” “Review and re-
vise draft workforce HSE manual,” “Revise master services agreement provisions
re EPLI coverage,” and “Draft correspondence to Debtors re HSE manual, con-
tractor training, and employment policy issues.” See In re: Sanchez Energy Corp.,
No. 19-34508 (Doc. 1426) at Exhibit B, pp. 83, 200, 289 and Exhibit B-2, p. 62
(Bankr. S.D. Tex. Houston) (Second Interim and Final Fee Application of Akin
Gump Strauss Hauer & Feld LLP for Allowance and Payment of Fees and Ex-
penses as Counsel to the Debtors for the Period from December 1, 2019 through
March 27, 2020). His hourly rate listed for 2020 is $1,035.00—and his hourly rate
listed for 2019 is $945.00. See id. at Exhibit B-2, p. 62. On July 8, 2020, Judge
Marvin Isgur approved the request for fees. See id. (Doc. 1521). On February 24,
2016, Mr. Patterson submitted his affidavit in a Houston employment discrimi-
nation case in which his client sought sanctions. See Bautista-Avellaneda v. Mad-
ison Resource Funding Corp., No. 2014-64411 (151st Judicial District Court for
Harris County, Texas) (Affidavit of Brian Patterson attached as Exhibit 12 to De-
fendants’ Second Motion to Dismiss with Prejudice and for Monetary Sanctions).
Attached to Mr. Patterson’s affidavit is his law firm invoice dated April 15, 2015,
which states that his hourly rate at that time for work actually billed in that case
was $675.00 per hour. See id. at p. 5 (for “review of docket control order”). Accord-
ing to the Consumer Price Index for legal services as generated by the U.S. Bureau
of Labor Statistics, the prices for legal services are 1.53% higher in 2021 versus
2020 (a $15.89 difference).3 So, adjusted only for such inflation from the year of
this most-recently stated rate—the one for 2020—to the end of 2021, that
$1,035.00 hourly rate for Mr. Patterson is $1,050.89.




2   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=1015

3   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1035


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*   Martina E. Vandenberg (class of ’00): Ms. Vandenberg woks
in Washington D.C. Her online biography notes that she works with the Human
Trafficking Legal Center. Though Ms. Vandenberg is based in Washington, D.C.,
On November 30, 2017, Judge Keith P. Ellison determined Ms. Vandenberg’s re-
quested rate of $745.00 per hour was “fair and reasonable” for work she did in a
Houston human trafficking [i.e., forced labor] case. Adhikari v. Daoud & Partners,
No. 4:09-CV-1237 (Doc. 764) at pp. 28–29 (S.D. Tex. Houston) (“The requested
rates, in descending order, are as follows: . . . $745 for Fryszman and Vandenberg;
. . . The requested rates are fair and reasonable here too.”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 8.08% higher in 2021 versus 2017 (a
$60.20 difference).4 So, adjusted only for such inflation from the year of Judge
Ellison’s determination to the end of 2021, that $745.00 hourly rate for Ms. Van-
denberg is $805.20.

*   Jamila Mensah (class of ’06): Ms. Mensah works in Houston.
Her online biography states that “[h]er practice covers all areas of employment
law, including extensive experience in discrimination, retaliation and wage and
hour issues.” In 2020, Ms. Mensah’s law firm billed her time for work at the rate
of $780.00 per hour in a Houston defamation/tortious interference case by a for-
mer employee against a former employer. See Nath v. Baylor College of Medicine,
No. 2019-85080 (269th Judicial District Court for Harris County, Texas) (Decla-
ration of Shauna J. Clark attached as Exhibit A to Defendant Baylor College of
Medicine’s Application for Attorneys’ Fees, filed on June 30, 2020 at Tab 2, p. 4)
(“Mensah, J . . . Rate . . . 780.00). According to the Consumer Price Index for legal
services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
services are 1.53% higher in 2021 versus 2020 (an $11.97 difference).5 So, adjusted
only for such inflation from the year of this billing to the end of 2021, that $780.00
hourly rate for Ms. Mensah is $791.97.

*   Matthew G. Nielsen (class of ’01): Mr. Nielsen works in Dallas.
His online biography states that he “represents companies, boards, executives,
and securities firms and professionals in internal and government investigations
and litigation involving civil and criminal misconduct.” On October 24, 2016,
Judge Lynn Hughes awarded Mr. Nielsen’s firm for work Mr. Nielsen did in a
Houston ERISA severance benefits case. See Langley v. Howard Hughes Mgmt.
Co., Inc., Civil Action No. H-13-3595 (Docs. 27 & 28) (S.D. Tex. Houston) (granting
fees requested in motion (Doc. 22)). Mr. John McDowell’s affidavit in that matter,
with bills attached, show Mr. Nielsen was billing his client at the rate of $630.00

4   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=745

5   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=780


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per hour in the year 2014 for work in that case. See id. (Doc. 22-1) at p. 33 (bill
showing time billed on February 28, 2014, invoice was $14,679.00 for 23.30 hours
which equals a per-hour rate of $630.00, for work such as “Attention to finalizing
answer and filing same” and “Attention to scheduling initial conference with
court”). See id. at pp. 30–31. The award of fees itself was reversed on other
grounds in Langley v. Howard Hughes Mgmt. Co., L.L.C., No. 16-20724 (5th Cir.
June 1, 2017). According to the Consumer Price Index for legal services as gener-
ated by the U.S. Bureau of Labor Statistics, the prices for legal services are
17.55% higher in 2021 versus 2014 (a $110.55 difference).6 So, adjusted only for
such inflation from the year of this billing (2014) to the end of 2021, that $630.00
hourly rate for Mr. Nielsen is $740.55.

*   William J. Moore (class of ’05): Mr. Moore works in Dallas and
his online biography states that he is a trial lawyer. On February 2, 2017, Judge
Elaine Palmer awarded fees for work Mr. Moore did in a Houston employment
discrimination case—traveling to Houston over a discovery dispute. See Hunter v.
TPC Group, LLC, 2016-16617 (215th Judicial District Court for Harris County,
Texas) (Order signed February 2, 2017: “ORDERED AND ADJUDGED that
Plaintiff pay the attorneys’ fees and expenses incurred in connection with re-
sponding to this Motion to Compel in the amount of $5,356.88”). In its January
31, 2017, request for fees, Mr. Moore’s firm noted that his billing rate is $650.00
per hour. See id. (Defendants’ Supplement to their Response to Plaintiff’s Motion
to Compel and for In Camera Inspection at p. 4, n. 4: “Defendants’ counsel, Wil-
liam Moore’s (partner) billing rate is $650 per hour.”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 8.08% higher in 2021 versus 2017 (a $52.52 differ-
ence).7 So, adjusted only for such inflation from the year of this billing (2017) to
the end of 2021, that $650.00 hourly rate for Mr. Moore is $702.52.

*   Fazila Issa (class of ’04): Ms. Issa works in Houston. Her online
biography states that she “represents and counsels corporate management in a
variety of industry sectors in all aspects of labor and employment law, including
representation before administrative agencies and litigation in state and federal
courts.” On June 26, 2019, in a Houston employment discrimination case and
ERISA benefits case, Judge Kenneth M. Hoyt determined the fees Ms. Issa’s firm
sought for her work on the ERISA claims were reasonable. See Gonzales v. Cono-
coPhillips Co., No. 4:17-cv-2374 (Doc. 108) (S.D. Tex. Houston) (ruling fee re-
quested in Doc. 94 reasonable: “The Court is of the opinion that the fees and costs
sought are reasonable.”). Those fees actually billed to a client included Ms. Issa’s


6   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=630

7   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=650


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rate of $640.00 per hour on an invoice dated September 27, 2018, for work such
as “Review and finalize defendant’s expert designation,” “Review and finalize de-
fendant’s supplemental document production,” and “Review and analyze plain-
tiff’s second request for production and email communications with K. Jones and
L. Knox.” See id. (Doc. 94-3) at pp. 27–29. According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 3.64% higher in 2021 versus 2018 (a $23.27 difference).8 So,
adjusted only for such inflation from the year of this billing (2018) to the end of
2021, that $640.00 hourly rate for Ms. Issa is $663.27.

*   J. Marshall Horton (class of ’03): Mr. Horton works in Houston.
His online biography states that he “focuses his practice on representing employ-
ers . . . .” On October 24, 2016, Judge Lynn Hughes awarded Mr. Horton’s firm for
work Mr. Horton did in a Houston ERISA severance benefits case. See Langley v.
Howard Hughes Mgmt. Co., Civil Action No. H-13-3595 (Docs. 27 & 28) (S.D. Tex.
Houston) (granting fees requested in motion (Doc. 22)). Mr. John McDowell’s affi-
davit in that matter, with bills attached, show Mr. Horton was billing his client
at the rate of $540.00 per hour in the year 2014 for work in that case. See id. (Doc.
22-1) at p. 33 (bill showing time billed on February 28, 2014, invoice was
$40,176.00 for 74.40 hours which equals a per-hour rate of $540.00, for work such
as conducting research and drafting documents). See id. at pp. 29–33. The award
of fees itself was reversed on other grounds in Langley v. Howard Hughes Mgmt.
Co., Civil Action No. 16-20724 (5th Cir. June 1, 2017). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 17.55% higher in 2021 versus 2014—a $94.76 dif-
ference from the year of that billing.9 So, adjusted only for such inflation from the
year of that billing (2014) to the end of 2021, that $540.00 hourly rate for Mr.
Horton is $634.76.

*   Zenobia Harris Bivens (class of ’08): Ms. Bivens worked in
Houston. Her online biography noted that she focused her practice on business
litigation. On September 13, 2019, Judge Nancy F. Atlas awarded Ms. Bivens a
requested rate of $600.00 per hour for Ms. Bivens’s work in a Houston False
Claims Act employment retaliation case. See Miniex v. Houston Housing Auth.,
No. 4:17-cv-00624 (Doc. 277) at p. 8 (S.D. Tex. Houston) (“The Court concludes
Bivens’s ($600), Mery’s ($450), Hurta’s ($325), and Thornton’s ($375) requested
rates are reasonable for this case.”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for



8   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=640

9   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=540


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legal services are 2.64% higher in 2021 versus 2019 (a $15.84 difference).10 So,
adjusted only for such inflation from the year of this court ruling (2019) to the end
of 2021, that $600.00 hourly rate for Ms. Bivens’s work in 2019 would be $615.84.

*    Katharine D. David (class of ’04): Ms. David works in Houston
as a public law attorney. On November 20, 2013, Judge Lynn N. Hughes awarded
fees for time Ms. David worked on a First Amendment/constitutional free speech
firing and employment retaliation case. See Culbertson v. Lykos, No. 4:12-cv-
03644 (Doc. 69) (S.D. Tex. Houston) (granting fees requested in Doc. 45: “Rachel
Palmer takes, jointly and severally, $82,101.00 in reasonable attorney’s fees from
Amanda Culbertson and Jorge Wong”), reversed on other grounds 790 F.3d 608
(5th Cir. 2015). The fee request included Ms. David’s September 12, 2013, affida-
vit, which noted the fees actually incurred by her client in the lawsuit included
her work at her hourly rate of $500.00. See id. (Doc. 45-1) at p. 2–3, ¶¶ 5 & 8
(Declaration of Katherine D. David attached as Exhibit A to Rachel Palmer’s Mo-
tion for an Award of Court Costs, Reasonable Attorney’s Fees and Other Ex-
penses: “Based on the hourly rates and total number of hours billed, Gardere has
charges of $82,101.00 for the legal services and expenses it has rendered to defend
Rachel Palmer since May 1, 2013. . . . The current hourly rates of the aforemen-
tioned attorneys are as follows: . . . Kate David - $500.”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 20.06% higher in 2021 versus 2013 (a
$100.32 difference).11 So, adjusted only for such inflation from the year of Judge
Hughes’s ruling to the end of 2021, that $500.00 hourly rate for Ms. David is
$600.32.

*    Michael A. Correll (class of ’09): Mr. Correll works in Dallas.
His online biography states that he “represents employers involved in a variety of
employment litigation matters, including defending employers against claims of
discrimination, harassment, retaliation, and wrongful discharge.” His law firm
billed $550.00 per hour for his work in 2019 on a Houston employment commis-
sions case. See Trippie v. Workplace Solutions Inc., No. 201984986 (281st Judicial
District Court for Harris County, Texas) (Defendant’s Trial Exhibit 17, Bates
Stamp No. WPS000948, for trial held April 1, 2021, Invoice 1/23/20 for work in
2019: “Michael A. Correll . . . Rate . . . 550.00 / hr”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 2.64% higher in 2021 versus 2019 (a $14.52




10   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=600

11   https://www.officialdata.org/Legal-services/price-inflation/2013-to-2021?amount=500


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difference).12 So, adjusted only for such inflation from the year of this billing to
the end of 2021, that $550.00 hourly rate for Mr. Correll is $564.52.

*    Alfonso Kennard, Jr. (class of ’02): Mr. Kennard works in
Houston. His online biography states that his area of practice is “100% Labor and
Employment.” On August 1, 2014, Magistrate Judge Nancy K. Johnson awarded
Mr. Kennard discovery sanctions for his work in a Houston FLSA case and, in
doing so, approved of his requested hourly rate of $475.00. See Magdaleno v. PCM
Constr. Servs., LLC, No. 4:12-cv-02862 (Doc. 109) at pp. 9–10 (S.D. Tex. Houston)
(“Kennard stated that his billing rate is $475 per hour, . . . In the absence of evi-
dence challenging these hourly rates, the court assumes that the requested rates
are reasonable.”). On September 12, 2014, Judge Sim Lake ordered defendants
pay these sanctions. See id. (Doc. 116). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 17.44% higher in 2021 versus 2014 (an $83.35 difference).13 So,
adjusted only for such inflation from the year of these court rulings to the end of
2021, that $475.00 hourly rate for Mr. Kennard is $558.35.

*    Lauren Chapman Fabela (class of ’08): Ms. Chapman works
in Houston. Her online biography notes that she “practices primarily in the area
of business litigation.” On October 24, 2016, Judge Lynn Hughes awarded Ms.
Chapman’s firm for work Ms. Chapman did in a Houston ERISA severance bene-
fits case. See Langley v. Howard Hughes Mgmt. Co., Inc., Civil Action No. H-13-
3595 (Docs. 27 & 28) (S.D. Tex. Houston) (granting fees requested in motion (Doc.
22)). Mr. John McDowell’s affidavit in that matter, with bills attached, show Ms.
Chapman’s firm was billing its client at the rate of $465.00 per hour in the year
2014 for work in that case. See id. (Doc. 22-1) at pp. 26–27 (time billed on January
31, 2014, invoice was $1,069.50 for 2.30 hours which equals a per-hour rate of
$465.00, for work such as “Analyze . . . organize and review proposed administra-
tive record”). See id. at p. 26. The award of fees itself was reversed on other
grounds in Langley v. Howard Hughes Mgmt. Co., L.L.C., No. 16-20724 (5th Cir.
June 1, 2017). According to the Consumer Price Index for legal services as gener-
ated by the U.S. Bureau of Labor Statistics, the prices for legal services are
17.55% higher in 2021 versus 2014 (an $81.60 difference).14 So, adjusted only for
such inflation from the year of this billing (2014) to the end of 2021, that $465.00
hourly rate for Ms. Fabela is $546.60.



12   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=550

13   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=475

14   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=465


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*    Nickolas G. Spiliotis (class of ’01): Mr. Spiliotis works in Hou-
ston. His online biography states he is a partner in his law firm’s “labor, employ-
ment and workplace safety practice group.” On August 5, 2015, in a Corpus
Christi employment discrimination and retaliation case, his law firm noted that
his standard rate per hour was $450.00—though there was a lower negotiated
effective rate per hour in that case. See Arredondo v. Weatherford Int’l, LLC, No.
2:14-cv-00170 (Doc. 89) at p. 1 (S.D. Tex. Corpus Christi) (Summary of Attorney
Fees and Expenses: “Nickolas Spiliotis . . . STANDARD RATE PER HOUR . . .
450”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 15.71% higher
in 2021 versus 2015 (a $70.68 difference).15 So, adjusted only for such inflation
from the year of this stated rate (2015) to the end of 2021, that $450.00 hourly
rate for Mr. Spiliotis is $520.68.

*    Austin Anderson (class of ’03): Mr. Anderson works in Corpus
Christi. His online biography states that he “focuses the majority of his time on
large scale wage and hour litigation under the Fair Labor Standards Act.” On
January 27, 2020, Judge Nelva Gonzales Ramos found Mr. Anderson’s hourly rate
of $500.00 per hour was reasonable for his work in a Corpus Christi FLSA case.
See Vela v. M&G USA Corp., No. 2:17-cv-13 (Doc. 66) at p. 7–8 (S.D. Tex. Corpus
Christi) (“Plaintiff’s request for attorneys’ fees is based on the work of . . . Clif
Alexander (37 hours at $450 per hour); Austin Anderson (29 hours at $500 per
hour); Lauren Braddy (18 hours at $400 per hour); . . . Plaintiff requests hourly
rates ranging from $400 to $500 for the three attorneys working on this case. The
Court finds these are reasonable rates.”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 1.53% higher in 2021 versus 2020 (a $7.67 difference).16 So,
adjusted only for such inflation from the year of this ruling (2020) to the end of
2021, that $500.00 hourly rate for Mr. Anderson is $507.67.

*    Fran Shuman (class of ’05): Ms. Shuman, formerly Fran Robin-
Kantor Aden, works in Houston. Her online biography notes her practice areas
included labor and employment law. On August 27, 2015, Ms. Shuman’s client
sought an award of attorneys’ fees at the rate of $425.00 per hour for Ms. Shu-
man’s time in a Houston employment non-compete and commissions declaratory
judgment case—for work such “Review and analyze employment agreements and
demand letters to prepare strategy for summary judgment motion” and “Review
and analyze clients documents to obtain factual support for summary judgment
motion that plaintiffs were fired for cause.” See Goddard v. Total Safety U.S., Inc.,

15   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=450

16   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=500


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No. 2015-04385 (11th Judicial District Court for Harris County, Texas) (Defend-
ant Total Safety U.S. Inc.’s Motion for Determination Under Epps v. Fowler and
Award of Attorney’s Fees Under Declaratory Judgment Act at pp. 11-12 and Ex-
hibit E: “Total Safety requests an award of reasonable and necessary attorney’s
fees in the amount of $21,817.50, which is a mere fraction of the total fees it in-
curred to defend Goddard’s claims.” . . . “[Ms. Shuman’s law firm, Hick Thomas
LLC] billed Ms. Aden’s time at $425.00 per hour.”). The Court denied the request
for fees altogether. See id. (Order Denying Defendant’s Motion for Fees Under the
Declaratory Judgment Act dated September 22, 2015). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 15.71% higher in 2021 versus 2015 (a $66.76 dif-
ference).17 So, adjusted only for such inflation from the year of this billing rate
(2015) to the end of 2021, that $425.00 hourly rate for Ms. Shuman is $491.76.

*    Allan H. Neighbors, IV (class of ’01): Mr. Neighbors works
in Houston. His online biography states that he “spends the majority of his time
advising, counseling, and training employers on strategies and practices to protect
confidential information and trade secrets, guard against unfair competition, and
manage litigation risks.” In 2017, he billed his time at the rate of $445.00 per hour
for his work in a Houston misappropriation of trade secrets case against former
employees of a company. See Quantlab Technologies Ltd. v. Godlevsky, No. 4:09-
cv-04039 (Doc. 884) at pp. 6–7, ¶ 19 (S.D. Tex. Houston) (Affidavit of Tim McIn-
turf: “In fact, SKV and Littler have charged less to handle this matter than they
often charge clients for similar matters . . . Littler’s rates for its principal time-
keepers increased incrementally by year as follows . . . Allan Neighbors . . . 2017
. . . $445”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 8.08%
higher in 2021 versus 2017—an $35.96 difference from the year of that billed
$445.00 hourly rate.18 So, adjusted only for such inflation from the year that rate
was billed (2017) to the end of 2021, that $445.00 hourly rate for Mr. Neighbors
is $480.96.

*    Eric J. Cassidy (class of ’01): Mr. Cassidy works in Houston as a
litigator. During 2011, he billed at a rate of $375.00 per hour in a Houston em-
ployment agreement case. See Renewable Energy Group, Inc. v. Dascal, No. 2011-
51111 (190th Judicial District Court for Harris County, Texas) (Affidavit of Eric
J. Cassidy at ¶ 8 and attached bills marked Defendant’s Trial Exhibit 83 filed on
December 23, 2011: “Sabine and Endicott agreed to compensate this firm based
on an hourly fee rate. My hourly rate is $375.00 per hour.”). According to the


17   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=425

18   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=445


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Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 25.87% higher in 2021 versus 2011 (a
$97.02 difference).19 So, adjusted only for such inflation from the year of this bill-
ing (2011) to the end of 2021, that $375.00 hourly rate for Mr. Cassidy is $472.02.

*    Daryl J. Sinkule (class of ’02): Mr. Sinkule currently works in
Dallas but previously worked in Houston. His online biography states: “I focus my
law practice on employment law civil litigation in state and federal courts and in
administrative proceedings.” On November 21, 2018, Magistrate Judge Christina
A. Bryan determined $450.00 was a reasonable hourly rate for Mr. Sinkule’s work
in a Houston FLSA case. See Novick v. Shipcom Wireless, Inc., No. 4:16-cv-00730
(Doc. 100) at p. 6 (S.D. Tex. Houston) (“Based on the above, the court concludes
that $450 is a reasonable hourly rate for the serviced provided by Daryl Sinkule[.]
. . .”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 3.64% higher
in 2021 versus 2018 (a $16.36 difference).20 So, adjusted only for such inflation
from the year of this ruling (2018) to the end of 2021, that $450.00 hourly rate for
Mr. Sinkule is $466.36.

*    Clif Alexander (class of ’08): Mr. Alexander works in Corpus
Christi. His online biography states that his “practice focuses on pursuing wage
and hour violations on behalf of employees across the United States in individual
and large scale collective/class actions under the Fair Labor Standards Act.” On
January 27, 2020, Judge Nelva Gonzales Ramos found Mr. Alexander’s hourly
rate of $450.00 per hour was reasonable for his work in a Corpus Christi FLSA
case. See Vela v. M&G USA Corp., No. 2:17-cv-13 (Doc. 66) at p. 7–8 (S.D. Tex.
Corpus Christi) (“Plaintiff’s request for attorneys’ fees is based on the work of . . .
Clif Alexander (37 hours at $450 per hour); Austin Anderson (29 hours at $500
per hour); Lauren Braddy (18 hours at $400 per hour); . . . Plaintiff requests hourly
rates ranging from $400 to $500 for the three attorneys working on this case. The
Court finds these are reasonable rates.”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 1.53% higher in 2021 versus 2020 (a $6.91 difference).21 So,
adjusted only for such inflation from the year of this ruling (2020) to the end of
2021, that $450.00 hourly rate for Mr. Alexander is $456.91.




19   https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=375

20   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=450

21   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=450


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*    Mike Seely (class of ’07): Mr. Seely works in Houston. His online
biography states that he is a trial lawyer. On November 20, 2013, Judge Lynn N.
Hughes awarded fees for time Mr. Seely worked on a First Amendment/constitu-
tional free speech firing and employment retaliation case. See Culbertson v. Lykos,
No. 4:12-cv-03644 (Doc. 69) (S.D. Tex. Houston) (granting fees requested in Doc.
45: “Rachel Palmer takes, jointly and severally, $82,101.00 in reasonable attor-
ney’s fees from Amanda Culbertson and Jorge Wong”), reversed on other grounds
790 F.3d 608 (5th Cir. 2015). The fees requested were based, in part, on September
12, 2013, testimony about Mr. Seely’s rate of $380.00 per hour for his work on the
case. See id. (Doc. 45-1) at p. 2–3, ¶¶ 5 & 8 (Declaration of Katherine D. David
attached as Exhibit A to Rachel Palmer’s Motion for an Award of Court Costs,
Reasonable Attorney’s Fees and Other Expenses: “Based on the hourly rates and
total number of hours billed, Gardere has charges of $82,101.00 for the legal ser-
vices and expenses it has rendered to defend Rachel Palmer since May 1, 2013. . .
. The current hourly rates of the aforementioned attorneys are as follows: . . . Mike
Seely - $380 . . . .”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
20.06% higher in 2021 versus 2013 (a $76.24 difference).22 So, adjusted only for
such inflation from the year of Judge Hughes’s ruling to the end of 2021, that
$380.00 hourly rate for Mr. Seely is $456.24.

*    Nehal S. Anand (class of ’09): Ms. Anand works in Houston. Her
online biography states that she “advises and represents employers in a broad
range of employment law matters arising under federal and state laws, . . . .” On
July 20, 2020, in response to an offer to reimburse for an hour of time in a Houston
employment discrimination case, Singhal v. Baylor College of Medicine, No. 4:19-
cv-01362 (S.D. Tex. Houston), Ms. Anand noted in an email that her hourly rate
for work in that case is $440.00 per hour: “Nitin, my hourly rate for this case is
$440.” According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 1.53% higher
in 2021 versus 2020 (a $6.75 difference).23 So, adjusted only for such inflation from
the year of this representation to the end of 2021, that $440.00 hourly rate for Ms.
Anand is $446.75.

*    Aaron Johnson (class of ’08): Mr. Johnson works in Austin where
he represents low-income workers. On September 24, 2019, Judge Nancy F. Atlas
found that $405.00 per hour was a reasonable hourly rate for Mr. Johnson’s work
in a Houston FLSA case. See Chavez v. Shahini Corp., No. 4:19-cv-02324 (Doc. 9)
at pp. 1–2, ¶ 5 (S.D. Tex. Houston) (“The court finds that the following hourly

22   https://www.officialdata.org/Legal-services/price-inflation/2013-to-2021?amount=380

23   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=440


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rates requested by Plaintiff are reasonable based on the market rates in the com-
munity for legal services on employment cases such as this . . . Aaron Johnson,
Attorney licensed 2008: $405/hour”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 2.64% higher in 2021 versus 2019 (a $10.69 difference).24 So,
adjusted only for such inflation from the year of this judicial finding to the end of
2021, that $405.00 hourly rate for Mr. Johnson is $415.69.

*    Lakshmi Ramakrishnan (class of ’02): Ms. Ramakrishnan
works in Houston. Her online biography states that she “represent[s] employees—
low-income agricultural workers and other employees involved in workplace dis-
putes.” On August 1, 2014, Magistrate Judge Nancy K. Johnson awarded Ms. Ra-
makrishnan’s prior law firm discovery sanctions in a Houston FLSA case and, in
doing so, approved of the requested hourly rate of $350.00 for her work. See Mag-
daleno v. PCM Constr. Servs., LLC, No. 4:12-cv-02862 (Doc. 109) at pp. 9–10 (S.D.
Tex. Houston) (“Kennard stated that his billing rate is $475 per hour, the billing
rate for his senior associate Lakshmi Ramakrishnan (‘Ramakrishnan’) is $350 per
hour . . . In the absence of evidence challenging these hourly rates, the court as-
sumes that the requested rates are reasonable.”). On September 12, 2014, Judge
Sim Lake then ordered defendants to pay these sanctions. See id. (Doc. 116) (Or-
der Granting Plaintiff’s Unopposed Motion to Enforce). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 17.55% higher in 2021 versus 2014 (a
$61.42 difference).25 So, adjusted only for such inflation from the year of these
court rulings to the end of 2021, that $350.00 hourly rate for Ms. Ramakrishnan
is $411.42.

*    Richard Schreiber (class of ’06): Mr. Schreiber works in Hou-
ston. On March 18, 2020, Judge Hilda Tagle determined that $400.00 per hour
was reasonable for his work in a Corpus Christi FLSA case. See Herrera v.
Brigham Resources, Inc., No. 2:17-CV-309 (Doc. 33) at pp. 10–11 (S.D. Tex. Corpus
Christi) (“Given each attorney’s experience and the cited caselaw, the Court de-
termines that the following hourly rates are reasonable for each attorney: . . . $400
for Schreiber . . .”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
1.53% higher in 2021 versus 2020 (a $6.14 difference).26 So, adjusted only for such
inflation from the year of this court ruling (2020) to the end of 2021, that $400.00
hourly rate for Ms. Schreiber is $406.14.

24   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=405

25   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=350

26   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=400


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*    Christopher Willett (class of ’09): Mr. Willett works in Austin.
His State Bar of Texas profile lists only “Labor-Employment” as his practice area.
On September 24, 2019, Judge Nancy F. Atlas found that $390.00 per hour was a
reasonable hourly rate for Mr. Willett’s work in a Houston FLSA case. See Chavez
v. Shahini Corp., No. 4:19-cv-02324 (Doc. 9) at pp. 1–2, ¶ 5 (S.D. Tex. Houston)
(“The court finds that the following hourly rates requested by Plaintiff are reason-
able based on the market rates in the community for legal services on employment
cases such as this . . . Christopher Willett, Attorney licensed 2009: $390/hour”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 2.64% higher in 2021
versus 2019 (a $10.29 difference).27 So, adjusted only for such inflation from the
year of this judicial finding to the end of 2021, that $390.00 hourly rate for Mr.
Willett is $400.29.

*    Sara C. Longtain (class of ’07): Ms. Longtain works in Houston.
Her online biography states that she “is an advocate for employers providing stra-
tegic, business-focused advice and legal representation in a full spectrum of em-
ployee-related matters, . . . .” On December 22, 2011, her law firm charged $290.00
per hour for her work in a Houston employment agreement/non-compete case. See
Renewable Energy Group, Inc. v. Dascal, No. 2011-51111 (190th Judicial District
Court for Harris County, Texas) (Affidavit of Scott K. Davidson in Support of At-
torney’s Fees at p. 1, ¶ 3: “I prosecuted this case in accordance with an hourly fee
agreement entered into between Renewable Energy Group, Inc. and Locke Lord
LLP. My firm charged Renewable Energy Group, Inc. . . . $290.00 per hour for the
work of Sara Longtain, an associate with my firm.”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 25.87% higher in 2021 versus 2011 (a $75.03 dif-
ference).28 So, adjusted only for such inflation from the year of this billing (2011)
to the end of 2021, that $290.00 hourly rate for Ms. Longtain is $365.03.

*    Scot Clinton (class of ’04): Mr. Clinton works in Houston. His
online biography states that he “represents clients in a variety of real estate, con-
struction, business and commercial litigation matters.” On October 6, 2016, Judge
Gray H. Miller ruled that $325.00 per hour was a reasonable rate for his work in
an employment retaliation case. See Thatcher v. Oakbend Med. Ctr., Civil Action
No. H-14-3551 (Doc. 71) at p. 14 (S.D. Tex. Houston) (“The invoiced $325 per hour
for Clinton’s legal work is a reasonable rate.”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the

27   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=390

28   https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=290


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prices for legal services are 11.93% higher in 2021 versus 2016 (a $38.77 differ-
ence).29 So, adjusted only for such inflation from the year of this ruling (2016) to
the end of 2021, that $325.00 hourly rate for Mr. Clinton is $363.77.

*    DeAndrea C. Washington (class of ’09): Ms. Washington
works in Houston. Her online biography states that she “focuses her practice on a
variety of labor employment litigation matters.” On October 29, 2013, in a Hou-
ston employment discrimination case, Teresa Valderrama testified that Ms.
Washington’s hourly rate was $275.00. See Anderson v. Houston Community Col-
lege, No. 2012-40596 (334th Judicial District Court for Harris County, Texas) (Af-
fidavit of Teresa S. Valderrama at p. 2, ¶5: “Her hourly rate is $275” though in
that matter there was a lower specially negotiated rate). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 20.06% higher in 2021 versus 2013 (a
$55.18 difference).30 So, adjusted only for such inflation from the year of this tes-
timony to the end of 2021, that $275.00 hourly rate for Ms. Washington is $330.18.




29   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=325

30   https://www.officialdata.org/Legal-services/price-inflation/2013-to-2021?amount=275


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Classes of the 2010s



 36                  lawyers listed




 $505.47                               average rate




 $412.89                               median rate




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                                         Classes of the 2010s:
                                              The Rates

     Bryan M.              Charles M.               Evan D.                   Samantha
     O’Keefe               Rosson                   Lewis                     D. Seaton
     (JD 2011)             (JD 2010)                (JD 2019)                 (JD 2013)


     Michael A.            Christopher              Lindsay                  Caitlin
     Schulman              R. Williams              Itkin                    Boehne
     (JD 2011)             (JD 2016)                (JD 2010)                (JD 2012)


     Joshua K.             Vickie                   Lauren                   Jay
     Sekoski               Mery                     Braddy                   Forester
     (JD 2012)             (JD 2012)                (JD 2010)                (JD 2013)


     Courtney L.           Liane                    Alysson                  Brenna R.
     Stahl                 Noble                    Ford Ouoba               Lermon
     (JD 2013)             (JD 2011)                (JD 2011)                (JD 2014)


     Scott L.              Michael                  Britney J. P.            Genevieve
     Friedman              Reed                     Prince                   Estrada
     (JD 2013)             (JD 2012)                (JD 2015)                (JD 2013)


     Katherine A.          Benjamin D.              Michael J.              Michael
     Brooker               Williams                 Woodson                 Adams-
     (JD 2012)             (JD 2010)                (JD 2012)             Hurta (JD 2015)


     Wes                   Curtis                   E. Steve                 Vijay
     Benter                Waldo                    Smith                    Pattisapu
     (JD 2018)             (JD 2010)                (JD 2015)                (JD 2011)


      Emery                Andrew                   Angeles                  Dorian
      Gullickson           Dunlap                   Garcia                   Vandenberg-
Richards (JD 2014)         (JD 2011)             Cassin (JD 2013)         Rodes (JD 2013)


     Caitlin E.            Matt                     Amanda E.                Ben
     Gernert               Heller                   Brown                    Michael
     (JD 2014)             (JD 2016)                (JD 2013)                (JD 2013)



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Classes of the 2010s:
     The Work

  *   Bryan M. O’Keefe (class of ’11): Mr. O’Keefe works in Washing-
  ton D.C. His online biography states that he is a member of his law firm’s “Labor
  & Employment Department.” In 2019, his prior law firm billed his time at the rate
  of $1,055.00 per hour in a Houston bankruptcy case—for work such as: “Corre-
  spond with K&E Corporate team re potential WARN Act implications” and “re-
  view and analyze case law research on constructive discharge triggering WARN
  Act.” See In re: Westmoreland Coal Co., No. 18-35672 (Doc. 2165) at pp. 82, 693
  (Bankr. S.D. Tex. Houston) (Third Interim and Final Fee Application for the
  WMLP Debtors and the Supplement to the Final Fee Application of the WLB
  Debtors of Kirkland & Ellis LLP and Kirkland & Ellis International LLP Counsel
  to the Debtors: “Bryan M. O’Keefe . . . Department . . . Labor & Employment . . .
  Hourly Rate Billed . . . $1,055.00”). On August 20, 2019, Judge David R. Jones
  approved the request for fees. See id. (Doc. 2278). According to the Consumer Price
  Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
  prices for legal services are 2.64% higher in 2021 versus 2019 (a $27.85 differ-
  ence).1 So, adjusted only for such inflation from the year of this billing and court
  ruling (2019) to the end of 2021, that $1,055.00 hourly rate for Mr. O’Keefe is
  $1,082.85.

  *   Michael A. Schulman (class of ’11): Mr. Schulman works in
  Washington, D.C. His online biography states that he is a member of his firm’s
  “labor and employment practice group.” In 2019, his law firm billed his time at
  the rate of $1,055.00 per hour in a Houston bankruptcy case. See In re: Parker
  Drilling Co., No. 18-36958 (Doc. 528) at pp. 5, 83 (Bankr. S.D. Tex. Houston) (First
  Interim and Final Fee Application of Kirkland & Ellis LLP and Kirkland & Ellis
  International LLP, Attorneys for the Debtors and Debtors in Possession, for the
  Period from December 12, 2018 through and including March 7, 2019: “Michael
  A. Schulman . . . Department . . . Labor & Employment . . . Hourly Rate Billed . .
  . $1,055.00”). On May 29, 2019, Judge Marvin Isgur approved the request for fees.
  See id. (Doc. 537). According to the Consumer Price Index for legal services as
  generated by the U.S. Bureau of Labor Statistics, the prices for legal services are


  1   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=1055


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2.64% higher in 2021 versus 2019 (a $27.85 difference).2 So, adjusted only for such
inflation from the year of this billing and court ruling (2019) to the end of 2021,
that $1,055.00 hourly rate for Mr. Schulman is $1,082.85.

*   Joshua K. Sekoski (class of ’12): Mr. Sekoski works in Wash-
ington, D.C. His online biography states that he “[f]ocuses his practice on la-
bor and employment law and strategic advice for public and private compa-
nies, trade associations and investment funds.” In 2020, his law firm billed his
time at the rate of $910.00 per hour in a Houston bankruptcy case—for work such
as: “Prepare payment scenarios for safety data sheet to assess its compliance with
the Fair Labor Standards Act,” “Correspond with L. O’Donnell of Haynes Boone
re pending FLSA matters,” “Review and analyze workforce reduction issues,”
“Prepare workforce separation agreement template,” “Correspond with A. Blake-
way re employee severance issues,” “Conduct research re potential labor issues,”
and “Conduct research re pending FLSA matters.” See In re: Sanchez Energy
Corp., No. 19-34508 (Doc. 1426) at Exhibits B & B-2, pp. 60, 63, 487–89, 518, 562–
63, 643 (Bankr. S.D. Tex. Houston) (Second Interim and Final Fee Application of
Akin Gump Strauss Hauer & Feld LLP for Allowance and Payment of Fees and
Expenses as Counsel to the Debtors for the Period from December 1, 2019 through
March 27, 2020: “Joshua K. Sekowski . . . Rate . . . $910.00”). On July 28, 2020,
Judge Marvin Isgur approved the request for fees. See id. (Doc. 1521). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 1.53% higher in 2021 versus 2020
(a $13.97 difference).3 So, adjusted only for such inflation from the year of this
billing and court ruling (2020) to the end of 2021, that $910.00 hourly rate for Mr.
Sekoski is $923.97.

*   Courtney L. Stahl (class of ’13): Ms. Stahl works in Houston.
Her online biography states that her “practice covers a wide range of labor and
employment matters, with a particular emphasis on noncompete, trade secret and
other unfair competition disputes.” In 2020, her law firm listed her rate for 2020
as $885.00 per hour in a Houston bankruptcy case. See In re: Sanchez Energy
Corp., No. 19-34508 (Doc. 1426) at Exhibits B & B-2, pp. 63 (Bankr. S.D. Tex.
Houston) (Second Interim and Final Fee Application of Akin Gump Strauss Hauer
& Feld LLP for Allowance and Payment of Fees and Expenses as Counsel to the
Debtors for the Period from December 1, 2019 through March 27, 2020: “Stahl,
Courtney L. . . . Rate . . . $885.00”—which was an $80 increase from her 2019 rate
listed at “$805.00” per hour). On July 28, 2020, Judge Marvin Isgur approved the

2   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=1055

3   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=910


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firm’s request for fees. See id. (Doc. 1521). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 1.53% higher in 2021 versus 2020 (a $13.58 difference).4 So,
adjusted only for such inflation from the year of this stated rate (2020) to the end
of 2021, that $885.00 hourly rate for Ms. Stahl is $898.58.

*   Scott L. Friedman (class of ’13): Mr. Friedman works in Hou-
ston. His online biography states that he is currently “Employment & Litiga-
tion Counsel” in-house for an association—and previously worked for a law
firm. In 2020, that previous law firm billed his time at the rate of $850.00 per
hour in a Houston bankruptcy case—for work in 2020 such as: “Attend to open
issues re workforce separation” and “Review analyses re labor issues.” See In re:
Sanchez Energy Corp., No. 19-34508 (Doc. 1426) at Exhibits B & B-2, pp. 60, 64,
519, 563 (Bankr. S.D. Tex. Houston) (Second Interim and Final Fee Application
of Akin Gump Strauss Hauer & Feld LLP for Allowance and Payment of Fees and
Expenses as Counsel to the Debtors for the Period from December 1, 2019 through
March 27, 2020: “Friedman, Scott . . . LAB . . . 2020 Rate . . . $850.00”—a $75.00
per hour increase from his listed “2019 Rate” of “$775.00” per hour). On July 28,
2020, Judge Marvin Isgur approved the request for fees. See id. (Doc. 1521). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020 (a $13.05 difference).5 So, adjusted only for such inflation from the
year of this billing and court ruling (2020) to the end of 2021, that $850.00 hourly
rate for Mr. Friedman is $863.05.

*   Wes Benter (class of ’18): Mr. Friedman works in New York. His
online biography states that he “is an employment & labor associate” in his
firm. In 2020, his firm billed his time at the rate of $835.00 per hour in a
Houston bankruptcy case—for work such as: “Telephone conference with A.
Ortiz-Leytte, J. Schruhl and R. Kidd re labor and employment considerations re
WARN Act (.5); research and summarize applicable laws re same (.4).” See In re:
IQOR Holdings, Inc., No. 20-34500 (Doc. 239) at pp. 49, 109, 111 (Bankr. S.D. Tex.
Houston) (Final Fee Application of Kirkland & Ellis LLP and Kirkland & Ellis
International LLP, Attorneys for the Debtors and Debtors in Possession, for the
Period from September 10, 2020 through and including October 14, 2020: “We
Benter . . . Department . . . Labor & Employment . . . Hourly Rate Billed . . . In
this Application . . . $835.00”). On January 8, 2021, Judge David R. Jones ap-
proved the request for fees. See id. (Doc. 259).

4   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=885

5   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=850


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*    Katherine A. Brooker (class of ’12): Ms. Brooker works in
Houston. Her online biography states that her practice includes several areas in-
cluding labor and employment matters: “Ms. Brooker also counsels employers on
a variety of issues, including terminations, reductions in force and reasonable ac-
commodations.” In 2019, her law firm billed her time at the rate of $822.00 per
hour in a Houston bankruptcy case—for work on “Labor Issues” and “Review []
EEOC Charge.” See In re: Bristow Group Inc., No. 19-3271 (Doc. 878-5) at Exhibit
5-V “Labor Issues,” pp. 452–53 (Bankr. S.D. Tex. Houston) (First Interim Fee Ap-
plication of Baker Botts L.L.P., Co-Counsel to the Debtors, for Allowance and Pay-
ment of Compensation for Services Rendered and Reimbursement of Expenses
Incurred for the Period May 11, 2019 through July 31, 2019: “Brooker, K A . . .
Rate . . . 822.00”). On December 6, 2019, Judge David R. Jones approved the re-
quest for fees. See id. (Doc. 930). According to the Consumer Price Index for legal
services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
services are 2.64% higher in 2021 versus 2019 (a $21.70 difference).6 So, adjusted
only for such inflation from the year of this billing and court ruling (2019) to the
end of 2021, that $822.00 hourly rate for Ms. Brooker is $843.70.

*    Emery Gullickson Richards (class of ’14): Ms. Richards
works in Houston. Her online biography states that she “routinely counsels or-
ganizations on employment law compliance, provides guidance to entities evalu-
ating labor and employment aspects of business transactions, and conducts inter-
nal investigations and training programs in the workplace.” In 2019, her law firm
billed her time at the rate of $525.00 per hour in a Houston bankruptcy case. See
In re: Grizzly Energy, LLC, No. 19-31786 (Doc. 658) at p. 34 (Bankr. S.D. Tex.
Houston) (First Interim and Final Application of Blank Rome LLP, Co-counsel to
the Debtors, for Compensation for Services Rendered and Reimbursement of Ex-
penses for the Period from March 31, 2019 through July 16, 2019: “Richards, Em-
ery . . . Dept. . . . L&E . . . Labor & Employment . . . Hourly Rate . . . $525.00”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 2.64% higher in 2021
versus 2019 (a $13.86 difference).7 So, adjusted only for such inflation from the
year of this billing (2019) to the end of 2021, that $525.00 hourly rate for Ms.
Richards is $538.86.




6   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=822

7   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=525


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*   Caitlin E. Gernert (class of ’14): Ms. Gernert works in Houston.
Her online biography states that she “focuses her practice on civil and complext
commercial litigation matters in state and federal courts, with a particular em-
phasis on employment litigation, tort and product liability litigation, and fraud
and fraudulent transfer litigation.” In 2021, her firm billed her time at the “[d]is-
counted rate” of $530.00 per hour in a Houston employment disability discrimi-
nation and retaliation case. See Badaiki v. Cameron Int’l Corp., No. 4:19-cv-00371
(Doc. 119-1) at p. 4, ¶16 (S.D. Tex. Houston) (Declaration of James H. Nye: “Under
its fee arrangement with Cameron, Winston & Strawn LLP charged significantly
discounted rates for the Winston & Strawn LLP attorneys who worked on this
matter as shown in Table 2 below. These discounted rates were negotiated with
Cameron, representing rates that are typically materially less than those charged
to and paid by the firm’s civil litigation clients for similar matters. . . . Table 2 . .
. Caitlin Gernert . . . Discounted rate 2021 . . . $530.00”).

*   Charles M. Rosson (class of ’10): Mr. Rosson works in Houston.
His online biography notes that the focus of his practice is complex commercial
litigation. In 2014, his law firm at the time billed for his time at the rate of $435.00
per hour in a Houston breach of employment agreement case. See Lotte Chem.
Titan (M) Sendrian Berhad v. Wilder, No. 4:14-cv-1116 (Doc. 16-6) at p. 10 (S.D.
Tex. Houston) (an invoice dated May 27, 2014, attached to the affidavit of Phillip
B. Dye, Jr. shows a charge of $6,198.75 for 14.25 hours of work Mr. Rosson did in
that Houston employment case—which equates to $435.00 per hour (6,198.75 ÷
14.25 = 435)). According to the Consumer Price Index for legal services as gener-
ated by the U.S. Bureau of Labor Statistics, the prices for legal services are
17.55% higher in 2021 versus 2014 (a $76.33 difference).8 So, adjusted only for
such inflation from the year of this billing (2014) to the end of 2021, that $435.00
hourly rate for Mr. Rosson is $511.33.


*   Christopher R. Williams (class of ’16): Mr. Williams works
in Washington D.C. His online biography states that he “handles litigation and
counseling matters on behalf of employers” and “represents employers in matters
involving employee benefits issues that arise under ERISA and the Multiem-
ployer Pension Plan Amendments Act.” In 2019, his law firm billed his time at the
rate of $450.00 per hour in a Houston bankruptcy case—for work such as: “Bar-
gaining conference call with United Mine Workers regarding Beulah Mine Labor
Agreement” and “Research regarding the ability of employer to refuse to pay va-
cation benefits during a strike.” See In re: Westmoreland Coal Co., No. 18-35672
(Doc. 2147-4) at pp. 10, 17 (Bankr. S.D. Tex. Houston) (Exhibit D Itemized Time

8   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=435


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Records of Professionals and Paraprofessionals January 7, 2019 – June 21, 2019
attached to First and Final Fee Application (WMLP Debtors) of Drinker Biddle &
Reath LLP as Special Labor and Employment Benefits Counsel to the Debtors
and Debtors in Possession for the Period of January 7, 2019 through June 21,
2019: “CR Williams . . . Rate . . . $450.00.”). On August 14, 2019, Judge David R.
Jones approved the request for fees. See id. (Doc. 2247). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019 (an
$11.88 difference).9 So, adjusted only for such inflation from the year of this billing
and court ruling (2019) to the end of 2021, that $450.00 hourly rate for Mr. Wil-
liams is $461.88.

*    Vickie Mery (class of ’12): Ms. Mery works in Houston. On Sep-
tember 13, 2019, Judge Nancy F. Atlas ruled that $450.00 per hour was a reason-
able rate for Ms. Mery’s work in a Houston False Claims Act employment retali-
ation case. See Miniex v. Houston Housing Auth., No. 4:17-cv-00624 (Doc. 277) at
p. 8 (S.D. Tex. Houston) (“The Court concludes Bivens’s ($600), Mery’s ($450),
Hurta’s ($325), and Thornton’s ($375) requested rates are reasonable for this
case.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 2.64% higher
in 2021 versus 2019 (an $11.88 difference).10 So, adjusted only for such inflation
from the year of this court ruling (2019) to the end of 2021, that $450.00 hourly
rate for Ms. Mery is $461.88.

*    Liane Noble (class of ’11): Ms. Noble works in Austin. Her online
profile notes that she is a prosecuting attorney with the United States Attorney’s
Office for the Western District of Texas. She previously worked for a law firm. In
2014, her law firm billed for her time at the rate of $390.00 per hour in a Houston
breach of employment agreement case—for work such as “Draft and revise reply
in support of Motion to Remand.” See Lotte Chem. Titan (M) Sendrian Berhad v.
Wilder, No. 4:14-cv-1116 (Doc. 16) at pp. 2–3, ¶ 6 (S.D. Tex. Houston) (“A summary
of fees charged by each attorney in this matter follows . . . Attorney . . . Liane
Noble . . . Rate . . . $390[.] . . .”); id. (Doc. 16-7) at p. 4 (“Draft and revise reply in
support of Motion to Remand”). According to the Consumer Price Index for legal
services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
services are 17.55% higher in 2021 versus 2014 (a $68.44 difference).11 So,

9   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=450

10   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=450

11   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=390


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adjusted only for such inflation from the year of this billing (2014) to the end of
2021, that $390.00 hourly rate for Ms. Noble is $458.44.

*    Michael Reed (class of ’12): Mr. Reed works in Houston. His online
biography states that he “guides clients through labor and employment matters,
especially on litigation surrounding discrimination, sexual harassment, and
wrongful termination.” On April 13, 2017, his client sought sanctions to recover
fees at a rate of $415.00 per hour incurred for his time in defending a Houston
Deceptive Trade Practices Act (DTPA) case over a job posting for a staffing
agency—for work such as preparing for and attending a deposition that did not
take place. See Grivich v. Robert Half Int’l, Inc., No. 2016-57390 (269th Judicial
District Court for Harris County, Texas) (Defendant Robert Half International,
Inc.’s Motion for Sanctions at p. 8 ¶ 20: “Robert Half incurred significant costs,
including travel and hotel expenses for Robert Half’s lead counsel, attorneys’ fees
for appearing at and preparing for Plaintiff’s deposition, costs of the court reporter
and videographer, and fees in researching for and drafting this Motion. [See Item-
ized Accounting of Defendant’s Fees and Costs, attached as Exhibit 15.]”) (Exhibit
15: “Michael Reed . . . Rate (per hour) . . . $415.00 . . . Arrive at Hunton & Williams
LLP’s Houston office to prepare for and attend deposition of Plaintiff and com-
municate with client regarding same . . . .”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 8.08% higher in 2021 versus 2017 (a $33.53 differ-
ence).12 So, adjusted only for such inflation from the year of this invoicing and
motion (2017) to the end of 2021, that $415.00 hourly rate for Mr. Reed is $448.53.

*    Benjamin D. Williams (class of ’10): Mr. Williams works in
Atlanta but in 2021, he worked in Houston. His online biography states that “fo-
cuses his practice on defending Fortune 500 companies in business disputes, in-
cluding high-stakes class-action cases and complex labor and employment mat-
ters.” In 2021, his prior firm billed his time at the “[d]iscounted rate” of $445.00
per hour in a Houston employment disability discrimination and retaliation case.
See Badaiki v. Cameron Int’l Corp., No. 4:19-cv-00371 (Doc. 119-1) at p. 4, ¶16
(S.D. Tex. Houston) (Declaration of James H. Nye: “Under its fee arrangement
with Cameron, Winston & Strawn LLP charged significantly discounted rates for
the Winston & Strawn LLP attorneys who worked on this matter as shown in
Table 2 below. These discounted rates were negotiated with Cameron, represent-
ing rates that are typically materially less than those charged to and paid by the
firm’s civil litigation clients for similar matters. . . . Table 2 . . . Benjamin Williams
. . . Discounted rate 2021 . . . $445.00”).


12
     https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=415


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*    Curtis Waldo (class of ’10): Mr. Waldo “is located in the Houston
office where he focuses on representing energy companies in high-stakes litiga-
tion.” On September 25, 2015, Judge Nancy F. Atlas awarded fees requested for
Mr. Waldo’s work in a Houston ERISA case. See Romano Woods Dialysis Ctr. v.
Admiral Linen Serv., Inc., No. 4:14-cv-01125 (Doc. 62-1) (S.D. Tex. Houston)
(“Based on this review, and a clear recollection of the litigation of this lawsuit, the
Court finds that the $209,350.13 in attorneys’ fees requested by Defendants is
reasonable and appropriate.”) (awarding all fees requested in Defendants’ Motion
for Fees and Costs (Doc. 62)). The court-approved request for fees included work
Mr. Waldo did at an hourly rate of $375.00—including work done and billed on
invoices in 2014 at that rate. See id. (Doc. 62-1) at pp. 17, 21, 25, 29, 34, 41 (Affi-
davit of Kenneth E. Broughton, for work such as “Review and revise motion to
dismiss” and “Review discovery requests and initial disclosures to plaintiff and
co-defendant” and “Draft answer and defenses to Plaintiff’s complaint” and “Draft
objections and responses to Plaintiff’s discovery requests” and “Draft and revise
proposed agreed protective order” and “Review and revise mediation statement”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 17.55% higher in 2021
versus 2014 (a $65.80 difference).13 So, adjusted only for such inflation from the
year of this billing (2014) to the end of 2021, that $375.00 hourly rate for Mr.
Waldo is $440.80.

*    Andrew Dunlap (class of ’11): Mr. Dunlap works in Houston. His
online biography states that he “has represented thousands of employees, pursu-
ing companies that violate wage and hour laws.” On March 18, 2020, Judge Hilda
Tagle determined that $425.00 per hour was reasonable for his work in a Corpus
Christi FLSA case. See Herrera v. Brigham Resources, Inc., No. 2:17-CV-309 (Doc.
33) at p. 10 (S.D. Tex. Corpus Christi) (“Given each attorney’s experience and the
cited caselaw, the Court determines that the following hourly rates are reasonable
for each attorney: . . . $425 for Dunlap . . . .”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 1.53% higher in 2021 versus 2020 (a $6.52 differ-
ence).14 So, adjusted only for such inflation from the year of this court ruling
(2020) to the end of 2021, that $425.00 hourly rate for Mr. Dunlap is $431.52.

*    Matt Heller (class of ’16): Mr. Heller works in Austin. His practice
areas include labor and employment. On June 26, 2019, in a Houston employment


13   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=375

14   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=425


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discrimination case and ERISA benefits case, Judge Kenneth M. Hoyt determined
the fees Mr. Heller’s firm sought for his work on the ERISA claims were reasona-
ble. See Gonzales v. ConocoPhillips Co., No. 4:17-cv-2374 (Doc. 108) (S.D. Tex.
Houston) (ruling fee requested in Doc. 94 reasonable: “The Court is of the opinion
that the fees and costs sought are reasonable.”). Those fees actually billed to a
client included Mr. Heller’s rate of $400.00 per hour on an invoice dated Septem-
ber 27, 2018, for work such as “Draft letter to opposing counsel regarding supple-
mentation of deficient discovery responses for Fazila Issa” and “Research.” See id.
(Doc. 94-3) at pp. 25, 27, 29. According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 3.64% higher in 2021 versus 2018 (a $14.55 difference).15 So, adjusted
only for such inflation from the year of this billing (2018) to the end of 2021, that
$400.00 hourly rate for Mr. Heller is $414.55.

*    Evan D. Lewis (class of ’19): Mr. Lewis works in Houston. His
online biography states that he “is a litigator who focuses his practice on intellec-
tual property and complex commercial litigation.” In 2020, his firm billed his time
at the “[d]iscounted rate” of $405.00 per hour in a Houston employment disability
discrimination and retaliation case. See Badaiki v. Cameron Int’l Corp., No. 4:19-
cv-00371 (Doc. 119-1) at p. 4, ¶16 (S.D. Tex. Houston) (Declaration of James H.
Nye: “Under its fee arrangement with Cameron, Winston & Strawn LLP charged
significantly discounted rates for the Winston & Strawn LLP attorneys who
worked on this matter as shown in Table 2 below. These discounted rates were
negotiated with Cameron, representing rates that are typically materially less
than those charged to and paid by the firm’s civil litigation clients for similar mat-
ters. . . . Table 2 . . . Evan Lewis . . . Discounted rate 2020 . . . $405.00”). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 1.53% higher in 2021 versus 2020
(a $6.22 difference).16 So, adjusted only for such inflation from the year of this
billing (2020) to the end of 2021, that $405.00 hourly rate for Mr. Lewis is $411.22.

*    Lindsay Itkin (class of ’10): Ms. Itkin works in Houston. Her
online biography states that she “handles cases involving wage and hour viola-
tions on an individual and class action basis in order to recover unpaid wages and
benefits for employees whose employers have failed to pay them in accordance
with state and federal law.” On March 18, 2020, Judge Hilda Tagle determined
that $400.00 per hour was reasonable for her work in a Corpus Christi FLSA case.
See Herrera v. Brigham Resources, Inc., No. 2:17-CV-309 (Doc. 33) at pp. 10–11

15   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=400

16   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=405


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(S.D. Tex. Corpus Christi) (“Given each attorney’s experience and the cited
caselaw, the Court determines that the following hourly rates are reasonable for
each attorney: . . . $400 for Itkin . . .”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 1.53% higher in 2021 versus 2020 (a $6.14 difference).17 So, ad-
justed only for such inflation from the year of this court ruling (2020) to the end
of 2021, that $400.00 hourly rate for Ms. Itkin is $406.14.

*    Lauren Braddy (class of ’10):                    Ms. Braddy works in Corpus
Christi. Her online biography states that she “focuse[s] her practice on wage and
hour litigation under the Fair Labor Standards Act, representing clients in collec-
tive and class actions across the United States.” On January 27, 2020, Judge
Nelva Gonzales Ramos found that $400.00 per hour was a reasonable rate for Ms.
Braddy’s work in a Corpus Christi FLSA case. See Vela v. M&G USA Corp., No.
2:17-cv-13 (Doc. 66) at pp. 7–8 (S.D. Tex. Corpus Christi) (“Plaintiff’s request for
attorneys’ fees is based on the work of . . . Lauren Braddy (18 hours at $400 per
hour); . . . Plaintiff requests hourly rates ranging from $400 to $500 for the three
attorneys working on this case. The Court finds these are reasonable rates.”). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020 (a $6.14 difference).18 So, adjusted only for such inflation from the
year of this court finding (2020) to the end of 2021, that $400.00 hourly rate for
Ms. Braddy is $406.14.

*    Alysson Ford Ouoba (class of ’11): Ms. Ouoba works in Wash-
ington, D.C. Her online biography states that she previously worked in the human
rights practice group of a law firm. On November 30, 2017, Judge Keith P. Ellison
determined Ms. Ouoba’s requested rate of $375.00 was “fair and reasonable” for
work she did in a Houston human trafficking [i.e., forced labor] case. See Adhikari
v. Daoud & Partners, No. 4:09-CV-1237 (Doc. 764) at pp. 28–29 (S.D. Tex. Hou-
ston) (“The requested rates, in descending order, are as follows: $910 for Sellers;
$790 for Webber; $745 for Fryszman and Vandenberg; $375 for the fellows, Saun-
ders and Ouoba; and $280 for the paralegals and law clerks, McKeon, Krause, and
Lam. . . . The requested rates are fair and reasonable here too.”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 8.08% higher in 2021 versus 2017 (a



17   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=400

18   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=400


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$30.30 difference).19 So, adjusted only for such inflation from the year of this court
ruling (2017) to the end of 2021, that $375.00 hourly rate for Ms. Ouoba is $405.30.

*    Britney J. P. Prince (class of ’15): Ms. Prince works in Irving.
Her online biography notes that she works in-house for a company but previously
a firm. And her “practice includes involvement in federal and state administrative
actions and investigations with agencies such as the Equal Employment Oppor-
tunity Commission (“EEOC”), the Texas Workforce Commission (“TWC”), the US
Department of Labor, and both federal and state court actions.” On February 2,
2017, Judge Elaine Palmer awarded fees for work Ms. Prince did in a Houston
employment discrimination case—traveling to Houston over a discovery dispute.
See Hunter v. TPC Group, LLC, 2016-16617 (215th Judicial District Court for
Harris County, Texas) (Order Denying Plaintiff’s Motion to Compel). In a January
31, 2017, request for fees, her firm noted her rate for work in that case: “Defend-
ants’ counsel, Britney Prince’s (associate) billing rate is $370 per hour, and she
has spent approximately 12.0 hours in conducting legal research, drafting a Re-
sponse to Plaintiff’s Motion, and preparing for the hearing on the Motion, totaling
$4,440.” See id. (Defendants’ Supplement to their Response to Plaintiff’s Motion
to Compel and for In Camera Inspection). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 8.08% higher in 2021 versus 2017 (a $29.90 difference).20 So,
adjusted only for such inflation from the year of this court ruling (2017) to the end
of 2021, that $370.00 hourly rate for Ms. Prince is $399.90.

*    Michael J. Woodson (class of ’12): Mr. Woodson works in Aus-
tin. His online biography states that he “advises clients on complex commercial
litigation matters, with an emphasis on enforcement and all aspects of labor and
employment issues.” On August 5, 2015, in a Corpus Christi employment discrim-
ination and retaliation case, his law firm noted that his standard rate per hour
was $345.00—though there was a lower negotiated effective rate per hour in that
case. See Arredondo v. Weatherford Int’l, LLC, No. 2:14-cv-00170 (Doc. 89) at p. 1
(S.D. Tex. Corpus Christi) (Summary of Attorney Fees and Expenses: “Michael
Woodson . . . STANDARD RATE PER HOUR . . . 345”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 15.71% higher in 2021 versus 2015 (a $54.19 dif-
ference).21 So, adjusted only for such inflation from the year of this billing (2014)
to the end of 2021, that $345.00 hourly rate for Mr. Woodson is $399.19.

19   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=375

20   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=370

21   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=345

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*    E. Steve Smith (class of ’15): Mr. Smith works in Dallas. His
online biography states that he has “experience representing clients in a wide va-
riety of complex commercial litigation.” His law firm billed $380.00 per hour for
his work in 2019 on a Houston employment commissions case. See Trippie v.
Workplace Solutions Inc., No. 201984986 (281st Judicial District Court for Harris
County, Texas) (Defendant’s Trial Exhibit 17, Bates Stamp No. WPS000948, for
trial held April 1, 2021, Invoice 1/23/20 for work in 2019: “E. Steve Smith . . . Rate
. . . 380.00 / hr”). According to the Consumer Price Index for legal services as gen-
erated by the U.S. Bureau of Labor Statistics, the prices for legal services are
2.64% higher in 2021 versus 2019 (a $10.03 difference).22 So, adjusted only for
such inflation from the year of this billing to the end of 2021, that $380.00 hourly
rate for Mr. Smith is $390.03.

*    Angeles Garcia Cassin (class of ’13): Ms. Cassin works in
Houston. Her online biography states that she “focuses her practice on commercial
litigation and labor and employment matters.” On August 5, 2015, in a Corpus
Christi employment discrimination and retaliation case, her law firm noted that
her standard rate per hour was $325.00—though there was a lower negotiated
effective rate per hour in that case. See Arredondo v. Weatherford Int’l, LLC, No.
2:14-cv-00170 (Doc. 89) at p. 1 (S.D. Tex. Corpus Christi) (Summary of Attorney
Fees and Expenses: “Angeles Garcia . . . STANDARD RATE PER HOUR . . . 325”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 15.71% higher in 2021
versus 2015 (a $51.05 difference).23 So, adjusted only for such inflation from the
year of this stated rate (2015) to the end of 2021, that $325.00 hourly rate for Mr.
Cassin is $376.05.

*    Amanda E. Brown (class of ’13): Ms. Brown works in Dallas.
Her online biography notes that she “represents employers in litigation, arbitra-
tion, and administrative agency actions concerning both federal and state labor
and employment laws, . . . .” In 2017, her firm billed at the rate of $345.00 per
hour for her work in a Houston employment discrimination case. See Lyde v. The
Boeing Co., No. 4:16-cv-3293 (Doc. 16-4) at p. 2 (S.D. Tex. Houston) (Affidavit of
Ann Marie Arcadi dated August 2, 2017: “Ms. Brown was licensed in 2013 and is
a member in good standing of the State Bar of Texas. Her practice also focuses on
complex and single-plaintiff litigation and labor and employment matters. Ms.


22   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=380

23   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=325


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Brown also performed various legal work on this matter, and her billing rate was
$345.00 per hour.”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
8.08% higher in 2021 versus 2017 (a $28.88 difference).24 So, adjusted only for
such inflation from the year of this testimony (2017) to the end of 2021, that
$345.00 hourly rate for Ms. Brown is $372.88.

*    Samantha D. Seaton (class of ’13): Ms. Seaton works in Hou-
ston. Her State Bar of Texas online profile notes that labor-employment is one of
her practice areas. On October 18, 2016, in a Houston state-court wage case, Ms.
Seaton’s firm sought an award of attorneys’ fees her client incurred for her work.
See Request for Entry of Attorneys’ Fees, filed in Garrett v. Prologistix Corp. NW
PLX, No. 1076687 (Harris County Court at Law No. 2). In support of that request,
there is testimony representing that her client incurred fees for her work at an
hourly rate of $320.00. See id. at Exhibit A, Affidavit of Carolyn A. Russell (dated
October 18, 2016) ¶ 3 (“Ms. Seaton also represents the Defendant in the above-
styled case, and her hourly rate is $320.00”). The court granted fees but in a lower
overall amount than that requested. See id. Judgment (dated July 11, 2017). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 11.93% higher in 2021
versus 2016 (a $38.18 difference).25 So, adjusted only for such inflation from the
year of this billing (2016) to the end of 2021, that $320.00 hourly rate for Ms.
Seaton is $358.18.

*    Caitlin Boehne (class of ’12): Ms. Boehne works in Austin. Her
online biography notes that she litigates unpaid wage claims for low-income work-
ers. On September 24, 2019, Judge Nancy F. Atlas found that $345.00 per hour
was a reasonable hourly rate for Ms. Boehne’s work in a Houston FLSA case. See
Chavez v. Shahini Corp., No. 4:19-cv-02324 (Doc. 9) at pp. 1–2, ¶ 9 (S.D. Tex.
Houston) (“The court finds that the following hourly rates requested by Plaintiff
are reasonable based on the market rates in the community for legal services on
employment cases such as this . . . Caitlin Boehne, Attorney licensed 2012:
$345/hour”). According to the Consumer Price Index for legal services as gener-
ated by the U.S. Bureau of Labor Statistics, the prices for legal services are 2.64%
higher in 2021 versus 2019 (a $9.11 difference).26 So, adjusted only for such


24   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=345

25   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=320

26   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=345


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inflation from the year of this court finding (2019) to the end of 2021, that $320.00
hourly rate for Ms. Boehne is $354.11.

*    Jay Forester (class of ’13): Mr. Forester works in Dallas. His State
Bar of Texas profile includes “Labor-Employment” among his practice areas. On
October 21, 2015, Judge David Hittner granted his former firm fees in a Houston
FLSA case. See Gingrass v. TMG (The Moore Group, Inc.), No. 4:15-cv-00837 (Doc.
18) at p. 1 (S.D. Tex. Houston) (“The Court finds that Plaintiff has established by
declaration that he and his counsel are entitled to recover from Defendant attor-
ney’s fees and costs of $7,258.95, which the Court finds to be a reasonable
amount.”). Judge Hittner’s ruling was premised, in part, on a rate of $295.00 per
hour for Mr. Forester’s work in that Houston FLSA case. See id. (Doc. 13-2) at p.
3, ¶ 11 (Declaration of Jesse H. Forester dated September 21, 2015: “The firm’s
lodestar (hours x hourly rates) on the hours expended on this matter, amounts to
$6,658.95 (J. Forester with 13.50 hours x $295 = $3,982.50; J. Derek Braziel with
3.00 hours x $495 = $1,485.00; and Chief Paralegal Josey Gonzales with 6.11
hours x $195 = $1,191.45). The firm also has an additional $600.00 in costs in this
matter for a total amount in fees and costs of $7,258.95.”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 15.71% higher in 2021 versus 2015 (a
$46.34 difference).27 So, adjusted only for such inflation from the year of Judge
Hittner’s ruling (2015) to the end of 2021, that $295.00 hourly rate for Mr. For-
ester is $341.34.

*    Brenna R. Lermon (class of ’14): Ms. Lermon works in Houston.
Her online biography states that she “regularly represents employers in respond-
ing to government agency investigations. A substantial portion of her practice
consists of giving employers day-to-day operations advice and drafting employ-
ment contracts, handbooks and other policies.” On June 30, 2016, Ms. Lermon’s
firm sought sanctions in a Houston FLSA case after alleging a plaintiff failed to
show for a deposition—and testified that her client incurred fees at her hourly
rate of $300.00. See Edwards v. 4JLJ, LLC, No. 2:15-cv-00299 (Doc. 70-10) at p. 4
(S.D. Tex. Houston) (Affidavit of Brenna L[ermon] Hill: “Task . . . Preparation and
Attendance of Deposition . . . Rate . . . $300.00 . . .”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 11.93% higher in 2021 versus 2016 (a $35.79 dif-
ference).28 So, adjusted only for such inflation from the year of this billing (2016)
to the end of 2021, that $300.00 hourly rate for Ms. Lermon is $335.79.

27   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=295

28   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=300


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*    Genevieve Estrada (class of ’13): Ms. Estrada works in Hou-
ston. Her State Bar of Texas profile notes that “Labor-Employment” is one of her
two practice areas. On January 26, 2016, Magistrate Judge George Hanks found
$300.00 per hour to be a reasonable rate for Ms. Estrada’s work in a Houston
FLSA case. See Rouse v. Target Corp., 181 F. Supp. 3d 379, 385, No. 3:15-cv-48
(Doc. 33) (S.D. Tex. Galveston) (“[T]he Court finds that $300 per hour is a reason-
able hourly rate for an attorney of Estrada’s skills and expertise in the Southern
District.”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 11.93%
higher in 2021 versus 2016 (a $35.79 difference).29 So, adjusted only for such in-
flation from the year of this billing (2016) to the end of 2021, that $300.00 hourly
rate for Ms. Estrada is $335.79.

*    Michael Adams-Hurta (class of ’15): Mr. Adams-Hurta works
in Houston. He is an appellate attorney. On September 13, 2019, Judge Nancy F.
Atlas awarded Mr. Adams-Hurta’s prior firm a requested rate of $325.00 per hour
for his work in a Houston False Claims Act employment retaliation case. See
Miniex v. Houston Housing Auth., No. 4:17-cv-00624 (Doc. 277) at p. 8 (S.D. Tex.
Houston) (“The Court concludes Bivens’s ($600), Mery’s ($450), Hurta’s ($325),
and Thornton’s ($375) requested rates are reasonable for this case.”). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019
(an $8.58 difference).30 So, adjusted only for such inflation from the year of this
court ruling (2019) to the end of 2021, that $325.00 hourly rate for Mr. Adams-
Hurta is $333.58.

*    Vijay Pattisapu (class of ’11): Mr. Pattisapu works in Houston.
His online biography states that he is an “[e]xperienced trial advocate in employ-
ment law and business dispute matters.” On August 16, 2018, Judge Hilda Tagle
found that $300.00 was an appropriate hourly billing rate for Mr. Pattisapu’s
work in a Corpus Christi FLSA case. See Salas v. Warrior Energy Servs. Corp.,
No. 2:15-cv-00374 (Doc. 35) at p. 8 (S.D. Tex. Corpus Christi) (“The Court . . . (2)
FINDS that $425 and $300 are the appropriate hourly billing rates for Buenker
and Pattisapu, respectively, . . . .”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 3.64% higher in 2021 versus 2018 (a $10.91 difference).31 So,
29   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=300

30   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=325

31   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=300

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adjusted only for such inflation from the year of this court ruling (2018) to the end
of 2021, that $300.00 hourly rate for Mr. Pattisapu is $310.91.

*    Dorian Vandenberg-Rodes (class of ’13): Ms. Vandenberg-
Rodes works in Houston. Her online biography states that she “practices employ-
ment law exclusively.” On August 22, 2019, Judge Nancy F. Atlas determined
$300.00 was a reasonable hourly rate for Ms. Vandenberg-Rodes’s work in a Hou-
ston employment discrimination case. See Rebollar v. Ortega Medical Clinic,
P.L.L.C., No. 4:18-cv-0846 (Doc. 33) at p. 5 (S.D. Tex. Houston) (“Rebollar asserts
that Slobin’s reasonable rate for employment-related cases is $500 per hour and
Vandenberg-Rodes’s is $300. Defendants do not challenge these rates. The Court
agrees these rates are reasonable in light of the attorneys’ experience and
knowledge of employment law. Accordingly, the Court will award Rebollar attor-
ney fees at her counsel’s requested rates.”). According to the Consumer Price In-
dex for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 2.64% higher in 2021 versus 2019 (an $7.92 differ-
ence).32 So, adjusted only for such inflation from the year of this court ruling
(2019) to the end of 2021, that $300.00 hourly rate for Ms. Vandenberg-Rodes is
$307.92.

*    Ben Michael (class of ’13): Mr. Michael works in Austin. On Jan-
uary 27, 2016, his prior firm applied for fees in a Houston FLSA case. See Willis
v. Full Service Const. Inc., No. 4:11-cv-1673 (Doc. 71) at p. 3, ¶ 9 (S.D. Tex. Hou-
ston) (Plaintiffs’ Application for Award of Attorney’s Fees, Costs and Expenses:
“The reasonable fee that Plaintiffs request is the lodestar amount, $91,825.00.
This is based on an hourly rate of . . . $250.00 for Benjamin Michael (‘Michael’)”.).
On February 26, 2016, Judge Kenneth Hoyt granted the full amount of these re-
quested fees, which included this rate of $250.00 per hour for Mr. Michael’s work
in that Houston FLSA case. See id. (Doc. 76) at p. 1 (“It is, therefore, ORDERED,
ADJUDGED, AND DECREED that the plaintiffs are awarded $91,825.00 in at-
torney’s fees[.]”). According to the Consumer Price Index for legal services as gen-
erated by the U.S. Bureau of Labor Statistics, the prices for legal services are
11.93% higher in 2021 versus 2016 (a $29.82 difference).33 So, adjusted only for
such inflation from the year of this court ruling (2016) to the end of 2021, that
$250.00 hourly rate for Mr. Michael is $279.82.




32   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=300

33   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=250

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                                         East Texas




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                                 EDTX† summary of rates listed: high to low

                                                $1,149.09 to $253.84
Rate          Name / JD Year                  Rate           Name / JD Year
$1,149.09*    Alan J. Robin (JD 1975)         $503.68*      Joseph L. Lanza (JD 1992)
$908.54*      Douglas E. Hamel (JD 1976)      $481.91*      Rebecca Predovan (JD 2009)
$908.54*      W. Carl Jordan (JD 1974)        $462.83*      John Werner (JD 1993)
$841.24*      Gwen J. Samora (JD 1992)        $456.91*      Jim Sanford (JD 2005)
$835.00*      Carrie B. Hoffman (JD 1993)     $450.91*      Michelle Mahony (JD 1997)
$672.99*      Vanessa Griffith (JD 1994)      $447.72*      Seth Grove (JD 2009)
$659.98*      Laura Reasons (JD 2007)         $440.00*      Brooke Bahlinger (JD 2019)
$657.95*      Gabrielle Wirth (JD 1982)       $434.06*      Marina Lyons (JD 2013)
$639.34*      Tara Porterfield (JD 1996)      $433.90*      Corinna Chandler (JD 2009)
$639.34*      Christopher V. Bacon (JD 1990)  $433.90*      Julia C. Hatcher (JD 1997)
$621.82*      Marc S. Hepworth (JD 1998)      $411.22*      Christopher Willett (JD 2009)
$621.82*      Gregg I. Shavitz (JD 1994)      $404.98*      Mark Frasher (JD 1996)
$621.82*      David A. Roth (JD 1991)         $391.75*      David Bergen (JD 2015)
$621.82*      Charles Gershbaum (JD 1990)     $391.75*      Olivia C. Mallary (JD 2015)
$598.55*      Aaron Goldstein (JD 2003)       $380.76*      Shana Khader (JD 2011)
$595.00*      Andrew S. Golub (JD 1991)       $376.88*      Corey E. Devine (JD 2006)
$570.00*      Alan Quiles (JD 1995)           $362.73*      Timothy D. Craig (JD 2003)
$570.00*      Christine M. Duignan (JD 1991) $342.00*       Janine Kapp (JD 2015)
$549.61*      Trey Branham (JD 1999)          $342.00*      Logan A. Pardell (JD 2015)
$538.91*      Camar R. Jones (JD 2003)        $342.00*      Joshua Cittadino (JD 2014)
$538.39*      Tim Garrigan (JD 1983)          $329.99*      Stephanie Gharakhanian (JD 2013)
$518.18*      Paolo Meireles (JD 2010)        $305.73*      Megan Dixon (JD 2012)
$513.00*      Robert G. “Bobby” Lee (JD 1993) $274.14*      Reema Ali (JD 2018)
$503.68*      Charles Vethan (JD 1994)        $253.84*      Sean Goldhammer (JD 2016)

   †
    Courts note the relevant community for fees is district-wide—not by city or division. See,
   e.g., Lewallen v. City of Beaumont, 394 Fed. Appx. 38, 46 (5th Cir. 2010); Treadway v.
   Otero, No. 2:19-CV-244 [Doc. 157] at p. 9 (S.D. Tex. Oct. 6, 2020) (citing cases and
   concluding: “When it comes to parsing between divisions, it appears that it is the district,
   rather than the division, that should govern the decision.”).




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                                   Classes of the 1970s:
                                        The Rates




               Alan J. Robin
               (JD 1975)




              Douglas E. Hamel
                      (JD 1976)




                             W. Carl Jordan
                             (JD 1974)

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Classes of the 1970s:
     The Work

  *   Alan J. Robin (class of ’75): Mr. Robin’s online biography notes
  that he represents clients with employee benefits issues. Although he works in
  Houston, he billed for work in a Lufkin race discrimination in employment case.
  See McClain v. Lufkin Industries, No. 9:97-CV-063 (Doc. 599-5) at pp. 37, 41 (E.D.
  Tex. Lufkin) (Amended Declaration of Christopher V. Bacon dated January 15,
  2009: “Current Rate if Still Employed . . . Robin, Alan . . . $850”). According to the
  Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
  Statistics, the prices for legal services are 34.60% higher in 2021 versus 2009 (a
  $294.09 difference).1 Adjusted only for such inflation from the year of this testi-
  mony (2009) to the end of 2021, that $850.00 hourly rate for Mr. Robin is
  $1,144.09.

  *   Douglas E. Hamel (class of ’76): Mr. Hamel’s online biography
  notes his practice area is labor and employment law. Although he works in Hou-
  ston, he billed for work in a Lufkin race discrimination in employment case. See
  McClain v. Lufkin Industries, No. 9:97-CV-063 (Doc. 599-5) at p. 38 (E.D. Tex.
  Lufkin) (Amended Declaration of Christopher V. Bacon dated January 15, 2009:
  “Last Rate Billed On This Case . . . Hamel, Douglas . . . $675”). According to the
  Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
  Statistics, the prices for legal services are 34.60% higher in 2021 versus 2009 (a
  $233.54 difference).2 Adjusted only for such inflation from the year of this testi-
  mony (2009) to the end of 2021, that $675.00 hourly rate for Mr. Hamel is $908.54.

  *   W. Carl Jordan (class of ’74): Mr. Jordan works in Houston. An
  online biography notes that “for approximately 40 years, he practiced in the field
  of employment and labor law . . .” He billed for work in a Lufkin race discrimina-
  tion in employment case. See McClain v. Lufkin Industries, No. 9:97-CV-063 (Doc.
  599-5) at pp. 37, 41 (E.D. Tex. Lufkin) (Amended Declaration of Christopher V.
  Bacon dated January 15, 2009: “Current Rate” . . . Jordan, Carl . . . $675”).

  1   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=850

  2   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=675


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According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 34.60% higher in 2021
versus 2009 (a $233.54 difference).3 Adjusted only for such inflation from the year
of this testimony (2009) to the end of 2021, that $675.00 hourly rate for Mr. Jordan
is $908.54.




3   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=675


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                                   Classes of the 1980s:
                                        The Rates



                    Gabrielle Wirth (JD 1982)



                                Tim Garrigan (JD 1983)




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Classes of the 1980s:
     The Work

  *   Gabrielle Wirth (class of ’82): Ms. Wirth’s online biography notes
  she has “successful trial experience in a broad range of employment disputes in-
  cluding wage and hour, whistleblower, wrongful termination, discrimination, har-
  assment, retaliation, breach of contract, and trade secret/noncompetition cases . .
  . . She also represents employers before a wide variety of state and federal agen-
  cies including the EEOC, OFCCP, state human rights agencies, the Labor Com-
  mission, the Employment Development Department and OSHA.” Although she is
  based in California, she billed for employment law work she did in an Eastern
  District of Texas bankruptcy case. See In re: Nuvectra Corp., No. 19-43090 (Doc.
  364) at p. 3, (Doc. 364-3) at Exhibit C, p. 1, and (Doc. 364-6) at Exhibit F, pp. 46,
  47 (Bankr. E.D. Tex. Sherman) (Summary of Final Fee Application of Dorsey &
  Whitney LLP for Allowance of Compensation and Reimbursement of Expenses as
  Counsel to the Debtor and Debtor in Possession for the Period November 12, 2019
  through June 2, 2020) (for work such as “Conferences with J Pleitz regarding com-
  position of individuals subject to RIF (.4); review memos regarding remote em-
  ployees (.6); review revised list (.3); research state WARN act or other notice for
  layoff requirements (.5)” and “Revise WARN Act template and notice to agencies
  (.3); review updated list and complete research on requirements of other states
  (.7) meet with J. Pleitz regarding editing exhibit with positions for inclusion to
  notice to state officials (.3); respond to question regarding reserving right to claim
  WARN did not apply, review regulations and edit language for same (.2); meet
  with J. Pleitz, review new emails and finalize notices (.2)”). For that work, the
  “Stated Rate” was $720.00 per hour—though her firm applied a 10% discount to
  $648.00 per hour and that was the charge for work done in 2019. See id. On Au-
  gust 12, 2020, Judge Brenda T. Rhoades approved the request for fees. See id.
  (Doc. 386). According to the Consumer Price Index for legal services as generated
  by the U.S. Bureau of Labor Statistics, the prices for legal services are 1.53%
  higher in 2021 versus 2020 (a $9.95 difference).1 Adjusted only for such inflation
  from the year of Judge Rhoades’s approval (2020) to the end of 2021, that $648.00
  hourly rate for Ms. Wirth is $657.95.


  1   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=648


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*   Tim Garrigan (class of ’83): Mr. Garrigan works in Nacogdoches.
His practice areas include a focus on labor and employment law work. On April 2,
2009, Judge Ron Clark awarded a rate of $400.00 per hour for Mr. Garrigan’s
work in a Lufkin race discrimination in employment case. See McClain v. Lufkin
Indus., Inc., No. 9:97-cv-063 (Doc. 621) at pp. 12–13 (E.D. Tex. Lufkin) (citing ev-
idence and concluding: “The court will therefore apply a $400/hr rate for the work
performed by Mr. Garrigan”). The Fifth Circuit affirmed the fee award but re-
versed with instructions for the district court to consider the higher home rates of
the out-of-state attorneys who worked on the case in East Texas in setting recov-
ery of their fees. See McClain v. Lufkin Indus., Inc., 649 F.3d 374, 387 (5th Cir.
2011) (“As a result, the trial court erred in failing to calculate the initial lodestar
using the rates Goldstein Demchak attorneys typically charge in their own home
district. The court, on remand, must reconsider the fee award using those rates
as a starting point.”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
34.60% higher in 2021 versus 2009 (a $138.39 difference).2 Adjusted only for such
inflation from the date of Judge Clark’s ruling (2009) to the end of 2021, that
$400.00 hourly rate for Mr. Garrigan is $538.39.




2   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=400


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Classes of the 1990s



 20                  lawyers listed




 $583.64                               average rate




 $582.50                               median rate

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                                  Classes of the 1990s:
                                       The Rates

    Gwen J.                       David A.                          Charles
    Samora                        Roth                              Vethan
    (JD 1992)                     (JD 1991)                         (JD 1994)


    Carrie B.                     Charles                           Joseph L.
    Hoffman                       Gershbaum                         Lanza
    (JD 1993)                     (JD 1990)                         (JD 1992)


    Vanessa                       Andrew S.                         John
    Griffith                      Golub                             Werner
    (JD 1994)                     (JD 1991)                         (JD 1993)


    Tara                          Alan                              Michelle
    Porterfield                   Quiles                            Mahony
    (JD 1996)                     (JD 1995)                         (JD 1997)


    Christopher                   Christine M.                      Julia C.
    V. Bacon                      Duignan                           Hatcher
    (JD 1990)                     (JD 1991)                         (JD 1997)


    Marc S.                       Trey                              Mark
    Hepworth                      Branham                           Frasher
    (JD 1998)                     (JD 1999)                         (JD 1996)


    Gregg I.                      Robert G.
    Shavitz                       “Bobby” Lee
    (JD 1994)                     (JD 1993)




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Classes of the 1990s:
     The Work

  *   Gwen J. Samora (class of ’92): Ms. Samora works in Houston.
  Her online biography notes that she is an appellate specialist. In or before 2009,
  she worked on a Lufkin employment race discrimination case and her hourly rate
  for that work was $625.00. See McClain v. Lufkin Industries, No. 9:97-CV-063
  (Doc. 599-5) at p. 38 (E.D. Tex. Lufkin) (Amended Declaration of Christopher V.
  Bacon, filed on January 20, 2009: “Samora, Gwen . . . Last Rate Billed On This
  Case . . . $625”). According to the Consumer Price Index for legal services as gen-
  erated by the U.S. Bureau of Labor Statistics, the prices for legal services are
  34.60% higher in 2021 versus 2009 (a $216.24 difference).1 Adjusted only for such
  inflation from the year of that billed rate (2009) to the end of 2021, that $625.00
  hourly rate for Ms. Samora is $841.24.

  *   Carrie B. Hoffman (class of ’93): Ms. Hoffman works in Dallas.
  Her online biography states that she “represents and counsels major employers
  nationwide in all areas of labor and employment law across a wide range of in-
  dustries including retail and hospitality.” In a Sherman bankruptcy case, her law
  firm has her hourly rate listed as $835.00 for employment law work in 2021 such
  as, “Review employment agreement; prepare email regarding same.” See In re:
  Spherature Investments LLC, No. 20-42492 (Doc. 760) & (Doc, 760-3) at p. 1 &
  (760-8) at p. 128 (E.D. Tex. Bankr. Sherman) (Summary of Second Interim and
  Final Application of Foley & Lardner LLP, as Counsel to the Debtors, for Allow-
  ance of Compensation and Reimbursement of Expenses for Services Rendered
  During the Period from December 21, 2020 through November 12, 2021) (“Carrie
  B. Hoffman . . . Department Group, or Section . . . Labor & Employment . . . FYE
  2021 Hourly Rate . . . $835 . . .”). On January 12, 2022, Judge Brenda T. Rhoades
  granted the request for payment of these fees. See id. (Doc. 798).

  *   Vanessa Griffith (class of ’94): Ms. Griffith works in Dallas. Her
  online biography states that she “represents and advises employers in all aspects
  of employment law, including internal client investigations.” She billed for work
  in a Lufkin race discrimination in employment case. See McClain v. Lufkin

  1   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=625


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Industries, No. 9:97-CV-063 (Doc. 599-5) at pp. 37, 41 (E.D. Tex. Lufkin)
(Amended Declaration of Christopher V. Bacon, filed on January 20, 2009: “Time
Keepers Billing Under 10.00 hours . . . Griffith, Vanessa . . . Last Rate Billed . . .
390”; but that her “Current Rate” as of the date of testimony in January of 2009
was “500”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 34.60%
higher in 2021 versus 2009—a $172.99 difference from that stated rate of $500.00
in 2009.2 Adjusted only for such inflation from the year of that stated rate (2009)
to the end of 2021, that $500.00 hourly rate for Ms. Griffith is $672.99.

*   Tara Porterfield (class of ’96): Ms. Porterfield works in Austin.
Her online biography states that she “focuses her practice on employment litiga-
tion and counseling.” She billed for work in a Lufkin employment race discrimi-
nation case. See McClain v. Lufkin Industries, No. 9:97-CV-063 (Doc. 599-5) at
pp. 37–38 (E.D. Tex. Lufkin) (Amended Declaration of Christopher V. Bacon, filed
on January 20, 2009: “Time Keepers Billing Over 10.00 hours . . . Porterfield, Tara
. . . Last Rate Billed . . . 475”). According to the Consumer Price Index for legal
services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
services are 34.60% higher in 2021 versus 2009—a $164.34 difference from that
billed rate of $475.00 in 2009.3 Adjusted only for such inflation from the year of
that billed rate for work in a Lufkin employment case (2009) to the end of 2021,
that $475.00 hourly rate for Ms. Porterfield is $639.34.

*   Christopher V. Bacon (class of ’90): Mr. Bacon works in Hou-
ston. His online biography states that his “practice is primarily devoted to litigat-
ing employment matters on behalf of private employers.” He billed for work in a
Lufkin employment race discrimination case. See McClain v. Lufkin Industries,
No. 9:97-CV-063 (Doc. 599-5) at pp. 37–38 (E.D. Tex. Lufkin) (Amended Declara-
tion of Christopher V. Bacon, filed on January 20, 2009: “Time Keepers Billing
Over 10.00 hours . . . Bacon, Chris . . . Last Rate Billed . . . 475”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 34.60% higher in 2021 versus 2009—a
$164.34 difference from that billed rate of $475.00 in 2009.4 Adjusted only for such
inflation from the year of that billed rate for work in a Lufkin employment case
(2009) to the end of 2021, that $475.00 hourly rate for Mr. Bacon is $639.34.




2   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=500

3   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=475

4   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=475


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*   Marc S. Hepworth (class of ’98): Mr. Hepworth works in New
York. His online biography states that he “has been lead or co-lead counsel in
cases across the country wherein employees have been denied their overtime
wages.” On December 20, 2018, Judge Amos Mazzant found Mr. Hepworth’s
$600.00 hourly rate for work in a Sherman FLSA case was reasonable. See Hal-
leen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at p. 11, Page ID #: 2547 (E.D. Tex.
Sherman) (“Accordingly, the Court finds the hourly rates reported by Plaintiffs’
Counsel to be reasonable in light of the attorneys’ experience, the relevant rates
for similar attorneys in this community, and the specific facts of this case.”); id.
(Doc. 174-1) (requesting fees and reporting lodestar rate of $600.00 per hour:
“Marc Hepworth . . . Rate . . . $600 . . .”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 3.64% higher in 2021 versus 2018—a $21.82 difference from
that hourly rate of $600.00 Judge Mazzant found reasonable in 2018.5 Adjusted
only for such inflation from the year of Judge Mazzant’s finding (2018) to the end
of 2021, that $600.00 hourly rate for Mr. Hepworth is $621.82.

*   Gregg I. Shavitz (class of ’94): Mr. Shavitz works in Florida. His
online biography states that he “helps employees, whether it be Wage and Hour
cases, or Equal Pay Act Claims, or Discrimination matters.” On December 20,
2018, Judge Amos Mazzant found Mr. Shavitz’s $600.00 hourly rate for work in a
Sherman FLSA case was reasonable. See Halleen v. Belk, Inc., No. 4:16-cv-55 (Doc.
177) at p. 11, Page ID #: 2547 (E.D. Tex. Sherman) (“Accordingly, the Court finds
the hourly rates reported by Plaintiffs’ Counsel to be reasonable in light of the
attorneys’ experience, the relevant rates for similar attorneys in this community,
and the specific facts of this case.”); id. (Doc. 174-1) (requesting fees and reporting
lodestar rate of $600.00 per hour: “Gregg Shavitz . . . Rate . . . $600 . . .”). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 3.64% higher in 2021 versus
2018—a $21.82 difference from that hourly rate of $600.00 Judge Mazzant found
reasonable in 2018.6 Adjusted only for such inflation from the year of Judge Maz-
zant’s finding (2018) to the end of 2021, that $600.00 hourly rate for Mr. Shavitz
is $621.82.

*   David A. Roth (class of ’91): Mr. Roth works in New York. His
online biography notes that he devotes about half of his practice to focusing on
labor and employment law. On December 20, 2018, Judge Amos Mazzant found a
$600.00 hourly rate for Mr. Roth’s work in a Sherman FLSA case was reasonable.
See Halleen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at p. 11, Page ID #: 2547 (E.D.

5   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=600

6   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=600


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Tex. Sherman) (“Accordingly, the Court finds the hourly rates reported by Plain-
tiffs’ Counsel to be reasonable in light of the attorneys’ experience, the relevant
rates for similar attorneys in this community, and the specific facts of this case.”);
id. (Doc. 174-1) (requesting fees and reporting lodestar rate of $600.00 per hour:
“David Roth . . . Rate . . . $600 . . .”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 3.64% higher in 2021 versus 2018—a $21.82 difference from
that hourly rate of $600.00 Judge Mazzant found reasonable in 2018.7 Adjusted
only for such inflation from the year of Judge Mazzant’s finding (2018) to the end
of 2021, that $600.00 hourly rate for Mr. Roth is $621.82.

*   Charles Gershbaum (class of ’90): Mr. Gershbaum works in
New York. His online biography states that he “concentrates on employment liti-
gation, representing only the employees.” On December 20, 2018, Judge Amos
Mazzant found Mr. Gershbaum’s $600.00 hourly rate for work in a Sherman
FLSA case was reasonable. See Halleen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at
p. 11, Page ID #: 2547 (E.D. Tex. Sherman) (“Accordingly, the Court finds the
hourly rates reported by Plaintiffs’ Counsel to be reasonable in light of the attor-
neys’ experience, the relevant rates for similar attorneys in this community, and
the specific facts of this case.”); id. (Doc. 174-1) (requesting fees and reporting
lodestar rate of $600.00 per hour: “Charles Gershbaum . . . Rate . . . $600 . . .”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 3.64% higher in 2021
versus 2018—a $21.82 difference from that hourly rate of $600.00 Judge Mazzant
found reasonable in 2018.8 Adjusted only for such inflation from the year of Judge
Mazzant’s finding (2018) to the end of 2021, that $600.00 hourly rate for Mr.
Gershbaum is $621.82.

*   Andrew S. Golub (class of ’91): Mr. Golub works in Houston.
His online biography states that “[h]is practice focuses on employment and civil
rights-related counseling and litigation. On April 12, 2021, Judge Michael J.
Truncale concluded that Mr. Golub’s requested rate of $595.00 per hour was rea-
sonable for work done in a Beaumont FLSA case. See Jackson v. Mistry Hospital-
ity LLC, No. 1:19-CV-00422 (Doc. 49) at p. 3, PageID #: 233 (E.D. Tex. Beaumont)
(“The Court also concludes that an hourly rate of $595.00 is reasonable. Mr.
Golub’s education, experience, and qualifications support the reasonableness of
this rate.”).




7   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=600

8   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=600


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*    Alan Quiles (class of ’95): Mr. Quiles works in Florida. His online
biography states that he “focuses his practice in the area of employment law, spe-
cifically in the recovery of unpaid wages, overtime and minimum wages.” On De-
cember 20, 2018, Judge Amos Mazzant found a $550.00 hourly rate for Mr.
Quiles’s work in a Sherman FLSA case was reasonable. See Halleen v. Belk, Inc.,
No. 4:16-cv-55 (Doc. 177) at p. 11, Page ID #: 2547 (E.D. Tex. Sherman) (“Accord-
ingly, the Court finds the hourly rates reported by Plaintiffs’ Counsel to be rea-
sonable in light of the attorneys’ experience, the relevant rates for similar attor-
neys in this community, and the specific facts of this case.”); id. (Doc. 174-1) (re-
questing fees and reporting lodestar rate of $550.00 per hour: “Alan Quiles . . .
Rate . . . $550 . . .”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
3.64% higher in 2021 versus 2018—a $20.00 difference from that hourly rate of
$550.00 Judge Mazzant found reasonable in 2018.9 Adjusted only for such infla-
tion from the year of Judge Mazzant’s finding (2018) to the end of 2021, that
$550.00 hourly rate for Mr. Quiles is $570.00.

*    Christine M. Duignan (class of ’91): Ms. Duignan works in
Florida. Her online biography states that she “has devoted her practice to advo-
cating for workers’ rights.” On December 20, 2018, Judge Amos Mazzant found a
$550.00 hourly rate for Ms. Duignan’s work in a Sherman FLSA case was reason-
able. See Halleen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at p. 11, Page ID #: 2547
(E.D. Tex. Sherman) (“Accordingly, the Court finds the hourly rates reported by
Plaintiffs’ Counsel to be reasonable in light of the attorneys’ experience, the rele-
vant rates for similar attorneys in this community, and the specific facts of this
case.”); id. (Doc. 174-1) (requesting fees and reporting lodestar rate of $550.00 per
hour: “Christine Duignan . . . Rate . . . $550 . . .”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 3.64% higher in 2021 versus 2018—a $20.00 difference
from that hourly rate of $550.00 Judge Mazzant found reasonable in 2018.10 Ad-
justed only for such inflation from the year of Judge Mazzant’s finding (2018) to
the end of 2021, that $550.00 hourly rate for Ms. Duignan is $570.00.

*    Trey Branham (class of ’99): Ms. Branham works in Dallas. His
practice areas include labor and employment law. On August 11, 2015, Judge
Amos Mazzant ruled that $475.00 per hour was a reasonable rate for Mr. Bran-
ham’s work in a Sherman FLSA case. See Grimm v. Moore, et al., No. 4:14-CV-
329 (Doc. 34) at pp. 3–4, PageID #: 622–23 (E.D. Tex. Sherman) (“Based on a dec-
laration submitted to the Court, the attorneys seek to be compensated at the

9    https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=550

10   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=550


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following hourly rate: $475 per hour for Charles Branham[.] . . . Based on their
respective levels of experience, the Court finds that the hourly rates submitted in
this case are reasonable.”). According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 15.71% higher in 2021 versus 2015—a $74.61 difference from that hourly
rate of $475.00 Judge Mazzant found reasonable in 2015.11 Adjusted only for such
inflation from the year of Judge Mazzant’s finding (2015) to the end of 2021, that
$475.00 hourly rate for Mr. Branham is $549.61.

*    Robert G. “Bobby” Lee (class of ’93): Mr. Lee now works in
Houston but previously worked in North Texas. He is a labor and employment
law specialist. On April 24, 2018, Judge Amos Mazzant ruled that Mr. Lee’s re-
quest for fees was reasonable in a Sherman FLSA case. See Cole v. Wilcox, MD
PA, No. 4:17-CV-00367 (Doc. 18) at p. 3, PageID #: 111 (E.D. Tex. Sherman) (“Af-
ter reviewing Plaintiff’s motion, the Court finds that Plaintiff’s request is reason-
able and should be granted.”). That request was based on an hourly rate of $495.00
per hour for Mr. Lee’s work in that Sherman FLSA case. See id. (Doc. 16) at p. 1,
¶ 2, PageID #: 84 (Plaintiff’s Amended Application for Attorneys’ Fees and Costs
and Brief in Support: “The reasonable fee Plaintiff requests is $7,101.00. This is
based on an hourly rate of $495.00 for Robert (Bobby) Lee[.]. . .”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 3.64% higher in 2021 versus 2018—an
$18.00 difference from that hourly rate of $495.00 Judge Mazzant found reasona-
ble in 2018.12 Adjusted only for such inflation from the year of Judge Mazzant’s
finding (2018) to the end of 2021, that $495.00 hourly rate for Mr. Lee is $513.00.

*    Charles Vethan (class of ’94): Mr. Vethan works in Houston. His
online biography notes that he is a civil trial specialist. On October 13, 2016,
Judge Louis Guirola, Jr., approved a rate of $450.00 per hour for Mr. Vethan’s
work in a Sherman FLSA case. See Vassallo v. Goodman Networks, Inc., No. 4:15-
CV-97 (Doc. 144) at pp. 11–12, PageID #: 2612–13 (E.D. Tex. Sherman) (“Mr.
Lanza and Mr. Vethan billed their time at a rate of $450 per hour, while Mr.
Grove, Mr. Colvin, and Mr. Walker billed their time at a rate of $400 per hour.
Mr. Singhe billed his time at $275 per hour, and Mr. Bergen, Mr. Peterson, and
Ms. Mallary billed their time at a rate of $350 per hour. . . . The Court finds that
the attorneys’ proposed rates, which range from $275 per hour to $450 per hour,
should be approved by this Court.”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 11.93% higher in 2021 versus 2016—an $53.68 difference from

11   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=475

12   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=495


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that hourly rate of $450.00 Judge Guirola found reasonable in 2016.13 Adjusted
only for such inflation from the year of Judge Guirola’s finding (2016) to the end
of 2021, that $450.00 hourly rate for Mr. Vethan is $503.68.

*    Joseph L. Lanza (class of ’92): Mr. Lanza works in San Antonio.
His online biography states that he “litigates cases ranging from the enforcement
of non-competition provisions in contracts, misappropriation of trade secrets,
breaches of contract and fiduciary duties, and patent and trademark infringe-
ment.” On October 13, 2016, Judge Louis Guirola, Jr., approved a rate of $450.00
per hour for Mr. Lanza’s work in a Sherman FLSA case. See Vassallo v. Goodman
Networks, Inc., No. 4:15-CV-97 (Doc. 144) at pp. 11–12, PageID #: 2612–13 (E.D.
Tex. Sherman) (Judge Louis Guirola, Jr.) (“Mr. Lanza and Mr. Vethan billed their
time at a rate of $450 per hour, while Mr. Grove, Mr. Colvin, and Mr. Walker
billed their time at a rate of $400 per hour. Mr. Singhe billed his time at $275 per
hour, and Mr. Bergen, Mr. Peterson, and Ms. Mallary billed their time at a rate
of $350 per hour. . . . The Court finds that the attorneys’ proposed rates, which
range from $275 per hour to $450 per hour, should be approved by this Court.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 11.93% higher in 2021
versus 2016—an $53.68 difference from that hourly rate of $450.00 Judge Guirola
found reasonable in 2016.14 Adjusted only for such inflation from the year of Judge
Guirola’s finding (2016) to the end of 2021, that $450.00 hourly rate for Mr. Lanza
is $503.68.

*    John Werner (class of ’93): Mr. Werner works in Beaumont. His
practice areas include labor and employment law. On September 2, 2015, Judge
Ron Clark awarded Mr. Werner’s firm attorneys’ fees in a Beaumont FLSA case—
the amount Magistrate Judge Keith F. Giblin recommended on August 12, 2015.
See Rivera v. Evergreen Fabrication & Indus. Servs., Inc., No 1:14-cv-76 (Doc. 14)
at pp. 1–2, PageID #: 237–38 (E.D. Tex. Beaumont) (“Pursuant to Judge Giblin’s
recommendation, the Court awards damages in the amount of $8,460.00;
$3,970.00 in attorneys’ fees[.] . . .”); id. (Doc. 13) at p. 13, PageID #: 236 (“The un-
dersigned further recommends that the Court enter judgment in favor of the
plaintiff and assess judgment against the defendant. The judgment should award
the plaintiff $8,460.00 in damages, $3,970.00 in attorneys’ fees . . .”). The recom-
mendation was for the full amount of fees requested, which was calculated using
an hourly rate of $400.00 for Mr. Werner’s work. See id. (Doc. 9) at p. 6, PageID
#: 57 (Plaintiff’s Motion for Default Judgment: “Multiplying the total number of
hours expended in this matter by the hourly rates of the undersigned counsel,

13   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=450

14   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=450


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Plaintiff is entitled to reasonable and necessary attorney fees in the amount of
$3,970, plus taxable court costs.”); id. (Doc. 9-1) at pp. 1–2, PageID #: 216–17 (Af-
fidavit of Mark W. Frasher: “John Werner’s hourly rate is $400, which rate is
reasonable for a lawyer practicing in this community with the same or similar
experience. . . . My total fees are $2,730 and John Werner’s total fees are $1,240
for a total fee of $3,970.”). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 15.71% higher in 2021 versus 2015—a $62.83 difference from that hourly rate
of $400.00 that both Judge Clark and Magistrate Judge Giblin awarded in 2015.15
Adjusted only for such inflation from the year of these judges’ rulings (2015) to
the end of 2021, that $400.00 hourly rate for Mr. Werner is $462.83.

*    Michelle Mahony (class of ’97): Ms. Mahony works in Houston.
Her online biography states that “[f]or over twenty years, Michelle has counseled
and defended both large and small employers in matters covering a wide range of
traditional employment and wage and hour matters.” In or before 2009 she
worked on a Lufkin employment race discrimination case and her hourly rate for
that work was $335.00. See McClain v. Lufkin Industries, No. 9:97-CV-063 (Doc.
599-5) at p. 38 (E.D. Tex. Lufkin) (Amended Declaration of Christopher V. Bacon,
filed on January 20, 2009: “Timekeepers Billing Over 10.00 hours . . . Mahoney,
Mary [sic] . . . Last Rate Billed On This Case . . . $335”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 34.60% higher in 2021 versus 2009—a
$115.91 difference from that billed rate of $335.00 in 2009.16 Adjusted only for
such inflation from the year of that stated rate (2009) to the end of 2021, that
$335.00 hourly rate for Ms. Mahoney is $450.91.

*    Julia C. Hatcher (class of ’97): Ms. Hatcher works in Galveston.
Her online biography notes that she has a general practice that also includes liti-
gating employment discrimination. On March 17, 2015, Judge Ron Clark awarded
her requested hourly rate of $375.00 for work she did in a Lufkin employment
discrimination case. See Combs v. City of Huntington, Texas, No. 9:12-cv-00210
(Doc. 101) at pp. 5–6, Page ID #: 780–81 (E.D. Tex. Lufkin) (“Plaintiff’s motion for
attorney’s fees requests an hourly rate for Ms. Hatcher of $375[.] . . . Defendant
submitted no contravening evidence about prevailing local rates. Accordingly,
given Ms. Hatcher’s affidavit about her own experience and the court’s observa-
tions of Ms. Hatcher’s ability in trial, without intending to set any precedent, Mr.
Garrigan’s affidavit supports Ms. Hatcher’s requested hourly fee of $375 per
hour.”), vacated and remanded on other grounds, No. 15-40436 (5th Cir. July 15,

15   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=400

16   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=335


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2016). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 15.71% higher
in 2021 versus 2015—a $58.90 difference from Judge Clark’s award of $375.00 per
hour in 2015.17 Adjusted only for such inflation from the year of Judge Clark’s
ruling (2015) to the end of 2021, that $375.00 hourly rate for Ms. Hatcher is
$433.90.

*    Mark Frasher (class of ’96): Mr. Frasher works in Beaumont. His
practice areas include labor and employment law. On September 2, 2015, Judge
Ron Clark awarded Mr. Frasher’s firm attorneys’ fees in a Beaumont FLSA case—
the amount Magistrate Judge Keith F. Giblin recommended on August 12, 2015.
See Rivera v. Evergreen Fabrication & Indus. Servs., Inc., No 1:14-cv-76 (Doc. 14)
at pp. 1–2, PageID #: 237–38 (E.D. Tex. Beaumont) (“Pursuant to Judge Giblin’s
recommendation, the Court awards damages in the amount of $8,460.00;
$3,970.00 in attorneys’ fees . . .”); id. (Doc. 13) at p. 13, PageID #: 236 (“The un-
dersigned further recommends that the Court enter judgment in favor of the
plaintiff and assess judgment against the defendant. The judgment should award
the plaintiff $8,460.00 in damages, $3,970.00 in attorneys’ fees . . .”). The recom-
mendation was for the full amount of fees requested, which was calculated using
an hourly rate of $350.00 for Mr. Frasher’s work. See id. (Doc. 9) at p. 6, PageID
#: 57 (Plaintiff’s Motion for Default Judgment: “Multiplying the total number of
hours expended in this matter by the hourly rates of the undersigned counsel,
Plaintiff is entitled to reasonable and necessary attorney fees in the amount of
$3,970, plus taxable court costs.”); id. (Doc. 9-1) at p. 1, PageID #: 216 (Affidavit
of Mark W. Frasher: “My hourly rate in this matter is $350, which rate is reason-
able for a lawyer practicing in this community with the same or similar experi-
ence. . . . My total fees are $2,730 and John Werner’s total fees are $1,240 for a
total fee of $3,970.”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
15.71% higher in 2021 versus 2015—a $54.98 difference from that hourly rate of
$350.00 that both Judge Clark and Magistrate Judge Giblin awarded in 2015.18
Adjusted only for such inflation from the year of these judges’ rulings (2015) to
the end of 2021, that $350.00 hourly rate for Mr. Frasher is $404.98.




17   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=375

18   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=350


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Classes of the 2000s



  10                  lawyers listed




  $476.87                               average rate




  $452.32                               median rate

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                                  Classes of the 2000s:
                                       The Rates


              Laura                                      Seth
              Reasons                                    Grove
              (JD 2007)                                  (JD 2009)



              Aaron                                      Corinna
              Goldstein                                  Chandler
              (JD 2003)                                  (JD 2009)



              Camar R.                                   Christopher
              Jones                                      Willett
              (JD 2003)                                  (JD 2009)



              Rebecca                                    Corey E.
              Predovan                                   Devine
              (JD 2009)                                  (JD 2006)



              Jim                                        Timothy D.
              Sanford                                    Craig
              (JD 2005)                                  (JD 2003)


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Classes of the 2000s:
     The Work

  *   Laura Reasons (class of ’07): Ms. Reasons works in Chicago. Her
  online biography states that she “focuses her practice on wage and hour class and
  collective actions across the country arising under the Fair Labor Standards Act
  and state laws.” On June 16, 2020, Judge Robert W. Schroeder III ruled that Ms.
  Reasons’s hourly rate of $650.00 per hour was reasonable for work she did in a
  Texarkana FLSA case. See Waggoner v. VSE Corp., No. 5:18-cv-00058 (Doc. 155)
  at p. 14, PageID #: 2608 (E.D. Tex. Texarkana) (“The Court finds the hourly rates
  reported by Plaintiffs’ counsel to be reasonable in light of the attorneys’ experi-
  ence, the relevant rates for similar attorneys in this community and the specific
  facts of this case. . . . Laura Reasons performed a large percentage of the work
  performed by lawyers at the rate of $650 per hour.”). According to the Consumer
  Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
  the prices for legal services are 1.53% higher in 2021 versus 2020—a $9.98 differ-
  ence from that hourly rate of $650.00 that Judge Schroeder found was reasonable
  in 2020.1 Adjusted only for such inflation from the year of Judge Schroeder’s find-
  ing (2020) to the end of 2021, that $650.00 hourly rate for Ms. Reasons is $659.98.

  *   Aaron Goldstein (class of ’03): Mr. Goldstein works in Seattle.
  His online biography states that he “advises businesses and provides litigation
  expertise on all employment and trade secret related matters, from non-competi-
  tion agreements and data theft, to discrimination and harassment claims under
  Oregon, Washington, and federal law.” He billed for employment law work he did
  in an Eastern District of Texas bankruptcy case. See In re: Nuvectra Corp., No.
  19-43090 (Doc. 364) at p. 3, (Doc. 364-3) at Exhibit C, p. 1, and (Doc. 364-6) at
  Exhibit F, pp. 2, 45, 46, 48 (Bankr. E.D. Tex. Sherman) (Summary of Final Fee
  Application of Dorsey & Whitney LLP for Allowance of Compensation and Reim-
  bursement of Expenses as Counsel to the Debtor and Debtor in Possession for the
  Period November 12, 2019 through June 2, 2020) (for work such as “Review cor-
  respondence from L. Kalesnik, analyze various WARN Act issue, and correspond
  with L. Kalesnik regarding same” and “Continue researching and analyzing fed-
  eral WARN Act issues (1.4); review correspondence from B. Schmidt regarding

  1   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=650


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new facts relevant to analysis (.3); analyze proposed reduction in force in light of
same (.7); draft memorandum regarding WARN Act analysis (1.3)” and “Corre-
spond with case team multiple times regarding strategy for WARN Act and re-
lated issues (.5); confer with B. Schmidt regarding outstanding facts necessary
before providing a comprehensive WARN Act analysis (.8); analyze overall strat-
egy in light of information from case team (1.2)” and “Research WARN Act con-
structive discharge issues related to contemplated reduction in force (.7); corre-
spond with case team regarding same (.3); review WARN Act resources and cor-
respond with case team regarding same (.4)” and “Analyze and research multiple
WARN Act issues related to release agreement and possible exceptions to WARN
Act application”). For that work, the “Stated Rate” was $595.00 per hour—though
his firm said it applied a 10% discount to arrive at “$589.50” [which is not actually
a 10% discount] and that was the charge for work done in 2019. See id. (Doc. 364)
at p. 3. On August 12, 2020, Judge Brenda T. Rhoades approved the request for
fees. See id. (Doc. 386). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 1.53% higher in 2021 versus 2020—a $9.05 difference from that hourly rate of
$589.50 that was a part of the fees Judge Rhoades approved in 2020.2 Adjusted
only for such inflation from the year of Judge Rhoades’s fee award (2020) to the
end of 2021, that $589.50 hourly rate for Mr. Goldstein is $598.55.

*   Camar R. Jones (class of ’03): Mr. Jones works in Florida. His
online biography states that he “has extensive experience representing employees
who have been the victims of overtime and minimum wage violations, as well as
discrimination, harassment, wrongful termination, and retaliation.” On Decem-
ber 20, 2018, Judge Amos Mazzant determined Mr. Jones’s $520.00 hourly rate
for work in a Sherman FLSA case was reasonable. See Halleen v. Belk, Inc., No.
4:16-cv-55 (Doc. 177) at p. 11, PageID #: 2547 (E.D. Tex. Sherman) (“Accordingly,
the Court finds the hourly rates reported by Plaintiffs’ Counsel to be reasonable
in light of the attorneys’ experience, the relevant rates for similar attorneys in
this community, and the specific facts of this case.”); id. (Doc. 174-1) (requesting
fees and reporting lodestar rate of $520.00 per hour: “Camar Jones . . . Rate . . .
$520 . . .”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 3.64%
higher in 2021 versus 2018—an $18.91 difference from that hourly rate of $520.00
that Judge Mazzant found reasonable in 2018.3 Adjusted only for such inflation
from the year of Judge Mazzant’s finding (2018) to the end of 2021, that $520.00
hourly rate for Mr. Jones is $538.91.



2
    https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=589.50

3   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=520


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*   Rebecca Predovan (class of ’09): Ms. Predovan works in New
York. Her online biography states that she “concentrates her practice in Fair La-
bor Standards Act (FLSA) class action lawsuits, civil litigation, employment law,
federal employment and discrimination law.” On December 20, 2018, Judge Amos
Mazzant found Ms. Predovan’s $465.00 hourly rate for work in a Sherman FLSA
case was reasonable. See Halleen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at p. 11,
PageID #: 2547 (E.D. Tex. Sherman) (“Accordingly, the Court finds the hourly
rates reported by Plaintiffs’ Counsel to be reasonable in light of the attorneys’
experience, the relevant rates for similar attorneys in this community, and the
specific facts of this case.”); id. (Doc. 174-1) (requesting fees and reporting lodestar
rate of $465.00 per hour: “Rebecca Predovan . . . Rate . . . $465”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 3.64% higher in 2021 versus 2018—an
$16.91 difference from that hourly rate of $465.00 that Judge Mazzant found rea-
sonable in 2018.4 Adjusted only for such inflation from the year of Judge Maz-
zant’s finding (2018) to the end of 2021, that $465.00 hourly rate for Ms. Predovan
is $481.91.

*   Jim Sanford (class of ’05): Mr. Sanford works in Dallas. His online
biography notes he “counsels and advocates for clients in the area of labor and
employment law.” On January 8, 2020, Judge Amos L. Mazzant found that
$450.00 per hour was a reasonable hourly rate for Mr. Sanford’s work in a Sher-
man FLSA case. See Guzman v. GS Fire Protection, LLC, No. 4:19-cv-00214 (Doc.
12) at p. 4, PageID #: 187 (E.D. Tex. Sherman) (“The Court also finds that the
reasonable rates for Plaintiffs’ counsel are $450/hour for James Sanford[.]”). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020—a $6.91 difference from that hourly rate of $450.00 that Judge Maz-
zant found reasonable in 2020.5 Adjusted only for such inflation from the year of
Judge Mazzant’s finding (2020) to the end of 2021, that $450.00 hourly rate for
Mr. Sanford is $456.91.

*   Seth Grove (class of ’09): Mr. Grove works in San Antonio. His
online biography notes that his practice areas include Fair Labor Standards Act
claims. On October 13, 2016, Judge Louis Guirola, Jr., approved a rate of $400.00
per hour for Mr. Grove’s work in a Sherman FLSA case. See Vassallo v. Goodman
Networks, Inc., No. 4:15-CV-97 (Doc. 144) at pp. 11–12, PageID #: 2612–13 (E.D.
Tex. Sherman) (“Mr. Lanza and Mr. Vethan billed their time at a rate of $450 per
hour, while Mr. Grove, Mr. Colvin, and Mr. Walker billed their time at a rate of

4   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=465

5   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=450


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$400 per hour. Mr. Singhe billed his time at $275 per hour, and Mr. Bergen, Mr.
Peterson, and Ms. Mallary billed their time at a rate of $350 per hour. . . . The
Court finds that the attorneys’ proposed rates, which range from $275 per hour to
$450 per hour, should be approved by this Court.”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 11.93% higher in 2021 versus 2016—a $47.72 dif-
ference from that hourly rate of $400.00 Judge Guirola found reasonable in 2016.6
Adjusted only for such inflation from the year of Judge Guirola’s finding (2016) to
the end of 2021, that $400.00 hourly rate for Mr. Grove is $447.72.

*   Corinna Chandler (class of ’09): Ms. Chandler works in Dallas
and she focuses her practice on employment law. On August 11, 2015, Judge Amos
Mazzant ruled that $375.00 per hour was a reasonable rate for Ms. Chandler’s
work in a Sherman FLSA case. See Grimm v. Moore, et al., No. 4:14-CV-
329 (Doc. 34) at pp. 3–4, PageID #: 622–23 (E.D. Tex. Sherman) (“Based on a
declaration submitted to the Court, the attorneys seek to be compensated at the
following hourly rate . . . $375 per hour for Corinna Chandler. . . . Based on their
respective levels of experience, the Court finds that the hourly rates submitted in
this case are reasonable.”). According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 15.71% higher in 2021 versus 2015—a $58.90 difference from that hourly
rate of $375.00 Judge Mazzant found reasonable in 2015.7 Adjusted only for such
inflation from the year of Judge Mazzant’s finding (2015) to the end of 2021, that
$375.00 hourly rate for Ms. Chandler is $433.90.

*   Christopher Willett (class of ’09): Mr. Willett works in Austin.
On June 10, 2020, Judge Amos L. Mazzant awarded fees for work Mr. Willett did
in a Sherman unpaid wage/breach of contract case—adopting the recommenda-
tion of Magistrate Judge Christine A. Nowak that determined Mr. Willett’s hourly
rate of $405.00 was reasonable. See Moctezuma v. Dion Islas, No. 4:18-cv-00342
(Doc. 87) at p. 1, PageID #: 384 (E.D. Tex. Sherman) (“Having received the report
of the United States Magistrate Judge, and no objections thereto having been
timely filed, the Court is of the opinion that the findings and conclusions of the
Magistrate Judge are correct and adopts the Magistrate Judge’s report as the
findings and conclusions of the Court. It is therefore ORDERED that Plaintiffs’
Motion for Award of Attorneys’ Fees [Dkt. #82] is GRANTED, and Plaintiffs shall
have and recover their attorneys’ fees in the amount of $5,869.50 from Defend-
ant.”); id. (Doc. 86) at p. 8, PageID #: 382 (“Plaintiffs’ Counsel report hourly rates
ranging between $270.00 to $405.00 [Dkt. 82-1 at 3]. Ms. Khader’s hourly rate is


6   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=400

7   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=375


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$375.00, Ms. Ali’s hourly rate is $270.00, and Mr. Willett’s hourly rate is $405.00.
. . . The Court finds the requested hourly rates to be reasonable and appropriate
in light of the attorneys’ experience, the relevant rates for similar attorneys in
this community, and the specific facts of this case.”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 1.53% higher in 2021 versus 2020—a $6.22 differ-
ence from that hourly rate of $405.00 that these judges found was reasonable in
2020.8 Adjusted only for such inflation from the year of these judges’ rulings (2020)
to the end of 2021, that $405.00 hourly rate for Mr. Willett is $411.22.

*    Corey E. Devine (class of ’06): Mr. Devine works in Houston. His
online biography states that he “focuses his practice on traditional employment,
wage and hour, and unfair competition disputes and counseling, especially for cli-
ents in the energy industry.” He billed for work in a Lufkin employment race dis-
crimination case. See McClain v. Lufkin Industries, No. 9:97-CV-063 (Doc. 599-5)
at pp. 37, 38 (E.D. Tex. Lufkin) (Amended Declaration of Christopher V. Bacon,
filed on January 20, 2009: “Time Keepers Billing Over 10.00 hours . . . Devine,
Corey . . . Last Rate Billed . . . 210” but that his “Current Rate” as of the date of
testimony in January of 2009 was “280”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 34.60% higher in 2021 versus 2009—a $96.88 difference from
the year of that “current rate.”9 Adjusted only for such inflation from the year of
that testified “current rate” (2020) to the end of 2021, that $280.00 hourly rate for
Mr. Devine is $376.88.

*    Timothy D. Craig (class of ’03): Mr. Craig works in Nacogdo-
ches. His practice areas include labor and employment law. On February 20, 2018,
Magistrate Judge Roy S. Payne found that Mr. Craig was worthy of the $350.00
per hour rate requested for work in a Marshall employment discrimination and
retaliation case. See Fisher v. Lufkin Indus., Inc., No. 2:12-CV-423 (Doc. 127) at
p. 4, PageID #: 2053 (E.D. Tex. Marshall) (“The Court is not as familiar with Mr.
Craig, but finds his work in this case worthy of the $350 hourly rate requested.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 3.64% higher in 2021
versus 2018—a $12.73 difference from the year of Magistrate Judge Payne’s find-
ing.10 Adjusted only for such inflation from the year of Magistrate Judge Payne’s
finding (2018) to the end of 2021, that $350.00 hourly rate for Mr. Craig is $362.73.


8    https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=405

9    https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=280

10   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=350


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Classes of the 2010s



  13                  lawyers listed




  $365.09                               average rate




  $342.00                               median rate




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                                      Classes of the 2010s:
                                           The Rates

              Paolo                                          Logan A.
              Meireles                                       Pardell
              (JD 2010)                                      (JD 2015)


              Brooke                                         Joshua
              Bahlinger                                      Cittadino
              (JD 2019)                                      (JD 2014)


              Marina                                         Stephanie
              Lyons                                          Gharakhanian
              (JD 2013)                                      (JD 2013)


              David                                          Megan
              Bergen                                         Dixon
              (JD 2015)                                      (JD 2012)


              Olivia C.                                      Reema
              Mallary                                        Ali
              (JD 2015)                                      (JD 2018)


              Shana                                          Sean
              Khader                                         Goldhammer
              (JD 2011)                                      (JD 2016)


              Janine
              Kapp
              (JD 2015)

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Classes of the 2010s:
     The Work

  *   Paolo Meireles (class of ’10): Mr. Meireles works in Florida. His
  online biography states that his “practice focuses on class and collective action
  cases seeking unpaid wages on behalf of current and former employees nation-
  wide.” On December 20, 2018, Judge Amos Mazzant found Mr. Meireles’s $500.00
  hourly rate for work in a Sherman FLSA case was reasonable. See Halleen v. Belk,
  Inc., No. 4:16-cv-55 (Doc. 177) at p. 11, PageID #: 2547 (E.D. Tex. Sherman) (“Ac-
  cordingly, the Court finds the hourly rates reported by Plaintiffs’ Counsel to be
  reasonable in light of the attorneys’ experience, the relevant rates for similar at-
  torneys in this community, and the specific facts of this case.”); id. (Doc. 174-1) at
  p. 28, PageID #: 2336 (requesting fees and reporting lodestar rate of $500.00 per
  hour: “Paulo Meireles . . . Rate . . . $500”). According to the Consumer Price Index
  for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
  for legal services are 3.64% higher in 2021 versus 2018—an $18.18 difference from
  that hourly rate of $500.00 Judge Mazzant found reasonable in 2018.1 Adjusted
  only for such inflation from the year of Judge Mazzant’s finding (2018) to the end
  of 2021, that $500.00 hourly rate for Mr. Meireles is $518.18.

  *   Brooke Bahlinger (class of ’19): Ms. Bahlinger works in Dallas.
  Her online biography states that she “is a labor and employment lawyer . . .” In a
  Sherman bankruptcy case, her law firm has her hourly rate listed as $440.00 for
  employment law work in 2021 such as, “Consult with team and B. Smith regard-
  ing noncompete and consideration issues; research and analyze case law regard-
  ing non-compete consideration and severance; analyze authentication issue with
  affidavit.” See In re: Spherature Investments LLC, No. 20-42492 (Doc. 760) at p.1
  & (760-3) at p. 1 & (Doc. 760-8) at p. 117 (E.D. Tex. Bankr. Sherman) (Summary
  of Second Interim and Final Application of Foley & Lardner LLP, as Counsel to
  the Debtors, for Allowance of Compensation and Reimbursement of Expenses for
  Services Rendered During the Period from December 21, 2020 through November
  12, 2021) (“Brooke C. Bahlinger . . . FYE 2021 Hourly Rate . . . $440 . . .”). On
  January 12, 2022, Judge Brenda T. Rhoades granted the request for payment of
  these fees. See id. (Doc. 798).


  1   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=500


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*   Marina Lyons (class of ’13): Ms. Lyons works in Seattle. Her
online biography states that she “has extensive experience litigating employment
issues and has advised clients concerning wage and hour disputes, discrimination,
breach of contract, non-compete claims, investigations by governmental agencies,
and drafting employment handbooks and policies.” She billed for employment law
work she did in an Eastern District of Texas bankruptcy case. See In re: Nuvectra
Corp., No. 19-43090 (Doc. 364) at p. 3, (Doc. 364-3) at Exhibit C, p. 1, and (Doc.
364-6) at Exhibit F, p. 46 (Bankr. E.D. Tex. Sherman) (Summary of Final Fee
Application of Dorsey & Whitney LLP for Allowance of Compensation and Reim-
bursement of Expenses as Counsel to the Debtor and Debtor in Possession for the
Period November 12, 2019 through June 2, 2020) (for work including “Further
research and analyze the way in which courts determine the location of the site of
employment for purposes of telecommuting employees under the Worker Adjust-
ment and Retraining Notification Act”). For that work, the “Stated Rate” was
$475.00 per hour—though her firm applied a 10% discount yielding $427.50 per
hour, and that was the charge for work done in 2019. See id. On August 12, 2020,
Judge Brenda T. Rhoades approved the request for fees. See id. (Doc. 386). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020 (a $6.56 difference).2 Adjusted only for such inflation from the year of
Judge Rhoades’s approval (2020) to the end of 2021, that $427.50 hourly rate for
Ms. Lyons is $434.06.

*   David Bergen (class of ’15): Mr. Bergen works in Houston. His
online biography notes that he represents injured plaintiffs. On October 13, 2016,
Judge Louis Guirola, Jr., approved a rate of $350.00 per hour for Mr. Bergen’s
work in a Sherman FLSA case. See Vassallo v. Goodman Networks, Inc., No. 4:15-
CV-97 (Doc. 144) at pp. 11–12, PageID #: 2612–13 (E.D. Tex. Sherman) (“Mr. Ber-
gen, Mr. Peterson, and Ms. Mallary billed their time at a rate of $350 per hour. .
. . The Court finds that the attorneys’ proposed rates, which range from $275 per
hour to $450 per hour, should be approved by this Court.”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016—a
$41.75 difference from that hourly rate of $350.00 Judge Guirola found reasonable
in 2016.3 Adjusted only for such inflation from the year of Judge Guirola’s finding
(2016) to the end of 2021, that $350.00 hourly rate for Mr. Bergen is $391.75.



2
    https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=427.50

3   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=350


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*   Olivia C. Mallary (class of ’15): Ms. Mallary works in Louisiana.
Her online biography notes that her practice areas include employment law. On
October 13, 2016, Judge Louis Guirola, Jr., approved a rate of $350.00 per hour
for Ms. Mallary’s work in a Sherman FLSA case. See Vassallo v. Goodman Net-
works, Inc., No. 4:15-CV-97 (Doc. 144) at pp. 11–12, PageID #: 2612–13 (E.D. Tex.
Sherman) (“Mr. Bergen, Mr. Peterson, and Ms. Mallary billed their time at a rate
of $350 per hour. . . . The Court finds that the attorneys’ proposed rates, which
range from $275 per hour to $450 per hour, should be approved by this Court.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 11.93% higher in 2021
versus 2016—a $41.75 difference from that hourly rate of $350.00 Judge Guirola
found reasonable in 2016.4 Adjusted only for such inflation from the year of Judge
Guirola’s finding (2016) to the end of 2021, that $350.00 hourly rate for Ms. Mal-
lary is $391.75.

*   Shana Khader (class of ’11): Ms. Khader works in Dallas. Her
practice areas include labor and employment law. On June 10, 2020, Judge Amos
L. Mazzant awarded fees for work Ms. Khader did in a Sherman unpaid
wage/breach of contract case—adopting the recommendation of Magistrate Judge
Christine A. Nowak that determined Ms. Khader’s hourly rate of $375.00 was
reasonable. See Moctezuma v. Dion Islas, No. 4:18-cv-00342 (Doc. 87) at p. 1,
PageID #: 384 (E.D. Tex. Sherman) (“Having received the report of the United
States Magistrate Judge, and no objections thereto having been timely filed, the
Court is of the opinion that the findings and conclusions of the Magistrate Judge
are correct and adopts the Magistrate Judge’s report as the findings and conclu-
sions of the Court. It is therefore ORDERED that Plaintiffs’ Motion for Award of
Attorneys’ Fees (Dkt. #82) is GRANTED, and Plaintiffs shall have and recover
their attorneys’ fees in the amount of $5,869.50 from Defendant.”); id. (Doc. 86) at
p. 8, PageID #: 382 (“Plaintiffs’ Counsel report hourly rates ranging between
$270.00 to $405.00 (Dkt. 82-1 at 3). Ms. Khader’s hourly rate is $375.00, Ms. Ali’s
hourly rate is $270.00, and Mr. Willett’s hourly rate is $405.00. . . . The Court
finds the requested hourly rates to be reasonable and appropriate in light of the
attorneys’ experience, the relevant rates for similar attorneys in this community,
and the specific facts of this case.”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 1.53% higher in 2021 versus 2020—a $5.76 difference from that
hourly rate of $375.00 that these judges found was reasonable in 2020.5 Adjusted


4   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=350

5   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=375


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only for such inflation from the year of these judges’ rulings (2020) to the end of
2021, that $375.00 hourly rate for Ms. Khader is $380.76.

*   Janine Kapp (class of ’15): Ms. Kapp works in New York. Her
online biography states that she “represents employees in employment law litiga-
tion.” On December 20, 2018, Judge Amos Mazzant determined Ms. Kapp’s
$330.00 hourly rate for work in a Sherman FLSA case was reasonable. See Hal-
leen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at p. 11, PageID #: 2547 (E.D. Tex.
Sherman) (“Accordingly, the Court finds the hourly rates reported by Plaintiffs’
Counsel to be reasonable in light of the attorneys’ experience, the relevant rates
for similar attorneys in this community, and the specific facts of this case.”); id.
(Doc. 174-1) at p. 28, PageID #: 2336 (requesting fees and reporting lodestar rate
of $330.00 per hour: “Janine Kapp . . . Rate . . . $330”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 3.64% higher in 2021 versus 2018—a $12.00 dif-
ference from that hourly rate of $330.00 that Judge Mazzant found reasonable in
2018.6 Adjusted only for such inflation from the year of Judge Mazzant’s finding
(2018) to the end of 2021, that $330.00 hourly rate for Ms. Kapp is $342.00.

*   Logan A. Pardell (class of ’15): Mr. Pardell works in Florida.
His online biography notes that he “focuses his practice on nationwide complex
employment class and collective action litigation, specifically claims for unpaid
overtime wages.” On December 20, 2018, Judge Amos Mazzant determined Mr.
Pardell’s $330.00 hourly rate for work in a Sherman FLSA case was reasonable.
See Halleen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at p. 11, PageID #: 2547 (E.D.
Tex. Sherman) (“Accordingly, the Court finds the hourly rates reported by Plain-
tiffs’ Counsel to be reasonable in light of the attorneys’ experience, the relevant
rates for similar attorneys in this community, and the specific facts of this case.”);
id. (Doc. 174-1) at p. 28, PageID #: 2336 (requesting fees and reporting lodestar
rate of $330.00 per hour: “Logan Pardell . . . Rate . . . $330”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 3.64% higher in 2021 versus 2018—a
$12.00 difference from that hourly rate of $330.00 that Judge Mazzant found rea-
sonable in 2018.7 Adjusted only for such inflation from the year of Judge Maz-
zant’s finding (2018) to the end of 2021, that $330.00 hourly rate for Mr. Pardell
is $342.00.



6   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=330

7   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=330


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*   Joshua Cittadino (class of ’14): Mr. Cittadino works in New
Jerset and previously worked in New York. His online biography notes that he
“has represented clients dealing with unfair employment practices in both State
and Federal Court.” On December 20, 2018, Judge Amos Mazzant found Mr. Cit-
tadino’s $330.00 hourly rate for work in a Sherman FLSA case was reasonable.
See Halleen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at p. 11, PageID #: 2547 (E.D.
Tex. Sherman) (“Accordingly, the Court finds the hourly rates reported by Plain-
tiffs’ Counsel to be reasonable in light of the attorneys’ experience, the relevant
rates for similar attorneys in this community, and the specific facts of this case.”);
id. (Doc. 174-1) at p. 28, PageID #: 2336 (requesting fees and reporting lodestar
rate of $330.00 per hour: “Joshua Cittadino . . . Rate . . . $330”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 3.64% higher in 2021 versus 2018—a
$12.00 difference from that hourly rate of $330.00 that Judge Mazzant found rea-
sonable in 2018.8 Adjusted only for such inflation from the year of Judge Maz-
zant’s finding (2018) to the end of 2021, that $330.00 hourly rate for Mr. Cittadino
is $342.00.

*   Stephanie Gharakhanian (class of ’13): Ms. Gharakhanian
works in Austin. She previously served as special counsel for the Workers Defense
Project—“a community organization for low-wage, immigrant workers in the
Texas construction industry.” She now works for the Travis County District At-
torney’s Office. On January 8, 2020, Judge Amos L. Mazzant found that $325.00
per hour was a reasonable hourly rate for Ms. Gharakhanian’s work in a Sherman
FLSA case. See Guzman v. GS Fire Protection, LLC, No. 4:19-cv-00214 (Doc. 12)
at p. 4, PageID #: 187 (E.D. Tex. Sherman) (“The Court also finds that the reason-
able rates for Plaintiffs’ counsel are . . . $325/hour for Stephanie Gharakhanian[.] .
. .”). According to the Consumer Price Index for legal services as generated by the
U.S. Bureau of Labor Statistics, the prices for legal services are 1.53% higher in
2021 versus 2020—a $329.99 difference from that hourly rate of $325.00 that
Judge Mazzant found reasonable in 2020.9 Adjusted only for such inflation from
the year of Judge Mazzant’s finding (2020) to the end of 2021, that $325.00 hourly
rate for Ms. Gharakhanian is $329.99.

*   Megan Dixon (class of ’12): Ms. Dixon works in Dallas. Her online
biography states that she “focuses her practice on representing employees in a
variety of employment disputes in state and federal courts throughout Texas.” On


8   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=330

9   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=325


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April 24, 2018, Judge Amos Mazzant found her firm’s request for fees was reason-
able in a Sherman FLSA case. See Cole v. Wilcox, MD PA, No. 4:17-CV-00367 (Doc.
18) at p. 3, PageID #: 111 (E.D. Tex. Sherman) (“After reviewing Plaintiff’s motion,
the Court finds that Plaintiff’s request is reasonable and should be granted”); id.
(Doc. 16) at p. 6, ¶ 14, PageID #: 89 (Plaintiff’s Amended Application for Attorneys’
Fees and Costs and Brief in Support, seeking $295.00 per hour for Ms. Dixon’s
work). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 3.64% higher
in 2021 versus 2018—a $10.73 difference from that hourly rate of $295.00 that
Judge Mazzant found reasonable in 2018.10 Adjusted only for such inflation from
the year of Judge Mazzant’s finding (2018) to the end of 2021, that $295.00 hourly
rate for Ms. Dixon is $305.73.

*    Reema Ali (class of ’18): Ms. Ali works in Dallas. Her practice in-
cludes representing low-wage workers in employment matters. On June 10, 2020,
Judge Amos L. Mazzant awarded fees for work Ms. Ali did in a Sherman unpaid
wage/breach of contract case—adopting the recommendation of Magistrate Judge
Christine A. Nowak that determined Ms. Ali’s hourly rate of $270.00 was reason-
able. See Moctezuma v. Dion Islas, No. 4:18-cv-00342 (Doc. 87) at p. 1, PageID #:
384 (E.D. Tex. Sherman) (“Having received the report of the United States Mag-
istrate Judge, and no objections thereto having been timely filed, the Court is of
the opinion that the findings and conclusions of the Magistrate Judge are correct
and adopts the Magistrate Judge’s report as the findings and conclusions of the
Court. It is therefore ORDERED that Plaintiffs’ Motion for Award of Attorneys’
Fees (Dkt. #82) is GRANTED, and Plaintiffs shall have and recover their attor-
neys’ fees in the amount of $5,869.50 from Defendant.”); id. (Doc. 86) at p. 8,
PageID #: 382 (“Plaintiffs’ Counsel report hourly rates ranging between $270.00
to $405.00 (Dkt. 82-1 at 3). Ms. Khader’s hourly rate is $375.00, Ms. Ali’s hourly
rate is $270.00, and Mr. Willett’s hourly rate is $405.00. . . . The Court finds the
requested hourly rates to be reasonable and appropriate in light of the attorneys’
experience, the relevant rates for similar attorneys in this community, and the
specific facts of this case.”). According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 1.53% higher in 2021 versus 2020—a $4.14 difference from that hourly
rate of $270.00 that these judges found was reasonable in 2020.11 Adjusted only
for such inflation from the year of these judges’ rulings (2020) to the end of 2021,
that $270.00 hourly rate for Ms. Ali is $274.14.



10   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=295

11   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=270


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*    Sean Goldhammer (class of ’16): Mr. Goldhammer works in
Dallas for the Workers Defense Project—“a community organization for low-wage,
immigrant workers in the Texas construction industry.” On January 8, 2020,
Judge Amos L. Mazzant found that $250.00 per hour was a reasonable hourly rate
for Mr. Goldhammer’s work in a Sherman FLSA case. See Guzman v. GS Fire
Protection, LLC, No. 4:19-cv-00214 (Doc. 12) at p. 4, PageID #: 187 (E.D. Tex.
Sherman) (“The Court also finds that the reasonable rates for Plaintiffs’ counsel
are . . . $250/hour for Sean Goldhammer[.] . . .”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 1.53% higher in 2021 versus 2020—a $3.84 difference
from that hourly rate of $250.00 that Judge Mazzant found was reasonable in
2020.12 Adjusted only for such inflation from the year of Judge Mazzant’s finding
(2020) to the end of 2021, that $250.00 hourly rate for Mr. Goldhammer is $253.84.




12   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=250


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                                        West Texas




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                                 WDTX† summary of rates listed: high to low

                                                 $923.47 to $260.34
Rate       Name / JD Year                        Rate        Name / JD Year
$923.47*   Ricardo G. Cedillo (JD 1979)          $440.00*    Andrew Vickers (JD 2012)
$908.54*   Stephen E. Fox (JD 1987)              $414.55*    Corey E. Tanner (JD 2011)
$885.16*   Jesse J. Gelsomini (JD 1986)          $411.22*    Christopher Willett (JD 2009)
$867.81*   Felicity A. Fowler (JD 1992)          $405.43*    Jairo N. Castellanos (JD 2015)
$790.00*   Eric Taube (JD 1983)                  $405.30*    Stephen Key (JD 1994)
$773.94*   Kelly D. Hine (JD 1997)               $404.98*    J. Derek Braziel (JD 1995)
$665.00*   David Weiser (JD 1986)                $404.98*    Joseph Bourbois (JD 1994)
$600.44*   Colin W. Walsh (JD 2011)              $400.95*    Edmond S. Moreland, Jr. (JD 1997)
$600.44*   Kalandra N. Wheeler (JD 2005)         $391.75*    Robert Notzon (JD 1996)
$588.90*   Mario A. Barrera (JD 1984)            $388.61*    Kristen Elizondo (JD 2007)
$587.74*   John Wenke (JD 1993)                  $382.44*    Eric Johnston (JD 2005)
$587.74*   John P. Mobbs (JD 1992)               $378.28*    Stephanie S. Rojo (JD 2003)
$563.52*   Laura O’Donnell (JD 1996)             $376.81*    Adam D. Boland (JD 2004)
$559.65*   Galvin B. Kennedy (JD 1996)           $375.00*    Emily Frost (JD 2002)
$555.16*   Rebecca L. Fisher (JD 1994)           $365.53*    Caitlin Boehne (JD 2012)
$553.37*   Shafeeqa W. Giarratani (JD 2005)      $365.03*    Mauro Ramirez (JD 2007)
$540.00*   William Helfand (JD 1987)             $369.24*    Gregory Placzek (JD 2009)
$530.49*   Michael Shaunessy (JD 1987)           $359.24*    Vanessa Kinney (JD 2007)
$525.00*   Douglas B. Welmaker (JD 1993)         $352.64*    Kerry O’Brien (JD 2002)
$513.20*   Josh Sanford (JD 2001)                $347.12*    M. Black-Matthews (JD 2006)
$491.76*   Rachhana T. Srey (JD 2004)            $339.26*    Carmen Artaza (JD 2006)
$491.76*   Paul J. Lukas (JD 1991)               $335.79*    John Neuman (JD 2012)
$487.31*   Ramon Bissmeyer (JD 1993)             $335.79*    Aaron Johnson (JD 2008)
$481.14*   Maria Karos (JD 1993)                 $335.79*    Manuel Quinto-Pozos (JD 2007)
$481.14*   Judy Jetelina (JD 1985)               $335.79*    Matt Bachop (JD 2006)
$476.20*   Robert G. “Bobby” Lee (JD 1993)       $324.91*    Alicia M. Grant (JD 2016)
$472.14*   Stephen J. Romero (JD 2004)           $318.20*    Alexander M. Baggio (JD 2009)
$471.10*   Taj Clayton (JD 2005)                 $313.40*    Phillip J. Moss (JD 2010)
$461.88*   Lawrence Morales II (JD 2005)         $310.91*    Melinda Arbuckle (JD 2011)
$456.91*   Elizabeth Higginbotham (JD 1993)      $307.92*    Steve Rauls (JD 2011)
$456.91*   Thomas H. Padgett, Jr. (JD 1989)      $293.87*    Michael L. Parsons (JD 2011)
$450.00*   Edward M. “Ted” Smith (JD 1994)       $282.26*    Allison Hartry (JD 2012)
$447.72*   Don J. Foty (JD 2006)                 $270.20*    Collin Wynne (JD 2010)
$440.45*   Holly Williams (JD 1993)              $260.34*    Jay Forester (JD 2013)

   †
    Courts note the relevant community for fees is district-wide—not by city or division. See,
   e.g., Lewallen v. City of Beaumont, 394 Fed. Appx. 38, 46 (5th Cir. 2010); Treadway v.
   Otero, No. 2:19-CV-244 [Doc. 157] at p. 9 (S.D. Tex. Oct. 6, 2020) (citing cases and
   concluding: “When it comes to parsing between divisions, it appears that it is the district,
   rather than the division, that should govern the decision.”).
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                                  Classes of the 1970s:
                                       The Rates


Ricardo G. Cedillo (JD 1979)




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Classes of the 1970s:
     The Work


  *   Ricardo G. Cedillo (class of ’79): Mr. Cedillo works in San An-
  tonio. His online biography states that “he has earned an international reputation
  as one of the top trial attorneys.” On April 10, 2012, Judge Xavier Rodriguez
  awarded fees in a San Antonio FLSA case and that fee award included work Mr.
  Cedillo did at the hourly rate of $750.00. See Barrera v. MTC, Inc., No. 5:10-cv-
  00665 (Doc. 77) (W.D. Tex. San Antonio) (“Defendant has tendered affidavits ex-
  plaining that it incurred $3,379 in attorney’s fees in preparing for and attending
  the depositions in question and preparing the motion for sanctions. Defendant
  also incurred $451.75 in costs. Plaintiffs have not objected to these requested fees
  and costs. Plaintiffs Andrade and Molina are ordered to pay to Defendant a total
  of $3,830.75 within fourteen days of this Order.”); id. Defendant’s Submission of
  Attorneys’ Fees and Expenses (Doc. 73) at pp. 2–3, ¶ 2 (“As shown by the attached
  evidence of Defendant’s counsel (Cox Smith Matthews Incorporated and Davis,
  Cedillo & Mendoza, Inc.), Defendant incurred a total of $3,379.00 in attorneys’
  fees in preparing for and attending the depositions, as well as drafting its Motion
  for Sanctions, among other necessary tasks, and incurred a total of $451.75 in
  costs for a grand total of $3,830.75.”); id. Affidavit of Ramon D. Bissmeyer in Sup-
  port of Submission of Attorneys’ Fees and Expenses (Doc. 73-1) at pp. 4–5, ¶¶ 7–
  8 (“Defendant MTC has incurred $2,004.00 in attorneys’ fees in connection with
  its Motion for Sanctions and the above-described related tasks. . . .”); Declaration
  of Mark W. Kiehne in Support of Attorneys’ Fees and Expenses (Doc. 73-2) at p.
  2, ¶¶ 7–8 (“Ricardo G. Cedillo - $750 (1 hour x $750/hour) . . . .”). According to the
  Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
  Statistics, the prices for legal services are 23.37% higher in 2021 versus 2012 (a
  $175.27 difference).1 Adjusted only for such inflation from the date of this award
  to the end of 2021, that $750 hourly rate for Mr. Cedillo is $925.27.




  1   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=750

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Classes of the 1980s


 9       lawyers listed




 $649.57                               average rate




 $588.90                               median rate



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                                   Classes of the 1980s:
                                        The Rates



       Stephen E.                    David                             Michael
       Fox                           Weiser                            Shaunessy
       (JD 1987)                     (JD 1986)                         (JD 1987)




       Jesse J.                       Mario A.                          Judy
       Gelsomini                      Barrera                           Jetelina
       (JD 1986)                      (JD 1984)                         (JD 1985)




       Eric                          William S.                     Thomas
       Taube                         Helfand                        “Tom” H.
       (JD 1983)                     (JD 1987)                      Padgett, Jr.
                                                                    (JD 1989)




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Classes of the 1980s:
     The Work

  * Stephen          E. Fox (class of ’87): Mr. Fox works in Dallas, and his
  online biography notes that he is a partner in his firm’s Labor and Employment
  practice group. In 2009, he noted in a fee agreement—in which he was engaged to
  work in a breach of compensation agreement case filed in Austin by an employee—
  that his standard hourly rate was $675. See Fee Agreement dated February 19,
  2009 (attached to Declaration of William T. Jacks) in Garriott v. NCsoft Corp., No.
  1:09-cv-00357 (Doc. 182-4) at p. 4, n. 2 (W.D. Tex. Austin) (“For example, my
  standard rate is $675/hr.”). According to the Consumer Price Index for legal ser-
  vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
  vices are 34.60% higher in 2021 versus 2009 (a $233.54 difference).1 Adjusted only
  for such inflation from the year of this stated standard billing rate (2009) to the
  end of 2021, that $675.00 hourly rate for Mr. Fox is $908.54.

  *   Jesse J. Gelsomini (class of ’86): Mr. Gelsomini works in Hou-
  ston. His online biography states that his “principal areas of practice are Em-
  ployee Benefits, ERISA and Executive Compensation.” In 2015, his firm listed his
  standard hourly rate as $765.00 for employment work in an Austin bankruptcy
  case. See Chapter 11 First Interim Fee Application Summary, filed in In re: Dune
  Energy, Inc., No. 15-10336 (Doc. 322) at pp. 2, 33, (Doc. 322-1) at pp. 44, 45, 181,
  (Doc. 322-4) at p. 1 (Bankr. W.D. Tex. Austin) (That work included “Review of the
  Dune Energy, Inc. Employees Severance Plan document (.4); research and draft
  memo regarding whether the Plan is subject to ERISA (.4); review the conse-
  quences of ERISA preemption and whether the benefits provided under the
  Plan are vested prior to termination of employment (.5); analyze the amend-
  ment and termination provisions in the Plan (.5); draft correspondence regarding
  the same (.2).”). On July 28, 2015, Judge H. Christopher Mott granted fees that
  included this $765.00 per hour rate. See id. Order (Doc. 322-1) at p. 44. According
  to the Consumer Price Index for legal services as generated by the U.S. Bureau of
  Labor Statistics, the prices for legal services are 15.71% higher in 2021 versus



  1   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=675


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2015 (a $120.16 difference).2 Adjusted only for such inflation from the date of this
award to the end of 2021, that $765 hourly rate for Mr. Gelsomini is $885.16.

*   Eric Taube (class of ’83): Mr. Taube works in Austin. His online
biography states that he has extensive experience in several practice areas, in-
cluding employment disputes. In 2021, he billed for work at the hourly rate of
$790 in an Austin employment case involving claims of wrongful employment ter-
mination and defamation. See Second Supplemental Declaration of Andrew Vick-
ers, filed in Lanham v. AWR Servs., Inc., No. D-1-GN-20-003923 (419th Judicial
District Court for Travis County, Texas) (filed April 8, 2021) at p. 2, ¶ 4 (“By
agreement with our client, the current hourly billing rate for services performed
from January 1, 2021 through March 11, 2020 [sic] for this matter is $440 for me
(a partner), $790 for Eric Taube (a partner), and $205 for Ann Marie Jezisek and
Kristen Warner (paralegals). I am familiar with rates charges [sic] by attorneys
in Texas for litigation matters and these rates are reasonable when compared to
customary rates in Texas for lawsuits such as this one.”).

*   David Weiser (class of ’86): Mr. Weiser works in Austin. His online
biography notes that his “practice concentrates on representation of employees
before state and federal courts, the EEOC, and the MSPB, in both individual and
class action litigation.” On January 11, 2021, Miriam G. Harvey, the Director of
the Office of Civil Rights and Diversity for the United States Department of the
Treasury issued a Final Agency Decision in which Mr. Weiser’s requested rate of
$665 for work in a federal sector employment disability discrimination case. In
the Matter of Gloria ___ v. Steven T. Mnuchin, TD Case No. BFS-20-0073-F at pp.
6, 12 (“Further, FS contended that the attorney’s fees were based on the Laffey
Matrix, which provides hourly rates to attorneys in the Washington, DC-Balti-
more area, whereas Complainant’s attorneys are in Texas, and therefore the
hourly rates should be reduced. . . . [W]ith respect to attorney’s fees, we find the
number of hours, the hourly rate, and the services itemized to be reasonable. . . .
Complainant is entitled to an award of $66,907 in attorney’s fees . . . .”); see also
Reply Declaration of David Weiser Regarding Attorneys Fees filed in In the Matter
of Gloria ___ v. Steven T. Mnuchin, TD Case No. BFS-20-0073-F at p. 4, ¶ 4 (“This
hourly rate ($665) applies to Texas clients who pay for my services in advance,
and also for those Texas clients who have a contingency fee arrangement for my
representation.”); Complainant’s Reply to Arguments Submitted by Bureau of the
Fiscal Services filed in In the Matter of Gloria ___ v. Steven T. Mnuchin, TD Case
No. BFS-20-0073-F on November 24, 2020 (requesting a total lodestar of
“$66,907.00” in fees based, in part, on Mr. Weiser’s requested hourly rate of
“$665”).



2   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=765


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*   Mario A. Barrera (class of ’84): Mr. Berrera works in San Anto-
nio. His online biography states that he is a labor and employment partner at his
law firm. In 2020, he billed his work in a San Antonio employment termination
case at the hourly rate of $580. See Affidavit of Mario A. Barrera, filed in Yadav
v. Frost Bank, No. 5:20-CV-00005-FB-ESC (Doc. 42-4) at p. 2, ¶¶ 2 & 4 (W.D. Tex.
San Antonio) (“I am counsel of record for Defendant Frost Bank (“Frost”) in the
above-referenced lawsuit. I am a Partner at Norton Rose Fulbright US LLP
(“NRF”). . . . Frost has agreed to compensate NRF for the firm’s work on this law-
suit based on an hourly fee. Through this date, I have spent 0.7 hours reviewing
the relevant documents and preparing Defendant’s Motion for Sanctions (“Mo-
tion”). My hourly billing rate on this matter is $580.”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 1.53% higher in 2021 versus 2020 (an $8.90 dif-
ference).3 Adjusted only for such inflation from the year of this billing to the end
of 2021, that $580 hourly rate for Mr. Barrera is $588.90.

*   William S. Helfand (class of ’87): Mr. Helfand works in Hou-
ston. His online biography notes that his “labor and employment law practice fo-
cuses on the defense of both public and private employers throughout Texas and
the United States.” In or before 2021, he contracted to represent the Texas Attor-
ney General in a Texas Whistleblower Act case brought by former employees of
that office in Brickman v. Office of the Attorney General of the States of Texas, No.
D-1-GN-20-006861 (250th Judicial District Court for Travis County, Texas). See
Emma Platoff, Texas attorney general’s office paying lead lawyer $540 per hour to
defend against whistleblower lawsuit, Texas Tribune (Dec. 14, 2020); Outside
Counsel Contract OAG Contract No. 2021-302-0051 (“Addendum B . . . Rates . . .
William S. Helfand – Partner . . . Hourly Rate . . . $540”).

*   Michael Shaunessy (class of ’87): Mr. Shaunessy works in Aus-
tin. His online biography states: “For more than 20 years, he has successfully
defended employers from claims of sexual harassment, sex discrimination, race
discrimination, as well as violations of the Americans with Disabilities Act, Age
Discrimination in Employment Act, and Fair Labor Standards Act.” On March 7,
2012, Magistrate Judge John Primomo issued a report and recommendation in a
San Antonio wrongful discharge from employment case — recommending dismis-
sal of the lawsuit as a frivolous one and for imposition of sanctions. See Sladcik v.
MK Marlow Co., LLC, No. SA-11-CA-529-FB (Doc. 26) at p. 10 (W.D. Tex. San
Antonio) (“[T]his lawsuit should be dismissed with prejudice. Also, as sanctions
under Rule 11, plaintiff should be ordered to pay to defendants the attorneys fees
they incurred as a result of defending this suit. Within the 14-day time period for
responding to this Memorandum and Recommendation, defendants should file an

3   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=580


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Advisory establishing, by affidavit and other proof, the amount of attorneys’ fees
to which they are entitled.”). Defendants filed an “Advisory to the Court Regard-
ing Attorneys’ Fees.” See id. (Doc. 30). With that filing, Defendants submitted un-
redacted fee bills and the Affidavit of Michael Shaunessy — noting hourly rates
for attorneys involved. See id. (Docs. 30-1) at p. 3, ¶ 5 (“The rates charged by
Sedgwick firm in association with this case are as follows: the hourly rate for part-
ners is between $390 and $430; the hourly rate for associates is $310; . . . .”); see
also id. (Doc. 30-5) (billing statements). As only one other partner—and one asso-
ciate—are mentioned in the affidavit, it is assumed that Mr. Shaunessy’s rate was
$430, his less-experienced partner Maria Karos was $390, and his associate was
$310. On March 29, 2012, Judge Fred Biery adopted the report and recommenda-
tion granting the request for fees. See id. (Doc. 32). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 23.37% higher in 2021 versus 2012 (a $100.49
difference).4 Adjusted only for such inflation from the year of this billing to the
end of 2021, that $430 hourly rate for Mr. Shaunessy is $530.49.

*   Judy Jetelina (class of ’85): Ms. Jetelina works in San Antonio.
Her online biography states that she “has practiced exclusively in the area of labor
and employment for more than 25 years.” On February 16, 2012, Judge Harry Lee
Hudspeth awarded $390 per hour for work she did in an Equal Pay Act case. See
Wojcik v. Ameripath San Antonio 5.01(A) Corp., No. SA-10-CA-335-H (Doc. 74) at
p. (W.D. Tex. San Antonio) (“. . . , the Court finds that the following are reasonable
amounts for the services of each professional: . . . Ms. Jetelina: .17 hours x $390
per hour . . .”). According to the Consumer Price Index for legal services as gener-
ated by the U.S. Bureau of Labor Statistics, the prices for legal services are
23.37% higher in 2021 versus 2012 (a $91.14 difference).5 Adjusted only for such
inflation from the year of this award to the end of 2021, that $390 hourly rate for
Ms. Jetelina is $481.14.

*   Thomas “Tom” H. Padgett, Jr. (class of ’89): Mr. Padgett
works in Houston. His online biography states that he is a civil rights lawyer. On
March 3, 2020, for work prosecuting a Waco employment discrimination case,
Judge Jim Meyer granted Mr. Padgett $450.00 per hour. See Abens v. Providence
Health Servs. of Waco, No. 2015-908-4 (170th Judicial District Court for McClen-
nan County, Texas) (final judgment at p. 5) (“Thomas H. Padgett, Jr. is hereby
awarded fees in a total amount of $57,465.00. Mr. Padgett billed 127.7 hours and
bills at a rate of $450.00 per hour.”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for


4   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=430

5   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=390


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legal services are 1.53% higher in 2021 versus 2020 (a $6.91 difference).6 Adjusted
only for such inflation from the year of this ruling to the end of 2021, that $450
hourly rate for Mr. Padgett is $456.91.




6   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=450

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Classes of the 1990s


 20                  lawyers listed




 $515.61                               average rate




 $484.23                               median rate


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                                  Classes of the 1990s:
                                       The Rates


   Felicity A.               Douglas B.                     Holly
   Fowler                    Welmaker                       Williams
   (JD 1992)                 (JD 1993)                      (JD 1993)


   Kelly D.                  Paul J.                        Stephen
   Hine                      Lukas                          Key
   (JD 1997)                 (JD 1991)                      (JD 1994)


    John                     Ramon                          J. Derek
   Wenke                     Bissmeyer                      Braziel
   (JD 1993)                 (JD 1993)                      (JD 1995)


   John P.                   Maria                           Joseph
   Mobbs                     Karos                          Bourbois
   (JD 1992)                 (JD 1993)                      (JD 1994)


   Laura                     Robert G.                      Edmond S.
   O’Donnell                 “Bobby” Lee                    Moreland, Jr.
   (JD 1996)                 (JD 1993)                      (JD 1997)


   Galvin B.                 Elizabeth L.                   Robert
   Kennedy                   Higginbotham                   Notzon
   (JD 1996)                 (JD 1993)                      (JD 1996)


   Rebecca L.                Edward M.
   Fisher                    “Ted” Smith
   (JD 1994)                 (JD 1994)



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Classes of the 1990s:
     The Work

  *   Felicity A. Fowler (class of ’92): Ms. Fowler works in Dallas.
  Her online biography states that she “has more than 28 years of experience
  representing employers in all facets of employment law, including litiga-
  tion, arbitrations, injunctive relief, administrative proceedings, counseling
  and trainings throughout the United States and in a few foreign jurisdictions.” In
  2015, her firm listed her standard hourly rate as $750.00 for employment work in
  an Austin bankruptcy case. See Chapter 11 First Interim Fee Application Sum-
  mary, filed in In re: Dune Energy, Inc., No. 15-10336 (Doc. 322) at p. 2, (Doc. 322-
  1) at pp. 43, 44, 45, (Doc. 322-4) at p. 1 (Bankr. W.D. Tex. Austin) (That work
  included “Review and analyze client’s severance policy (.4); review and analyze
  client’s previous termination letter for layoffs (.4); review and analyze employee
  benefits motion and order (.4); prepare correspondence providing employment law
  advice concerning potential layoffs (.4)” and “Review and revise termination letter
  for laid off employees (.5); attention to termination of severance plan (.5)” and
  “Attention to cancellation of severance plan and communications with client re-
  garding terminations and correspondence related to same (.2).”). On July 28, 2015,
  Judge H. Christopher Mott granted fees that included this rate. See id. Order
  (Doc. 322-1) at p. 44. According to the Consumer Price Index for legal services as
  generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
  15.71% higher in 2021 versus 2015 (a $117.81 difference).1 Adjusted only for such
  inflation from the date of this award to the end of 2021, that $750 hourly rate for
  Ms. Fowler is $867.81.

  *   Kelly D. Hine (class of ’97): Mr. Hine works in Dallas. In 2009,
  his client agreed to pay his firm $575.00 per hour—a discount from his unstated
  standard rate—for work in a breach of compensation agreement case filed in Aus-
  tin by an employee. See Fee Agreement dated February 19, 2009 (attached to Dec-
  laration of William T. Jacks) filed in Garriott v. NCsoft Corp., No. 1:09-cv-00357
  (Doc. 182-4) at p. 4, n. 2 (W.D. Tex. Austin) (“$575/hr. for Kelly’s services” and
  “Please note that these rates are discounted from our standard rates”). According
  to the Consumer Price Index for legal services as generated by the U.S. Bureau of

  1   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=750


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Labor Statistics, the prices for legal services are 34.60% higher in 2021 versus
2009 (a $198.94 difference).2 Adjusted only for such inflation from the year of this
stated standard billing rate (2009) to the end of 2021, that $575 hourly rate for
Mr. Hine is $773.94.

*   John Wenke (class of ’93): Mr. Wenke works in El Paso. His online
biography notes that he “represents employees of all levels, including manage-
ment employees, in cases of employment discrimination, wrongful termination,
sexual harassment, severance negotiations and other employment related mat-
ters.” On March 4, 2014, Judge Angie Juarez Barill issued a judgment that in-
cluded attorneys’ fees for work Mr. Wenke did in an El Paso employment discrim-
ination case. See Judgment in Vielma v. ACC Holding, Inc., No 2011-DCV-04851
(346th Judicial District Court for El Paso County, Texas) (“It is further OR-
DERED, ADJUDGED AND DECREED that Plaintiff ANTONIO VIELMA have
and recover from Defendant ACC Holding, Inc. d/b/a AIR CARGO CARRIERS,
INC. his attorney fees in the amount of two hundred and thirty-nine thousand,
four hundred and forty-five dollars ($239,445.00) for services rendered in this
Court through the date of this judgment.”). The hourly rate Judge Barill awarded
then in 2014 appears to have been $500.00 per hour. Compare Brief of Appellee,
filed January 10, 2015, in ACC Holding, Inc. v. Vielma, No. 08-14-00169-CV at p.
44 n. 7 (Tex. Ct. App.—El Paso) (“Vielma requested attorney fees for 517.77 hours
necessary to the successful pursuit of his discrimination claim through trial, at
the rate of $500 per hour, for a total of $258,885. (9RR:9). The trial court awarded
$239,445. (CR:1627). Appellant assumes that the court reduced the hours, rather
than the hourly rate.”) with Brief of Appellant, filed November 22, 2014, in ACC
Holding, Inc. v. Vielma, No. 08-14-00169-CV at p. 17 (Tex. Ct. App.—El Paso)
(arguing that “The Trial Court Awarded An Extravagant $500 Per Hour As A
Reasonable Hourly Rate And Only Discounted The Hours Expended By Ten Per-
cent For The Numerous Unsuccessful Claims.”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 17.55% higher in 2021 versus 2014 (an $87.74 differ-
ence).3 Adjusted only for such inflation from the date of this award to the end of
2021, that $500 hourly rate for Mr. Wenke is $587.74.

*   John P. Mobbs (class of ’92): Mr. Mobbs works in El Paso. His
practice areas include civil appeals. On March 4, 2014, Judge Angie Juarez Barill
issued a judgment that included attorneys’ fees for work Mr. Mobbs did in an El
Paso employment discrimination case. See Judgment in Vielma v. ACC Holding,
Inc., No 2011-DCV-04851 (346th Judicial District Court for El Paso County,

2   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=575

3   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=500


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Texas) (“It is further ORDERED, ADJUDGED AND DECREED that Plaintiff AN-
TONIO VIELMA have and recover from Defendant ACC Holding, Inc. d/b/a AIR
CARGO CARRIERS, INC. his attorney fees in the amount of two hundred and
thirty-nine thousand, four hundred and forty-five dollars ($239,445.00) for ser-
vices rendered in this Court through the date of this judgment.”). The hourly rate
Judge Barill awarded then in 2014 appears to have been $500.00 per hour. Com-
pare Brief of Appellee, filed January 10, 2015, in ACC Holding, Inc. v. Vielma, No.
08-14-00169-CV at p. 44 n. 7 (Tex. Ct. App.—El Paso) (“Vielma requested attorney
fees for 517.77 hours necessary to the successful pursuit of his discrimination
claim through trial, at the rate of $500 per hour, for a total of $258,885. (9RR:9).
The trial court awarded $239,445. (CR:1627). Appellant assumes that the court
reduced the hours, rather than the hourly rate.”) with Brief of Appellant, filed
November 22, 2014, in ACC Holding, Inc. v. Vielma, No. 08-14-00169-CV at p. 17
(Tex. Ct. App.—El Paso) (arguing that “The Trial Court Awarded An Extravagant
$500 Per Hour As A Reasonable Hourly Rate And Only Discounted The Hours
Expended By Ten Percent For The Numerous Unsuccessful Claims.”). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 17.55% higher in 2021 versus
2014 (an $87.74 difference).4 Adjusted only for such inflation from the date of this
award to the end of 2021, that $500 hourly rate for Mr. Mobbs is $587.74.

*   Laura O’Donnell (class of ’96): Laura O’Donnell works in San
Antonio. Her online biography states that she heads her law firm’s Wage and
Hour Litigation Group. On December 9, 2020, her law firm filed a motion seeking
attorneys’ fees for her work defending a San Antonio FLSA case. See Defendants’
Motion for Attorneys’ Fee Award filed in Harrington v. Southwestern Bell Tele-
phone L.P., No. 5:20-CV-00770-JKP-RBF (Doc. 31) at p. 6 (W.D. Tex. San Antonio)
(“As set forth in the attached Declaration of Laura E. O’Donnell, Defendants in-
curred attorneys’ fees both in connection with their Response to Plaintiff’s motion
and in preparing for the duly-noticed hearing that Plaintiffs’ counsel failed to at-
tend. See Ex. A (filed under seal). The amount of time spent on the Response and
preparing for the hearing and the rates charged by defense counsel are reasona-
ble, considering the questions in this case, the time required, the relevant legal
skill, and the qualifications of the attorneys involved, as well as the customary
fees for defending cases such as this one. See Ex. A.”); Though her law firm’s fee
bills / invoices themselves—the referenced Exhibit—were later sealed, other fil-
ings in the case seem to reveal that her rate for work in 2020 on that case was
$555.00 per hour. See Plaintiffs’ Response in Opposition to Defendants’ Motion for
Attorneys’ Fee Award filed in Harrington v. Southwestern Bell Telephone L.P.,
No. 5:20-CV-00770-JKP-RBF (Doc. 36) at p. 11 (W.D. Tex. San Antonio) (“At her
rate of $555.00 a hour, that amounts to fees of $832.50. This is based on the billing
entry of 0.5 hours for attendance at the hearing, and one hour of preparation time

4   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=500


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for the hearing. Plaintiffs’ do not object to Ms. O’Donnell’s rate and find that her
experience, credentials and rate are similar to the education, credentials, experi-
ence and reasonable rates for plaintiffs’ counsel, Mr. Braziel, Mr. Brown and Mr.
Dunn.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 1.53% higher
in 2021 versus 2020 (a $8.52 difference).5 Adjusted only for such inflation from
the date of this billed rate to the end of 2021, that $555 hourly rate for Ms. O’Don-
nell is $563.52.

*   Galvin B. Kennedy (class of ’96): Mr. Kennedy works in Hou-
ston. His online biography notes that he “champions the rights of employees in all
sectors from oil field workers to nurses.” On January 8, 2016, Judge Robert Pit-
man awarded fees in a San Antonio FLSA case. See Sifuentes v. Green Energy
Oilfield Servs., LLC, No. 5:15-CV-752 RP (Doc. 21) (W.D. Tex. San Antonio)
(“Plaintiff is awarded $17,714 as reasonable attorneys’ fees and costs.”). Those
fees were based, in part, on Mr. Kennedy’s rate of $500 per hour. See id. (Doc. 19)
at pp. 2-3 (motion for fees and costs) (“Plaintiff asserts (and Defendant is not dis-
puting) that the Plaintiff’s reasonable attorney’s fees and costs are $17,714.00.
Included in this amount are the following: . . . .3 hours for Galvin Kennedy, pres-
ident of firm, at the rate of $500 per hour;”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 11.93% higher in 2021 versus 2016 (a $59.65 differ-
ence).6 Adjusted only for such inflation from the year of this award to the end of
2021, that $500.00 hourly rate for Mr. Kennedy is $559.65.

*   Rebecca L. Fisher (class of ’94): Ms. Fisher works in San Anto-
nio. Her online biography notes that she “practices Federal Employment Law
throughout the nation” — representing federal sector government employees. On
July 11, 2012, the United States Equal Employment Opportunity Commission de-
termined it was error for an administrative law judge to award her less than her
requested hourly rate of $450 per hour for work representing a Texas-based post
office employee in a disability employment discrimination case. See Linda Towns
v. Patrick R. Donohue, Appeal No. 0120112091 (“Upon review, we find that the
AJ erred in reducing the Attorney's hourly rate from $450.00 to $246.00.”); see
also Declaration of Rebecca Fisher filed in Cox v. Brennan, No. 2:14-cv-00810-
JRG-RSP (Doc. 88-1) at p. 5, PageID #978, ¶ 15 (E.D. Tex. May 10, 2017) (“I have
been awarded $450 per hour for over ten years by the Commission and by Federal
Agencies” (Linda Towns v. Patrick R. Donohue, Appeal No. 220112091 (July 11,
2012) . . .”). According to the Consumer Price Index for legal services as generated

5   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=555

6   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=500


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by the U.S. Bureau of Labor Statistics, the prices for legal services are 23.37%
higher in 2021 versus 2012 (a $105.16 difference).7 Adjusted only for such infla-
tion from the year of this ruling to the end of 2021, that $450.00 hourly rate for
Ms. Fisher is $555.16.

*   Douglas B. Welmaker (class of ’93): Mr. Welmaker is based
in Austin and his online biography notes that for the past ten years he has limited
his practice to FLSA cases. On May 5, 2021, Magistrate Judge Ronald C. Griffin
ruled—in a report and recommendation—that $525 per hour was a reasonable
rate for Mr. Welmaker’s work in a Midland/Odessa FLSA case. See Garcia v. Von
Grist, Inc., No. MO:20-CV-00093 (Doc. 21) at p. 12 (W.D. Tex. May 5, 2021) (Re-
port and Recommendation) (“The time records attached to Mr. Welmaker’s decla-
ration indicate that Mr. Welmaker expended 8.4 hours at an hourly rate of
$525.00 and his paralegal expended 2.9 hours. . . . Having reviewed Mr.
Welmaker’s declaration, the undersigned finds that this hourly rate is reasonable
for an attorney practicing in the field of employment law with comparable experi-
ence to Mr. Welmaker.”). On May 27, 2021, Judge David Counts adopted that
report and recommendation. See id. (Doc. 23) at p. 1 (W.D. Tex. May 5, 2021) (“Or-
der Adopting Report and Recommendation”).

*   Paul J. Lukas (class of ’91): Mr. Lukas’s online biography states
that he “is a committed advocate for employee rights.” Mr. Lukas is based in Min-
neapolis. On November 10, 2015, Judge Sam Sparks determined $425.00 was a
reasonable hourly rate for work Mr. Lukas did in an Austin FLSA case. See Clark
v. Centene Corp., No. 1:12-cv-00174-SS (Doc. 180) at pp. 15–16 (W.D. Tex. Austin)
(“Consequently, the Court finds Srey’s claimed $425 per hour rate reasonable in
light of her experience and skill and the rates of Austin-area attorneys, but re-
duces Lukas’s claimed rate from $525 to $425.”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 15.71% higher in 2021 versus 2015 (a $66.76 differ-
ence).8 Adjusted only for such inflation from the date of this determination to the
end of 2021, that $425 hourly rate for Mr. Lukas is $491.76.

*   Ramon Bissmeyer (class of ’93): Mr. Bissmeyer works in San
Antonio. His online biography states that he “counsels clients in matters involving
discrimination, harassment, retaliation, minimum wage and overtime
under the Fair Labor Standards Act (‘FLSA’) and other laws and regulations
governing the employer-employee relationship.” On April 10, 2012, Judge Xavier
Rodriguez awarded fees in a San Antonio FLSA case and that fee award included

7   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=450

8   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=425


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work Mr. Bissmeyer did at the hourly rate of $395.00. See Barrera v. MTC, Inc.,
No. 5:10-cv-00665 (Doc. 77) (W.D. Tex. San Antonio) (“Defendant has tendered
affidavits explaining that it incurred $3,379 in attorney’s fees in preparing for and
attending the depositions in question and preparing the motion for sanctions. De-
fendant also incurred $451.75 in costs. Plaintiffs have not objected to these re-
quested fees and costs. Plaintiffs Andrade and Molina are ordered to pay to De-
fendant a total of $3,830.75 within fourteen days of this Order.”); id. Defendant’s
Submission of Attorneys’ Fees and Expenses (Doc. 73) at pp. 2–3, ¶ 2 (“As shown
by the attached evidence of Defendant’s counsel (Cox Smith Matthews Incorpo-
rated and Davis, Cedillo & Mendoza, Inc.), Defendant incurred a total of $3,379.00
in attorneys’ fees in preparing for and attending the depositions, as well as draft-
ing its Motion for Sanctions, among other necessary tasks, and incurred a total of
$451.75 in costs for a grand total of $3,830.75.”); id. Affidavit of Ramon D.
Bissmeyer in Support of Submission of Attorneys’ Fees and Expenses (Doc. 73-1)
at pp. 1, 4–5, ¶¶ 4, 7–8 (“At the time of the deposition in question, my hourly fee
for this matter was $395.00 per hour. . . . Defendant MTC has incurred $2,004.00
in attorneys’ fees in connection with its Motion for Sanctions and the above-de-
scribed related tasks. . . . Further, attached to this affidavit is a copy of the invoice
for services rendered by the court reporter for attending the depositions of Plain-
tiffs Andrande and Molina and taking the Certificates of Non-Appearance, in the
amount of $300, and which services were paid by Cox Smith[fn].”); Declaration of
Mark W. Kiehne in Support of Attorneys’ Fees and Expenses (Doc. 73-2) at p. 2,
¶¶ 7–8 (“Ricardo G. Cedillo - $750 (1 hour x $750/hour) Mark W. Kiehne - $625
(2.5 hours x $250/hour) Total $1375. . . . In addition, MTC incurred an additional
expense in the amount of $151.75 for the court reporter’s certificate of non-ap-
pearance of Plaintiff Javier Andrade.”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 23.37% higher in 2021 versus 2012 (a $92.31 difference).9
Adjusted only for such inflation from the date of this award (2012) to the end of
2021, that $395.00 hourly rate for Mr. Bissmeyer is $487.31.

*   Maria Karos (class of ’90): Ms. Karos works in Dallas. Her online
biography notes that she “focuses her practice on high-stakes catastrophic injury
cases and complex business litigation matters.” On March 7, 2012, Magistrate
Judge John Primomo issued a report and recommendation in a San Antonio
wrongful discharge from employment case — recommending dismissal of the law-
suit as a frivolous one and for imposition of sanctions. See Sladcik v. MK Marlow
Co., LLC, No. SA-11-CA-529-FB (Doc. 26) at p. 10 (W.D. Tex. San Antonio) (“[T]his
lawsuit should be dismissed with prejudice. Also, as sanctions under Rule 11,
plaintiff should be ordered to pay to defendants the attorneys fees they incurred
as a result of defending this suit. Within the 14-day time period for responding to
this Memorandum and Recommendation, defendants should file an Advisory

9   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=395


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establishing, by affidavit and other proof, the amount of attorneys’ fees to which
they are entitled.”). Defendants filed an “Advisory to the Court Regarding Attor-
neys’ Fees.” See id. (Doc. 30). With that filing, Defendants submitted unredacted
fee bills and the Affidavit of Michael Shaunessy — noting hourly rates for attor-
neys involved. See id. (Docs. 30-1) at p. 3, ¶ 5 (“The rates charged by Sedgwick
firm in association with this case are as follows: the hourly rate for partners is
between $390 and $430; the hourly rate for associates is $310; . . . .”); see also id.
(Doc. 30-5) (billing statements). As only one other partner—and one associate—
are mentioned in the affidavit, it is assumed that Mr. Shaunessy’s rate was $430,
his less-experienced partner Maria Karos was $390, and his associate was $310.
On March 29, 2012, Judge Fred Biery adopted the report and recommendation
granting the request for fees. See id. (Doc. 32). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 23.37% higher in 2021 versus 2012 (a $91.14 differ-
ence).10 Adjusted only for such inflation from the year of this billing (2012) to the
end of 2021, that $390 hourly rate for Ms. Karos is $481.14.

*    Robert G. “Bobby” Lee (class of ’93): Though he now works
in Houston, Mr. Lee, a board-certified labor and employment law specialist, pre-
viously worked in North Texas. On July 5, 2012, Judge Lee Yeakel awarded
$386.00 per hour for work Mr. Lee did in an Austin FLSA case. See Flowers v.
Interra Hydro, Inc., No. 1:11-CV-421-LY (Doc. 35) at p. 3 (W.D. Tex. Austin) (“the
court adopts Interra’s suggested rate of $386 per-hour as the hourly rate for Mr.
Lee.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 23.37% higher
in 2021 versus 2012 (an $90.20 difference).11 Adjusted only for such inflation from
the date of this award (2012) to the end of 2021, that $386.00 hourly rate for Mr.
Lee is $476.20.

*    Elizabeth L. Higginbotham (class of ’93):                           Ms. Hig-
ginbotham works in San Antonio. Her online biography states that she “is a nurse
attorney in private practice who works with nurses across the State of Texas as
well as nurses in Texas practicing under a multi-state compact license.” On March
3, 2020, for work prosecuting a Waco employment discrimination case, Judge Jim
Meyer granted Ms. Higginbotham $450.00 per hour. See Abens v. Providence
Health Servs. of Waco, No. 2015-908-4 (170th Judicial District Court for McClen-
nan County, Texas) (final judgment at p. 4). According to the Consumer Price In-
dex for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 1.53% higher in 2021 versus 2020 (a $6.91

10   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=390

11   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=386


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difference).12 Adjusted only for such inflation from the year of this ruling to the
end of 2021, that $450 hourly rate for Ms. Higginbotham is $456.91.

*    Edward M. “Ted” Smith (class of ’94): Mr. Smith works in
Austin. His online biography notes that he “specializes in representing employers
in all aspects of the employer-employee relationship, from training and advice to
litigation and appeal.” On October 1, 2021, Magistrate Judge Dustin M. Howell
granted fees as discovery sanctions in an Austin FLSA case. See McNamara v.
Your Fare, Inc., No. 1:21-cv-00140-LY (Doc. 31) at pp. 1-2 (W.D. Tex. Austin)
(“Plaintiff’s Motion to Compel Discovery Responses and Request for Sanctions is
GRANTED. IT IS FURTHER ORDERED: . . . that Defendants’ counsel of record,
Constangy, Brooks, Smith & Prophete, LLP, pay to Plaintiff’s counsel of record,
Cornell Smith Mierl Brutocao Burton, LLP, the amount of $3,825 within twenty-
one (21) days of this Order, as payment of Plaintiff’s reasonable attorneys’ fees
incurred in conjunction with this Motion.”). The amount of fees was premised on
the requested rate of $450 per hour for Mr. Smith’s work. See id. (Doc. 20) at p. 6
(“Plaintiff’s Motion to Compel Discovery Responses and Request for Sanctions”)
(“Mr. Smith’s hourly billable rate is $450, . . . .”); id. (Doc. 23-1) at pp. 3-4 (Exhibit
1 to “Plaintiff’s Sur-reply to Defendants’ Response to Motion to Compel Discovery
Responses and Request for Sanctions.”) (“Plaintiff respectfully requests that the
Court: . . . order Defendants and their counsel of record, jointly and severally, to
pay Plaintiff her reasonable expenses, including attorneys’ fees in the amount of
$3,825, within seven (7) days of the Court’s Order.”).

*    Holly Williams (class of ’93): Ms. Williams works in Midland.
Her online biography states that she “is the only attorney in the Permian Basin
who is Board Certified by the Texas Board of Legal Specialization in Labor and
Employment Law.” On June 22, 2018, Judge David Counts granted Ms. Wil-
liams’s request for attorneys’ fees in a Midland/Odessa employment discrimina-
tion case. See Roberts v. Brinkerhoff Inspection, Inc., No. 7:16-cv-00342 (Doc. 86)
at p. 1 (W.D. Tex. Midland/Odessa) (“After due consideration, the Court GRANTS
Plaintiff’s unopposed motions for attorney fees and expenses pursuant to 42
U.S.C. § 2000e-5(k) for the amounts requested in the motions and described in the
proposed judgment.”). The granted request itself was premised on an hourly rate
of $425.00 for the work Ms. Williams did in the case. See id. Plaintiff’s Unopposed
Motion for Attorneys’ Fees (Doc. 80) at p. 3 (“Plaintiff requests an hourly rate of
$425 for lead counsel Holly Williams[.] . . .”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 3.64% higher in 2021 versus 2018 (a $15.45




12   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=450


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difference).13 Adjusted only for such inflation from the year of this ruling to the
end of 2021, that $425 hourly rate for Ms. Williams is $440.45.

*    Stephen Key (class of ’94): Mr. Key works in Dallas. His online
biography states that his “practice is limited to the representation of management
in matters of employment litigation, governmental regulation and union rela-
tions.” In 2017, Mr. Key testified concerning his fees for work in a San Antonio
FLSA case. See Affidavit of Stephen C. Key [with billing statement attached as
Exhibit 1], filed in Defendant Stevens Tanker Division, LLC’s Motion for Fees,
filed in Espinosa v. Stevens Tanker Division, LLC, No. 5:15-cv-879-XR (Doc. 94)
(W.D. Tex. San Antonio). His firm’s billing statement shows he billed $375.00 per
hour for 2017 work in the case. See id. at p. 24. According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 8.08% higher in 2021 versus 2017 (a $30.30 differ-
ence).14 Adjusted only for such inflation from the year of this billing to the end of
2021, that $375.00 hourly rate for Mr. Key is $405.30.

*    J. Derek Braziel (class of ’95): Mr. Braziel works in Dallas. On
December 8, 2015, Judge David Alan Ezra ruled that $350.00 per hour was a rea-
sonable rate for Mr. Braziel’s work in an Austin FLSA case. See Rodriguez v. Me-
chanical Tech. Servs., Inc., No. 1:12-cv-00710 (Doc. 175) at pp. 16–17 (W.D. Tex.
Austin) (“Accordingly, the Court finds the following rates to be reasonable and
customary for this type of litigation . . . J. Derek Braziel . . . $350”). According to
the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 15.71% higher in 2021 versus
2015 (a $54.98 difference).15 Adjusted only for such inflation from the year of this
ruling to the end of 2021, that $350 hourly rate for Mr. Braziel is $404.98.

*    Joseph Bourbois (class of ’94): Mr. Bourbois works in San Anto-
nio. In 2015, he billed for his work in an Austin employment discrimination case
at the hourly rate of $350.00. See Affidavit of Mario A. Barrera, filed in Santos v.
Wincor Nixdorf, Inc., No. 1:16-cv-00440-RP (Doc. 82-1) at p. 2 (W.D. Tex. Austin)
(“Our firm charged Defendant . . . $350.00 per hour for Joseph A. Bourbois’s
(Counsel) time[.]. . .”) and Invoice dated November 10, 2015 (Doc. 82-2)
at p. 4 (“Joseph A. Bourbois . . . Counsel . . . Rate . . . $350.00”). According to
the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 15.71% higher in 2021 versus

13   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=425

14   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=375

15   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=350


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2015 (a $54.98 difference).16 Adjusted only for such inflation from the year of this
billing to the end of 2021, that $350 hourly rate for Mr. Bourbois is $404.98.

*    Edmond S. Moreland, Jr. (class of ’97): Mr. Moreland works
in Wimberley. On May 9, 2012, Magistrate Judge Andrew Austin ruled that Mr.
Moreland’s requested hourly rate of $325.00 for work in an Austin FLSA case was
reasonable. See Ransom v. M. Patel Enters., Inc., No. 1:10-cv-00857 (Doc. 194) at
p. 6 (W.D. Tex. Austin) (“The Court concludes that Moreland’s requested hourly
rate of $325 is reasonable in light of his experience and skill and the rates of sim-
ilar attorneys practicing in the Austin area.”), reversed on other grounds 734 F.3d
377 (5th Cir. 2013). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
23.37% higher in 2021 versus 2012 (a $75.95 difference).17 Adjusted only for such
inflation from the year of this billing to the end of 2021, that $325 hourly rate for
Mr. Moreland is $400.95.

*    Robert Notzon (class of ’96): Mr. Notzon works in Austin. His
online biography notes that his practice areas include labor and employment law.
On March 15, 2016, Judge Sam Sparks awarded an hourly rate of $350.00 for Mr.
Notzon’s work in an Austin FLSA case. See Saldivar v. Austin Indep. Sch. Dist.,
No. 14-CA-00117 (Doc. 97) at p. 12 (W.D. Tex. Austin) (Judge Sam Sparks) (“AISD
does not challenge Saldivar’s counsel’s rate of $350 per hour, and therefore the
Court finds this hourly rate reasonable for the Austin area.”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016 (a
$41.75 difference).18 Adjusted only for such inflation from the year of this award
to the end of 2021, that $350 hourly rate for Mr. Notzon is $391.75.




16   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=350

17   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=325

18   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=350


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Classes of the 2000s


 24                  lawyers listed




 $407.17                               average rate




 $377.55                               median rate


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                                        Classes of the 2000s:
                                             The Rates

   Kalandra N.                  Christopher                     Vanessa
   Wheeler                      Willett                         Kinney
   (JD 2005)                    (JD 2009)                       (JD 2007)


   Shafeeqa W.                  Kristen                         Kerry
   Giarratani                   Elizondo                        O’Brien
   (JD 2005)                    (JD 2007)                       (JD 2002)


   Josh                         Eric                            Meredith
   Sanford                      Johnston                        Black-Matthews
   (JD 2001)                    (JD 2005)                       (JD 2006)


   Rachhana                     Stephanie S.                    Carmen
   T. Srey                      Rojo                            Artaza
   (JD 2004)                    (JD 2003)                       (JD 2006)


  Stephen J.                   Adam D.                          Aaron
  Romero                       Boland                           Johnson
  (JD 2004)                    (JD 2004)                        (JD 2008)


  Taj                          Emily                            Manuel
  Clayton                      Frost                            Quinto-Pozos
  (JD 2005)                    (JD 2002)                        (JD 2007)


  Lawrence                     Mauro                            Matt
  Morales II                   Ramirez                          Bachop
  (JD 2005)                    (JD 2007)                        (JD 2006)


   Don J.                       Gregory                         Alexander M.
   Foty                         Placzek                         Baggio
   (JD 2006)                    (JD 2009)                       (JD 2009)


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Classes of the 2000s:
     The Work

 *   Kalandra N. Wheeler (class of ’05): Ms. Wheeler works in
 Houston. Her online biography notes that she “represents employees with various
 types of claims, including Title VII of the Civil Rights Act, the Family Medical
 Leave Act (FMLA), the Age Discrimination in Employment Act (ADEA), the
 Americans with Disabilities Act (ADA), and the Fair Labor Standards Act
 (FLSA).” On August 23, 2019, Judge Royce C. Lamberth granted fees requested
 for her work in a San Antonio employment discrimination and retaliation case.
 See Johnson v. Southwest Research Institute, No. 5:15-cv-297 (Doc. 176) at p. 17
 (W.D. Tex. San Antonio) (“To review: Southwest Research must pay Johnson
 $535,609.47 in fees and costs, plus 2.324% interest beginning on May 23, 2019
 and compounded annually”). The fees request was based, in part, on her stated
 rate of $585.00 per hour. See id. Declaration Under Penalty of Perjury of Colin W.
 Walsh (Doc. 152-1) at p. 6, ¶ 13 (“The firm’s hourly rate for Kalandra N. Wheeler,
 who became a partner shortly after trial of this case, is also currently [since Jan-
 uary 2019, when she became board certified in labor and employment law]
 $585/hour. This is the rate this firm charged and received for Ms. Wheeler’s time
 in the San Antonio market.”); see also id. Plaintiff’s Supplemental Motion for Rea-
 sonable Attorneys’ Fees and Costs (Doc. 171) at p. 3 (seeking “Post-judgment in-
 terest on $536,430.77 (the combined award of fees and costs) . . .”). According to
 the Consumer Price Index for legal services as generated by the U.S. Bureau of
 Labor Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019
 (a $15.44 difference).1 Adjusted only for such inflation from the date of Judge Lam-
 berth’s award (2019) to the end of 2021, that $585.00 hourly rate for Ms. Wheeler
 is $600.44.

 *   Shafeeqa W. Giarratani (class of ’05): Ms. Giarratani works
 in Austin. Her online biography notes that she “represents employers in federal
 and state court and before administrative agencies and regulatory agencies such
 as the Equal Employment Opportunity Commission, the Texas Workforce Com-
 mission, and the Office of Federal Contract Compliance Programs.” On December
 18, 2020, in a Dallas case involving allegations of race discrimination in employ-
 ment, there was testimony stating her standard hourly rate in 2020 was $545.00
 per hour. See Ibarra v. Jacobs Eng. Group, Inc., No. 3:19-cv-01437-C (Doc. 41-1)
 1   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=585


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at p. 12, ¶ 21 (N.D. Tex. Dallas) (Declaration of John M. Barcus) (“Shafeeqa W.
Giarratani’s standard rate for 2020 is $545 per hour[.]”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 1.53% higher in 2021 versus 2020 (an
$8.37 difference).2 Adjusted only for such inflation from the year of this billing
rate (2020) to the end of 2021, that $545.00 hourly rate for Ms. Giarratani is
$553.37.

*   Josh Sanford (class of ’01): Mr. Sanford works in Little Rock, Ar-
kansas but is licensed in Texas and his firm keeps an office in San Antonio. His
online biography notes that he “practices almost exclusively in employment liti-
gation, focusing on wage and hour law.” On August 14, 2019, Judge Royce C. Lam-
berth awarded Mr. Sanford’s law firm fees for work in a San Antonio FLSA case.
See Moore v. Performance Pressure Pumping Servs., LLC, No. 5:15-cv-432-RC
(Doc. 174) at p. 1 (W.D. Tex. San Antonio) (“The Court finds that the Plaintiffs
should be awarded fees based on the lodestar amount requested by Plaintiffs. The
fees charged by Plaintiffs’ counsel are reasonable and consistent with fees cus-
tomarily charged by attorneys of similar skill, experience and reputation in the
area of San Antonio, Texas”). That award was premised, in part, on Mr. Sanford’s
requested rate of $500 per hour. See id. (Doc. 168-1) at p. 5, ¶ 16 (Declaration of
Attorney Josh Sandford filed as an attachment to Plaintiffs’ Motion for Award of
Attorneys’ Fees and Costs (Doc. 168)) (listing rate: “Sanford, J. $500.00.”). Accord-
ing to the Consumer Price Index for legal services as generated by the U.S. Bureau
of Labor Statistics, the prices for legal services are 2.64% higher in 2021 versus
2019 (a $13.20 difference).3 Adjusted only for such inflation from the year of Judge
Lamberth’s fee award (2019) to the end of 2021, that $500.00 hourly rate for Mr.
Sanford is $513.20.

*   Rachhana T. Srey (class of ’04): Ms. Srey’s online biography
states that she “has extensive litigation experience, primarily dedicating her legal
practice to national wage and hour complex class and collective action employ-
ment litigation.” Ms. Srey is based in Minneapolis. On November 10, 2015, Judge
Sam Sparks determined $425.00 was a reasonable hourly rate for Ms. Srey’s work
in an Austin FLSA case. See Clark v. Centene Corp., No. 1:12-cv-00174-SS (Doc.
180) at pp. 15–16 (W.D. Tex. Austin) (“Consequently, the Court finds Srey’s
claimed $425 per hour rate reasonable in light of her experience and skill and the
rates of Austin-area attorneys, but reduces Lukas’s claimed rate from $525 to
$425.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 15.71% higher

2   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=545

3   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=500


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in 2021 versus 2015 (a $66.76 difference).4 Adjusted only for such inflation from
the year of Judge Sparks’s determination (2015) to the end of 2021, that $425.00
hourly rate for Ms. Srey is $491.76.

*   Stephen J. Romero (class of ’04): Mr. Romero works in San
Antonio. In 2020, his law firm billed his work in a San Antonio employment ter-
mination case to a client at the hourly rate of $465.00. See Affidavit of Mario A.
Barrera, filed in Yadav v. Frost Bank, No. 5:20-CV-00005-FB-ESC (Doc. 42-4) at
p. 2, ¶¶ 2 & 4 (W.D. Tex. San Antonio) (“I am counsel of record for Defendant Frost
Bank (“Frost”) in the above-referenced lawsuit. I am a Partner at Norton Rose
Fulbright US LLP (“NRF”). . . . Frost has agreed to compensate NRF for the firm’s
work on this lawsuit based on an hourly fee. . . . Stephen J. Romero, Counsel at
NRF, has spent .75 hours reviewing cases and preparing the Motion. Mr. Romero’s
hourly rate is $465.”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
1.53% higher in 2021 versus 2020 (a $7.14 difference).5 Adjusted only for such
inflation from the year of this billing (2020) to the end of 2021, that $465 hourly
rate for Mr. Romero is $472.14.

*   Taj Clayton (class of ’05): Mr. Clayton works in Dallas. In 2009,
his client agreed to pay his firm $350.00 per hour—a discount from his unstated
standard rate—for work in a breach of compensation agreement case filed in Aus-
tin by an employee. See Garriott v. NCsoft Corp., No. 1:09-cv-00357 (Doc. 182-4)
(Fee Agreement dated February 19, 2009 attached to Declaration of William T.
Jacks) at p. 4, n. 2 (W.D. Tex. Austin) (“$350/hr. for Taj’s services” and “Please
note that these rates are discounted from our standard rates”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 34.60% higher in 2021 versus 2009 (a
$121.10 difference).6 Adjusted only for such inflation from the year of this fee
agreement (2009) to the end of 2021, that $350 hourly rate for Mr. Clayton is
$471.10.

*   Lawrence Morales II (class of ’05): Mr. Morales works in San
Antonio. He is certified by the Texas Board of Legal Specialization as a labor and
employment law specialist. On March 19, 2019, Judge David Briones granted Mr.
Morales’s law firm’s request for attorneys’ fees in an El Paso FLSA case. See Bally
v. Dreams Cabaret, LLC, No. EP-CV-30-DB (Doc. 93) at p. 1 (W.D. Tex. El Paso)

4   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=425

5
    https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=465

6
    https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=350


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(“Plaintiffs ask the Court to award them $111,084.50 in attorney's fees and enter
a final judgment in this case. After due consideration, the Court is of the opinion
that Plaintiffs' Motion should be granted.”). This amount of fees granted was
based, in part, on Mr. Morales’s requested rate of $450 per hour. See id. (Doc. 92)
at pp. 6 & 7 (“Plaintiff’s Motion for Attorneys’ Fees and Costs and for Entry of
Final Judgment”) (“Based on the lodestar analysis, Plaintiffs seek $111,084.50 in
attorneys’ fees . . . Mr. Morales and Ms. Hartry performed all attorney work on
this case. Mr. Morales’s billing rate of $450 per hour is reasonable.”). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019
(an $11.88 difference).7 Adjusted only for such inflation from the year of Judge
Briones’s ruling (2019) to the end of 2021, that $450.00 hourly rate for Mr. Mo-
rales is $461.88.

*   Don J. Foty (class of ’06): Mr. Foty works in Houston. His online
biography notes that his areas of practice include wage and hour cases. On Janu-
ary 8, 2016, Judge Robert Pitman awarded fees in a San Antonio FLSA case. See
Sifuentes v. Green Energy Oilfield Servs., LLC, No. 5:15-CV-752 RP (Doc. 21)
(W.D. Tex. San Antonio) (“Plaintiff is awarded $17,714 as reasonable attorneys’
fees and costs.”). Those fees were based, in part, on Mr. Foty’s rate of $400 per
hour. See id. (Doc. 19) at p. 2 (motion for fees and costs) (“Plaintiff asserts (and
Defendant is not disputing) that the Plaintiff’s reasonable attorney’s fees and
costs are $17,714.00. Included in this amount are the following: . . . 29.2 hours for
Don Foty, attorney in charge, at the rate of $400 per hour;”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016 (a
$47.72 difference).8 Adjusted only for such inflation from the year of Judge Pit-
man’s fee award (2016) to the end of 2021, that $400.00 hourly rate for Mr. Foty
is $447.72.

*   Christopher Willett (class of ’09): Mr. Willett works in Austin.
On August 10, 2020, Magistrate Judge Susan Hightower ruled that $405.00 per
hour was a reasonable rate for Mr. Willett’s work in an Austin FLSA case. See
Barrientos v. Mikatsuki Int’l, Inc., No. 1:18-CV-00934-RP (Doc. 38) at p. 10, 2020
WL 4581883 (W.D. Tex. Austin) (noting time records “5.5 hours of work by li-
censed attorney Christopher J. Willett at $405 per hour ($2,227.50)” and ruling:
“After carefully reviewing the time records and declaration, the Court finds the
hours expended on the case, and the hourly rates charged, are reasonable.”). On
September 4, 2020, Judge Robert Pitman adopted Magistrate Judge Susan

7   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=450

8   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=400


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Hightower’s report and recommendation that fees be awarded on that rate. See
id. (Doc. 39) at p. 2 (“the Court accepts and adopts the report and recommendation
as its own order.”). On May 13, 2020, Judge Sam Sparks ruled Mr. Willett’s re-
quested fees were reasonable in an Austin FLSA case. See Raya v. Yocham, No.
1:17-cv-00820 (Doc. 33) at p. 5 (W.D. Tex. Austin) (“The Court also concludes Mr.
Willett has shown the rates he charged is appropriate for the Austin, Texas com-
munity and is in line with fees awarded by judges in this District under similar
circumstances.”). The requested rate ruled reasonable was $405.00 per hour. See
id. Plaintiff’s Motion for Default Judgment Against Defendant Howard Yocham
and Capitol Area Resources Corp. (Doc. 28) at p. 13 (“Willett’s declaration sets
forth the market rates in the Austin area, as well as the credentials, experience,
and expertise of each attorney whose work is the basis of Plaintiffs’ motion for
attorney fees. (Ex. C, ¶ 3). The recorded lodestar includes 17.2 hours at the rate
of $405 per hour for attorney Christopher Willett, for a total of $6,966.00.”). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020 (a $6.22 difference).9 Adjusted only for such inflation from the year of
these rulings (2020) to the end of 2021, that $405.00 hourly rate for Mr. Willett is
$411.22.

*    Kristen Elizondo (class of ’07): Ms. Elizondo works in San An-
tonio. Her online biography notes that prior to joining her current law firm, her
practice “focused on general civil defense and employment litigation.” On Febru-
ary 16, 2012, Judge Harry Lee Hudspeth awarded $315 per hour for work she did
in an Equal Pay Act case. See Wojcik v. Ameripath San Antonio 5.01(A) Corp., No.
SA-10-CA-335-H (Doc. 74) at p. (W.D. Tex. San Antonio) (“. . . , the Court finds
that the following are reasonable amounts for the services of each professional: . .
. Ms. Elizondo: 10.29 hours x $315 per hour . . .”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 23.37% higher in 2021 versus 2012 (a $73.61 dif-
ference).10 Adjusted only for such inflation from the year of Judge Hudspeth’s fee
award (2012) to the end of 2021, that $315 hourly rate for Ms. Elizondo is $388.61.

*    Eric Johnston (class of ’05): Mr. Johnston works in Austin. His
online biography notes that he focuses his practice on “employment counseling
and litigation” among other areas. On March 7, 2012, Magistrate Judge John Pri-
momo issued a report and recommendation in a San Antonio wrongful discharge
from employment case — recommending dismissal of the lawsuit as a frivolous
one and for imposition of sanctions. See Sladcik v. MK Marlow Co., LLC, No. SA-

9    https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=405

10   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=315


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11-CA-529-FB (Doc. 26) at p. 10 (W.D. Tex. San Antonio) (“[T]his lawsuit should
be dismissed with prejudice. Also, as sanctions under Rule 11, plaintiff should be
ordered to pay to defendants the attorneys fees they incurred as a result of de-
fending this suit. Within the 14-day time period for responding to this Memoran-
dum and Recommendation, defendants should file an Advisory establishing, by
affidavit and other proof, the amount of attorneys’ fees to which they are enti-
tled.”). Defendants filed an “Advisory to the Court Regarding Attorneys’ Fees.”
See id. (Doc. 30). With that filing, Defendants submitted unredacted fee bills and
the Affidavit of Michael Shaunessy — noting hourly rates for attorneys involved.
See id. (Docs. 30-1) at p. 3, ¶ 5 (“The rates charged by Sedgwick firm in association
with this case are as follows: the hourly rate for partners is between $390 and
$430; the hourly rate for associates is $310; . . . .”); see also id. (Doc. 30-5) (billing
statements). As only one other partner—and one associate—are mentioned in the
affidavit, it is assumed that Mr. Shaunessy’s rate was $430, his less-experienced
partner Maria Karos was $390, and his associate Eric Johnston was $310. On
March 29, 2012, Judge Fred Biery adopted the report and recommendation grant-
ing the request for fees. See id. (Doc. 32). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 23.37% higher in 2021 versus 2012 (a $72.44 difference).11
Adjusted only for such inflation from the year of this billing and court determina-
tions (2012) to the end of 2021, that $310 hourly rate for Mr. Johnston is $382.44.

*    Stephanie S. Rojo (class of ’03): Ms. Rojo works in Austin. Her
online biography states that she “represents employers and their leadership in
discrimination and retaliation lawsuits and charges of discrimination, wage
claims, suits for breach of contract and various employment-related torts, and
suits for violation of state and federal statutes, such as the FLSA, the FMLA,
WARN, and the Texas workers’ compensation retaliation statute.” On February
7, 2018, she sought fees as sanctions in an Austin Equal Pay Act and alleged em-
ployment discrimination case involving a pro se plaintiff. See Phillips v. Austin
Diagnostic Clinic Surgery Center, No. 1:17-cv-00940 (Doc. 18) (W.D. Tex. Austin)
(Defendant Austin Diagnostic’s Brief in Support of Motion for Attorneys’ Fees
Pursuant to Local Rule CV-7). The rate Ms. Rojo sought was $350.00 per hour for
work listed on a firm invoice attached to her affidavit—a rate she testified her
client actually incurred in 2017. See id. (Doc. 18-2) at p. 7 (Invoice dated February
7, 2018: “Stephanie Rojo Partner 14.30 hours 350”); id. (Doc. 18-1) at pp. 2–3, ¶ 7
and p. 4, ¶ 12 (Affidavit of Stephanie S. Rojo) (“I began representing Austin Diag-
nostic in this case on or around February 2017, and a reasonable billing rate for
a counsel with my experience is $350 per hour in this case. . . . In my opinion,
these attorneys’ fees incurred and to be incurred by Austin Diagnostic are reason-
able, customary, and necessary when judged by the standards for fees and related
expenses in the State of Texas.”). Judge Sam Sparks, however, limited the fees

11
     https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=310


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awarded to ten hours and assigned an associate rate of $250.00 per hour. See id.
(Doc. 21) at p. 5 (Order of March 1, 2018: “Given the minimal amount of work
necessary to defend this lawsuit, the Court estimates approximately ten hours of
work were required to draft Austin Diagnostic's seven-page motion to dismiss.
The Court adopts the reasonable hourly rate provided by Austin Diagnostic for an
associate lawyer, $250 per hour.”). According to the Consumer Price Index for le-
gal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 8.08% higher in 2021 versus 2017 (a $28.28 difference from the
rate incurred).12 Adjusted only for such inflation from the year of this incurred
billing (2017) to the end of 2021, that $350.00 hourly rate for Ms. Rojo is $378.28.

*    Adam D. Boland (class of ’04): Mr. Boland works in San Antonio.
His online biography states that he “focuses his practice representing employers
in all aspects of employment law.” In 2010, he testified that his hourly rate for
work in defending a San Antonio FLSA case was $290 per hour. See Borzello v.
Texas Shine, Inc., No. SA-cv-0026-XR (Doc. 13-7) at p. 2, ¶¶ 4-5 (W.D. Tex. San
Antonio) (Affidavit of Adam D. Boland: “I am an attorney of record for Defendant
Texas Shine, Inc. (‘TSI’). . . . My hourly rate on this matter is $290 an hour.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 29.93% higher in 2021
versus 2010 (a $86.81 difference).13 Adjusted only for such inflation from the year
of this billing (2010) to the end of 2021, that $290 hourly rate for Mr. Boland is
$376.81.

*    Emily Frost (class of ’02): Ms. Frost works in Austin. Her online
biography notes that she “helps employers and employees resolve their employ-
ment disputes so everyone can get back to work.” On July 9, 2021, Judge James
R. Nowlin ruled that her rate of $375 per hour for work done prosecuting an Aus-
tin FLSA case was appropriate in the community. See Menefee v. N-Title, LLC,
No. A-19-CV-00737-JRN (Doc. 64) at p. 20 (W.D. Tex. Austin) (“Plaintiff submits
an affidavit from Emily Frost. Ms. Frost’s affidavit states her rate during this case
was $325 per hour until 2021 when it increased to $375 per hour, that she has
practiced law since 2002, and that she is Board Certified in Labor and Employ-
ment Law. . . . The Court finds that the hourly rates charged in this case are
appropriate hourly rates in the community for this type of work.”).

*    Mauro Ramirez (class of ’07): Mr. Ramirez works in Houston.
His online biography notes that he “represents individuals who have been denied
their rights in the workplace.” On September 20, 2011, Judge Philip R. Martinez

12   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=350

13   https://www.officialdata.org/Legal-services/price-inflation/2010-to-2021?amount=290


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granted fees as a sanction for work in an El Paso employment discrimination and
retaliation case. See Santana v. Bergelectric Corp., No. EP-CV-281-PRM (Doc. 24)
at p. 5 (W.D. Tex. El Paso) (“the Court is of the opinion that one hour’s preparation
is appropriate; therefore reasonable expense for preparation is $290.”). This was
the rate Mr. Ramirez’s law firm requested for Mr. Ramirez’s time. See id. (Doc.
18) at p. 4 (“Defendant’s Submission of Fees and Costs Associated with the Status
Conference of August 31, 2011”) (using $290 per hour as rate and stating: “I fur-
ther certify that the hourly rate noted hereinabove reflects the actual rate charged
to the client; and that it reflects the usual and customary rate billed by me to
Bergelectric on this case.”). According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 25.87% higher in 2021 versus 2011 (a $75.03 difference).14 Adjusted only
for such inflation from the year of Judge Martinez’s ruling (2011) to the end of
2021, that $290.00 hourly rate for Ms. Ramirez is $365.03.

*    Gregory Placzek (class of ’09): Mr. Placzek presently works in
Arkansas but previously worked in San Antonio. His online biography notes that
he “has represented thousands of employees in his career as an employment at-
torney.” On August 23, 2019, Judge Royce C. Lamberth granted fees requested for
his work in a San Antonio employment discrimination and retaliation case. See
Johnson v. Southwest Research Institute, No. 5:15-cv-297 (Doc. 176) at p. 17 (W.D.
Tex. San Antonio) (“To review: Southwest Research must pay Johnson
$535,609.47 in fees and costs, plus 2.324% interest beginning on May 23, 2019
and compounded annually[.]”). The fees request was based on the rate of $350.00
per hour. See id. Declaration Under Penalty of Perjury of Colin W. Walsh (Doc.
152-1) at p. 7, ¶ 15 (“His rate now in the San Antonio market, based on the qual-
ifications he possessed when he charged time in this matter, would be $395/hour,
but the firm has elected in this motion to seek fees for his time at $350/hour, which
is a reasonable rate.”); see also id. Plaintiff’s Supplemental Motion for Reasonable
Attorneys’ Fees and Costs (Doc. 171) at p. 3 (seeking “Post-judgment interest on
$536,430.77 (the combined award of fees and costs)”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 2.64% higher in 2021 versus 2019 (an $9.24 dif-
ference).15 Adjusted only for such inflation from the year of Judge Lamberth’s rul-
ing (2019) to the end of 2021, that $350.00 hourly rate for Mr. Placzek is $359.24.

*    Vanessa Kinney (class of ’07): Ms. Kinney works in Little Rock,
Arkansas but her law firm keeps an office in San Antonio. Her online biography
notes that she “focuses her practice primarily in the area of employment law.” On

14   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=350

15   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=350


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August 14, 2019, Judge Royce C. Lamberth awarded Ms. Kinney’s law firm fees
for work in a San Antonio FLSA case. See Moore v. Performance Pressure Pumping
Servs., LLC, No. 5:15-cv-432-RC (Doc. 174) at p. 1 (W.D. Tex. San Antonio) (“The
Court finds that the Plaintiffs should be awarded fees based on the lodestar
amount requested by Plaintiffs. The fees charged by Plaintiffs’ counsel are rea-
sonable and consistent with fees customarily charged by attorneys of similar skill,
experience and reputation in the area of San Antonio, Texas”). That award was
premised, in part, on Ms. Kinney’s rate of $350.00 per hour. See id. (Doc. 168-1)
at p. 5, ¶ 16 (Declaration of Attorney Josh Sanford filed as an attachment to Plain-
tiffs’ Motion for Award of Attorneys’ Fees and Costs (Doc. 168)) (listing rate: “Kin-
ney, V. $350.00.”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
2.64% higher in 2021 versus 2019 (a $9.24 difference).16 Adjusted only for such
inflation from the year of Judge Lamberth’s finding (2019) to the end of 2021, that
$350.00 hourly rate for Ms. Kinney is $359.24.

*    Kerry O’Brien (class of ’02): Mr. O’Brien works in Austin. His
online biography notes that his law firm “is dedicated to helping Texas employ-
ees.” On April 25, 2014, Judge Sam Sparks ruled that the requested rate of $300
per hour for Mr. O’Brien’s work in an Austin FLSA case was reasonable. See Ri-
vera v. Eloy Herrera, No. A-12-CA-1080-SS (Doc. 35) at p. 2 (W.D. Tex. Austin)
(“Rivera’s counsel represents he spent 16.3 hours on this case, and his legal assis-
tant spent 0.9 hours on the case. Their respective hourly rates are $300 and $125.
The Court finds these amounts to be reasonable, and awards the lodestar figure
of $5,002.50.”); id. (Doc. 31) at p. 5 (“Plaintiff’s Motion for Attorney’s Fees”)
(“Therefore, in accordance with the evidence, the Court is requested to award at-
torney fees . . . , which includes 16.3 hours by Kerry O’Brien multiplied by $300 /
hour . . . .”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 17.55%
higher in 2021 versus 2014 (an $52.64 difference).17 Adjusted only for such infla-
tion from the year of Judge Sparks’s ruling (2014) to the end of 2021, that $300.00
hourly rate for Mr. O’Brien is $352.64.

*    Meredith Black-Matthews (class of ’06): Ms. Black-Mat-
thews works in Dallas. Her online biography states that she handles wage and
hour cases. On December 8, 2015, Judge David Alan Ezra ruled that $300.00 per
hour was a reasonable rate for Ms. Black-Matthews’s work in an Austin FLSA
case. See Rodriguez v. Mechanical Tech. Servs., Inc., No. 1:12-cv-00710 (Doc. 175)
(W.D. Tex. Austin) (“Accordingly, the Court finds the following rates to be

16   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=350

17   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=300


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reasonable and customary for this type of litigation . . . Meredith Matthews . . .
$300[.]”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 15.71%
higher in 2021 versus 2015 (a $47.12 difference).18 Adjusted only for such inflation
from the year of Judge Ezra’s ruling (2015) to the end of 2021, that $300.00 hourly
rate for Ms. Black-Matthews is $347.12.

*    Carmen Artaza (class of ’06): Ms. Artaza works in Dallas and
her online biography notes that she has “practiced employment law exclusively
since graduating law school in 2006.” On July 5, 2012, Judge Lee Yeakel awarded
$275 per hour for work Ms. Artaza did in an Austin FLSA case. See Flowers v.
Interra Hydro, Inc., No. 1:11-CV-421-LY (Doc. 35) at p. 3 (W.D. Tex. Austin)
(“Thus, Flowers's rates of $275 per-hour for associates Artaza and . . . are sus-
tained.”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 23.37%
higher in 2021 versus 2012 (an $64.26 difference).19 Adjusted only for such infla-
tion from the date of Judge Yeakel’s award (2012) to the end of 2021, that $275
hourly rate for Ms. Artaza is $339.26.

*    Aaron Johnson (class of ’08): Mr. Johnson works in Austin where
he represents low-income workers. On June 13, 2016, Judge Robert Pitman
granted fees at the rates requested in a San Antonio FLSA case. See Mo-
hammadi v. Nwabuisi, No. 5:12-cv-00042 (Doc. 148) at p. 9 (W.D. Tex. San An-
tonio) (“In light of these precedents, the Court concludes rates requested by Plain-
tiff and used in her lodestar calculation are reasonable and appropriate given the
prevailing rates in the local legal market.”). The hourly rate requested for Mr.
Johnson’s work was $300.00. See id. Plaintiff’s Third Motion for Attorney’s Fees
and Costs (Doc. 136) at p. 5 (“In this motion, Plaintiff’s Counsel seeks the following
rates in order to account for attorney tenure and current legal market conditions:
Mr. Moss at $280/hour, Mr. Johnson at $300/hour . . .”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016 (a
$35.79 difference).20 Adjusted only for such inflation from the year of Judge Pit-
man’s ruling (2016) to the end of 2021, that $300.00 hourly rate for Mr. Johnson
is $335.79.




18   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=300

19   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=275

20   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=300


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*    Manuel Quinto-Pozos (class of ’07): Mr. Quinto-Pozos works
in Austin. His online biography states that he “practices employee-side labor and
employment law, and focuses on claims including employment discrimination,
harassment, retaliation, wage and overtime, and union representation.” On April
29, 2016, Judge Karin Crump awarded fees for work done in an Austin employ-
ment discrimination and retaliation case. See Vigil v. City of Austin, Texas, Cause
No. D-1-GN-13-001742 (200th Judicial District Court for Travis County, Texas)
(Final Judgment at p. 4) (“Based upon the evidence presented to the Court, and
the arguments of counsel, Plaintiff’s motion for reasonable attorneys’ fees and
costs is hereby granted.”). The fees requested and granted used an hourly rate of
$300.00 for Mr. Quinto-Pozos’s work. See id. (Plaintiff’s Motion for Entry of Judg-
ment & Award of Attorneys’ Fees) at p. 3. According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 11.93% higher in 2021 versus 2016 (a $35.79 difference).21
Adjusted only for such inflation from the year of Judge Crump’s ruling (2016) to
the end of 2021, that $300.00 hourly rate for Mr. Quinto-Pozos is $335.79.

*    Matt Bachop (class of ’06): Mr. Bachop works in Austin. His online
biography notes that his practice areas include employment law. On April 29,
2016, Judge Karin Crump awarded fees for work done in an Austin employment
discrimination and retaliation case. See Vigil v. City of Austin, Texas, Cause No.
D-1-GN-13-001742 (200th Judicial District Court for Travis County, Texas) (Final
Judgment at p. 4) (“Based upon the evidence presented to the Court, and the ar-
guments of counsel, Plaintiff’s motion for reasonable attorneys’ fees and costs is
hereby granted.”). The fees requested and granted used an hourly rate of $300.00
for Mr. Bachop’s work. See id. (Plaintiff’s Motion for Entry of Judgment & Award
of Attorneys’ Fees) at p. 3. According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 11.93% higher in 2021 versus 2016 (a $35.79 difference).22 Adjusted only
for such inflation from the year of Judge Crump’s ruling to the end of 2021, that
$300.00 hourly rate for Mr. Bachop is $335.79.

*    Alexander M. Baggio (class of ’09): Mr. Baggio’s online biog-
raphy states that he “has worked on class and collective actions across the coun-
try, including those involving Rule 23 and the Fair Labor Standards Act (FLSA),
as well as claims arising from employment contracts.” Mr. Baggio is based in Min-
neapolis. On November 10, 2015, Judge Sam Sparks determined $275.00 was a
reasonable hourly rate for work Mr. Baggio did in an Austin FLSA case. See Clark
v. Centene Corp., No. 1:12-cv-00174-SS (Doc. 180) at p. 16 (W.D. Tex. Austin)

21   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=300

22   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=300


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(“Centene does not raise any specific objection to the hourly rate of $275 claimed
by Alexander Baggio, and the Court finds it reasonable for the same reasons.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 15.71% higher in 2021
versus 2015 (a $43.20 difference).23 Adjusted only for such inflation from the year
of Judge Sparks’s finding (2015) to the end of 2021, that $275.00 hourly rate for
Mr. Baggio is $318.20.




23   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=275


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Classes of the 2010s



 14                  lawyers listed




 $351.83                               average rate




 $319.16                               median rate




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                                   Classes of the 2010s:
                                        The Rates


        Colin W.                      John                            Michael L.
        Walsh                         Neuman                          Parsons
        (JD 2011)                     (JD 2012)                       (JD 2011)




        Andrew                        Alicia M.                       Allison
        Vickers                       Grant                           Hartry
        (JD 2012)                     (JD 2016)                       (JD 2012)




        Corey E.                      Phillip J.                      Collin
        Tanner                        Moss                            Wynne
        (JD 2011)                     (JD 2010)                       (JD 2010)




        Jairo N.                      Melinda                         Jay
        Castellanos                   Arbuckle                        Forester
        (JD 2015)                     (JD 2011)                       (JD 2013)




        Caitlin                       Steve
        Boehne                        Rauls
        (JD 2012)                     (JD 2011)




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Classes of the 2010s:
     The Work

  *   Colin W. Walsh (class of ’11): Mr. Walsh works in Austin. His
  online biography states that his “practice focuses on representing workers against
  employers in cases involving discrimination, retaliation, unpaid wages, unpaid
  overtime, contract disputes, and whistleblowing actions.” On August 23, 2019,
  Judge Royce C. Lamberth granted fees requested for Mr. Walsh’s work in a San
  Antonio employment discrimination and retaliation case. See Johnson v. South-
  west Research Institute, No. 5:15-cv-297 (Doc. 176) at pp 14–15, 17 (W.D. Tex. San
  Antonio) (“For these efforts, Johnson’s attorneys charge rates from $125 to $585
  depending on the particular lawyer’s experience, reputation, and ability; the
  weighted average hourly rate is roughly $445 . . . To support these rates’ reason-
  ableness, Walsh provides an affidavit from a disinterested fee-paying San An-
  tonio client acknowledging he currently pays Walsh $585 hourly to litigate
  federal employment matters in San Antonio. . . . Southwest Research argues
  those rates are too high, citing the Texas state bar’ s four-year- old survey list-
  ing a $258 median hourly rate for San Antonio employment lawyers and a
  $250 median hourly rate for small San Antonio law firms, and noting only
  5.1% of attorneys bill over $500 hourly. . . . Whatever probative value this
  survey has, it does not erode the evidence supporting the rates’ reasonable-
  ness, particularly since other judges in this district have approved much
  higher hourly rates for less complicated cases . . . To review: Southwest Re-
  search must pay Johnson $535,609.47 in fees and costs, . . .”). The fees request
  was based, in part, on Mr. Walsh’s stated rate of $585.00 per hour. See id. (Doc.
  152-1) at p. 6, ¶ 12 (Declaration Under Penalty of Perjury of Colin W. Walsh: “My
  current hourly rate—a rate that clients pay me when they choose representation
  on an hourly basis rather than on a contingency fee basis—is $585/hour. I charge
  and receive this rate in the Austin market (where I office) and in the San Antonio
  market (where I frequently have clients).”); see also id. (Doc. 171) at p. 3 (Plain-
  tiff’s Supplemental Motion for Reasonable Attorneys’ Fees and Costs seeking
  “Post-judgment interest on $536,430.77 (the combined award of fees and costs)”).
  According to the Consumer Price Index for legal services as generated by the U.S.
  Bureau of Labor Statistics, the prices for legal services are 2.64% higher in 2021
  versus 2019 (a $15.44 difference).1 Adjusted only for such inflation from the year

  1   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=585

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of Judge Lamberth’s fee award (2019) to the end of 2021, that $585.00 hourly rate
for Mr. Walsh is $600.44.

*   Andrew Vickers (class of ’12): Mr. Vickers works in Austin. His
online biography states that his experience includes labor and employment mat-
ters. In 2021, he billed for work at the hourly rate of $440 in an Austin employ-
ment case involving claims of wrongful employment termination and defamation.
See Second Supplemental Declaration of Andrew Vickers, filed in Lanham v. AWR
Servs., Inc., No. D-1-GN-20-003923 (419th Judicial District Court for Travis
County, Texas) (filed April 8, 2021) at p. 2, ¶ 4 (“By agreement with our client, the
current hourly billing rate for services performed from January 1, 2021 through
March 11, 2020 for this matter is $440 for me (a partner), $790 for Eric Taube (a
partner), and $205 for Ann Marie Jezisek and Kristen Warner (paralegals). I am
familiar with rates charges by attorneys in Texas for litigation matters and these
rates are reasonable when compared to customary rates in Texas for lawsuits such
as this one.”).

*   Corey E. Tanner (class of ’11): Ms. Tanner works in Austin and
her online biography notes that her practice areas include labor and employment
law. On December 18, 2020, in a Dallas case involving allegations of race discrim-
ination in employment, there was testimony stating her standard hourly rate in
2018 and 2019 was approximately $400.00 per hour. See Ibarra v. Jacobs Eng.
Group, Inc., No. 3:19-cv-01437-C (Doc. 41-1) at p. 12, ¶ 21 (N.D. Tex. Dallas) (Dec-
laration of John M. Barcus: “Prior to my involvement in the lawsuit, Corey E.
Tanner, an associate in the Firm’s Austin office who became licensed to practice
law in Texas in 2011, performed the majority of the work on the case. Her stand-
ard rate for 2018 and 2019 was approximately $400.”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 3.64% higher in 2021 versus 2018 (a $14.55 differ-
ence).2 Adjusted only for such inflation from the year of this stated rate in 2018 to
the end of 2021, that $400.00 hourly rate for Ms. Tanner is $414.55.

*   Jairo N. Castellanos (class of ’15): Mr. Castellanos works in
Austin. His online biography states that his “practice focuses on representing em-
ployees, both private and public, against employers in discrimination cases.” On
August 23, 2019, Judge Royce C. Lamberth granted fees requested for Mr. Cas-
tellanos’s work in a San Antonio employment discrimination and retaliation case.
See Johnson v. Southwest Research Institute, No. 5:15-cv-297 (Doc. 176) at p. 17



2   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=400


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(W.D. Tex. San Antonio) (“To review: Southwest Research must pay Johnson
$535,609.47 in fees and costs, plus 2.324% interest beginning on May 23, 2019
and compounded annually[.]”). The fees request was based, in part, on Mr. Cas-
tellanos’s stated rate of $395.00 per hour. See id. (Doc. 152-1) at p. 6, ¶ 14 (Decla-
ration Under Penalty of Perjury of Colin W. Walsh: “The firm’s current (since
January 2017) rate for associate Jairo N. Castellanos is $395/hour. This is the
rate the firm charges and receives for Mr. Castellanos’s time in the San Antonio
market.”); see also id. (Doc. 171) at p. 3 (Plaintiff’s Supplemental Motion for Rea-
sonable Attorneys’ Fees and Costs seeking “Post-judgment interest on
$536,430.77 (the combined award of fees and costs)”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 2.64% higher in 2021 versus 2019 (a $10.43 differ-
ence).3 Adjusted only for such inflation from the year of Judge Lamberth’s award
(2019) to the end of 2021, that $395.00 hourly rate for Mr. Castellanos is $405.43.

*   Caitlin Boehne (class of ’12): Ms. Boehne works in Austin. Her
online biography notes that she litigates unpaid wage claims for low-income work-
ers. On August 10, 2020, Magistrate Judge Susan Hightower ruled that $360.00
per hour was a reasonable rate for Ms. Boehne’s work in an Austin FLSA case.
See Barrientos v. Mikatsuki Int’l, Inc., No. 1:18-CV-00934-RP (Doc. 38) at p. 10,
2020 WL 4581883 (W.D. Tex. Austin) (noting time records “14.7 hours of work by
licensed attorney Caitlin Boehne at a rate of $360 per hour (totaling $5,112, after
write-offs and reductions) . . .” and ruling “After carefully reviewing the time rec-
ords and declaration, the Court finds the hours expended on the case, and the
hourly rates charged, are reasonable.”). On September 4, 2020, Judge Robert Pit-
man adopted Magistrate Judge Susan Hightower’s report and recommendation
that fees be awarded on that rate. See id. (Doc. 39). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 1.53% higher in 2021 versus 2020 (a $5.53 differ-
ence).4 Adjusted only for such inflation from the year of these court rulings (2020)
to the end of 2021, that $360.00 hourly rate for Ms. Boehne is $365.53.

*   John Neuman (class of ’12): Ms. Neuman works in Houston.                   His
online biography notes that the “primary focus of John’s practice is the recovery
of unpaid wages.” On January 8, 2016, Judge Robert Pitman awarded fees in a
San Antonio FLSA case. See Sifuentes v. Green Energy Oilfield Servs., LLC, No.
5:15-CV-752 RP (Doc. 21) (W.D. Tex. San Antonio) (“Plaintiff is awarded $17,714
as reasonable attorneys’ fees and costs.”). Those fees were based, in part, on Mr.

3   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=395

4   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=360


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Neuman’s rate of $300 per hour. See id. (Doc. 19) at p. 2 (motion for fees and costs)
(“Plaintiff asserts (and Defendant is not disputing) that the Plaintiff’s reasonable
attorney’s fees and costs are $17,714.00. Included in this amount are the follow-
ing: . . . 27.4 hours for John Neuman, associate, at the rate of $300 per hour;”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 11.93% higher in 2021
versus 2016 (a $35.79 difference).5 Adjusted only for such inflation from the year
of Judge Pitman’s fee award (2016) to the end of 2021, that $300.00 hourly rate
for Mr. Neuman is $335.79.

*   Alicia M. Grant (class of ’16): Ms. Grant works in San Antonio.
Her online biography states that her “practice focuses on all aspects of product
liability actions, mass torts, and complex commercial litigation in state and fed-
eral courts, including class actions and multi-district litigation.” In 2020, her law
firm billed her work in a San Antonio employment termination case to a client at
the hourly rate of $320.00. See Yadav v. Frost Bank, No. 5:20-CV-00005-FB-ESC
(Doc. 42-4) at p. 2, ¶¶ 2 & 4 (W.D. Tex. San Antonio) (Affidavit of Mario A. Barrera:
“I am counsel of record for Defendant Frost Bank (“Frost”) in the above-referenced
lawsuit. I am a Partner at Norton Rose Fulbright US LLP (“NRF”). . . . Frost has
agreed to compensate NRF for the firm’s work on this lawsuit based on an hourly
fee. . . . Alicia M. Grant, Associate at NRF, has spent 2.4 hours reviewing cases
and the hearing transcript and preparing the Motion. Ms. Grant’s hourly rate is
$320.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 1.53% higher
in 2021 versus 2020 (a $4.91 difference).6 Adjusted only for such inflation from
the year of this billing (2020) to the end of 2021, that $320 hourly rate for Ms.
Grant is $324.91.

*   Philip J. Moss (class of ’10): Mr. Moss currently works in San
Antonio for the United States Equal Employment Opportunity Commission—and
previously worked in San Antonio for the Equal Justice Center, where he repre-
sented low-wage earners in employment matters. On June 13, 2016, Judge Robert
Pitman granted fees at the rates requested in a San Antonio FLSA case. See Mo-
hammadi v. Nwabuisi, No. 5:12-cv-00042 (Doc. 148) at p. 9 (W.D. Tex. San Anto-
nio) (“In light of these precedents, the Court concludes rates requested by Plaintiff
and used in her lodestar calculation are reasonable and appropriate given the
prevailing rates in the local legal market.”). The hourly rate requested for Mr.
Moss’s work was $280.00. See id. (Doc. 136) at p. 5 (Plaintiff’s Third Motion for

5   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=300

6
    https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=320


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Attorney’s Fees and Costs) (“In this motion, Plaintiff’s Counsel seeks the following
rates in order to account for attorney tenure and current legal market conditions:
Mr. Moss at $280/hour, Mr. Johnson at $300/hour[.] . . .”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016 (a
$33.40 difference).7 Adjusted only for such inflation from the year of Judge Pit-
man’s ruling on rates (2016) to the end of 2021, that $280 hourly rate for Mr. Moss
is $313.40.

*   Melinda Arbuckle (class of ’11): Ms. Arbuckle works in Dallas.
Her online biography states that she “represents workers who have not received
all of the pay they were owed by their employers.” On September 20, 2018, Judge
Alia Moses ruled that a reasonable hourly rate for her work in a Del Rio FLSA
case was $300 per hour. See Cruz v. Maverick County, No. DR-14-CV-050-AM
(Doc. 115) at p. 8 (W.D. Tex. Del Rio) (“Based on all of these factors, the Court
finds that the lodestar amount for both Mr. Levy and Ms. Arbuckle should be
adjusted downward. The Court finds that a reasonable hourly fee for both attor-
neys is $300 per hour.”). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 3.64% higher in 2021 versus 2018 (a $10.91 difference).8 Adjusted only for
such inflation from the year of Judge Moses’s finding (2018) to the end of 2021,
that $300 hourly rate for Ms. Arbuckle is $310.91.

*   Steve Rauls (class of ’11): Mr. Rauls works in Little Rock, Arkan-
sas but his law firm keeps an office in San Antonio. His online biography notes
that he “primarily represents employees who have been denied their full pay.” On
August 14, 2019, Judge Royce C. Lamberth awarded Mr Rauls’s law firm fees for
work in a San Antonio FLSA case. See Moore v. Performance Pressure Pumping
Servs., LLC, No. 5:15-cv-432-RC (Doc. 174) at p. 1 (W.D. Tex. San Antonio) (“The
Court finds that the Plaintiffs should be awarded fees based on the lodestar
amount requested by Plaintiffs. The fees charged by Plaintiffs’ counsel are rea-
sonable and consistent with fees customarily charged by attorneys of similar skill,
experience and reputation in the area of San Antonio, Texas”). That award was
premised, in part, on the requested rate of $300 per hour for Mr. Rauls’s time. See
id. (Doc. 168-1) at p. 5, ¶ 16 (Declaration of Attorney Josh Sanford filed as an
attachment to Plaintiffs’ Motion for Award of Attorneys’ Fees and Costs (Doc.
168)) (listing rate: “Rauls, S. $300.00.”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices

7   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=280

8   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=300


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for legal services are 2.64% higher in 2021 versus 2019 (a $7.92 difference).9 Ad-
justed only for such inflation from the year of Judge Lamberth’s fee award (2019)
to the end of 2021, that $300.00 hourly rate for Mr. Rauls is $307.92.

*    Michael L. Parsons (class of ’11): Mr. Parsons works in Austin.
On October 8, 2014, Judge Xavier Rodriguez ruled $250.00 per hour was a rea-
sonable rate for Mr. Parson’s work in a San Antonio FLSA case. See Meesook v.
Grey Canyon Family Medicine, P.A., No. 5:13-cv-729-XR (Doc. 39), 2014 WL
5040133 (W.D. Tex. San Antonio) (“Plaintiff asserts that . . . $250/hour is appro-
priate for Michael Parsons. . . . Based on the affidavits and evidence submitted by
Plaintiffs attorneys, the Court finds that the requested rates are reasonable.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 17.55% higher in 2021
versus 2014 (a $43.87 difference).10 Adjusted only for such inflation from the year
of Judge Rodriguez’s fee award (2014) to the end of 2021, that $250 hourly rate
for Mr. Parsons is $293.87.

*    Allison Hartry (class of ’12): Ms. Hartry works in San Antonio.
Her online biography notes that she focuses her practice on labor and employment
law. On March 19, 2019, Judge David Briones granted Ms. Hartry’s law firm’s
request for attorneys’ fees in an El Paso FLSA case. See Bally v. Dreams Cabaret,
LLC, No. EP-CV-30-DB (Doc. 93) at p. 1 (W.D. Tex. El Paso) (“Plaintiffs ask the
Court to award them $111,084.50 in attorney's fees and enter a final judgment in
this case. After due consideration, the Court is of the opinion that Plaintiffs' Mo-
tion should be granted.”). This amount of fees granted was based, in part, on Ms.
Hartry’s requested rate of $275 per hour. See id. (Doc. 92) at pp. 6, 7 & 9 (Plain-
tiff’s Motion for Attorneys’ Fees and Costs and for Entry of Final Judgment:
“Based on the lodestar analysis, Plaintiffs seek $111,084.50 in attorneys’ fees . . .
Mr. Morales and Ms. Hartry performed all attorney work on this case. . . . Ms.
Hartry’s standard billing rate of $275.00 per hour is reasonable. . . . During the
time period most of the attorney’s fees were incurred litigating this case, Ms. Har-
try charged clients, and clients paid her, an hourly rate of $275.00.”). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019
(a $7.26 difference).11 Adjusted only for such inflation from the year of Judge


9    https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=300

10   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=250

11   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=275


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Briones’s ruling to the end of 2021, that $275.00 hourly rate for Ms. Hartry is
$282.26.

*    Collin Wynne (class of ’10): Mr. Wynne works in Amarillo. His
online biography lists several practice areas, including labor and employment. On
January 30, 2017, Judge David Counts determined that the requested rate of
$250.00 per hour was reasonable for work Mr. Wynne did in a Midland/Odessa
FLSA case. See Carley v. Crest Pumping Technologies, LLC, No. 7:15-cv-00161
(Doc. 134) at p. 10 (W.D. Tex. Midland/Odessa) (“With these reductions, the Court
determines the lodestar fee is $160,932.18 in fees and costs as set forth below . . .
Timekeeper . . . Rate . . . Collin Wynne . . . $250.00”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 8.08% higher in 2021 versus 2017 (a $20.20 differ-
ence).12 Adjusted only for such inflation from the year of Judge Counts’s determi-
nation (2017) to the end of 2021, that $250 hourly rate for Mr. Wynne is $270.20.

*    Jay Forester (class of ’13): Mr. Forester works in Dallas. His online
biography states that he oversees his law firm’s “unpaid wages and overtime prac-
tice.” On December 8, 2015, Judge David Alan Ezra ruled that $225.00 per hour
was a reasonable rate for Mr. Forester’s work in an Austin FLSA case. See Rodri-
guez v. Mechanical Tech. Servs., Inc., No. 1:12-cv-00710 (Doc. 175) (W.D. Tex. Aus-
tin) (“Accordingly, the Court finds the following rates to be reasonable and cus-
tomary for this type of litigation . . . Jay Forester . . . $225”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 15.71% higher in 2021 versus 2015 (a
$35.34 difference).13 Adjusted only for such inflation from the year of Judge Ezra’s
ruling (2015) to the end of 2021, that $225 hourly rate for Mr. Forester is $260.34.




12   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=250

13   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=225


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